Case 23-19865-JKS             Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                     Document     Page 1 of 206


     KIRKLAND & ELLIS LLP                                      COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                        Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                                  Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)          Felice R. Yudkin, Esq.
     Steven N. Serajeddini, P.C. (admitted pro hac vice)       Ryan T. Jareck, Esq.
     Ciara Foster (admitted pro hac vice)                      Court Plaza North, 25 Main Street
     601 Lexington Avenue                                      Hackensack, New Jersey 07601
     New York, New York 10022                                  Telephone: (201) 489-3000
     Telephone: (212) 446-4800                                 msirota@coleschotz.com
     Facsimile: (212) 446-4900                                 wusatine@coleschotz.com
     edward.sassower@kirkland.com                              fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                              rjareck@coleschotz.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com

     Co-Counsel for Debtors and                                Co-Counsel for Debtors and
     Debtors in Possession                                     Debtors in Possession

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 WEWORK, INC., et al.,                                         Case No. 23-19865 (JKS)

                                      Debtors.1                (Jointly Administered)


                           NOTICE OF FILING OF THE
                    THIRD AMENDED JOINT CHAPTER 11 PLAN
                  OF REORGANIZATION OF WEWORK INC. AND ITS
            DEBTOR SUBSIDIARIES (FURTHER TECHNICAL MODIFICATIONS)

           PLEASE TAKE NOTICE that on February 4, 2024, the above-captioned debtors and

 debtors in possession (collectively, the “Debtors”) filed the Joint Chapter 11 Plan of

 Reorganization of WeWork Inc. and Its Debtor Subsidiaries [Docket No. 1290].




 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR
       97005.
Case 23-19865-JKS       Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39          Desc Main
                               Document     Page 2 of 206



        PLEASE TAKE FURTHER NOTICE that on April 19, 2024, the Debtors filed the First

 Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc. and Its Debtor Subsidiaries

 [Docket No. 1690].

        PLEASE TAKE FURTHER NOTICE that on April 26, 2024, the Debtors filed the

 Second Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc. and Its Debtor

 Subsidiaries [Docket No. 1757].

        PLEASE TAKE FURTHER NOTICE that on April 29, 2024, the Debtors filed the Third

 Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc. and Its Debtor Subsidiaries

 [Docket No. 1781].

        PLEASE TAKE FURTHER NOTICE that on May 1, 2024, the Debtors filed the

 solicitation version of the Third Amended Joint Chapter 11 Plan of Reorganization of WeWork

 Inc. and Its Debtor Subsidiaries [Docket No. 1816].

        PLEASE TAKE FURTHER NOTICE that on May 23, 2024, the Debtors filed a slightly

 modified version of the Third Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc.

 and Its Debtor Subsidiaries (Technical Modifications) [Docket No. 1982] (the “Modified Third

 Amended Plan”).

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a further modified

 version of the Third Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc. and Its

 Debtor Subsidiaries (Further Technical Modifications) (the “Second Modified Third Amended

 Plan”), attached hereto as Exhibit A.

        PLEASE TAKE FURTHER NOTICE that a comparison between the Modified Third

 Amended Plan and the Second Modified Third Amended Plan is attached hereto as Exhibit B.




                                                2
Case 23-19865-JKS       Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39              Desc Main
                               Document     Page 3 of 206



        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these

 chapter 11 cases may be obtained free of charge by visiting the website of Epiq Corporate

 Restructuring, LLC at https://dm.epiq11.com/WeWork. You may also obtain copies of any

 pleadings by visiting the Court’s website at https://www.njb.uscourts.gov in accordance with the

 procedures and fees set forth therein.




                                                3
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39             Desc Main
                                Document     Page 4 of 206




Dated: May 30, 2024

/s/ Michael D. Sirota
COLE SCHOTZ P.C.                          KIRKLAND & ELLIS LLP
Michael D. Sirota, Esq.                   KIRKLAND & ELLIS INTERNATIONAL LLP
Warren A. Usatine, Esq.                   Edward O. Sassower, P.C.
Felice R. Yudkin, Esq.                    Joshua A. Sussberg, P.C. (admitted pro hac vice)
Ryan T. Jareck, Esq.                      Steven N. Serajeddini, P.C. (admitted pro hac vice)
Court Plaza North, 25 Main Street         Ciara Foster (admitted pro hac vice)
Hackensack, New Jersey 07601              601 Lexington Avenue
Telephone: (201) 489-3000                 New York, New York 10022
msirota@coleschotz.com                    Telephone: (212) 446-4800
wusatine@coleschotz.com                   Facsimile: (212) 446-4900
fyudkin@coleschotz.com                    edward.sassower@kirkland.com
rjareck@coleschotz.com                    joshua.sussberg@kirkland.com
                                          steven.serajeddini@kirkland.com
                                          ciara.foster@kirkland.com

Co-Counsel for Debtors and                Co-Counsel for Debtors and
Debtors in Possession                     Debtors in Possession
Case 23-19865-JKS   Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39   Desc Main
                           Document     Page 5 of 206



                                    Exhibit A

                       Second Modified Third Amended Plan
Case 23-19865-JKS             Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                     Document     Page 6 of 206



 NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER, ACCEPTANCE,
 COMMITMENT, OR LEGALLY BINDING OBLIGATION OF THE DEBTORS OR ANY OTHER
 PARTY IN INTEREST, AND THIS PLAN IS SUBJECT TO APPROVAL BY THE BANKRUPTCY
 COURT AND OTHER CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN OFFER WITH
 RESPECT TO ANY SECURITIES.

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                          Chapter 11

 WEWORK INC., et al.,                                            Case No. 23-19865 (JKS)

                                      Debtors.1                  (Jointly Administered)


                              THIRD AMENDED JOINT CHAPTER 11 PLAN
                          OF REORGANIZATION OF WEWORK INC. AND ITS
                 DEBTOR SUBSIDIARIES (FURTHER TECHNICAL MODIFICATIONS)
     KIRKLAND & ELLIS LLP                                COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                  Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                            Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)    Felice R. Yudkin, Esq.
     Steven N. Serajeddini, P.C. (admitted pro hac vice) Ryan T. Jareck, Esq.
     Ciara Foster (admitted pro hac vice)                Court Plaza North, 25 Main Street
     601 Lexington Avenue                                Hackensack, New Jersey 07601
     New York, New York 10022                            Telephone:      (201) 489-3000
     Telephone:      (212) 446-4800                      msirota@coleschotz.com
     Facsimile:      (212) 446-4900                      wusatine@coleschotz.com
     edward.sassower@kirkland.com                        fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                        rjareck@coleschotz.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com

     Co-Counsel for Debtors and                                 Co-Counsel for Debtors and
     Debtors in Possession                                      Debtors in Possession




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton,
       OR 97005.
Case 23-19865-JKS                    Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                                                   Desc Main
                                            Document     Page 7 of 206


                                                         TABLE OF CONTENTS

 ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
 GOVERNING LAW ..................................................................................................................................... 1
       A.     Defined Terms .................................................................................................................... 1
       B.     Rules of Interpretation ...................................................................................................... 31
       C.     Computation of Time ........................................................................................................ 31
       D.     Governing Law ................................................................................................................. 32
       E.     Reference to Monetary Figures ......................................................................................... 32
       F.     Reference to the Debtors or the Reorganized Debtors ...................................................... 32
       G.     Controlling Document ...................................................................................................... 32
       H.     Consultation, Notice, Information, and Consent Rights. .................................................. 32

 ARTICLE II. ADMINISTRATIVE CLAIMS, DIP ADMINISTRATIVE CLAIMS, PRIORITY
 CLAIMS, AND RESTRUCTURING EXPENSES .................................................................................... 33
       A.     Administrative Claims ...................................................................................................... 33
       B.     DIP Administrative Claims ............................................................................................... 34
       C.     Professional Fee Claims.................................................................................................... 35
       D.     Priority Tax Claims ........................................................................................................... 36
       E.     Payment of Statutory Fees and Reporting to the U.S. Trustee ......................................... 36
       F.     Payment of Restructuring Expenses ................................................................................. 37
       G.     Payment of Stub Rent Claims and Post-Petition Rent Claims. ......................................... 37

 ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ..................... 38
       A.      Classification of Claims and Interests............................................................................... 38
       B.      Treatment of Claims and Interests .................................................................................... 39
       C.      Special Provision Governing Unimpaired Claims ............................................................ 44
       D.      Elimination of Vacant Classes .......................................................................................... 44
       E.      Voting Classes, Presumed Acceptance by Non-Voting Classes ....................................... 44
       F.      Intercompany Interests ...................................................................................................... 44
       G.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
               Code .................................................................................................................................. 45
       H.      Controversy Concerning Impairment ............................................................................... 45
       I.      Subordinated Claims and Interests.................................................................................... 45

 ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ....................................................... 45
       A.     General Settlement of Claims and Interests ...................................................................... 45
       B.     Restructuring Transactions ............................................................................................... 46
       C.     Reorganized Debtors......................................................................................................... 46
       D.     Sources of Consideration for Plan Distributions............................................................... 47
       E.     Exemption from Registration Requirements and Certain DTC Matters. .......................... 51
       F.     Corporate Existence .......................................................................................................... 53
       G.     Vesting of Assets in the Reorganized Debtors ................................................................. 53
       H.     Cancelation of Existing Securities and Agreements ......................................................... 53
       I.     Corporate Action............................................................................................................... 54
       J.     New Corporate Governance Documents .......................................................................... 55
       K.     Challenges......................................................................................................................... 56
       L.     Section 1146 Exemption ................................................................................................... 56
       M.     Management Incentive Plan.............................................................................................. 57
       N.     Employee and Retiree Benefits ......................................................................................... 57
       O.     Preservation of Causes of Action ...................................................................................... 57


                                                                            i
Case 23-19865-JKS                   Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                                                  Desc Main
                                           Document     Page 8 of 206


 ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES ............... 58
       A.     Assumption and Rejection of Executory Contracts and Unexpired Leases ...................... 58
       B.     Indemnification Obligations ............................................................................................. 61
       C.     Claims Based on Rejection of Executory Contracts or Unexpired Leases ....................... 61
       D.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases .................... 62
       E.     Preexisting Obligations to the Debtors under Executory Contracts and Unexpired
              Leases................................................................................................................................ 64
       F.     Insurance Contracts........................................................................................................... 64
       G.     Reservation of Rights........................................................................................................ 65
       H.     Nonoccurrence of Effective Date...................................................................................... 65
       I.     Employee Compensation and Benefits ............................................................................. 65
       J.     Intellectual Property Licenses and Agreements ................................................................ 66
       K.     Contracts and Leases Entered into after the Petition Date ................................................ 66

 ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS ............................................................. 67
       A.     Distributions on Account of Claims or Interests Allowed as of the Effective Date ......... 67
       B.     Disbursing Agent .............................................................................................................. 67
       C.     Rights and Powers of Disbursing Agent ........................................................................... 67
       D.     Delivery of Distributions and Undeliverable or Unclaimed Distributions ....................... 68
       E.     Manner of Payment ........................................................................................................... 70
       F.     Indefeasible Distributions ................................................................................................. 70
       G.     Compliance with Tax Requirements ................................................................................. 70
       H.     Allocations ........................................................................................................................ 71
       I.     No Postpetition Interest on Claims ................................................................................... 71
       J.     Foreign Currency Exchange Rate ..................................................................................... 71
       K.     Preservation of Setoffs and Recoupment .......................................................................... 71
       L.     Claims Paid or Payable by Third Parties .......................................................................... 72

 ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
 DISPUTED CLAIMS ................................................................................................................................. 72
       A.     Disputed Claims Process .................................................................................................. 72
       B.     Allowance of Claims ........................................................................................................ 73
       C.     Claims Administration Responsibilities ........................................................................... 73
       D.     Estimation of Claims and Interests ................................................................................... 74
       E.     Disputed Claims Reserve .................................................................................................. 74
       F.     Adjustment to Claims or Interests without Objection....................................................... 75
       G.     Time to File Objections to Claims .................................................................................... 75
       H.     Disallowance of Claims or Interests ................................................................................. 75
       I.     Amendments to Claims ..................................................................................................... 76
       J.     No Distributions Pending Allowance ............................................................................... 76
       K.     Distributions After Allowance. ......................................................................................... 76
       L.     Single Satisfaction of Claims ............................................................................................ 76

 ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS .............. 76
       A.      Discharge of Claims and Termination of Interests ........................................................... 76
       B.      Release of Liens ................................................................................................................ 77
       C.      Releases by the Debtors .................................................................................................... 77
       D.      Releases by the Releasing Parties ..................................................................................... 79
       E.      Exculpation ....................................................................................................................... 80
       F.      Injunction .......................................................................................................................... 81
       G.      Gatekeeper Provision ........................................................................................................ 82
                                                                   ii
Case 23-19865-JKS                   Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                                                  Desc Main
                                           Document     Page 9 of 206


            H.          Protections Against Discriminatory Treatment ................................................................ 82
            I.          Document Retention ......................................................................................................... 83
            J.          Reimbursement or Contribution ....................................................................................... 83

 ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN ......................... 83
       A.     Conditions Precedent to the Effective Date ...................................................................... 83
       B.     Waiver of Conditions ........................................................................................................ 85
       C.     Effect of Failure of Conditions ......................................................................................... 85
       D.     Substantial Consummation ............................................................................................... 85

 ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN ....................... 85
       A.    Modification and Amendments......................................................................................... 85
       B.    Effect of Confirmation on Modifications ......................................................................... 86
       C.    Revocation or Withdrawal of Plan .................................................................................... 86

 ARTICLE XI. RETENTION OF JURISDICTION .................................................................................... 86

 ARTICLE XII. MISCELLANEOUS PROVISIONS ................................................................................. 89
      A.      Immediate Binding Effect ................................................................................................. 89
      B.      Additional Documents ...................................................................................................... 89
      C.      Statutory Committee and Cessation of Fee and Expense Payment................................... 89
      D.      Reservation of Rights........................................................................................................ 89
      E.      Successors and Assigns .................................................................................................... 90
      F.      Notices .............................................................................................................................. 90
      G.      Term of Injunctions or Stays............................................................................................. 91
      H.      Entire Agreement .............................................................................................................. 92
      I.      Plan Supplement ............................................................................................................... 92
      J.      Nonseverability of Plan Provisions ................................................................................... 92
      K.      Votes Solicited in Good Faith ........................................................................................... 92
      L.      Closing of Chapter 11 Cases ............................................................................................. 93
      M.      Waiver or Estoppel ........................................................................................................... 93




                                                                          iii
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document    Page 10 of 206


                                            INTRODUCTION

         WeWork Inc. and the other above-captioned debtors and debtors-in-possession (collectively,
the “Debtors”) propose this joint chapter 11 plan of reorganization (together with any documents comprising
the Plan Supplement, and as amended, supplemented, or otherwise modified from time to time, subject to
the consent of the Required Consenting Stakeholders, and the Reasonable Consent of the Creditors’
Committee, this “Plan”) for the resolution of the outstanding Claims against, and Interests in, the Debtors.
Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to such terms in
Article I.A of this Plan. This Plan constitutes a single Plan for all of the Debtors. The Debtors are the
proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. The classification of
Claims and Interests set forth in Article III of this Plan shall be deemed to apply separately with respect to
each Debtor, as applicable, for the purpose of receiving distributions pursuant to this Plan. While this Plan
constitutes a single plan of reorganization for all Debtors, this Plan does not contemplate substantive
consolidation of any of the Debtors.

        Reference is made, and Holders of Claims or Interests may refer, to the accompanying Disclosure
Statement for a discussion on the Debtors’ history, businesses, assets, operations, historical financial
information, valuation, projections, risk factors, a summary and analysis of this Plan, the Restructuring
Transactions, and certain related matters.

     ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS, TO THE
EXTENT APPLICABLE, ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN. ALL
HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE SECURITIES LAW
RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN (INCLUDING, WITHOUT LIMITATION,
UNDER ARTICLE IV HEREOF) IN FULL.

      THE ISSUANCE OF ANY SECURITIES REFERRED TO IN THIS PLAN SHALL NOT
CONSTITUTE AN INVITATION OR OFFER TO SELL, OR THE SOLICITATION OF AN INVITATION
OR OFFER TO BUY, ANY SECURITIES IN CONTRAVENTION OF APPLICABLE LAW IN ANY
JURISDICTION. NO ACTION HAS BEEN TAKEN, NOR WILL BE TAKEN, IN ANY JURISDICTION
THAT WOULD PERMIT A PUBLIC OFFERING OF ANY SECURITIES REFERRED TO IN THIS PLAN
(OTHER THAN SECURITIES ISSUED PURSUANT TO SECTION 1145 OF THE BANKRUPTCY
CODE IN A DEEMED PUBLIC OFFERING) IN ANY JURISDICTION WHERE SUCH ACTION FOR
THAT PURPOSE IS REQUIRED.

                                        ARTICLE I.
                         DEFINED TERMS, RULES OF INTERPRETATION,
                         COMPUTATION OF TIME, AND GOVERNING LAW

A.      Defined Terms.

        As used in this Plan, capitalized terms have the meanings set forth below.

        1.       “1L Equity Distribution” means the percentage of the Prepetition Secured Equity
Distribution equal to (a)(i) Total 1L Claims divided by (ii) Total 1L Claims plus Adjusted 2L Notes Claims
multiplied by (b)(i) 100.00% of the New Interests included in the Prepetition Secured Equity Distribution
minus (ii) the Drawn DIP TLC Equity Distribution.

       2.       “1L Indenture” means that certain First Lien Senior Secured PIK Notes Indenture, dated as
of May 5, 2023 (as amended by the First Supplemental Indenture, dated as of July 17, 2023, and the Second

                                                      1
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                 Document    Page 11 of 206


Supplemental Indenture, dated as of August 25, 2023, and as may be further amended, amended and restated,
or otherwise supplemented from time to time), by and among the Issuers, the guarantors party thereto from
time to time, and U.S. Bank Trust Company, National Association (and any successor thereto), as trustee
and as collateral agent.

         3.      “1L Notes” means, collectively, (a) the 1L Series 1 Notes, (b) the 1L Series 2 Notes, and
(c) the 1L Series 3 Notes.

         4.     “1L Notes Claims” means any Claims arising under the 1L Notes.

       5.       “1L Pari Passu Intercreditor Agreement” means that certain Amended and Restated Pari
Passu Intercreditor Agreement, dated as of May 5, 2023 (as amended, restated, amended and restated,
supplemented, or otherwise modified from time to time prior to the Petition Date).

       6.         “1L Series 1 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series I, issued by the Issuers under the 1L Indenture.

         7.     “1L Series 1 Notes Claims” means any Claims arising under the 1L Series 1 Notes.

       8.         “1L Series 2 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series II, issued by the Issuers under the 1L Indenture.

         9.     “1L Series 2 Notes Claims” means any Claims arising under the 1L Series 2 Notes.

       10.       “1L Series 3 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series III, issued by the Issuers under the 1L Indenture.

         11.    “1L Series 3 Notes Claims” means any Claims arising under the 1L Series 3 Notes.

        12.       “1L/2L/3L Intercreditor Agreement” means that certain intercreditor agreement, dated as of
May 5, 2023 (as amended, restated, amended and restated, supplemented, or otherwise modified from time
to time prior to the Petition Date).

        13.      “2L Collateral Agency Agreement” means the Second Lien Collateral Agency Agreement
as defined in the Cash Collateral Orders.

        14.     “2L Equity Distribution” means the percentage of the Prepetition Secured Equity
Distribution equal to (a)(i) Adjusted 2L Notes Claims divided by (ii) Total 1L Claims plus Adjusted 2L Notes
Claims multiplied by (b)(i) 100.00% of the New Interests included in the Prepetition Secured Equity
Distribution minus (ii) the Drawn DIP TLC Equity Distribution.

        15.     “2L Exchangeable Indenture” means that certain Second Lien Exchangeable Senior Secured
PIK Notes Indenture, dated as of May 5, 2023 (as may be amended and restated, or otherwise supplemented
from time to time), by and among the Issuers, the guarantors party thereto from time to time, and U.S. Bank
Trust Company, National Association (and any successor thereto), as trustee and as collateral agent.

       16.    “2L Exchangeable Notes” means those certain 11.00% Second Lien Exchangeable Senior
Secured PIK Notes due 2027 issued by the Issuers under the 2L Exchangeable Indenture.

         17.    “2L Exchangeable Notes Claims” means any Claims arising under the 2L Exchangeable
Notes.


                                                     2
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                 Document    Page 12 of 206


       18.      “2L Indenture” means that certain Second Lien Senior Secured PIK Notes Indenture, dated
as of May 5, 2023 (as may be amended and restated, or otherwise supplemented from time to time), by and
among the Issuers, the guarantors party thereto from time to time, and U.S. Bank Trust Company, National
Association (and any successor thereto), as trustee and as collateral agent.

          19.   “2L Notes” means, collectively, the 2L Secured Notes and the 2L Exchangeable Notes.

          20.   “2L Notes Claims” means any Claims arising under the 2L Notes.

       21.     “2L Secured Notes” means those certain 11.00% Second Lien Senior Secured PIK Notes
due 2027 issued by the Issuers under the 2L Indenture.

          22.   “2L Secured Notes Claims” means any Claims arising under the 2L Secured Notes.

       23.      “3L/Unsecured Notes Trustee Expenses” means the reasonable and documented fees and
expenses of the 3L Notes Trustee and the Unsecured Notes Trustee not previously paid by, or on behalf of,
the Debtors; provided that such amounts shall not exceed $1,750,000.00 in total.

          24.   “3L Collateral Agency Agreement” has the meaning ascribed to it in the Cash Collateral
Orders.

       25.     “3L Exchangeable Indenture” means that certain Third Lien Exchangeable Senior Secured
PIK Notes Indenture, dated May 5, 2023 (as may be amended, amended and restated, or otherwise
supplemented from time to time), by and among the Issuers, the guarantors party thereto from time to time,
and U.S. Bank Trust Company, National Association (and any successor thereto), as trustee and as collateral
agent.

       26.    “3L Exchangeable Notes” means those certain 12.00% Third Lien Exchangeable Senior
Secured PIK Notes due 2027 issued by the Issuers under the 3L Exchangeable Indenture.

        27.     “3L Exchangeable Notes Claims” means any Claims arising under the 3L Exchangeable
Indenture.

        28.     “3L Indenture” means that certain Third Lien Senior Secured PIK Notes Indenture, dated
May 5, 2023 (as may be amended, amended and restated, or otherwise supplemented from time to time), by
and among the Issuers, the guarantors party thereto from time to time, CSC Delaware Trust Company (as
successor to U.S. Bank Trust Company, National Association), as trustee, and U.S. Bank Trust Company,
National Association, as collateral agent.

          29.   “3L Notes” means, collectively, the 3L Exchangeable Notes and the 3L Secured Notes.

          30.   “3L Notes Claims” means any Claims arising under the 3L Notes.

          31.   “3L Notes Trustee” means the trustee under the 3L Indenture.

        32.     “3L Secured Notes” means those certain 12.00% Third Lien Senior Secured PIK Notes due
2027 issued by the Issuers under the 3L Indenture.

        33.      “5.00% Unsecured Notes” means those certain 5.00% Senior Notes due 2025, Series II,
issued by the Issuers under the 5.00% Unsecured Notes Indenture.



                                                    3
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                   Document    Page 13 of 206


         34.     “5.00% Unsecured Notes Indenture” means that certain Amended and Restated Senior Notes
Indenture, dated as of December 16, 2021 (as it may be amended, supplemented, or otherwise modified from
time to time), by and among the Issuers, the guarantors from time to time party thereto, and Computershare
Trust Company, National Association (as successor to U.S. Bank Trust Company, National Association, as
successor to U.S. Bank National Association, as successor to Wells Fargo Bank, National Association), as
trustee.

        35.     “7.875% Unsecured Notes” means those certain 7.875% Senior Notes due 2025 issued by
Issuers under the 7.875% Unsecured Notes Indenture.

        36.     “7.875% Unsecured Notes Indenture” means that certain Senior Notes Indenture, dated of
April 30, 2018 (as it may be amended, supplemented, or otherwise modified from time to time), by and
among Issuers, the guarantors from time to time party thereto, and Computershare Trust Company, National
Association (as successor to U.S. Bank Trust Company, National Association, as successor to U.S. Bank
National Association, as successor to Wells Fargo Bank, National Association), as trustee.

         37.     “9019 Order” means the Order (I) Approving (A) the Settlement Between the Debtors and
the Ad Hoc Unsecured Noteholder Group and (B) The Opt-In Procedures Applicable to the Settlement
(II) Authorizing the Debtors to Perform All of Their Obligations Thereunder and (III) Granting Related
Relief [Docket No. 1966].

        38.     “Ad Hoc Group” means the ad hoc group of Holders (or beneficial owners) of, or investment
advisors, sub-advisors, or managers of discretionary accounts or funds that hold (or beneficially own),
Secured Notes Claims, and that is represented by the Ad Hoc Group Professionals.

        39.    “Ad Hoc Group Professionals” means Davis Polk & Wardwell LLP, as counsel, Ducera
Partners LLC, as financial advisor, Greenberg Traurig, LLP, as local co-counsel, Freshfields Bruckhaus
Deringer LLP, as foreign co-counsel, and any other special or local counsel or advisors providing advice to
the Ad Hoc Group in connection with the Restructuring Transactions.

        40.     “Ad Hoc Unsecured Noteholder Group” means that certain group of Holders of Unsecured
Notes identified by the Verified Statement of the Ad Hoc Group of Holders of WeWork’s Unsecured Notes
Pursuant to Bankruptcy Rule 2019 [Docket No. 1149].

       41.    “Ad Hoc Unsecured Noteholder Group Expenses” means $1,000,000.00, payable to the Ad
Hoc Unsecured Noteholder Group (in consideration of the fees and expenses of the Ad Hoc Unsecured
Noteholder Group Professionals) pursuant to the 9019 Order.

        42.     “Ad Hoc Unsecured Noteholder Group Professionals” means Brown Rudnick LLP and
McCarter & English, LLP, as co-counsel, providing advice to the Ad Hoc Unsecured Noteholder Group in
connection with the Chapter 11 Cases.

        43.     “Adequate Protection Supplemental Distribution” means the New Interests to be issued to
the SoftBank Parties on the Effective Date comprising approximately 2.90%2 of the New Interests, which
would have otherwise been allocated to the DIP New Money Lenders (other than the DIP New Money AHG
Lenders and the DIP New Money Joining Lenders) pursuant to the New Money Equity Distribution and
shall instead be issued to the SoftBank Parties on account of the waiver of their Adequate Protection
Obligations and Adequate Protection Claims (other than First Lien Adequate Protection Fees and Expenses)

2   This number remains subject to further adjustment based on final reconciliation of Claim amounts.


                                                         4
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document    Page 14 of 206


(in each case, as defined in the Cash Collateral Final Order) under the Plan. For the avoidance of doubt, the
New Interests issued as the Adequate Protection Supplemental Distribution shall be subject to dilution on
the same terms as the New Interests issued to the DIP New Money AHG Lenders on the Effective Date or
as otherwise modified by the Required Consenting Stakeholders.

        44.      “Adjusted 2L Notes Claims” means the total aggregate amount of 2L Notes Claims
excluding, for the avoidance of doubt, any postpetition interest or fees, multiplied by 70.00%.

         45.     “Administrative Claim” means a Claim against any of the Debtors arising on or after the
Petition Date and before the Effective Date for a cost or expense of administration of the Chapter 11 Cases
pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the
actual and necessary costs and expenses of preserving the estates and operating the businesses of the Debtors
incurred on or after the Petition Date and through the Effective Date; (b) Allowed DIP Administrative
Claims; (c) Allowed Professional Fee Claims; (d) the Restructuring Expenses; (e) all fees and charges
assessed against the Estates under chapter 123 of the Judicial Code; and (f) any adequate protection claims
provided for in the Cash Collateral Orders.

        46.     “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be (a) 30 days after the Effective Date for Administrative Claims other
than Professional Fee Claims and (b) 45 days after the Effective Date for Professional Fee Claims.

        47.     “Administrative Claims Objection Bar Date” means the deadline for Filing objections to
requests for payment of Administrative Claims required to File a Proof of Claim form, which shall be the
first Business Day that is 60 days following the Effective Date; provided that the Administrative Claims
Objection Bar Date may be extended by the Bankruptcy Court after notice and a hearing.

        48.     “Adyen” means Adyen NV, Simon Carmiggel Tsraat 6-50, 5th Floor, 1011 DJ, Amsterdam,
the Netherlands.

         49.     “Adyen LC Equity Distribution” means the percentage of New Interests equal to (i) new
shares issued, calculated as the aggregate amount of the Adyen LC divided by a conversion price of $20.00
divided by (ii) total shares outstanding post-equitization, with such percentage to be subject to dilution on
account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, Exit LC SoftBank Cash
Collateral Equity Distribution, the DIP TLC Fee Equity Distribution, and the Exit LC Lender Fees.

         50.     “Adyen LCs” means, collectively (i) that certain amended standby letter of credit with the
number 40000427 issued on March 6, 2024, by Goldman Sachs International Bank for the benefit Adyen,
and (ii) that certain standby letter of credit with the number EGBLNS007923-EGS00792300 issued on
March 25, 2024, by JPMorgan, for the benefit of Adyen.

        51.     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With respect
to any Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person were a
Debtor. “Affiliated” has a correlative meaning.

        52.      “Agent” means any collateral agent or trustee, administrative agent, lien agent, term agent,
indenture trustee, or similar Entity under the Prepetition LC Credit Agreement, Indentures, DIP Documents,
Exit LC Facility Documents, or similar agreements, including any successors thereto.

        53.     “Agent Professionals” means any counsel or advisors providing advice to the Agents in
connection with the Restructuring Transactions.



                                                     5
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 15 of 206


        54.       “Aggregate Exit LC Cash Collateral” means the cash collateral supporting the Rolled
Undrawn DIP TLC Claims (including any required associated “overcollateralization” necessary to provide
the requisite letter of credit collateralization for the Exit LC Facility as contemplated in the Exit LC Facility
Documents).

          55.      “Allowed” means, with respect to a Claim or Interest, any Claim or Interest (or portion
thereof) against any Debtor that, except as otherwise provided in this Plan: (a) is evidenced by a Proof of
Claim or Proof of Interest or request for payment of an Administrative Claim, as applicable, that is Filed on
or before the applicable Claims Bar Date; (b) is not listed in the schedules as contingent, unliquidated, or
disputed, and for which no contrary or superseding Proof of Claim, as applicable, has been timely Filed;
(c) is allowed, compromised, settled, or otherwise resolved pursuant to the terms of this Plan, in a Final
Order of the Bankruptcy Court, in any stipulation that is approved by a Final Order of the Bankruptcy Court,
or pursuant to any contract, instrument, indenture, or other agreement entered into or assumed in connection
herewith. For the avoidance of doubt, any Claim or Interest (or portion thereof), that has been disallowed
pursuant to a Final Order shall not be an “Allowed” Claim; provided that, with respect to a Claim or Interest
described in clauses (a) and (b) above, such Claim or Interest shall be considered Allowed only if, and to the
extent that, it is not Disputed and the period to object to such Claim or Interest has expired. Any Claim that
has been or is hereafter listed in the schedules as contingent, unliquidated, or disputed, and for which no
Proof of Claim is or has been timely Filed, is not considered Allowed and shall be expunged without further
action by the Debtors and without further notice to any party or action, approval, or order of the Bankruptcy
Court. Notwithstanding anything to the contrary herein, no Claim of any Entity subject to section 502(d) of
the Bankruptcy Code shall be deemed Allowed unless and until such Entity pays in full the amount that it
owes such Debtor or Reorganized Debtor, as applicable. Any Claim or Interest that has been or is hereafter
categorized as contingent, unliquidated, or Disputed, and for which no Proof of Claim or Proof of Interest,
as applicable, is or has been timely Filed, is not considered Allowed, as set forth in this Plan and the
Confirmation Order. For the avoidance of doubt, a Proof of Claim or Proof of Interest Filed after the
applicable Claims Bar Date shall not be Allowed for any purposes whatsoever absent entry of a Final Order
allowing such late-Filed Claim. “Allow,” “Allowing,” and “Allowance” shall have correlative meanings.

        56.     “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or other Claims and Causes of Action, or remedies that may be brought by, or on behalf of,
the Debtors or their Estates or other authorized parties in interest under the Bankruptcy Code or applicable
non-bankruptcy Law, including Claims, Causes of Action, or remedies arising under chapter 5 of the
Bankruptcy Code or under similar Law.

      57.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time.

        58.      “Bankruptcy Court” means the United States Bankruptcy Court for the District of New
Jersey presiding over the Chapter 11 Cases, or any other court having jurisdiction over the Chapter 11 Cases,
including, to the extent of the withdrawal of reference under 28 U.S.C. §§ 157 and 1334 and the Standing
Order of Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the District
of New Jersey pursuant to 28 U.S.C. § 151.

        59.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court, each,
as amended from time to time.

        60.    “Bar Date Order” means the Order (I) Setting Bar Dates for Submitting Proofs of Claim,
Including Requests for Payment Under Section 503(B)(9) of the Bankruptcy Code; (II) Establishing an
Amended Schedules Bar Date, a Rejection Damages Bar Date, and a Stub Rent Bar Date; (III) Approving

                                                       6
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 16 of 206


the Form, Manner, and Procedures for Filing Proofs of Claim; (IV) Approving Notices Thereof; and
(V) Granting Related Relief [Docket No. 1285] (as amended, modified, or supplemented from time to time
in accordance with the terms thereof).

       61.       “Business Day” means any day other than a Saturday, Sunday, a “legal holiday” (as defined
in Bankruptcy Rule 9006(a)), or other day on which commercial banks are authorized to close under the
Laws of, or are in fact closed in, the state of New York or country of Japan.

        62.     “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

         63.    “Cash Collateral Documents” means the Cash Collateral Orders, the Cash Collateral
Motion, any collateral, security, or other documentation related thereto, and any budgets (including initial
and subsequent budgets) related thereto, which shall constitute “Definitive Documents” under, and be
subject to and consistent in all respects with, the RSA, including the consent rights set forth therein, and as
may be modified, supplemented, or amended in accordance with the RSA.

         64.      “Cash Collateral Final Order” means the Final Order (I) Authorizing the Debtors to Use
Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying the
Automatic Stay and (IV) Granting Related Relief [Docket No. 428], which shall constitute a “Definitive
Document” under, and be subject to and consistent in all respects with, the RSA, including the consent rights
set forth therein, and as may be modified, supplemented, or amended in accordance with the RSA.

         65.      “Cash Collateral Interim Order” means the Interim Order (I) Authorizing the Debtors to
Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying
the Automatic Stay and (IV) Granting Related Relief [Docket No. 103], which shall constitute a “Definitive
Document” under, and be subject to and consistent in all respects with, the RSA, including the consent rights
set forth therein, and as may be modified, supplemented, or amended in accordance with the RSA.

         66.    “Cash Collateral Motion” means the Debtors’ Motion for Entry of Interim and Final Orders
(I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Related Adequate Protection to the
Prepetition Secured Parties, (III) Scheduling a Final Hearing, (IV) Modifying the Automatic Stay, and
(V) Granting Related Relief [Docket No. 43], which shall constitute a “Definitive Document” under, and be
subject to and consistent in all respects with, the RSA, including the consent rights set forth therein, and as
may be modified, supplemented, or amended in accordance with the RSA.

        67.      “Cash Collateral Orders” means, collectively, the Cash Collateral Interim Order, the Cash
Collateral Final Order, and any other orders entered in the Chapter 11 Cases authorizing the Debtors’ use of
cash collateral, which shall constitute “Definitive Documents” under, and be subject to and consistent in all
respects with, the RSA, including the consent rights set forth therein, and as may be modified, supplemented,
or amended in accordance with the RSA.

        68.      “Causes of Action” means, collectively, any and all claims, interests, controversies, actions,
proceedings, reimbursement claims, contribution claims, recoupment rights, debts, third-party claims,
indemnity claims, damages, remedies, causes of action, demands, rights, suits, obligations, liabilities,
accounts, judgments, defenses, offsets, powers, privileges, licenses, franchises, Liens, guaranties, Avoidance
Actions, agreements, counterclaims, and cross-claims, of any kind or character whatsoever, whether known
or unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-contingent, matured
or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed or undisputed, asserted or
unasserted, direct or indirect, assertable directly or derivatively, choate or inchoate, reduced to judgment or
otherwise, secured or unsecured, whether arising before, on, or after the Petition Date, in tort, Law, equity,


                                                      7
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 17 of 206


or otherwise pursuant to any theory of civil Law (whether local, state, or federal U.S. Law or non-U.S. Law).
Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and claims under
contracts or for breaches of duties imposed by Law or in equity; (b) any Claim (whether under local, state,
federal U.S. Law or non-U.S. civil Law) based on or relating to, or in any manner arising from, in whole or
in part, tort, breach of contract, breach of fiduciary duty, fraudulent transfer or fraudulent conveyance or
voidable transaction Law, violation of local, state, or federal non-U.S. Law or breach of any duty imposed
by Law or in equity, including securities Laws and negligence; (c) the right to object to or otherwise contest
Claims or Interests and any Claim Objections; (d) claims pursuant to section 362 or chapter 5 of the
Bankruptcy Code; and (e) such claims and defenses as fraud, mistake, duress, and usury, and any other
defenses set forth in section 558 of the Bankruptcy Code.

        69.     “Chapter 11 Cases” means: (a) when used with reference to a particular Debtor, the case
pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and (b) when
used with reference to all Debtors, the procedurally consolidated and jointly administered chapter 11 cases
pending for the Debtors in the Bankruptcy Court.

        70.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against any
of the Debtors.

       71.     “Claim Objection” means an objection to the allowance of a Claim as set forth in section 502
of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any order of the Bankruptcy Court regarding
omnibus claims objections.

         72.     “Claims Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent retained by the Debtors in the Chapter 11 Cases [Docket No. 91].

        73.      “Claims Bar Date” means the applicable deadline by which Proofs of Claim must be Filed,
as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) this Plan.

         74.     “Claims Register” means the official register of Claims maintained by the Claims Agent or
the clerk of the Bankruptcy Court.

         75.    “Class” means a class of Claims or Interests as set forth in Article III of this Plan pursuant
to section 1122(a) and 1123(a)(1) of the Bankruptcy Code.

         76.   “Combined Hearing” means the combined hearing held by the Bankruptcy Court to consider
Confirmation, pursuant to Bankruptcy Rules 3017 and 3020(b)(2) and sections 1125, 1128, and 1129 of the
Bankruptcy Code, and final approval of the Disclosure Statement, as such hearing may be continued from
time to time.

        77.      “Compensation and Benefits Programs” means all employment, change-in-control
agreements, and severance agreements and policies, and all employment, wages, compensation, and benefit
plans and policies, staffing agencies and independent contractor obligations, retirement plans, savings plans,
bonus and incentive programs (whether cash or equity based), reimbursable expenses, paid leave benefits,
retention programs, additional benefits programs (including any fringe benefits or perquisites), payroll
vendor obligations, healthcare plans, disability plans, COBRA plans, severance benefit plans and payments,
life and accidental death and dismemberment insurance plans and programs, for all employees of the
Debtors, and all amendments and modifications thereto, applicable to the Debtors’ employees, former
employees, retirees, and non-employee directors and managers, in each case existing with the Debtors as of
immediately prior to the Effective Date.



                                                      8
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                Document    Page 18 of 206


        78.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases.

       79.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003
and 9021.

        80.      “Confirmation Order” means the order entered by the Bankruptcy Court confirming this
Plan and approving the Disclosure Statement on a final basis, pursuant to sections 1125 and 1129 of the
Bankruptcy Code, which shall be subject to the consent of the Required Consenting Stakeholders and the
Reasonable Consent of the Creditors’ Committee, and shall constitute a “Definitive Document” under, and
be subject to and consistent in all respects with, the RSA.

       81.     “Consenting Stakeholders” has the meaning set forth in the RSA.

       82.     “Consummation” means the occurrence of the Effective Date.

        83.     “Controlled Subsidiary” means any subsidiary controlled by the Debtors in a manner that
allows the Debtors to legally control whether such subsidiary initiates an Insolvency Proceeding.

        84.     “Corporate Governance Term Sheet” means that certain corporate governance term sheet
included in the Plan Supplement and setting forth the terms of the New Corporate Governance Documents
(as may be modified, supplemented, or amended in accordance with the terms hereof, thereof, and the RSA),
which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute a
“Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        85.     “Court-Ordered Cure Obligation” means, as determined and ordered by the Bankruptcy
Court, any Cure Obligation with respect to any Executory Contract or Unexpired Lease that varies from the
Cure Obligations set forth in the Schedule of Assumed Executory Contracts and Unexpired Leases.

        86.     “Creditors’ Committee” means the statutory committee of unsecured creditors appointed in
the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the U.S. Trustee pursuant to the
Notice of Appointment of Official Committee of Unsecured Creditors [Docket No. 150] on November 16,
2023, as may be reconstituted from time to time.

      87.      “Creditors’ Committee Member” means each Entity that is a member of the Creditors’
Committee, solely in its capacity as such.

        88.     “Creditors’ Committee Member Expenses” means the professional fees and expenses of the
Creditors’ Committee Members, other than the Unsecured Notes Trustee and 3L Notes Trustee, not to exceed
$650,000.00 in the aggregate.

       89.     “Cupar” means Cupar Grimmond, LLC, a Delaware limited liability company.

        90.    “Cupar Professionals” means Cooley LLP, as counsel, and Piper Sandler & Co., as financial
advisor, and any other advisors providing advice in connection with the Restructuring Transactions and
pursuant to an engagement letter approved by the Debtors in their discretion in consultation with the
Required Consenting Stakeholders.

       91.     “Cure Claim” means a monetary Claim based upon any Debtor’s defaults under an
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties under


                                                   9
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 19 of 206


an Executory Contract or Unexpired Lease) that is required to be cured pursuant to section 365 of the
Bankruptcy Code.

         92.     “Cure Obligation” means, collectively, all (a) Cure Claims and (b) other obligations
required to cure any non-monetary defaults (the performance required to cure such non-monetary defaults
and the timing of such performance will be described in reasonable detail in a notice of proposed assumption
and assignment) under any Executory Contract or Unexpired Lease that is to be assumed by the Debtors
pursuant to sections 365 or 1123 of the Bankruptcy Code.

        93.     “D&O Liability Insurance Policies” means all Insurance Contracts (including any “tail
policy”) issued at any time covering any of the Debtors’ current or former directors’, managers’, officers’,
and/or employees’ liability.

         94.    “Debt Documents” means, collectively, the Prepetition LC Facility Documents, the Notes,
the Indentures, the 1L/2L/3L Intercreditor Agreement, the 1L Pari Passu Intercreditor Agreement,
the 2L Collateral Agency Agreement, the 3L Collateral Agency Agreement, the DIP Documents, the Cash
Collateral Documents, and any other agreements, instruments, pledge agreements, intercreditor agreements,
guaranties, fee letters, control agreements, supplements, and other ancillary documents related thereto
(including any security agreements, intellectual property security agreements, or notes) (as amended,
restated, supplemented, waived, and/or modified from time to time).3

         95.     “Debtor Release” means the release given by the Debtors to the Released Parties as set forth
in Article VIII.C of this Plan.

         96.     “Definitive Chapter 11 Documents” means all agreements, instruments, pleadings, orders,
forms, questionnaires, and other documents (including all exhibits, schedules, supplements, appendices,
annexes, instructions, and attachments thereto) that are utilized to implement, effectuate, or that otherwise
relate to, the Restructuring Transactions, including: (a) the DIP Documents; (b) the Cash Collateral
Documents, (c) the Exit LC Facility Documents; (d) the New Corporate Governance Documents; (e) any
documents in connection with any First Day Pleadings or “second day” pleadings and all orders sought
pursuant thereto (including the First Day Pleadings) and First Day Orders; (f) this Plan; (g) the Confirmation
Order and any pleadings Filed by the Debtors in support of entry thereof; (h) the Disclosure Statement and
Solicitation Materials (including any motion seeking either approval of the Disclosure Statement or
combined or conditional approval of the Disclosure Statement and/or Plan); (i) the Disclosure Statement
Order; (j) any “key employee” retention or incentive plan and any motion or order related thereto; (k) the
Restructuring Transactions Exhibit and Ruling Request, if any; (l) the Plan Supplement; (m) any material
agreements, settlements, motions, pleadings, briefs, applications, orders, and other filings with the
Bankruptcy Court with respect to the rejection, assumption and/or assumption and assignment of Executory
Contracts and/or Unexpired Leases; (n) if applicable, any sale order and any other motions, proposed orders,
and definitive documentation, including any purchase agreement or procedures, related to the sale of all or
substantially all of the assets of the Debtors taken as a whole; (o) the 9019 Order; (p) any other material
(with materiality determined in the reasonable discretion of the Debtors subject to the consent of the
Required Consenting Stakeholders) agreements, settlements, applications, motions, pleadings, briefs, orders,
and other filings with the Bankruptcy Court (including any documentation related to any equity or debt
investment or offering with respect to any Debtors) that may be reasonably necessary or advisable to
implement the Restructuring Transactions; and (q) any pleadings that impose or seek authority to impose
sell-down orders or restrictions on the ability of the Consenting Stakeholders or other parties to trade any of

3   For the avoidance of doubt, “Exit LC Facility Documents” should not be considered “Debt Documents” for
    purposes of this definition.


                                                      10
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 20 of 206


the Debtors’ securities, each of which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA, as may be modified, supplemented, or amended in accordance with the RSA and
subject to the consent of the Required Consenting Stakeholders.

        97.     “Definitive Documents” means, collectively, the Definitive Chapter 11 Documents and the
Definitive Insolvency Documents, which shall be consistent in all respects with the RSA and subject to the
consent of the Required Consenting Stakeholders; provided that notwithstanding anything to the contrary
herein, any monthly or quarterly operating reports, retention applications, fee applications, fee statements,
and declarations in support thereof or related thereto shall not constitute Definitive Documents.

         98.     “Definitive Insolvency Documents” means all agreements, instruments, pleadings, orders,
forms, questionnaires, and other documents (including all exhibits, schedules, supplements, appendices,
annexes, instructions, and attachments thereto) that are utilized to implement or effectuate, or that otherwise
relate to, the Restructuring Transactions, in connection with any Insolvency Proceeding other than the
Chapter 11 Cases, each of which shall be (except as otherwise set forth herein) subject to the consent of the
Required Consenting Stakeholders, including: (a) a certified copy of the decision commencing such
Insolvency Proceeding or any analogous procedure under applicable law; (b) where applicable, an order of
the relevant court in which each Insolvency Proceeding has been filed, giving orders for directions with
respect to, among other things (if applicable), the convening of creditor and/or member meetings to vote on
the relevant Foreign Plan; (c) any Foreign Plan; (d) where applicable, an order of the relevant court in which
each Insolvency Proceeding has been filed sanctioning the relevant Foreign Plan; and (e) any other material
document, deed, agreement, Filing, notification, letter, or instrument necessary or desirable entered into by
a Debtor or Consenting Stakeholder in connection with the relevant Foreign Plan or Insolvency Proceeding
and referred to in (a) above (including, for the avoidance of doubt, documents described in the explanatory
statement relevant to any Insolvency Proceeding); provided that each of the foregoing shall be subject to the
consent of the Required Consenting Stakeholders and shall constitute a “Definitive Document” under, and
be subject to and consistent in all respects with, the RSA, as may be modified, supplemented, or amended
only in accordance with the RSA subject to the consent of the Required Consenting Stakeholders.

         99.    “DIP Administrative Claim” means any DIP TLC Fee Claim and any DIP New Money
Claim.

         100.   “DIP Agents” means, collectively, the DIP LC/TLC Agent and the DIP New Money Agent.

     101.    “DIP Agreements” means, collectively, the DIP LC/TLC Credit Agreement and the DIP
New Money Credit Agreements.

      102.     “DIP Claim” means, any and all Claims arising under the DIP Documents, including the
DIP Administrative Claims, the Drawn DIP TLC Claims, and the Undrawn DIP TLC Claims.

        103. “DIP Documents” means, collectively, the DIP LC/TLC Documents, the DIP Orders, and
the DIP New Money Documents.

      104.  “DIP Facilities” means, collectively, the DIP LC Facility, the DIP TLC Facility, and the
DIP New Money Facilities.

        105.    “DIP LC Facility” means that certain senior secured, first priority cash collateralized
debtor-in-possession “first out” letter of credit facility provided by the DIP LC Issuers in an aggregate
amount not to exceed $650,000,000 on the terms of, and subject to the conditions set forth in, the DIP
LC/TLC Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP LC/TLC Order.


                                                      11
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                  Document    Page 21 of 206


        106.    “DIP LC Issuers” Goldman Sachs International Bank and JPMorgan Chase Bank, N.A.

       107.     “DIP LCs” means the letters of credit issued, rolled, replaced, reissued, amended, extended,
renewed, or otherwise continued by the DIP LC Issuers under the DIP LC Facility.

        108.     “DIP LC/TLC Agent” means, collectively, pursuant to the DIP LC/TLC Credit Agreement,
Goldman Sachs International Bank as senior LC facility administrative agent, shared collateral agent, and
additional collateral agent, JPMorgan as the additional collateral agent, SVF II as the junior TLC facility
administrative agent, and any of their successors or assigns.

         109.    “DIP LC/TLC Credit Agreement” means that certain senior secured debtor-in-possession
credit agreement (as the same may be amended, restated, amended and restated, supplemented, waived, or
otherwise modified from time to time) entered into as of December 19, 2023, by and among WeWork
Companies U.S. LLC, as borrower, Goldman Sachs International Bank, as senior LC facility administrative
agent, shared collateral agent, issuing bank, additional collateral agent, sole structuring agent, joint lead
arranger, joint bookrunner, JPMorgan, as issuing bank, additional collateral agent, joint lead arranger, joint
bookrunner, SVF II as junior TLC facility lender and junior TLC facility administrative agent, SVF II GP
(Jersey) Limited, as general partner of SVF II, and SB Global Advisors Limited, as manager of SVF II.

        110.     “DIP LC/TLC Documents” means, collectively, the DIP LC/TLC Credit Agreement and any
other agreements, instruments, pledge agreements, guaranties, security agreements, control agreements,
notes, fee letters, and other Credit Documents (as defined in the DIP LC/TLC Credit Agreement) and
documents related thereto (as amended, restated, supplemented, waived, and/or modified from time to time).

        111.    “DIP LC/TLC Order” means the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing, (II) Granting Liens and Providing Claims with Superpriority Administrative
Expense Status, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 427].

     112.    “DIP Lenders” means, collectively, the DIP LC Issuers, the DIP TLC Lender, and the DIP
New Money Lenders.

        113.  “DIP New Money Agent” means the Agent in its capacity as such, under the DIP New Money
Credit Agreements.

        114.    “DIP New Money AHG Lenders” means those Tranche A Initial Commitment Parties and/or
their Related Funds (both as defined in the RSA) that are DIP New Money Lenders.

     115.    “DIP New Money Claims” means the DIP New Money Interim Facility Claims and the DIP
New Money Exit Facility Claims.

      116.     “DIP New Money Credit Agreements” means the DIP New Money Interim Facility Credit
Agreement and the DIP New Money Exit Facility Credit Agreement.

        117.    “DIP New Money Documents” means, collectively, the DIP New Money Interim Facility
Documents and the DIP New Money Exit Facility Documents (each as may be modified, supplemented, or
amended), which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute
a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        118.     “DIP New Money Exit Facility” means a superpriority, senior secured and priming
debtor-in-possession term loan credit facility consisting of an aggregate principal amount of $400 million
term loans, as further described in the DIP New Money Exit Facility Documents.


                                                     12
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                 Document    Page 22 of 206


         119.    “DIP New Money Exit Facility Claims” means any Claims on account of the “Obligations”
(as defined in the DIP New Money Exit Facility Documents, and including any interest, premiums, fees, or
other amounts owed thereunder) due or payable as of the Effective Date under the DIP New Money Exit
Facility Documents attributable to the DIP New Money Exit Facility.

        120.     “DIP New Money Exit Facility Credit Agreement” means the debtor-in-possession credit
agreement, to be entered into, as the same may be amended, restated, amended and restated, supplemented,
waived, or otherwise modified from time to time, as set forth in the Plan Supplement or the DIP New Money
Motion, as applicable, which shall be subject to the consent of the Required Consenting Stakeholders and
shall constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the
RSA.

         121.   “DIP New Money Exit Facility Documents” means, collectively, the DIP New Money Exit
Facility Credit Agreement and all agreements, documents, and instruments delivered or entered into in
connection with the DIP New Money Exit Facility.

      122.    “DIP New Money Facilities” means the DIP New Money Interim Facility and the DIP New
Money Exit Facility.

         123.    “DIP New Money Initial Commitment Premium” means 10% of the New Interests, subject
to dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the Exit LC
Lender Fees, the Adyen LC Equity Distribution, the Exit LC SoftBank Cash Collateral Equity Distribution,
and the DIP TLC Fee Equity Distribution.

        124.     “DIP New Money Interim Facility” means a superpriority, senior secured and priming
debtor-in-possession term loan credit facility consisting of an aggregate principal amount of $50 million
term loans, as further described in the DIP New Money Interim Facility Documents.

       125.     “DIP New Money Interim Facility Claims” means any Claims on account of the
“Obligations” (as defined in the DIP New Money Interim Facility Documents, and including any interest,
premiums, fees, or other amounts owed thereunder) due or payable as of the Effective Date under the DIP
New Money Interim Facility Documents attributable to the DIP New Money Interim Facility.

        126.     “DIP New Money Interim Facility Credit Agreement” means the debtor-in-possession credit
agreement, to be entered into, as the same may be amended, restated, amended and restated, supplemented,
waived, or otherwise modified from time to time, as set forth in the Plan Supplement or the DIP New Money
Motion, as applicable, which shall be subject to the consent of the Required Consenting Stakeholders and
shall constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the
RSA.

         127.    “DIP New Money Interim Facility Documents” means, collectively, the DIP New Money
Interim Facility Credit Agreement and any other agreements, instruments, pledge agreements, guaranties,
security agreements, control agreements, notes, fee letters, and documents related thereto (as amended,
restated, supplemented, waived, and/or modified from time to time).

       128.    “DIP New Money Joining Lenders” means the Holders of 1L Series 1 Notes Claims and 2L
Secured Notes Claims that (a) are not the DIP New Money AHG Lenders and (b) elect to participate in the
DIP New Money Facilities.

     129.    “DIP New Money Lenders” means the lender(s), each in its capacity as such, under the DIP
New Money Facilities; provided that, subject to the consent of the Required Consenting Stakeholders, each


                                                   13
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                   Document    Page 23 of 206


Holder of 1L Series 1 Notes Claims and 2L Secured Notes Claims is expected to be offered the opportunity
to participate in the DIP New Money Facilities.

        130.     “DIP New Money Motion” means the Debtors’ Motion for Entry of Interim and Final Orders
(I) Authorizing the Debtors to Obtain New Postpetition Financing, (II) Granting Liens and Providing Claims
Superpriority Administrative Expense Status, (III) Modifying the Automatic Stay, (IV) Scheduling a Final
Hearing, and (V) Granting Related Relief [Docket No. 1804], as may be modified, supplemented, or
amended, which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute
a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        131.    “DIP New Money Orders” means, collectively, the Interim Order (I) Authorizing the
Debtors to Obtain New Postpetition Financing, (II) Granting Liens and Providing Claims Superpriority
Administrative Expense Status, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and
(V) Granting Related Relief [Docket No. 1883] and any Final Order entered by the Bankruptcy Court
approving the DIP New Money Motion, each as may be modified, supplemented, or amended and each of
which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute a
“Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        132.     “DIP New Money Supplemental Premium” means the New Interests to be issued to the DIP
New Money AHG Lenders on the Effective Date comprising approximately 6.90%4 of the New Interests,
which would have otherwise been allocated to the DIP New Money Lenders (other than the DIP New Money
AHG Lenders and the DIP New Money Joining Lenders) pursuant to the New Money Equity Distribution,
and shall instead be issued to the DIP New Money AHG Lenders in connection with the DIP New Money
Exit Facility as a premium for the DIP New Money AHG Lenders providing commitments under the DIP
New Money Exit Facility. For the avoidance of doubt, the New Interests issued as DIP New Money
Supplemental Premium shall be subject to dilution on the same terms as the New Interests issued to the DIP
New Money AHG Lenders on the Effective Date or as otherwise modified by the Required Consenting
Stakeholders.

          133.   “DIP Orders” means, collectively, the DIP LC/TLC Order and the DIP New Money Orders,
as may be modified, supplemented, or amended, which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute “Definitive Documents” under, and be subject to and consistent
in all respects with, the RSA.

        134.    “DIP TLC Claims” means all Claims of the DIP TLC Lender arising under, derived from,
or based upon the DIP LC/TLC Documents, including Claims for all Junior TLC Facility Credit Document
Obligations (as defined in the DIP LC/TLC Credit Agreement), including, but not limited to, all principal
amounts outstanding, interest, fees, expenses, costs, and other charges arising under the DIP LC/TLC Credit
Agreement.

        135.     “DIP TLC Facility” means that certain first priority debtor-in-possession “last out” term
loan C facility provided by the DIP TLC Lender in an aggregate principal amount of $671,237,045.94 on
the terms of, and subject to the conditions set forth in, the DIP LC/TLC Credit Agreement and approved by
the Bankruptcy Court pursuant to the DIP LC/TLC Order.




4   This number remains subject to further adjustment based on the final reconciliation of Claim amounts.


                                                        14
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 24 of 206


       136.    “DIP TLC Fee Claims” means any Claims arising from the fees and expenses owing to the
DIP TLC Lender under the DIP TLC Facility, including reasonable and documented professionals’ fees,
which Claims are Allowed super-priority administrative expenses pursuant to the DIP LC/TLC Order.

        137.     “DIP TLC Fee Equity Distribution” means the percentage of New Interests equal to (i) new
shares issued, calculated as the amount of DIP TLC Fee Claims divided by a conversion price of $20.00
divided by (ii) total shares outstanding post-equitization, with such percentage to be subject to dilution on
account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, Adyen LC Equity
Distribution, Exit LC SoftBank Cash Collateral Equity Distribution, and the Exit LC Lender Fees.

      138.     “DIP TLC Lender” means SVF II in its capacity as the junior TLC facility lender under the
DIP TLC Facility.

        139.    “Disbursing Agent” means, as applicable, the Entity or Entities selected by (a) the Debtors
or the Reorganized Debtors, including, if applicable, the Agents under the relevant Indentures, or (b) the
UCC Settlement Trustee (or its designee), as applicable, to make or to facilitate distributions, allocations,
and/or issuances in accordance with, and pursuant to, this Plan, the Confirmation Order (as applicable), the
UCC Settlement Trust Documents (as applicable), the 9019 Order (as applicable), and the Unsecured Notes
Settlement (as applicable).

         140.    “Disclosure Statement” means the disclosure statement relating to this Plan, as may be
amended, supplemented, or modified from time to time, including all exhibits, schedules, appendices, related
documents, ballots, notices, and procedures related to the solicitation of votes to accept or reject this Plan,
in each case, as may be amended, supplemented, or modified from time to time, that is prepared and
distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable Law,
to be approved pursuant to the Disclosure Statement Order, each as may be modified, supplemented, or
amended, and which shall be subject to the consent of the Required Consenting Stakeholders and shall
constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        141.     “Disclosure Statement Order” means the order (and all exhibits thereto), entered by the
Bankruptcy Court, conditionally approving the Disclosure Statement and the Solicitation Materials, and
allowing solicitation of this Plan to commence (each as may be modified, supplemented, or amended), which
shall be subject to the consent of the Required Consenting Stakeholders and shall constitute a “Definitive
Document” under, and be subject to and consistent in all respects with, the RSA.

         142.    “Disputed” means, as to a Claim or an Interest, any Claim or Interest (or portion thereof):
(a) that is not Allowed; (b) that is not disallowed by this Plan, the Bankruptcy Code, or a Final Order, as
applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or Proof of Interest or
otherwise made a written request to a Debtor for payment, without any further notice to or action, order, or
approval of the Bankruptcy Court.

        143.    “Distribution Date” means, except as otherwise set forth herein, or as provided by the UCC
Settlement or the UCC Settlement Trust Documents (as applicable), the date or dates determined by the
Debtors or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring on or
as soon as is reasonably practicable after the Effective Date, subject to the requirements of any Foreign
Proceeding that satisfies the consent rights with respect thereto set forth in the RSA, upon which the
Disbursing Agent shall, as soon as reasonably practicable after receipt thereof, make distributions to Holders
of Allowed Claims and/or Allowed Interests (as and if applicable) entitled to receive distributions under this
Plan.




                                                      15
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 25 of 206


        144.     “Distribution Record Date” means the record date for purposes of determining which
Holders of Allowed Claims against or Allowed Interests in the Debtors are eligible to receive distributions
under this Plan, which date shall be the Confirmation Date, or such other date as determined by the Debtors
and the Required Consenting Stakeholders. The Distribution Record Date shall not apply to Securities of
the Debtors deposited with DTC or another similar securities depository (including the applicable Notes),
the Holders of which shall receive a distribution in accordance with Article VI of this Plan and, to the extent
applicable, the 9019 Order, the UCC Settlement Trust Documents, and the customary procedures of DTC or
another similar securities depository.

        145.     “Drawn DIP TLC Claims” means a portion of the DIP TLC Claims in an amount equal to
the principal face amount due or payable under the DIP LC Facility attributable to DIP LCs that have been
drawn prior to the Effective Date, including any fees or other amounts cash collateralized and actually paid
to the DIP LC Issuers from the LC Cash Collateral Account (as defined in the DIP LC/TLC Credit
Agreement), to the extent the beneficiary thereof has not returned the proceeds of such draw to such LC
Cash Collateral Account (or such proceeds do not otherwise constitute Cash held in such LC Cash Collateral
Account) prior to the Effective Date.

        146.    “Drawn DIP TLC Equity Distribution” means a percentage of the Prepetition Secured
Equity Distribution equal to: the amount of Drawn DIP TLC Claims (i) divided by the sum of Total 1L
Claims, Drawn DIP TLC Claims, and Adjusted 2L Notes Claims and (ii) multiplied by 2.00.

        147.    “DTC” means The Depository Trust Company, a New York corporation.

        148.     “Effective Date” means the first Business Day after the Confirmation Order is entered on
which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article IX.A of this
Plan have been satisfied or waived in accordance with Article IX.B of this Plan and (b) this Plan is declared
effective by the Debtors.

        149.     “Emergence Awards” means the awards that may be allocated on or prior to the Effective
Date as emergence grants to retain and recruit individuals selected to serve in key senior management
positions on or after the Effective Date, subject to the terms and conditions, including, but not limited to,
with respect to form, allocated percentage of the MIP, structure, and vesting, as more fully set forth in the
Plan Supplement and subject to the consent of the Required Consenting Stakeholders.

        150.    “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       151.      “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s Chapter 11 Case.

        152.  “Excess DIP TLC Claims” means the portion of the DIP TLC Claims in an amount equal to
the DIP TLC Claims minus the Drawn DIP TLC Claims minus the Rolled Undrawn DIP TLC Claims.

        153.     “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the
Debtors; (b) the Reorganized Debtors; (c) the Creditors’ Committee; (d) the Creditors’ Committee Members;
and (e) with respect to each of the foregoing Entities in clauses (a) through (b), each of the Related Parties
of such Entity; provided that notwithstanding the foregoing, the individuals listed in the Released Parties
Exception Schedule shall not be Exculpated Parties.

         154.     “Executory Contract” means a contract to which one or more of the Debtors is a party and
that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code, including any
modifications, amendments, addenda, or supplements thereto or restatements thereof.


                                                      16
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                  Document    Page 26 of 206


       155.    “Existing Board Members” means each member of the board of directors (or similar
governing body, if applicable) of the Debtors who holds such position between the Petition Date and
immediately prior to the Effective Date.

       156.     “Exit LCs” means the letters of credit issued, rolled, replaced, reissued, amended, extended,
renewed, or otherwise continued by the Exit LC Facility Issuing Banks under the Exit LC Facility.

        157.      “Exit LC Assigned Cash Collateral” means the 37.5% of the Aggregate Exit LC Cash
Collateral (which shall not be less than 37.5% of the face amount of the associated Exit LCs supported by
the Exit LC Facility as of the Effective Date) but excluding any associated “overcollateralization” required
by the Exit LC Facility (which shall, for the avoidance of doubt, constitute Exit LC SoftBank Cash
Collateral), rights to which shall be assigned to the Reorganized Debtors on the Effective Date; provided,
that any amounts above those required to cash collateralize the Exit LC Facility shall be: (i) with respect to
Drawn DIP TLC Claims, returned to the SoftBank Parties upon emergence; and (ii) with respect to
Post-Emergence Drawn Exit LC Amounts, treated in accordance with Article IV.D.1; provided, further, that
the $25 million used by the Debtors in connection with the Adyen LC shall be included in, and shall not be
additive to, the Exit LC Assigned Cash Collateral.

         158.    “Exit LC Assigned Cash Collateral Equity Distribution” means the percentage of New
Interests equal to (i) new shares issued, calculated as the amount of the Exit LC Assigned Cash Collateral
minus the amount of the Adyen LCs, which on the Effective Date shall be issued and held in escrow by the
Reorganized Debtors for the benefit of the DIP TLC Lender, pursuant to the terms of the Exit LC Facility
Documents, divided by a conversion price of $50.00; divided by (ii) total shares outstanding
post-equitization, with such percentage to be subject to dilution on account of the MIP, the DIP TLC Fee
Equity Distribution, Adyen LC Equity Distribution, Exit LC SoftBank Cash Collateral Equity Distribution,
and the Exit LC Lender Fees.

         159.    “Exit LC Credit Agreement” means the credit agreement related to the provision of credit
(as the same may be amended, restated, amended and restated, supplemented, waived, or otherwise modified
from time to time) to be provided on the Effective Date, as set forth in the Plan Supplement, which shall be
subject to the consent of the Required Consenting Stakeholders and shall constitute a “Definitive Document”
under, and be subject to and consistent in all respects with, the RSA.

       160.     “Exit LC Facility” means the letter of credit facility, to be provided by the Exit LC Facility
Lender and the Exit LC Facility Issuing Banks on the terms of, and subject to the conditions set forth in, the
Exit LC Credit Agreement.

        161.  “Exit LC Facility Agents” means, the Agent(s) in its capacity as such, under the Exit LC
Credit Agreement.

       162.      “Exit LC Facility Documents” means, collectively, the Exit LC Credit Agreement, collateral
documents, mortgages, deeds of trust, Uniform Commercial Code statements, and other loan documents
governing the Exit LC Facility (each as may be modified, supplemented, or amended), the material
documents of which shall be included in the Plan Supplement, which shall be subject to the consent of the
Required Consenting Stakeholders, and shall constitute a “Definitive Document” under, and be subject to
and consistent in all respects with, the RSA.

        163.    “Exit LC Facility Issuing Banks” means the issuing banks, in their capacity as such under
the Exit LC Facility.




                                                     17
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 27 of 206


         164.    “Exit LC Facility Lender” means the lender(s), in its capacity as such, under the Exit LC
Facility.

        165.   “Exit LC Lender Fees” means fees and other running costs charged by the SoftBank Parties
in connection with outstanding letters of credit, which shall be paid by the Reorganized Debtors to the Exit
LC Facility Lender pursuant to the Exit LC Facility Documents.

         166.    “Exit LC SoftBank Cash Collateral” means (a) the 62.50% of the Aggregate Exit LC Cash
Collateral (excluding any associated “overcollateralization” required by the Exit LC Facility), plus (b) 100%
of the “overcollateralization” associated with the Aggregate Exit LC Cash Collateral, rights to which shall
be retained by the SoftBank Parties on the Effective Date.

         167.     “Exit LC SoftBank Cash Collateral Equity Distribution” means the percentage of New
Interests to be distributed to the Exit LC Facility Lender (or its applicable non-Debtor Affiliates) on account
of Post-Emergence Drawn Exit LC Amount pursuant to the terms of the Exit LC Facility Documents.

        168.    “Extension Order” means any Final Order entered by the Bankruptcy Court extending the
time for performance under any deadlines by which the Debtors must assume or reject Unexpired Leases.

        169.     “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date.

        170.    “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

          171.   “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court, or other
court of competent jurisdiction with respect to the relevant subject matter, that has not been reversed, stayed,
modified, or amended, and as to which the time to appeal, seek certiorari, or move for a new trial, reargument,
or rehearing has expired, and as to which no appeal, petition for certiorari, or other proceeding for a new
trial, reargument, or rehearing has been timely taken; or as to which, any appeal that has been taken or any
petition for certiorari that has been or may be filed has been withdrawn with prejudice, resolved by the
highest court to which the order or judgment could be appealed or from which certiorari could be sought, or
the new trial, reargument, or rehearing has been denied, resulted in no stay pending appeal or modification
of such order, or has otherwise been dismissed with prejudice; provided that the possibility that a motion
under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the Bankruptcy Rules,
may be Filed with respect to such order will not preclude such order from being a Final Order.

        172.     “First Day Orders” means, as applicable, any orders of the Bankruptcy Court with respect
to the First Day Pleadings that has not been reversed, modified, or amended, which shall constitute
“Definitive Documents” under, and be subject to and consistent in all respects with, the RSA, including the
consent rights set forth therein, and as may be modified, supplemented, or amended in accordance with the
RSA.

         173.    “First Day Pleadings” means the motions, declarations, pleadings and all other documents
requesting certain emergency relief, or supporting the request for such relief, Filed by the Debtors on or
around the Petition Date and heard at the “first day” hearing, which shall constitute “Definitive Documents”
under, and be subject to and consistent in all respects with, the RSA, including the consent rights set forth
therein, and as may be modified, supplemented, or amended in accordance with the RSA.

        174.     “Foreign Plan” means any voluntary plan, scheme, arrangement, or similar restructuring
plan that is administered or implemented through a Foreign Proceeding.



                                                      18
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 28 of 206


       175.     “Foreign Proceeding” means a “foreign main proceeding” or “foreign nonmain
proceeding,” as those terms are defined in section 1502 of the Bankruptcy Code, including any Insolvency
Proceeding, to the extent applicable.

         176.    “General Unsecured Claim” means any unsecured Claim against any of the Debtors, other
than: (a) an Administrative Claim; (b) a Priority Tax Claim; (c) an Other Priority Claim; (d) a Section 510(b)
Claim; (e) an Intercompany Claim; (f) any Go-Forward Guaranty Claim; (g) any other Secured Claim; (h) an
Unsecured Notes Claim; (i) any unsecured deficiency claim arising from any Secured Claim (including
Secured Notes Claims, DIP TLC Claims, and Prepetition LC Facility Claims); (j) any other Claim that is
subordinated or entitled to priority under the Bankruptcy Code or any other Final Order of the Bankruptcy
Court; or (k) any Claim paid in full prior to the Effective Date pursuant to a Final Order of the Bankruptcy
Court. For the avoidance of doubt, General Unsecured Claims include (I) unsecured Claims resulting from
the rejection of Executory Contracts and Unexpired Leases, (II) unsecured Claims resulting from litigation
against one or more of the Debtors, and (III) contingent Claims of any creditor on account of the guaranty
obligations of any of the Debtors which Claims are not Go-Forward Guaranty Claims.

         177.     “Go-Forward Guaranty Claims” means the Claims and/or guarantees in favor of any
creditor on account of a Debtor’s guaranty obligation under any leases for nonresidential real property, solely
to the extent such guaranty obligation is associated with: (a) an Unexpired Lease that is assumed by any
Debtor, in which case such guaranty obligation shall be Reinstated pursuant to the terms of such assumption
(including any applicable modification approved therein) and any adequate assurance of future performance
provided in connection with such assumption; and/or, without limiting the foregoing, (b) an international
lease that is identified in an exhibit to the Plan Supplement or identified via written notice provided by the
Debtors (or the Reorganized Debtors) to such creditor at any time on or after the Effective Date; provided
that the identification of such international leases shall be subject to the consent of the Required Lenders and
the Required Consenting Stakeholders and limited to those international leases that the Debtors believe are
necessary for the business operations of any of the Debtors, their Affiliates, or franchisees.

        178.     “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy Code.

        179.     “Holder” means an Entity holding a Claim against or an Interest in any Debtor, as
applicable.

         180.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        181.     “Indentures” means, collectively, the Secured Notes Indentures and the Unsecured Notes
Indentures.

        182.    “Initial Consenting AHG Noteholders” means those Consenting AHG Noteholders (as
defined in the RSA) who executed the RSA.

         183.    “Insolvency Proceeding” means any corporate action, legal proceeding, or other procedure
or step (including commencing any Foreign Proceeding) taken in any jurisdiction in relation to: (a) the
suspension of payments, a moratorium of any indebtedness, winding-up, bankruptcy, liquidation,
dissolution, administration, receivership, administrative receivership, judicial composition, or
reorganization (by way of voluntary arrangement, scheme, or otherwise) of any Debtor (or any of its
Controlled Subsidiaries), including under the Bankruptcy Code or any Foreign Proceeding;
(b) a composition, conciliation, compromise, or arrangement with the creditors generally of any Debtor (or
any of its Controlled Subsidiaries) or an assignment by any Debtor (or any of its Controlled Subsidiaries) of
its assets for the benefit of its creditors generally or any Debtor (or any of its Controlled Subsidiaries)


                                                      19
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 29 of 206


becoming subject to a distribution of its assets; (c) the appointment of a liquidator, receiver, administrator,
administrative receiver, compulsory manager, or other similar officer in respect of any Debtor (or any of its
Controlled Subsidiaries) or any of its assets; (d) the enforcement of any security over any assets of any
Debtor (or any of its Controlled Subsidiaries); (e) any request for recognition of a Foreign Proceeding such
as under chapter 15 of the Bankruptcy Code; or (f) any procedure or step in any jurisdiction analogous to
those set out in paragraphs (a) to (e) above.

        184.    “Insurance Contracts” means all insurance policies issued to or that provide coverage for
any of the Debtors or any of their directors, officers, or employees, in their capacities as such, or their
predecessors, and all agreements, documents and instruments relating thereto, including, for the avoidance
of doubt, workers’ compensation policies.

        185.     “Insurer” means any issuer of or party to any of the Debtors’ Insurance Contracts, other
than a Debtor or an Affiliate of a Debtor (including, for the avoidance of doubt, any third party administrator)
and any successor to or affiliate thereof.

        186.    “Intercompany Claim” means any Claim held by a Debtor or Affiliate of a Debtor against
another Debtor or Affiliate of a Debtor; provided that for the avoidance of doubt, any Claim held by any
SoftBank Parties or their non-Debtor Affiliates against any Debtor or its non-SoftBank Party Affiliates, and
any Claim held by any Debtor or its non-SoftBank Party Affiliates against any SoftBank Parties or their non-
Debtor Affiliates, shall not be an Intercompany Claim.

         187.     “Intercompany Interest” means any Interest in one Debtor or Affiliate of a Debtor held by
another Debtor or Affiliate of a Debtor; provided that for the avoidance of doubt, any Interest held by any
SoftBank Parties or their non-Debtor Affiliates in any Debtor or its non-SoftBank Party Affiliates, and any
Interest held by any Debtor or its non-SoftBank Party Affiliates in any SoftBank Parties or their non-Debtor
Affiliates, shall not be an Intercompany Interest.

         188.     “Interests” means collectively, any equity security (as defined in section 101(16) of the
Bankruptcy Code) in any Debtor and any shares (or any class thereof) of common stock or preferred stock,
general or limited partnership interests, limited liability company interests, and any other equity, ownership,
or profits interests of any Debtor and options, warrants, rights, restricted stock awards, performance share
awards, performance share units, stock appreciation rights, phantom stock rights, stock-settled restricted
stock units, cash-settled restricted stock units, or other securities or agreements (including any registration
rights agreements) to acquire or subscribe for, or which are convertible into the shares (or any class thereof)
of common stock or preferred stock, general or limited partnership interests, limited liability company
interests, or other equity, ownership, or profits interests of any Debtor (in each case whether or not arising
under or in connection with any employment agreement, separation agreement, or employee incentive plan
or program of a Debtor as of the Petition Date and whether or not certificated, transferable, preferred,
common, voting, or denominated “stock” or similar security), or any Claim against, or Interest in, the
Debtors subject to subordination pursuant to section 510(b) of the Bankruptcy Code arising from or related
to any of the foregoing.

        189.     “IRS” means the United States Internal Revenue Service.

        190.    “Issuers” means, as applicable, WeWork Companies U.S. LLC, as successor to WeWork
Companies LLC, WW Co-Obligor Inc., and any applicable successors thereto in their capacity as issuers
under the relevant Indentures.

        191.      “Japan/India Sales” means those certain transactions contemplated by the Debtors and/or
their Affiliates involving certain business operations in Japan and India.


                                                      20
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 30 of 206


          192.   “JPMorgan” means JPMorgan Chase Bank, N.A. and certain of its affiliates.

        193.    “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended
from time to time.

       194.      “Law” means any federal, state, local, or foreign law (including common law), statute, code,
ordinance, rule, regulation, treaty, duty, requirement, order, ruling, or judgment, in each case, that is validly
adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction (including
the Bankruptcy Court).

          195.   “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        196.    “MIP” means an equity incentive plan, that will (i) reserve up to 7% of New Interests to be
determined by the New Board (determined on a fully diluted and fully distributed basis) for awards to
management (the “Pool”), and (ii) provide for the grant as of the Effective Date of up to 100% of the Pool
to members of management selected by the New Board in the form of restricted stock unit awards (or the
equivalent), and (iii) include other terms and conditions determined by the New Board.

         197.   “New Board” means the new board of directors or managers of Reorganized WeWork or
each of the Reorganized Debtors (if applicable and as the context requires)—selected in accordance with the
terms of the Corporate Governance Term Sheet—the identities of which shall be identified in the Plan
Supplement (if known at the time of its Filing).

        198.    “New Corporate Governance Documents” means the form of documents providing for the
corporate governance of the Reorganized Debtors, which may include any forms of certificate, articles of
incorporation, bylaws, limited liability company agreement, partnership agreement, shareholders’
agreement, and such other forms of applicable formation documents, organizational, and governance
documents (if any) of the Reorganized Debtors, as the same may be modified, supplemented, or amended,
each of which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute
“Definitive Documents” under, and be subject to and consistent in all respects with, the RSA.

     199.     “New Interests” means the common stock (or other equity interests) of Reorganized
WeWork to be issued on or after the Effective Date in accordance with this Plan.

         200.   “New Money Equity Distribution” means (prior to giving effect to the DIP New Money
Initial Commitment Premium and the Supplemental Distributions) 80% of New Interests (which shall be
equal to 40,000,000 shares of the New Interests), subject to dilution on account of the MIP, the Exit LC
Assigned Cash Collateral Equity Distribution, the Exit LC Lender Fees, the Adyen LC Equity Distribution,
the Exit LC SoftBank Cash Collateral Equity Distribution, and the DIP TLC Fee Equity Distribution.

        201.      “New Stockholders Agreement” means the definitive stockholders agreement or other
applicable agreement (including all annexes, exhibits, and scheduled thereto) governing the New Interests,
as may be modified, supplemented, or amended, which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA.

          202.   “Notes” means, collectively, the Secured Notes and the Unsecured Notes.

          203.   “Notes Claims” means, collectively, the Secured Notes Claims and the Unsecured Notes
Claims.



                                                       21
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                 Document    Page 31 of 206


       204.     “Notes Exchange Transactions” means, collectively, the recapitalization transactions by and
among, inter alia, the Debtors, the Ad Hoc Group, SoftBank, and Cupar, consummated in May 2023.

       205.     “Other Priority Claim” means any Claim, other than an Administrative Claim or a Priority
Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

        206.    “Other Secured Claim” means any Secured Claim other than: (a) the Prepetition LC Facility
Claims; (b) the Secured Notes Claims; (c) the Prepetition LC Subrogation Claims; or (d) the Priority Tax
Claims (solely to the extent they are Secured Claims).

      207.     “Parent Interests” means, collectively, all Interests in WeWork Parent outstanding
immediately prior to the Effective Date.

        208.    “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

        209.    “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

       210.    “Plan Distribution” means a payment or distribution to Holders of Allowed Claims,
Allowed Interests, or other eligible Entities in accordance with this Plan.

         211.    “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to this Plan (in each case subject to the consent of the Required
Consenting Stakeholders) that will be Filed by the Debtors with the Bankruptcy Court, and any additional
documents Filed prior to the Effective Date as amendments to the Plan Supplement, which shall
include: (a) the Schedule of Retained Causes of Action; (b) the Schedule of Rejected Executory Contracts
and Unexpired Leases; (c) the Schedule of Assumed Executory Contracts and Unexpired Leases; (d) the Exit
LC Facility Documents; (e) the New Corporate Governance Documents; (f) any Ruling Request;
(g) the Restructuring Transactions Exhibit (which, for the avoidance of doubt, shall remain subject to
modification in accordance with the RSA until the Effective Date); (h) the schedule of Go-Forward Guaranty
Claims (which shall constitute a Definitive Chapter 11 Document); (i) the Released Parties Exception
Schedule; (j) the UCC Settlement Trust Documents and (k) any other necessary documentation relating to
the Restructuring Transactions, all of which shall be subject to the consent of the Required Consenting
Stakeholders and the Reasonable Consent of the Creditors’ Committee and shall constitute a “Definitive
Document” under, and be subject to and consistent in all respects with, the RSA.

         212.    “Post-Emergence Drawn Exit LC Amount” means the principal amount of Exit LCs drawn
after the Effective Date, including any fees or other amounts actually paid in connection with the draw of
such Exit LCs.

        213.   “Post-Petition Rent Claim” means a Claim of a landlord for unpaid rent under such
landlord’s Unexpired Lease with a Debtor, solely to the extent such Claim became payable during the period
from and including the Petition Date through the earlier of (a) the Effective Date and (b) the date such
Unexpired Lease was rejected by the Debtors (if applicable).

         214.    “Prepetition LC Credit Agreement” means, as it may be amended, supplemented, or
otherwise modified from time to time prior to the Petition Date, that certain credit agreement, dated as of
December 27, 2019, by and among WeWork Companies U.S. LLC, as successor to WeWork Companies
LLC, SVF II, as obligor, SVF II GP (Jersey Limited), acting in its capacity as general partner of SVF II and
in its own corporate capacity, and SB Global Advisers Limited, acting in its capacity as manager of SVF II,
and the several issuing creditors and letter of credit participants from time to time party thereto, Goldman



                                                    22
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 32 of 206


Sachs International Bank, as senior tranche administrative agent and shared collateral agent, Kroll Agency
Service Limited, as junior tranche administrative agent, and the parties thereto from time to time.

         215.    “Prepetition LC Facility Claims” means all Claims arising under the Prepetition LC Facility
Documents, including the Prepetition LC Subrogation Claims or the Prepetition LC Reimbursement Claims,
and all unpaid accrued and deferred fees and interest, including, without limitation, any upfront fees, running
fees, administrative, and fronting fees (without double counting). For the avoidance of doubt, (a) any cash
collateral posted but subsequently returned to the SoftBank Parties shall not give rise to a Prepetition LC
Facility Claim, (b) any Holder of a Prepetition LC Facility Claim that is a Prepetition LC Reimbursement
Claim which was converted or otherwise replaced with a Prepetition LC Subrogation Claim shall, with
respect to its Prepetition LC Reimbursement Claim, only be entitled to recover the amount of such
Prepetition LC Reimbursement Claim that was not so converted or otherwise replaced, and (c) any Holder
of a Prepetition LC Facility Claim that was converted or otherwise replaced with a DIP TLC Claim shall,
with respect to its Prepetition LC Facility Claim, only be entitled to recover the amount of such Prepetition
LC Facility Claim that was not so converted or otherwise replaced.

         216.  “Prepetition LC Facility Documents” means the Prepetition LC Credit Agreement and
related documents, including, without limitation, the Prepetition LC Reimbursement Agreement.

        217.    “Prepetition LC Reimbursement Agreement” means that certain reimbursement agreement,
dated as of December 20, 2022 (as amended, restated, amended and restated, supplemented, or otherwise
modified from time to time), by and among SVF II, SoftBank Group Corp., and WeWork Companies U.S.
LLC, as successor to WeWork Companies LLC.

      218.    “Prepetition LC Reimbursement Claims” means all claims arising under the Prepetition LC
Reimbursement Agreement.

         219.    “Prepetition LC Subrogation Claims” means claims for any and all Applicable Obligations
(as defined in the Prepetition LC Credit Agreement) paid by SVF II, including, without limitation, the total
amount required pursuant to the terms of the Prepetition LC Credit Agreement for SVF II to reimburse all
drawn amounts under the Senior L/C Tranche and the Junior L/C Tranche (as both terms are defined in the
Prepetition LC Credit Agreement) and to pay or cash collateralize all outstanding amounts under the
Prepetition LC Credit Agreement (including, without limitation, any fees, interest, expenses, and other
amounts thereunder).

        220.     “Prepetition Secured Equity Distribution” means 100% of the New Interests (which shall
be equal to 50,000,000 shares of the New Interests) minus the New Money Equity Distribution (prior to
giving effect to the DIP New Money Initial Commitment Premium and the Supplemental Distributions),
subject to dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the
Exit LC Lender Fees, Adyen LC Equity Distribution, Exit LC SoftBank Cash Collateral Equity Distribution,
and the DIP TLC Fee Equity Distribution.

        221.    “Priority Tax Claim” means (a) any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code, or (b) any Secured Claim that, absent its secured status, would
meet the description of a Claim of a Governmental Unit of the kind specified in section 507(a)(8) of the
Bankruptcy Code, together with any related Secured Claim for penalties.

        222.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a
particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class or the
proportion of the Allowed Claims or Allowed Interests in a particular Class and other Classes entitled to



                                                      23
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 33 of 206


share in the same recovery as such Allowed Claim or Allowed Interests under this Plan, unless otherwise
indicated.

         223.    “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a Final
Order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to be compensated
for services rendered prior to or as of the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331,
or 363 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by Final Order pursuant
to section 503(b)(4) of the Bankruptcy Code.

        224.     “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and
other unpaid fees and expenses that Professionals estimate they have incurred or will incur in rendering
services to the Debtors prior to and as of the Confirmation Date, which estimates Professionals shall deliver
to the Debtors as set forth in Article II.C.3 of this Plan.

        225.     “Professional Fee Claim” means any Claim by a Professional for compensation for services
rendered or reimbursement of expenses incurred by such Professionals through and including the
Confirmation Date to the extent such fees and expenses have not been paid pursuant to an order of the
Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of a
Professional’s requested fees and expenses, then the amount by which such fees or expenses are reduced or
denied shall reduce the applicable Professional Fee Claim.

       226.    “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash on the Effective Date in an amount equal to the total estimated Professional Fee Amount.

         227.   “Proof of Claim” means a proof of Claim against any of the Debtors Filed in the Chapter 11
Cases.

         228.   “Proof of Interest” means a proof of Interest in any of the Debtors Filed in the Chapter 11
Cases.

         229.    “Reasonable Consent of the Creditors’ Committee” means the reasonable consent of the
Creditors’ Committee, which consent shall (a) only be required as to provisions that directly and adversely
affect recoveries and/or distributions for unsecured creditors pursuant to the Plan and the UCC Settlement,
and (b) not be unreasonably withheld, conditioned, or delayed.

         230.   “Reinstate,” “Reinstated,” or “Reinstatement” means, with respect to a Claim or Interest,
that the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy
Code.

        231.     “Related Party” means, collectively, with respect to any Entity, in each case in its capacity
as such with respect to such Entity, such Entity’s current and former directors, managers, officers,
shareholders, investment committee members, special committee members, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
managed accounts or funds, predecessors, participants, successors, assigns (whether by operation of Law or
otherwise), subsidiaries, current and former associated Entities, managed or advised Entities, accounts, or
funds, Affiliates, partners, limited partners, general partners, principals, members, management companies,
investment or fund advisors or managers, fiduciaries, employees, agents, trustees, advisory board members,
financial advisors, attorneys (including any other attorneys or professionals retained by any current or former
director or manager in his or her capacity as director or manager of an entity), accountants, investment
bankers, consultants, other representatives, restructuring advisors, and other professionals and advisors, and



                                                      24
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 34 of 206


any such Person’s or Entity’s respective predecessors, successors, assigns, heirs, executors, estates, and
nominees.

         232.    “Released Parties” means, collectively, and in each case in its capacity as such: (a) each of
the Debtors; (b) each of the Reorganized Debtors; (c) each Consenting Stakeholder; (d) the DIP Lenders;
(e) the Creditors’ Committee; (f) each Creditors’ Committee Member; (g) each member of the Ad Hoc
Unsecured Noteholder Group; (h) each Unsecured Notes Settlement Participant; (i) the Releasing Parties;
(j) each Agent; and (k) each Related Party of each such Entity in clause (a) through (k); provided that, in
each case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases described in
Article VIII.D of this Plan; or (y) timely objects to the releases contained in Article VIII.D of this Plan and
such objection is not resolved before Confirmation; provided, further, that notwithstanding the foregoing,
the individuals listed in the Released Parties Exception Schedule shall not be Released Parties.

         233.   “Released Parties Exception Schedule” means a list of individuals, which shall be included
in the Plan Supplement, shall be subject to the consent of the Required Consenting Stakeholders, and shall
constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

         234.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each
Debtor; (b) each of the Reorganized Debtors; (c) each member of the Ad Hoc Unsecured Noteholder Group;
(d) each Consenting Stakeholder; (e) each of the DIP Lenders; (f) each Agent; (g) the Creditors’ Committee;
(h) each Creditors’ Committee Member; (i) each Unsecured Notes Settlement Participant; (j) all Holders of
Claims that vote to accept this Plan; (k) all Holders of Claims that are deemed to accept this Plan who do
not affirmatively opt out of the releases provided by this Plan by checking the box on the applicable notice
of non-voting status indicating that they opt not to grant the releases provided in this Plan; (l) all Holders of
Claims that abstain from voting on this Plan and who do not affirmatively opt out of the releases provided
by this Plan by checking the box on the applicable ballot indicating that they opt not to grant the releases
provided in this Plan; (m) all Holders of Claims or Interests that vote to reject this Plan or are deemed to
reject this Plan and who do not affirmatively opt out of the releases provided by this Plan by checking the
box on the applicable ballot or notice of nonvoting status indicating that they opt not to grant the releases
provided in this Plan; (n) each current and former Affiliate of each Entity in clause (a) through (m); and
(o) each Related Party of each Entity in clause (a) through (n) for which such Entity is legally entitled to
bind such Related Party to the releases contained in this Plan under applicable law; provided that an Entity
in clause (k) through clause (m) shall not be a Releasing Party if it: (x) elects to opt out of the releases
contained in Article VIII.D of this Plan; or (y) timely objects to the releases contained in Article VIII.D of
this Plan and such objection is not resolved before Confirmation.

        235.     “Reorganized Debtors” means the Debtors, as reorganized pursuant to and under this Plan,
on and after the Effective Date, or any successors or assigns thereto including by transfer, merger,
consolidation, or otherwise, and including any new Entity established in connection with the implementation
of the Restructuring Transactions, including, for the avoidance of doubt, Reorganized WeWork.

         236.     “Reorganized WeWork” means, on and after the Effective Date, (a) a new corporation,
limited liability company, partnership, or other Entity that may be formed to, among other things, directly
or indirectly own and hold all or substantially all of the assets and/or stock of the Debtors, as applicable, in
accordance with this Plan and the Plan Supplement, or any successor or assign thereto, including by transfer,
merger, consolidation, sale, subscription or otherwise, and including any new Entity established in
connection with the implementation of the Restructuring Transactions, (b) the WeWork Parent, or
(c) another Reorganized Debtor, as applicable and in all cases in accordance with the RSA, this Plan, and
the Plan Supplement.




                                                       25
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                   Document    Page 35 of 206


          237.    “Required Consenting AHG Noteholders” means, as of the relevant date, (a) at least 2
unaffiliated Initial Consenting AHG Noteholders, holding at least 50.00% of the aggregate outstanding
principal amount of Secured Notes Claims that are held by the Initial Consenting AHG Noteholders, (b) if
there are not at least 2 unaffiliated Initial Consenting AHG Noteholders holding at least 50.00% of the
aggregate outstanding principal amount of Secured Notes Claims that are held by the Initial Consenting
AHG Noteholders, then Initial Consenting AHG Noteholders holding at least 50.00% of the aggregate
outstanding principal amount of Secured Notes Claims that are held by Initial Consenting AHG Noteholders,
or (c) if there are no Initial Consenting AHG Noteholders party to the RSA, Consenting AHG Noteholders
holding at least 50.00% of the aggregate outstanding principal amount of Secured Notes Claims that are held
by Consenting AHG Noteholders (as defined in the RSA).

       238.    “Required Consenting Stakeholders” means, collectively, the SoftBank Parties, Cupar, and
the Required Consenting AHG Noteholders.

       239.    “Required Consenting Stakeholders’ Advisors” means the Ad Hoc Group Professionals,
Cupar Professionals, and SoftBank Professionals.

      240.       “Required Lenders” has the meaning ascribed to such term in the DIP New Money Credit
Agreements.

        241.    “Restructuring Expenses” means the reasonable and documented fees and expenses of
(i) the Required Consenting Stakeholders’ Advisors accrued since the inception of their respective
engagements, and (ii) the Agents under the 1L Indenture (as provided in the Cash Collateral Orders), related
to the Chapter 11 Cases or the Restructuring Transactions and not previously paid by, or on behalf of, the
Debtors.

         242.     “Restructuring Transactions” means any transaction and any actions as may be necessary
or appropriate to effect a restructuring of the Debtors’ respective businesses or a corporate restructuring of
the overall corporate structure of the Debtors on the terms set forth in this Plan, the issuance of all Securities,
notes, instruments, certificates, and other documents required to be issued or executed pursuant to this Plan,
one or more intercompany mergers, amalgamations, consolidations, arrangements, continuances,
restructurings, transfers, conversions, dispositions, liquidations, formations, dissolutions, or other corporate
transactions described in, approved by, contemplated by, or undertaken to implement this Plan (including
the Plan Supplement), the RSA, the Definitive Documents, including those described in Article IV.B hereof,
in all cases, in accordance with the terms of the RSA.

         243.    “Restructuring Transactions Exhibit” means the exhibit to the Plan Supplement that will set
forth the material components of the transactions required to effectuate the Restructuring Transactions
contemplated by the RSA and this Plan, including any “tax steps memo,” or other document describing steps
to be taken and the related tax considerations in connection with the Restructuring Transactions, as may be
modified, supplemented, or amended, which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA.

        244.     “Retained Causes of Action” means Causes of Action that shall vest in the Reorganized
Debtors on the Effective Date, which, for the avoidance of doubt, shall not include any of the Causes of
Action that are settled, released, or exculpated under this Plan.

       245.     “Revised Joint Administration Order” means the revised Order (I) Directing Joint
Administration of Chapter 11 Cases and (II) Granting Related Relief [Docket No. 1116].



                                                        26
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 36 of 206


        246.    “Rolled Undrawn DIP TLC Claims” means a portion of the DIP TLC Claims in the amount
required to cash collateralize (in accordance with the DIP LC/TLC Credit Agreement) the aggregate face
amount of DIP LCs that are undrawn as of the Effective Date.

         247.   “RSA” means that certain Restructuring Support Agreement, dated as of the Petition Date,
by and among the Debtors and the Consenting Stakeholders, as amended and restated by that certain
Amended and Restated Restructuring Support Agreement, dated as of May 5, 2024, by and among the
Debtors and the Consenting Stakeholders, including all exhibits, schedules, and other attachments thereto,
as such agreement may be amended, amended and restated, modified, or supplemented from time to time,
solely in accordance with the terms thereof.

        248.     “Ruling Request” means a request for one or more private letter rulings from the IRS (if
any) pertaining to certain U.S. federal income tax matters relating to the Restructuring Transactions that is
submitted to the IRS in accordance with Section 4.04 of the RSA.

        249.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means any schedule
(including any amendments, supplements, or modifications thereto) listing the Executory Contracts and
Unexpired Leases to be assumed by the Debtors pursuant to this Plan, including (as applicable) a good faith
estimate of proposed Cure Obligations (if any) with respect thereto.

        250.     “Schedule of Rejected Executory Contracts and Unexpired Leases” means the schedule
(including any amendments, supplements, or modifications thereto) of Executory Contracts and Unexpired
Leases to be rejected by the Debtors pursuant to this Plan.

       251.     “Schedule of Retained Causes of Action” means the schedule of Retained Causes of Action
which shall be included in the Plan Supplement.

        252.     “SEC” means the United States Securities and Exchange Commission.

       253.    “Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of
the Bankruptcy Code.

         254.     “Secured Claim” means a Claim that is: (a) secured by a Lien on property in which any of
the Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable Law or by
reason of a Bankruptcy Court order, or that is subject to a valid right of setoff pursuant to section 553 of the
Bankruptcy Code, to the extent of the value of the creditor’s interest in the Debtors’ interest in such property
or to the extent of the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the
Bankruptcy Code; or (b) Allowed pursuant to this Plan, or separate order of the Bankruptcy Court, as a
secured claim.

        255.     “Secured Notes” means the 1L Notes, 2L Notes, and 3L Notes.

         256.     “Secured Notes Claims” means any Claim arising under, derived from, based on, or related
to the Secured Notes or Secured Notes Documents, including Claims for all principal amounts outstanding,
interest, fees, expenses, costs, guaranties, and other charges arising thereunder or related thereto.

        257.    “Secured Notes Documents” means, collectively, the Secured Notes Indentures and all
instruments, security agreements, collateral agreements, guaranty agreements, intercreditor agreements,
pledges, and other documents with respect to the Secured Notes.




                                                      27
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 37 of 206


       258.    “Secured Notes Indentures” means, collectively, the 1L Indenture, the 2L Indenture, the 2L
Exchangeable Indenture, the 3L Indenture, and the 3L Exchangeable Indenture.

         259.     “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa,
together with the rules and regulations promulgated thereunder, as amended from time to time, or any similar
federal, state, or local Law.

        260.    “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

      261.    “SoftBank Parties” means collectively SVF II, SVF II Aggregator, SVF II WW, and SVF
II WW Holdings.

        262.     “SoftBank Professionals” means Weil, Gotshal & Manges LLP, as counsel, Houlihan Lokey
Capital, Inc., as financial advisor, Wollmuth Maher & Deutsch LLP, as local co-counsel, and any other
special or local counsel or advisors providing advice to the SoftBank Parties in connection with the
Restructuring Transactions.

        263.     “Solicitation Materials” means all materials provided in connection with the solicitation of
votes on this Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code (as such materials may be
modified, supplemented, or amended), which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA.

        264.     “Stub Rent Claim” means a Claim of a landlord for unpaid rent under such landlord’s
Unexpired Lease with a Debtor, solely to the extent such Claim is for the portion of unpaid rent for the period
from the Petition Date through and including November 30, 2023.

       265.    “Supplemental Distributions” means the DIP New Money Supplemental Premium and the
Adequate Protection Supplemental Distribution.

        266.    “SVF II” means SoftBank Vision Fund II-2 L.P., a limited partnership established in Jersey,
acting by its manager SB Global Advisers Limited, a limited company incorporated under the Laws of
England and Wales.

         267.    “SVF II Aggregator” means SVF II Aggregator (Jersey) L.P., a limited partnership
established in Jersey, acting by its general partner, SVF II GP (Jersey) Limited, a Jersey private company.

        268.    “SVF II WW” means SVF II WW (DE) LLC, a Delaware limited liability company.

       269.  “SVF II WW Holdings” means SVF II WW Holdings (Cayman) Limited, a Cayman Islands
exempted company.

        270.    “Tax Code” means the United States Internal Revenue Code of 1986, as amended.

        271.   “Total 1L Claims” means the total aggregate amount of (a) Prepetition LC Facility Claims
and (b) 1L Notes Claims, in each case, including, all postpetition interest and fees.

       272.    “Treasury Regulations” means the regulations promulgated under the Internal Revenue
Code by the United States Department of the Treasury.




                                                      28
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 38 of 206


        273.     “UCC Settlement” means the settlement between the Debtors, the Required Consenting
Stakeholders, and the Creditors’ Committee, as may be approved by the Bankruptcy Court through the 9019
Order and/or the Confirmation Order, pursuant to which, among other things, (a) Holders of 3L Notes Claims
and General Unsecured Claims shall be entitled to receive their share of the UCC Settlement Proceeds from
the UCC Settlement Trust, (b) Unsecured Notes Settlement Non-Participants shall be entitled to receive their
share of the Unsecured Notes Pool, (c) the Debtors shall pay the Creditors’ Committee Member Expenses
and the 3L/Unsecured Notes Trustee Expenses, (d) the UCC Settlement Trust shall be established and funded
solely with the UCC Settlement Proceeds, (e) each party shall waive its right to assert any Avoidance
Actions, and (f) the Creditors’ Committee shall support Confirmation of the Plan.

        274.    “UCC Settlement Consideration” means an amount of Cash equal to $33,000,000.00.

         275.   “UCC Settlement Deduction” means the amount equal to the sum of (a) the Unsecured Notes
Settlement Proceeds, (b) the Unsecured Notes Pool, (c) the Ad Hoc Unsecured Noteholder Group Expenses,
(d) the 3L/Unsecured Notes Trustee Expenses, (e) the Creditors’ Committee Member Expenses, and (f) the
Allowed Professional Fee Claims of the Professionals retained by the Creditors’ Committee; provided that
in no event shall such sum exceed $32,650,000.00; provided further, that the determination of the amount
of the UCC Settlement Deduction shall not occur until the UCC Settlement Determination Date.

        276.    “UCC Settlement Determination Date” means the date that final amounts have been
determined in respect of (i) the Ad Hoc Unsecured Noteholder Group Expenses, (ii) the 3L/Unsecured Notes
Trustee Expenses, (iii) the Committee Member Expenses, and (iv) Allowed Professional Fee Claims of the
Professionals retained by the Creditors’ Committee (including approval and Allowance of final fee
applications).

       277.    “UCC Settlement Proceeds” means an amount of Cash equal to (a) the UCC Settlement
Consideration minus (b) the UCC Settlement Deduction.

        278.    “UCC Settlement Trust” means that certain trust to be established on the Effective Date and
funded solely with the UCC Settlement Proceeds, which trust shall be administered by the UCC Settlement
Trustee and make distributions under the UCC Settlement pursuant to the UCC Settlement Trust Documents;
provided, that no disbursement or distribution shall be made from the UCC Settlement Trust until the UCC
Settlement Determination Date.

         279.   “UCC Settlement Trust Documents” means the agreements and other documents
establishing and governing the UCC Settlement Trust, the form(s) of which shall be included in the Plan
Supplement and shall be subject to the consent of the Required Consenting Stakeholders and the Reasonable
Consent of the Creditors’ Committee.

        280.      “UCC Settlement Trustee” means a person or Entity designated by the Creditors’ Committee
to serve as the trustee and administrator for the UCC Settlement Trust, whose identity will be disclosed in
the Plan Supplement.

         281.     “Unclaimed Distribution” means any distribution under this Plan on account of an Allowed
Claim or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in the case of
distributions made by check, negotiated such check within 90 days of receipt; (b) given notice to the
Reorganized Debtors of an intent to accept a particular distribution within 90 days of receipt; (c) responded
to, as applicable, the Debtors’ or the Reorganized Debtors’ requests for information necessary to facilitate a
particular distribution prior to the deadline included in such request for information; or (d) timely taken any
other action necessary to facilitate such distribution.



                                                      29
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document    Page 39 of 206


        282.   “Undrawn DIP TLC Claims” means a portion of the DIP TLC Claims in an amount equal
to Rolled Undrawn DIP TLC Claims plus the Excess DIP TLC Claims.

       283.    “Unexpired Lease” means, with respect to any Debtor, a lease of nonresidential real property
to which one or more of the Debtors is a party that is subject to assumption or rejection, by such Debtor,
under section 365 of the Bankruptcy Code, including any modifications, amendments, addenda, or
supplements thereto or restatements thereof.

         284.     “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is not Impaired within the meaning of section 1124 of the Bankruptcy Code.

       285.   “Unsecured Notes” means, collectively, the 5.00% Unsecured Notes, and the 7.875%
Unsecured Notes.

         286.   “Unsecured Notes Claims” means, collectively, any Claim on account of the Unsecured
Notes.

        287.   “Unsecured Notes Indentures” means, collectively, the 5.00% Unsecured Notes Indenture
and the 7.875% Unsecured Notes Indenture.

         288.    “Unsecured Notes Pool” means an amount of Cash to be distributed to the Unsecured Notes
Settlement Non-Participants, which shall be funded from the UCC Settlement Consideration in an amount
not to exceed the lesser of (a) $500,000.00 and (b) the amount that results in the Unsecured Notes Settlement
Non-Participants receiving a 1.00% recovery on account of their Unsecured Notes Claims.

        289.     “Unsecured Notes Settlement” means the settlement between the Debtors, the Required
Consenting Stakeholders, and the Unsecured Notes Settlement Participants, as approved by the 9019 Order
and pursuant to which, among other things, (a) the Unsecured Notes Settlement Participants shall be entitled
to receive their Pro Rata share of the Unsecured Notes Settlement Proceeds, (b) the Ad Hoc Unsecured
Noteholder Group shall receive payment of the Ad Hoc Unsecured Noteholder Group Expenses, (c) the
Unsecured Notes Settlement Participants shall be included as Releasing Parties, and (d) the Ad Hoc
Unsecured Noteholder Group shall support Confirmation of the Plan.

       290.    “Unsecured Notes Settlement Non-Participant” means any Holder of an Unsecured Notes
Claim who is not an Unsecured Notes Settlement Participant.

       291.     “Unsecured Notes Settlement Participant” means any Holder of an Unsecured Notes Claim
who elects to participate in the Unsecured Notes Settlement.

         292.   “Unsecured Notes Settlement Proceeds” means $7,500,000.00 in Cash.

         293.   “Unsecured Notes Trustee” means the trustee under the Unsecured Notes Indentures.

         294.   “U.S. Trustee” means the Office of the United States Trustee for the District of New Jersey.

       295.   “WeWork Parent” means Debtor WeWork Inc., a public company incorporated under the
Laws of Delaware.




                                                     30
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                   Document    Page 40 of 206


B.      Rules of Interpretation.

         For purposes of this Plan: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine,
or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise specified,
any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed,
or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
supplemented in accordance with this Plan or the Confirmation Order, as applicable; (c) any reference to an
Entity as a Holder of a Claim or Interest includes that Entity’s successors and assigns; (d) unless otherwise
specified, all references herein to “Articles” are references to Articles hereof; (e) unless otherwise specified,
all references herein to exhibits are references to exhibits in the Plan Supplement; (f) unless otherwise
specified, the words “herein,” “hereof,” and “hereto” refer to this Plan in its entirety rather than to a particular
portion of this Plan; (g) subject to the provisions of any contract, charters, bylaws, partnership agreements,
limited liability company agreements, operating agreements, or other organizational documents or
shareholders’ agreements, as applicable, instrument, release, or other agreement or document entered into in
connection with this Plan, the rights and obligations arising pursuant to this Plan shall be governed by, and
construed and enforced in accordance with the applicable Law, including the Bankruptcy Code and the
Bankruptcy Rules; (h) unless otherwise specified herein, any reference to “corporate action,” “corporate
structure,” and other references to “corporate” and “corporation” will be deemed to include corporation,
limited liability companies, partnerships, and analogous entities incorporated or formed under applicable
Laws, as applicable; (i) any immaterial effectuating provisions may be interpreted by the Debtors or the
Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of this Plan all
without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity; (j) unless
otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy Code shall
apply, and for the avoidance of doubt, any variation of the word “include” is not limiting, and shall be deemed
followed by the words “without limitation”; (k) any term used in capitalized form herein that is not otherwise
defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to
that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (l) all references to docket
numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under the
Bankruptcy Court’s Case Management and Electronic Case Filing system; (m) all references to statutes,
regulations, orders, rules of courts, and the like shall mean as amended from time to time, and as applicable
to the Chapter 11 Cases, unless otherwise stated; (n) references to “Proofs of Claim,” “Holders of Claims,”
“Disputed Claims,” and the like shall include “Proofs of Interest,” “Holders of Interests,” “Disputed
Interests,” and the like, as applicable; (o) captions and headings are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation of this Plan; (p) references to
“shareholders,” “directors,” and/or “officers” shall also include “members” and/or “managers,” as
applicable, as such terms are defined under the applicable state limited liability company Laws; (q) the term
“subject to the consent rights set forth in the RSA” and other similar references shall be deemed to require
the consent of Cupar, the Required Consenting AHG Noteholders and the SoftBank Parties (regardless of
whether the RSA makes reference to such document or action) including, for the avoidance of doubt, if any
portion of the RSA is no longer in full force and effect at any time; and (r) all references herein to consent,
acceptance, or approval may be conveyed by counsel for the respective Person or Entity that have such
consent, acceptance, or approval rights, including by electronic mail.

C.      Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
in computing any period of time prescribed or allowed herein. If the date on which a transaction may occur
pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur
on the next succeeding Business Day. Subject to the requirements of the Restructuring Transactions Exhibit


                                                        31
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 41 of 206


and any other Definitive Document, any action to be taken on the Effective Date may be taken on or as soon
as reasonably practicable after the Effective Date.

D.      Governing Law.

        Except to the extent a rule of Law or procedure is supplied by federal Law (including the Bankruptcy
Code or the Bankruptcy Rules), and subject to the provisions of any contract, lease, instrument, release,
indenture, or other agreement or document entered into expressly in connection herewith, the rights and
obligations arising hereunder shall be governed by, and construed and enforced in accordance with, the laws
of the State of New York, without giving effect to conflict of Laws principles; provided that corporate
governance matters relating to the Debtors or the Reorganized Debtors, as applicable, not incorporated in
New York, shall be governed by the Laws of the jurisdiction of incorporation or formation of the relevant
Debtor or Reorganized Debtor, as applicable.

E.      Reference to Monetary Figures.

        All references in this Plan to monetary figures shall refer to currency of the United States of America,
unless otherwise expressly provided herein.

F.      Reference to the Debtors or the Reorganized Debtors.

        Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the
Debtors or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable, to
the extent the context requires.

G.      Controlling Document.

         In the event of an inconsistency between this Plan and the Disclosure Statement, the terms of this
Plan shall control in all respects. In the event of an inconsistency between this Plan and any document
included in the Plan Supplement, including the schedules or exhibits, the terms of the relevant provision in
this Plan shall control (unless expressly stated otherwise in the applicable provision of the Plan Supplement;
provided that that in the event of an inconsistency between this Plan and the Restructuring Transactions
Exhibit, the Restructuring Transactions Exhibit shall control); provided, further, that to the extent that the
UCC Settlement Trust Documents provide additional specificity that is not inconsistent with the terms of the
Plan, such specific provisions in the UCC Settlement Trust Documents shall control. In the event of an
inconsistency between the Confirmation Order and this Plan, including the Plan Supplement or the
Restructuring Transactions Exhibit, the Confirmation Order shall control.

H.      Consultation, Notice, Information, and Consent Rights.

         Notwithstanding anything herein to the contrary, all consultation, information, notice, and consent
rights of the parties to the RSA, as may be modified, supplemented, or amended in accordance with the RSA
and subject to the consent of the Required Consenting Stakeholders, as applicable, and as respectively set
forth therein, with respect to the form and substance of this Plan, all exhibits to this Plan, the Plan
Supplement, and the Definitive Documents, including any amendments, restatements, supplements, or other
modifications to such agreements and documents, and any consents, waivers, or other deviations under or
from any such documents, shall be incorporated herein by this reference (including to the applicable
definitions in Article I.A hereof) and fully enforceable as if stated in full herein until such time as the RSA
is terminated in accordance with its terms.




                                                      32
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 42 of 206


                                       ARTICLE II.
                                ADMINISTRATIVE CLAIMS,
                              DIP ADMINISTRATIVE CLAIMS,
                     PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

       In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, Professional
Fee Claims, DIP Administrative Claims, and Priority Tax Claims have not been classified and, thus, are
excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.      Administrative Claims.

         Except as otherwise provided under this Plan, and except with respect to the Professional Fee Claims
and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United States
Code, and except to the extent that a Holder of an Allowed Administrative Claim and the Debtor(s) against
which such Allowed Administrative Claim is asserted agree to less favorable treatment for such Holder, or
such Holder has been paid by any Debtor on account of such Allowed Administrative Claim prior to the
Effective Date, each Holder of such an Allowed Administrative Claim will receive in full and final
satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of such Allowed
Administrative Claim in accordance with the following: (a) if an Administrative Claim is Allowed on or
prior to the Effective Date, on the Effective Date or as soon as reasonably practicable thereafter (or, if not
then due, when such Allowed Administrative Claim is due or as soon as reasonably practicable thereafter);
(b) if such Administrative Claim is not Allowed as of the Effective Date, no later than 30 days after the date
on which an order Allowing such Administrative Claim becomes a Final Order, or as soon as reasonably
practicable thereafter; (c) if such Allowed Administrative Claim is based on liabilities incurred by the
Debtors in the ordinary course of their business after the Petition Date, in accordance with the terms and
conditions of the particular transaction giving rise to such Allowed Administrative Claim without any further
action by the Holder of such Allowed Administrative Claim; (d) at such time and upon such terms as may
be agreed upon by such Holder and the Debtors or the Reorganized Debtors, as applicable; or (e) at such
time and upon such terms as set forth in an order of the Bankruptcy Court.

         First Lien Adequate Protection Fees and Expenses (as defined in the Cash Collateral Final Order)
that are accrued and unpaid as of the Effective Date pursuant to the terms of the Cash Collateral Orders, will
be indefeasibly paid by the Debtors in full in Cash or will be provided such other treatment acceptable to the
Debtors and subject to the consent of the Required Consenting Stakeholders without the need to File a
request for payment of an Administrative Claim with the Bankruptcy Court on account of such First Lien
Adequate Protection Fees and Expenses. The Debtors’ obligation to pay such First Lien Adequate Protection
Fees and Expenses, to the extent not indefeasibly paid in full in Cash on the Effective Date, shall survive the
Effective Date and shall not be released or discharged pursuant to this Plan or the Confirmation Order until
indefeasibly paid in full in Cash by the Debtors. All Adequate Protection Obligations and Adequate
Protection Claims (each as defined in the Cash Collateral Orders) including accrued or unpaid interest (other
than the First Lien Adequate Protection Fees and Expenses) that are accrued and unpaid as of the Effective
Date pursuant to the terms of the Cash Collateral Orders will be deemed to be waived and cancelled as of
the Effective Date; provided that the Adequate Protection Supplemental Distribution shall be issued to the
SoftBank Parties on account of the waiver of their Adequate Protection Obligations and Adequate Protection
Claims (other than First Lien Adequate Protection Fees and Expenses).

         Except as otherwise provided below in Article II, Holders of Administrative Claims that are required
to File and serve a request for payment of such Administrative Claims must do so by the Administrative
Claims Bar Date. Objections to such requests must be Filed and served on the requesting party and the
Debtors (if the Debtors are not the objecting party) by the Administrative Claims Objection Bar Date.
Holders of such Claims who do not File and serve such requests by the Administrative Claims Bar Date shall

                                                      33
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 43 of 206


be forever barred, estopped, and enjoined from asserting such Administrative Claims against the Debtors or
the Reorganized Debtors, and such Administrative Claims shall be deemed compromised, settled, and
released as of the Effective Date. Objections to such requests, if any, must be Filed with the Bankruptcy
Court and served on the Debtors and the requesting party no later than 60 days after the Effective Date.
Notwithstanding the foregoing, no request for payment of an Administrative Claim need be Filed with the
Bankruptcy Court with respect to an Administrative Claim previously Allowed. After notice and a hearing
in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy Rules, and any prior
Bankruptcy Court orders, the Allowed amounts, if any, of Administrative Claims shall be determined by, and
satisfied in accordance with, an order that becomes a Final Order of the Bankruptcy Court.

      HOLDERS OF ADMINISTRATIVE CLAIMS FOR UNPAID INVOICES THAT ARISE IN
THE ORDINARY COURSE OF THE DEBTORS’ BUSINESS AND WHICH ARE NOT DUE AND
PAYABLE ON OR BEFORE THE EFFECTIVE DATE SHALL BE PAID IN THE ORDINARY
COURSE OF BUSINESS IN ACCORDANCE WITH THE TERMS THEREOF AND NEED NOT
FILE ADMINISTRATIVE CLAIMS.

B.      DIP Administrative Claims.

        The DIP Administrative Claims shall be deemed Allowed in the full amount outstanding under the
DIP Agreements as of the Effective Date (including any unpaid accrued interest and unpaid fees, expenses,
and other obligations under the DIP Agreements as of the Effective Date). Except as otherwise expressly
provided in the DIP Agreements, or the DIP Orders, upon the indefeasible payment or satisfaction in full of
all Allowed DIP Claims, all commitments under the DIP Agreements shall terminate and all Liens and
security interests granted to secure the DIP Claims shall be automatically terminated and of no further force
and effect, without any further notice to or action, order, or approval of the Bankruptcy Court or any other
Entity. Except to the extent that a Holder of a DIP Administrative Claim agrees to less favorable treatment,
on the Effective Date, in full satisfaction, settlement, discharge, and release of, and in exchange for, the DIP
Administrative Claims, each Holder of an Allowed DIP Administrative Claim shall receive the following
treatment:

      1.      Each Holder of an Allowed DIP TLC Fee Claim shall receive its Pro Rata share of the DIP
TLC Fee Equity Distribution.

        2.       Each Holder of a DIP New Money Interim Facility Claim shall receive payment in full in
Cash, with the proceeds of the DIP New Money Exit Facility, or other treatment in a manner to be acceptable
to the Debtors, the Required Consenting Stakeholders and the Required Lenders, pursuant to the terms of
the DIP New Money Interim Facility Documents.

         3.      Each Holder of a DIP New Money Exit Facility Claim shall receive its Pro Rata share of the
New Money Equity Distribution (subject to adjustment as necessary to account for the Supplemental
Distributions); each Holder of a DIP New Money Exit Facility Claim entitled to receive the DIP New Money
Initial Commitment Premium pursuant to the DIP New Money Exit Facility Credit Agreement shall receive
its Pro Rata share of the DIP New Money Initial Commitment Premium; each Holder of a DIP New Money
Exit Facility Claim entitled to receive the DIP New Money Supplemental Premium shall receive its Pro Rata
share of the DIP New Money Supplemental Premium.

         The New Money Equity Distribution shall be allocated as specified in the DIP New Money Exit
Facility Documents and this Plan. Any New Money Equity Distribution shall be subject to dilution on
account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the Exit LC Lender Fees, the
Adyen LC Equity Distribution, the Exit LC SoftBank Cash Collateral Equity Distribution, and the DIP TLC
Fee Equity Distribution.

                                                      34
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                   Document    Page 44 of 206


         On the Effective Date, the rights and obligations of the Debtors under the DIP New Money
Documents shall vest in the Reorganized Debtors, as applicable. The proceeds of the DIP New Money Exit
Facility shall be used by the Reorganized Debtors to repay any outstanding amounts under the DIP New
Money Interim Facility and for other general corporate purposes.

        Notwithstanding anything to the contrary in this Plan or the Confirmation Order, the DIP Facilities
and the DIP Documents shall continue in full force and effect (other than, for the avoidance of doubt, any
Liens or other security interests terminated pursuant to this Article II.B) after the Effective Date with respect
to any contingent or unsatisfied obligations thereunder, as applicable, including, but not limited to, those
provisions relating to the rights of the DIP Agents, and the DIP Lenders to expense reimbursement,
indemnification, and any other similar obligations of the Debtors to the DIP Agents, and the DIP Lenders
(which rights shall be fully enforceable against the Reorganized Debtors) and any provisions thereof that
may survive termination or maturity of the DIP Facilities in accordance with the terms thereof.

C.       Professional Fee Claims.

         1.      Final Fee Applications and Payment of Professional Fee Claims.

        All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred prior to the Effective Date must be Filed no later than 45 days after the Effective Date.
The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after notice
and a hearing in accordance with the procedures established by the Bankruptcy Court, Bankruptcy Rules,
and Prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional Fee Claims in Cash in
the amount the Bankruptcy Court Allows, including from the Professional Fee Escrow Account, as soon as
reasonably practicable after such Professional Fee Claims are Allowed, and which Allowed amount shall not
be subject to disallowance, setoff, recoupment, subordination, recharacterization, or reduction of any kind,
including pursuant to section 502(d) of the Bankruptcy Code. To the extent that funds held in the
Professional Fee Escrow Account are insufficient to satisfy the amount of Professional Fee Claims owing to
the Professionals, such Professionals shall have an Allowed Administrative Claim for any such deficiency,
which shall be satisfied in accordance with Article II.A of this Plan.

         2.      Professional Fee Escrow Account.

         No later than the Effective Date, the Debtors incorporated in the U.S. shall, in consultation with the
Required Consenting Stakeholders, establish and fund the Professional Fee Escrow Account with Cash equal
to the Professional Fee Amount.5 The Professional Fee Escrow Account shall be maintained in trust solely
for the Professionals until all Professional Fee Claims Allowed by the Bankruptcy Court have been
irrevocably paid in full pursuant to one or more Final Orders and any invoices for fees and expenses incurred
after the Effective Date in connection with the final fee applications. Such funds shall not be considered
property of the Debtors’ Estates. The amount of Allowed Professional Fee Claims shall be paid in Cash to
the Professionals by the Reorganized Debtors from the Professional Fee Escrow Account as soon as
reasonably practicable after such Professional Fee Claims are Allowed. When all such Allowed Professional
Fee Claims have been paid in full, any remaining amount in the Professional Fee Escrow Account shall
promptly be transferred to the Reorganized Debtors without any further notice to or action, order, or approval
of the Bankruptcy Court.



5    For the avoidance of doubt, with respect to the payment of Allowed Professional Fee Amounts of Creditors’
     Committee Professionals pursuant to the UCC Settlement, such fees may only be funded using the UCC Settlement
     Consideration.


                                                        35
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                  Document    Page 45 of 206


        3.      Professional Fee Amount.

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid fees
and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and shall
deliver such estimate to the Debtors no later than 5 days before the Effective Date; provided that such
estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of each
Professional’s final request for payment in the Chapter 11 Cases. If a Professional does not provide an
estimate, the Debtors or the Reorganized Debtors may estimate the unpaid and unbilled fees and expenses
of such Professional; provided, however, that such estimate shall not be binding or considered an admission
with respect to the fees and expenses of such Professional. The total aggregate amount so estimated as of
the Effective Date shall be utilized by the Debtors to determine the amount to be funded to the Professional
Fee Escrow Account; provided, further, that the Reorganized Debtors shall use Cash on hand to increase the
amount of the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective
Date in excess of the amount held in the Professional Fee Escrow Account based on such estimates.

        4.      Post-Effective Fees and Expenses.

         Except as otherwise specifically provided in this Plan, from and after the Effective Date, the
Reorganized Debtors shall, in the ordinary course of business and without any further notice to or action,
order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal, professional,
or other fees and expenses incurred by the Reorganized Debtors or, solely as it pertains to the final fee
applications, the Creditors’ Committee. Upon the Confirmation Date, any requirement that Professionals
comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Reorganized Debtors may employ
and pay any Professional in the ordinary course of business without any further notice to or action, order, or
approval of the Bankruptcy Court.

        The Debtors and the Reorganized Debtors, as applicable, shall pay, within 10 Business Days after
submission of a detailed invoice to the Debtors or the Reorganized Debtors, as applicable, such reasonable
Claims for compensation or reimbursement of expenses incurred by the retained Professionals of the
Debtors, the Reorganized Debtors, or the Creditors’ Committee, as applicable. If the Debtors or the
Reorganized Debtors, as applicable, dispute the reasonableness of any such invoice, the Debtors or the
Reorganized Debtors, as applicable, or the affected Professional may submit such dispute to the Bankruptcy
Court for a determination of the reasonableness of any such invoice, and the disputed portion of such invoice
shall not be paid until the dispute is resolved.

D.      Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in accordance
with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

E.      Payment of Statutory Fees and Reporting to the U.S. Trustee.

        All fees due and payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (on behalf of the Reorganized Debtors), as applicable, for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or closed,
whichever occurs first. All monthly reports shall be Filed, and all fees due and payable pursuant to
section 1930(a) of title 28 of the United States Code, shall be paid by the Debtors or the Reorganized Debtors
(or the Disbursing Agent on behalf of the Reorganized Debtors), as applicable, on the Effective Date.


                                                     36
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 46 of 206


Following the Effective Date, the Reorganized Debtors (or the Disbursing Agent on behalf of the
Reorganized Debtors) shall (a) pay such fees as such fees are assessed and come due for each quarter
(including any fraction thereof) and (b) File quarterly reports in a form consistent with the Revised Joint
Administration Order and reasonably acceptable to the U.S. Trustee. Each Debtor shall remain obligated to
pay such quarterly fees to the U.S. Trustee and to File quarterly reports until the earliest of that particular
Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

F.      Payment of Restructuring Expenses.

         The Restructuring Expenses incurred, or estimated to be incurred, up to and including the Effective
Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter (to the extent
not previously paid during the course of the Chapter 11 Cases) in accordance with the terms of the RSA, the
Cash Collateral Orders, or any other Final Order of the Bankruptcy Court without any requirement to (1) File
a fee application with the Bankruptcy Court, or (2) for review or approval by the Bankruptcy Court; provided
that the foregoing shall be subject to the Debtors’ receipt of an invoice with reasonable detail (but without
the need for itemized time detail) from the applicable Entity entitled to such Restructuring Expenses. All
Restructuring Expenses to be paid on the Effective Date shall be estimated prior to and as of the Effective
Date, and such estimates shall be delivered to the Debtors at least 3 Business Days before the anticipated
Effective Date; provided, however, that such estimates (and related invoices) shall not be considered an
admission or limitation with respect to such Restructuring Expenses. In addition, the Debtors and the
Reorganized Debtors (as applicable) shall continue to pay, when due and payable in the ordinary course (but
no sooner than within 5 Business Days of receipt of an invoice), Restructuring Expenses related to
implementation, Consummation, and defense of the Plan, whether incurred before, on, or after the Effective
Date without any requirement for review or approval by the Bankruptcy Court or for any party to File a fee
application with the Bankruptcy Court; provided that the foregoing shall be subject to the Debtors’ receipt
of an invoice with reasonable detail (but without the need for itemized time detail) from the applicable Entity
entitled to such Restructuring Expenses.

G.      Payment of Stub Rent Claims and Post-Petition Rent Claims.

         Except as otherwise provided under this Plan, and except to the extent that a Holder of an Allowed
Stub Rent Claim and the Debtor against which such Allowed Stub Rent Claim is asserted agree to less
favorable treatment for such Holder, or such Claim has been paid or otherwise satisfied prior to the Effective
Date, each Holder of such an Allowed Stub Rent Claim will receive, in full and final satisfaction of its
Allowed Stub Rent Claim, an amount of Cash equal to the amount of such Allowed Stub Rent Claim on
either (a) the Effective Date, or (b) at such time and upon such terms as otherwise agreed upon by such
Holder and the Debtors or the Reorganized Debtors, as applicable.

         Except as otherwise provided under this Plan, and except to the extent that a Holder of an Allowed
Post-Petition Rent Claim and the Debtor against which such Allowed Post-Petition Rent Claim is asserted
agree to less favorable treatment for such Holder, or such Claim has been paid or otherwise satisfied prior to
the Effective Date, each Holder of such an Allowed Post-Petition Rent Claim will receive, in full and final
satisfaction of its Allowed Post-Petition Rent Claim, an amount of Cash equal to the amount of such Allowed
Post-Petition Rent Claim on either (a) the Effective Date, or (b) at such time and upon such terms as
otherwise agreed upon by such Holder and the Debtors or the Reorganized Debtors, as applicable.




                                                      37
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 47 of 206


                                   ARTICLE III.
              CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims and Interests.

         This Plan constitutes a single Plan for all of the Debtors. Except for the Claims addressed in
Article II hereof, all Claims and Interests are classified in the Classes set forth below in accordance with
sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is
classified in a particular Class only to the extent that any portion of such Claim or Interest fits within the
description of that Class and is classified in other Classes to the extent that any portion of the Claim or
Interest fits within the description of such other Classes. A Claim or an Interest also is classified in a
particular Class for the purpose of receiving distributions under this Plan only to the extent that such Claim
or Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or otherwise
satisfied prior to the Effective Date.

        The classification of Claims and Interests against each Debtor pursuant to this Plan is as set forth
below. All of the potential Classes for the Debtors are set forth herein. Voting tabulations for recording
acceptances or rejections of this Plan shall be conducted on a Debtor-by-Debtor basis as set forth herein.

            Class             Claims and Interests               Status           Voting Rights
          Class 1      Other Secured Claims                  Unimpaired       Presumed to Accept
          Class 2      Other Priority Claims                 Unimpaired       Presumed to Accept
          Class 3A     Drawn DIP TLC Claims                  Impaired         Entitled to Vote

          Class 3B     Undrawn DIP TLC Claims                Impaired         Entitled to Vote

          Class 4A     Prepetition LC Facility Claims        Impaired         Entitled to Vote

          Class 4B     1L Notes Claims                       Impaired         Entitled to Vote

          Class 5      2L Notes Claims                       Impaired         Entitled to Vote
          Class 6      3L Notes Claims                       Impaired         Deemed to Reject
          Class 7      Unsecured Notes Claims                Impaired         Deemed to Reject

          Class 8      General Unsecured Claims              Impaired         Deemed to Reject

          Class 9      Go-Forward Guaranty Claims            Unimpaired       Presumed to Accept
                                                             Unimpaired /     Presumed to Accept
          Class 10     Intercompany Claims
                                                             Impaired         / Deemed to Reject
                                                             Unimpaired /     Presumed to Accept
          Class 11     Intercompany Interests
                                                             Impaired         / Deemed to Reject
          Class 12     Parent Interests                      Impaired         Deemed to Reject

          Class 13     Section 510(b) Claims                 Impaired         Deemed to Reject




                                                      38
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 48 of 206


B.      Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under this Plan
the treatment described below in full and final satisfaction, settlement, release, and discharge of and in
exchange for such Holder’s Allowed Claim or Allowed Interest, as applicable, except to the extent different
treatment is agreed to in writing by the Debtors or the Reorganized Debtors, as applicable, and the Holder
of such Allowed Claim or Allowed Interest, as applicable, subject to the consent of the Required Consenting
Stakeholders. Unless otherwise indicated, the Holder of an Allowed Claim or Allowed Interest, as
applicable, shall receive such treatment on the Effective Date (or, if payment is not then due, in accordance
with such Claim’s or Interest’s terms in the ordinary course of business) or as soon as reasonably practicable
thereafter.

        1.      Class 1 – Other Secured Claims

                (a)      Classification: Class 1 consists of all Other Secured Claims.

                (b)      Treatment: In full and final satisfaction of such Allowed Other Secured Claims,
                         each Holder of an Allowed Other Secured Claim shall receive, at the option of the
                         applicable Debtor (or Reorganized Debtor, as applicable) and subject to the consent
                         of the Required Consenting Stakeholders:

                         (i)     payment in full in Cash of its Allowed Other Secured Claim;

                         (ii)    the collateral securing its Allowed Other Secured Claim;

                         (iii)   Reinstatement of its Allowed Other Secured Claim; or

                         (iv)    such other treatment that renders its Allowed Other Secured Claim
                                 Unimpaired in accordance with section 1124 of the Bankruptcy Code.

                (c)      Voting: Class 1 is Unimpaired under this Plan. Holders of Allowed Other Secured
                         Claims are conclusively presumed to have accepted this Plan pursuant to
                         section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                         to vote to accept or reject this Plan.

        2.      Class 2 – Other Priority Claims

                (a)      Classification: Class 2 consists of all Other Priority Claims.

                (b)      Treatment: In full and final satisfaction of such Allowed Other Priority Claims,
                         each Holder of an Allowed Other Priority Claim shall receive, at the option of the
                         applicable Debtor (or Reorganized Debtor, as applicable) and subject to the consent
                         of the Required Consenting Stakeholders:

                         (i)     payment in full in Cash of its Allowed Other Priority Claim; or

                         (ii)    treatment in a manner consistent with section 1129(a)(9) of the Bankruptcy
                                 Code.

                (c)      Voting: Class 2 is Unimpaired under this Plan. Holders of Allowed Other Priority
                         Claims are conclusively presumed to have accepted this Plan pursuant to


                                                     39
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                             Document    Page 49 of 206


                    section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                    to vote to accept or reject this Plan.

      3.    Class 3A – Drawn DIP TLC Claims

            (a)     Classification: Class 3A consists of all Drawn DIP TLC Claims.

            (b)     Allowance: The Drawn DIP TLC Claims shall be Allowed in the full amount of
                    such Claims outstanding under the DIP LC/TLC Credit Agreement as of the
                    Effective Date.

            (c)     Treatment: In full and final satisfaction of such Allowed Drawn DIP TLC Claims,
                    the Holder of each Allowed Drawn DIP TLC Claim shall receive its Pro Rata share
                    of the Drawn DIP TLC Equity Distribution.

            (d)     Voting: Class 3A is Impaired under this Plan. Holders of Allowed Drawn DIP TLC
                    Claims are entitled to vote to accept or reject this Plan.

      4.    Class 3B – Undrawn DIP TLC Claims

            (a)     Classification: Class 3B consists of all Undrawn DIP TLC Claims.

            (b)     Allowance: The Undrawn DIP TLC Claims shall be Allowed in the full amount of
                    such Claims outstanding under the DIP LC/TLC Credit Agreement as of the
                    Effective Date.

            (c)     Treatment: In full and final satisfaction of such Allowed Undrawn DIP TLC
                    Claims, each Allowed Undrawn DIP TLC Claim shall receive the following
                    treatment:

                    (i)     in the case of an Excess DIP TLC Claim, such Claim shall be paid in full
                            in cash in an amount equal to such Excess DIP TLC Claim from amounts
                            remaining from the proceeds of the DIP TLC Facility (or, for the avoidance
                            of doubt, interest accrued on the amounts funded pursuant to the DIP TLC
                            Facility), which amounts shall be funded solely from amounts which
                            constitute DIP LC Loan Collateral (as defined in the DIP LC/TLC Order)
                            after the funding of the SoftBank Parties’ obligations to support the Exit
                            LC Facility; and

                    (ii)    in the case of a Rolled Undrawn DIP TLC Claim, such Claim shall be
                            converted into obligations under the Exit LC Facility on a dollar-for-dollar
                            basis.

            (d)     Voting: Class 3B is Impaired under this Plan. Holders of Allowed Undrawn DIP
                    TLC Claims are entitled to vote to accept or reject this Plan.

      5.    Class 4A – Prepetition LC Facility Claims

            (a)     Classification: Class 4A consists of all Prepetition LC Facility Claims.




                                                40
Case 23-19865-JKS    Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                            Document    Page 50 of 206


            (b)     Allowance: The Prepetition LC Facility Claims shall be Allowed to the full extent
                    set forth in the Prepetition LC Facility Documents.

            (c)     Treatment: In full and final satisfaction of such Allowed Prepetition LC Facility
                    Claims, each Holder of an Allowed Prepetition LC Facility Claim shall receive its
                    Pro Rata share of the 1L Equity Distribution.

            (d)     Voting: Class 4A is Impaired under this Plan. Holders of Allowed Prepetition LC
                    Facility Claims are entitled to vote to accept or reject this Plan.

      6.    Class 4B – 1L Notes Claims

            (a)     Classification: Class 4B consists of all 1L Notes Claims.

            (b)     Allowance: The 1L Notes Claims shall be Allowed to the full extent set forth in the
                    applicable Secured Notes Documents.

            (c)     Treatment: In full and final satisfaction of such Allowed 1L Notes Claims, each
                    Holder of an Allowed 1L Notes Claim shall receive its Pro Rata share of the 1L
                    Equity Distribution.

            (d)     Voting: Class 4B is Impaired under this Plan. Holders of Allowed 1L Notes Claims
                    are entitled to vote to accept or reject this Plan.

      7.    Class 5 – 2L Notes Claims

            (a)     Classification: Class 5 consists of all 2L Notes Claims.

            (b)     Allowance: The 2L Notes Claims shall be Allowed to the full extent set forth in the
                    applicable Secured Notes Documents (excluding, for the avoidance of doubt,
                    postpetition interest and fees).

            (c)     Treatment: In full and final satisfaction of such Allowed 2L Notes Claims, each
                    Holder of an Allowed 2L Notes Claim shall receive its Pro Rata share of the 2L
                    Equity Distribution.

            (d)     Voting: Class 5 is Impaired under this Plan. Holders of Allowed 2L Notes Claims
                    are entitled to vote to accept or reject this Plan.

      8.    Class 6 – 3L Notes Claims

            (a)     Classification: Class 6 consists of all 3L Notes Claims.

            (b)     Allowance: The 3L Notes Claims shall be Allowed to the full extent set forth in the
                    applicable Secured Notes Documents (excluding, for the avoidance of doubt,
                    postpetition interest).

            (c)     Treatment: Each Holder of an Allowed 3L Notes Claim shall receive, in full and
                    final satisfaction of such Claim, its share of the UCC Settlement Proceeds, to be
                    distributed by the UCC Settlement Trust in accordance with the terms of the UCC
                    Settlement Trust Documents; provided that the SoftBank Parties, as the sole
                    Holders of Allowed 3L Exchangeable Notes Claims, agree to waive any distribution

                                                41
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                             Document    Page 51 of 206


                    on account of such Allowed 3L Exchangeable Notes Claims and to not receive any
                    portion of the UCC Settlement Proceeds or be entitled to any distribution from the
                    UCC Settlement Trust; provided, further, that in connection with any distribution
                    from the UCC Settlement Trust to any Holder of an Allowed 3L Notes Claim, such
                    distribution shall not be subject to an intercreditor pay-over provision, or any such
                    similar provision, under the 1L/2L/3L Intercreditor Agreement, the DIP
                    Documents, the Exit LC Facility Documents, or any other related agreement.

            (d)     Voting: Class 6 is Impaired under this Plan. Holders of 3L Notes Claims are
                    conclusively deemed to have rejected the Plan. Therefore, such Holders are not
                    entitled to vote to accept or reject this Plan.

      9.    Class 7 – Unsecured Notes Claims

            (a)     Classification: Class 7 consists of all Unsecured Notes Claims.

            (b)     Allowance: The Unsecured Notes Claims shall be Allowed to the full extent set
                    forth in the applicable Unsecured Notes Indentures (excluding, for the avoidance of
                    doubt, postpetition interest).

            (c)     Treatment: Each Holder of an Allowed Unsecured Notes Claim shall receive the
                    following treatment:

                    (i)     any such Holder that is an Unsecured Notes Settlement Non-Participant
                            shall receive, in full and final satisfaction of such Claim, its Pro Rata share
                            of the Unsecured Notes Pool; provided that no such Holder shall receive
                            more than a 1.0% recovery on account of such Claim; and

                    (ii)    any such Holder that is an Unsecured Notes Settlement Participant shall not
                            receive or retain any distribution, property, or other value under this
                            Article III on account of such Claim; provided that nothing in this Plan shall
                            prevent any such Holder from receiving distributions under the 9019 Order.

            (d)     Voting: Class 7 is Impaired under this Plan. Holders of Unsecured Notes Claims
                    are conclusively deemed to have rejected the Plan. Therefore, such Holders are not
                    entitled to vote to accept or reject this Plan.

      10.   Class 8 – General Unsecured Claims

            (a)     Classification: Class 8 consists of all General Unsecured Claims.

            (b)     Treatment: Each Holder of an Allowed General Unsecured Claim shall receive, in
                    full and final satisfaction of such Claim, its share of the UCC Settlement Proceeds,
                    to be distributed by the UCC Settlement Trust in accordance with the terms of the
                    UCC Settlement Trust Documents.

            (c)     Voting: Class 8 is Impaired under this Plan. Holders of General Unsecured Claims
                    are conclusively deemed to have rejected the Plan. Therefore, such Holders are not
                    entitled to vote to accept or reject this Plan.




                                                 42
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                             Document    Page 52 of 206


      11.   Class 9 – Go-Forward Guaranty Claims

            (a)     Classification: Class 9 consists of all Go-Forward Guaranty Claims.

            (b)     Treatment: Each Allowed Go-Forward Guaranty Claim shall be Reinstated.

            (c)     Voting: Class 9 is Unimpaired under this Plan. Holders of Allowed Go-Forward
                    Guaranty Claims are conclusively presumed to have accepted this Plan. Therefore,
                    such Holders are not entitled to vote to accept or reject this Plan.

      12.   Class 10 – Intercompany Claims

            (a)     Classification: Class 10 consists of all Intercompany Claims.

            (b)     Treatment:       Each Allowed Intercompany Claim shall be (i) Reinstated,
                    (ii) converted to equity (other than, for the avoidance of doubt, equity of
                    Reorganized WeWork), (iii) canceled, released, or discharged, or (iv) otherwise set
                    off, settled, or distributed, at the option of the Debtors or the Reorganized Debtors,
                    and subject to the consent of the Required Consenting Stakeholders, in each case in
                    accordance with the Restructuring Transactions Exhibit.

            (c)     Voting: Class 10 is Unimpaired under this Plan if Reinstated or Impaired under this
                    Plan if converted to equity, canceled, released, discharged, set off, settled, or
                    distributed. Holders of Intercompany Claims are conclusively deemed to have
                    accepted or rejected this Plan. Therefore, such Holders are not entitled to vote to
                    accept or reject this Plan.

      13.   Class 11 – Intercompany Interests

            (a)     Classifications: Class 11 consists of all Intercompany Interests.

            (b)     Treatment:       Each Allowed Intercompany Interest shall be (i) Reinstated,
                    (ii) canceled, released, or discharged, or (iii) otherwise set off, settled, or
                    distributed, at the option of the Debtors or the Reorganized Debtors, and subject to
                    the consent of the Required Consenting Stakeholders, in each case in accordance
                    with the Restructuring Transactions Exhibit.

            (c)     Voting: Class 11 is Unimpaired under this Plan if Reinstated or Impaired under this
                    Plan if canceled, released, discharged, set off, settled, or distributed. Holders of
                    Intercompany Interests are conclusively deemed to have accepted or rejected this
                    Plan. Therefore, such Holders are not entitled to vote to accept or reject this Plan.

      14.   Class 12 – Parent Interests

            (a)     Classification: Class 12 consists of all Parent Interests.

            (b)     Treatment: All Parent Interests shall be canceled, released, discharged, and
                    extinguished and will be of no further force or effect, and Holders of such Parent
                    Interests shall not receive any distribution on account of such Interests, except as
                    otherwise provided in the Restructuring Transactions Exhibit, and subject to the
                    consent of the Required Consenting Stakeholders.


                                                 43
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                 Document    Page 53 of 206


                (c)      Voting: Class 12 is Impaired under this Plan. Holders of Interests in WeWork
                         Parent are conclusively deemed to have rejected this Plan. Therefore, such Holders
                         are not entitled to vote to accept or reject this Plan, except as otherwise provided in
                         the Restructuring Transactions Exhibit.

        15.     Class 13 – Section 510(b) Claims

                (a)      Classification: Class 13 consists of all Section 510(b) Claims.

                (b)      Treatment: On the Effective Date, all Section 510(b) Claims against any applicable
                         Debtor shall be canceled, released, discharged, and extinguished and will be of no
                         further force or effect, and Holders of Section 510(b) Claims shall not receive or
                         retain any distribution, property, or other value on account of such Section 510(b)
                         Claims.

                (c)      Voting: Class 13 is Impaired under this Plan. Holders of Section 510(b) Claims are
                         conclusively deemed to have rejected this Plan. Therefore, such Holders are not
                         entitled to vote to accept or reject this Plan.

C.      Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in this Plan or the Plan Supplement, nothing under this Plan shall
affect the Debtors’ or the Reorganized Debtors’ rights regarding any Unimpaired Claim, including all rights
regarding legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired Claim.
Unless otherwise Allowed, Claims that are Unimpaired shall remain Disputed Claims under this Plan.

D.      Elimination of Vacant Classes.

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court in any amount greater than zero
as of the date of the Combined Hearing shall be deemed eliminated from this Plan for purposes of voting to
accept or reject this Plan and for purposes of determining acceptance or rejection of this Plan by such Class
pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.      Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote on this Plan and no Holder of Claims or
Interests eligible to vote in such Class votes to accept or reject this Plan, the Holders of such Claims or
Interests in such Class shall be deemed to have accepted this Plan.

F.      Intercompany Interests.

         To the extent Reinstated under this Plan, (a) distributions on account of Intercompany Interests are
not being received by Holders of such Intercompany Interests on account of their Intercompany Interests but
for the purposes of administrative convenience and due to the importance of maintaining the prepetition
corporate structure for the ultimate benefit of the Holders of New Interests, and in exchange for the Debtors’
and the Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of
Allowed Claims, and (b) other than as described in the Restructuring Transactions Exhibit, all Intercompany
Interests shall be owned on and after the Effective Date by the same Reorganized Debtor that corresponds
with the Debtor that owned such Intercompany Interests immediately prior to the Effective Date.



                                                      44
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 54 of 206


G.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

         Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by one or more Impaired Class of Claims. In the event any Debtor does not have
one or more Impaired Classes of Claims, all Classes of Claims against such Debtor are presumed to have
accepted the Plan. The Debtors shall seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code
with respect to any rejecting Class(es) of Claims or Interests. The Debtors reserve the right to modify this
Plan in accordance with Article X hereof and the terms of the RSA (subject to the consent rights of the
Required Consenting Stakeholders) to the extent that Confirmation pursuant to section 1129(b) of the
Bankruptcy Code requires modification, including by modifying the treatment applicable to a Class of
Claims or Interests or reclassifying Claims to the extent permitted by the Bankruptcy Code and the
Bankruptcy Rules. For the avoidance of doubt, notwithstanding any of the foregoing, the Plan shall enforce
all rights and subordination arising under any intercreditor agreements in accordance with section 510(a) of
the Bankruptcy Code.

H.      Controversy Concerning Impairment.

       If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests, are
Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or before
the Confirmation Date.

I.      Subordinated Claims and Interests.

         The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the
respective distributions and treatments under this Plan take into account and conform to the relative priority
and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise, including intercreditor agreements pursuant to
section 510(a) of the Bankruptcy Code. Pursuant to section 510 of the Bankruptcy Code, the Debtors or the
Reorganized Debtors, as applicable, subject to the consent of the Required Consenting Stakeholders, reserve
the right to re-classify any Allowed Claim or Allowed Interest in accordance with any contractual, legal, or
equitable subordination rights relating thereto.

                                       ARTICLE IV.
                          MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests.

         To the greatest extent permissible under the Bankruptcy Code and the Bankruptcy Rules, and in
consideration for the classification, distributions, releases, and other benefits provided under this Plan, upon
the Effective Date, the provisions of this Plan shall constitute a good faith compromise and settlement of all
Claims, Interests, Causes of Action, and controversies released, settled, compromised, discharged, satisfied,
or otherwise resolved pursuant to this Plan. This Plan shall be deemed a motion to approve the good faith
compromise and settlement of all such Claims, Interests, Causes of Action, and controversies, and the entry
of the Confirmation Order shall constitute the Bankruptcy Court’s approval of such compromise and
settlement, as well as a finding by the Bankruptcy Court that such settlement and compromise is fair,
equitable, reasonable and in the best interests of the Debtors, their Estates, and Holders of Claims and
Interests. Subject to Article VI hereof, all distributions made to Holders of Allowed Claims and Allowed
Interests, as applicable, in any Class are intended to be, and shall be, final.




                                                      45
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                   Document    Page 55 of 206


         Certain Claims and Causes of Action may exist between one or more of the Debtors and one or more
of its Affiliates, which Claims and Causes of Action (other than any such Claims and Causes of Action that
are not released pursuant to Article VIII, including any obligations arising under business or commercial
agreements or arrangements among the Released Parties and any non-Debtor Entity) have been settled, and
such settlement is reflected in the treatment of the Intercompany Claims and the Claims against and Interests
in each Debtor Entity. This Plan shall be deemed a motion to approve the good faith compromise and
settlement of such Claims and Causes of Action pursuant to Bankruptcy Rule 9019.

B.      Restructuring Transactions.

         On or before the Effective Date, or as soon as reasonably practicable thereafter, the applicable
Debtors or the Reorganized Debtors, subject to the consent of the Required Consenting Stakeholders, shall
consummate the Restructuring Transactions and take all actions as may be necessary or appropriate to
effectuate any transaction described in, approved by, contemplated by, or necessary to effectuate this Plan
that are consistent with and pursuant to the terms and conditions of this Plan, including: (a) the execution
and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or
liquidation containing terms that are consistent with the terms of this Plan, the RSA, and the Plan Supplement
and that satisfy the requirements of applicable Law and any other terms to which the applicable Entities may
agree; (b) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or
delegation of any asset, property, right, liability, debt, or obligation on terms consistent with the terms of this
Plan, the RSA, and the Plan Supplement and having other terms for which the applicable Entities may agree;
(c) the execution, delivery, and Filing, if applicable, of appropriate certificates or articles of incorporation,
formation, reincorporation, merger, consolidation, conversion, amalgamation, arrangement, continuance, or
dissolution pursuant to applicable state or provincial Law, including any applicable New Corporate
Governance Documents; (d) such other transactions and/or Bankruptcy Court filings that are required to
effectuate the Restructuring Transactions, including any sales, mergers, consolidations, restructurings,
conversions, dispositions, transfers, formations, organizations, dissolutions, or liquidations or those
conducted pursuant to the Restructuring Transactions Exhibit (including, for the avoidance of doubt, if so
provided in the Restructuring Transactions Exhibit, all transactions necessary to provide for the
sale/purchase of all or substantially all of the assets or Interests of any of the Debtors, which purchase may
be structured as a taxable transaction for U.S. federal income tax purposes); (e) the execution, delivery, and
Filing of the DIP New Money Documents; (f) the execution, delivery, and Filing of the Exit LC Facility
Documents; (g) the execution and delivery of the UCC Settlement Trust Documents and all other steps that
are necessary or appropriate to establish the UCC Settlement Trust; and (h) all other actions that the
applicable Entities determine to be necessary or appropriate, including making filings or recordings that may
be required by applicable Law in connection with this Plan.

         The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect
any transaction described in, contemplated by, or necessary to effectuate this Plan. On the Effective Date or
as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable, shall issue all Securities,
notes, instruments, certificates, and other documents required to be issued pursuant to the Restructuring
Transactions.

C.      Reorganized Debtors.

        On the Effective Date, in accordance with the terms of the RSA and the Corporate Governance Term
Sheet, the New Board shall be appointed, and the Reorganized Debtors shall adopt the New Corporate
Governance Documents. The Reorganized Debtors shall be authorized to adopt any other agreements,
documents, and instruments and to take any other actions contemplated under this Plan as necessary to

                                                        46
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 56 of 206


consummate this Plan so long as such agreements, documents, instruments, and actions satisfy the
requirements of the RSA. Cash payments to be made pursuant to this Plan will be made by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (as applicable). The Debtors and the Reorganized Debtors
will be entitled to transfer funds between and among themselves as they determine to be necessary or
appropriate to enable the Debtors or the Reorganized Debtors, as applicable, to satisfy their obligations under
this Plan. Except as set forth herein, any changes in intercompany account balances resulting from such
transfers will be accounted for and settled in accordance with the Debtors’ historical intercompany account
settlement practices and will not violate the terms of this Plan.

D.      Sources of Consideration for Plan Distributions.

        The Debtors and the Reorganized Debtors shall fund distributions under this Plan, as applicable,
with (a) the proceeds from the DIP New Money Exit Facility; (b) the New Interests; (c) Cash or other
proceeds from the sale of Estate property (if any); and (d) the Debtors’ Cash on hand, as applicable. The
issuance, distribution, or authorization, as applicable or as described in the Restructuring Transaction
Exhibit, of certain Securities in connection with this Plan, including the New Interests will be exempt from
SEC registration to the fullest extent permitted by Law, as more fully described in Article IV.E, below.

        1.      Exit LC Facility.

       On the Effective Date, the Debtors and the SoftBank Parties shall enter into the Exit LC Facility
pursuant to the following terms, as described in further detail in, and subject to, the Exit LC Facility
Documents:

                (a)      the Exit LC Facility shall be cash collateralized by the Aggregate Exit LC Cash
                         Collateral, which credit support shall be committed for a 6-year term, subject to
                         mandatory redemption on a dollar-for-dollar basis upon change of control;

                (b)      on the Effective Date, all Undrawn DIP TLC Claims shall constitute obligations
                         under the Exit LC Facility, and all directly associated cash collateral with respect to
                         each letter of credit (subject to the assignment of the Exit LC Assigned Cash
                         Collateral pursuant to Article IV.D.1(c) and (d) below) shall continue as credit
                         support under the Exit LC Facility, in each case on a dollar-for-dollar basis
                         (provided that, to the extent the Exit LC Facility Issuing Banks agree to reduce the
                         level of cash collateralization required to support the Exit LC Facility, only such
                         reduced amount of cash collateralization shall continue as credit support; provided,
                         further, that such reduced amount shall not be less than 100% of the face amount of
                         the associated Exit LCs), until the earlier of one of the following: (i) expiration or
                         reduction of the letters of credit under the Exit LC Facility; (ii) a change of control;
                         (iii) refinancing of the Exit LC Facility; or (iv) maturity/expiration of the 6-year
                         term as described in Article IV.D.1(a) above;

                (c)      on the Effective Date, the Reorganized Debtors shall receive rights to the Exit LC
                         Assigned Cash Collateral and, thereafter, such Exit LC Assigned Cash Collateral
                         shall only be released to the Reorganized Debtors as follows:

                         (i)     the portion of Exit LC Assigned Cash Collateral associated with any
                                 expired or reduced Exit LCs may be released to the Reorganized Debtors
                                 at their discretion; and




                                                      47
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document    Page 57 of 206


                        (ii)    all Exit LC Assigned Cash Collateral shall be released to the Reorganized
                                Debtors upon (A) a change of control; (B) refinancing of the Exit LC
                                Facility; or (C) maturity of the 6-year term as described in Article IV.D.1(a);

                (d)     on the Effective Date, the SoftBank Parties shall retain rights to the Exit LC
                        SoftBank Cash Collateral and, thereafter, such Exit LC SoftBank Cash Collateral
                        shall only be released to the SoftBank Parties as follows, subject to the potential
                        equitization of such cash collateral to the extent such amounts may be equitized
                        under certain circumstances pursuant to the terms of the Exit LC Facility
                        Documents:

                        (i)     the portion of Exit LC SoftBank Cash Collateral associated with any
                                expired or reduced Exit LCs may be released to the SoftBank Parties on a
                                semi-annual basis, in proportion to the Exit LC Assigned Cash Collateral
                                released to the Reorganized Debtors under Article IV.D.1(c)(i) during the
                                same semi-annual period; and

                        (ii)    all Exit LC SoftBank Cash Collateral shall be released to the SoftBank
                                Parties upon (A) a change of control; (B) refinancing of the Exit LC
                                Facility; or (C) maturity of the 6-year term as described in Article IV.D.1(a);

                (e)     on or after the Effective Date, the Reorganized Debtors shall be responsible for the
                        payment of interests, fees and other running costs due to the Exit LC Facility Issuing
                        Banks;

                (f)     on or after the Effective Date, the Exit LC Lender Fees and Post-Emergence Drawn
                        Exit LC Amount may be paid in cash or equitized pursuant to the Exit LC Facility
                        Documents;

                (g)     on or after the Effective Date, deposit interest or other similar amounts that accrue
                        on the Aggregate Exit LC Cash Collateral shall be assigned as follows:

                        (i)     37.50% to the Reorganized Debtors (which shall be available to the Debtors
                                for general corporate purposes); and

                        (ii)    62.50% to the SoftBank Parties (which shall not be available to the Debtors
                                for any purpose and shall be released to the SoftBank Parties on a
                                semi-annual basis); and

                (h)     on the Effective Date, the Exit LC Assigned Cash Collateral Equity Distribution
                        shall be issued and held in escrow by the Reorganized Debtors for the benefit of the
                        DIP TLC Lender, and, on or after the Effective Date, a Pro Rata portion of the Exit
                        LC Assigned Cash Collateral Equity Distribution shall be released from escrow to
                        the DIP TLC Lender, (i) in a percentage equal to the percentage of Exit LC Assigned
                        Cash Collateral that the Reorganized Debtors elect to withdraw from the applicable
                        cash collateral accounts from time to time in accordance with the terms of the Exit
                        LC Facility Documents, or (ii) upon maturity, change of control, or refinancing of
                        the Exit LC Facility.

        To the extent not already approved, Confirmation shall be deemed approval of the Exit LC Facility
and the Exit LC Facility Documents, as applicable, and all transactions and related agreements contemplated


                                                     48
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 58 of 206


thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the payment of all fees, indemnities, expenses, and
other payments provided for therein and authorization of the Debtors or the Reorganized Debtors (as
applicable), without further notice to or order of the Bankruptcy Court, to enter into and execute the Exit LC
Facility Documents and such other documents as may be required to effectuate the treatment afforded by the
Exit LC Facility. Execution of the Exit LC Facility Documents by the Exit LC Facility Agents shall be
deemed to bind all Exit LC Facility Lenders as if each such Exit LC Facility Lender had executed the
applicable Exit LC Facility Documents with appropriate authorization.

         On the Effective Date, all of the Liens and security interests to be granted in accordance with the
Exit LC Facility Documents, to the extent applicable: (i) shall be deemed to be granted; (ii) shall be legal,
binding, automatically perfected, non-avoidable, and enforceable Liens on, and security interests in, the
collateral granted thereunder in accordance with the terms of the Exit LC Facility Documents; (iii) shall be
deemed automatically perfected on or prior to the Effective Date, subject only to such Liens and security
interests as may be permitted under the respective Exit LC Facility Documents; and (iv) shall not be subject
to avoidance, recharacterization, or equitable subordination for any purposes whatsoever and shall not
constitute preferential transfers, fraudulent transfers, or fraudulent conveyances under the Bankruptcy Code
or any applicable non-bankruptcy Law.

         To the extent applicable, the Reorganized Debtors, the applicable non-Debtor Affiliates, and the
Persons and Entities granted such Liens and security interests shall be authorized to make all filings and
recordings, and to obtain all governmental approvals and consents, and to take any other actions necessary
to establish and perfect such Liens and security interests under the provisions of the applicable state, federal,
or other Law that would be applicable in the absence of this Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation Order and
any such Filings, recordings, approvals, and consents shall not be required), and will thereafter cooperate to
make all other filings and recordings that otherwise would be in accordance with the Exit LC Facility
Documents and necessary under applicable Law to give notice of such Liens and security interests to third
parties.

        2.       New Interests

         The Confirmation Order shall authorize the issuance of Reorganized WeWork’s New Interests, and
any other Securities derivative thereto, in one or more issuances without the need for any further corporate
action, and the Debtors or Reorganized Debtors, as applicable, are authorized to take any action necessary
or appropriate in furtherance thereof. By the Effective Date, applicable Holders of Claims shall receive the
New Interests in exchange for their Claims pursuant to Articles II and III and in accordance with, to the
extent applicable, the Exit LC Facility Documents. New Interests issued under the Plan shall be subject to
dilution by the New Interests issued in connection with the Exit LC Facility on the terms set forth in the Exit
LC Facility Documents and the New Corporate Governance Documents, including the MIP, the Exit LC
SoftBank Cash Collateral Equity Distribution, and the Exit LC Lender Fees.

         All of the shares or units of New Interests issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance of New Interests under the
Plan shall be governed by the terms and conditions set forth in the Plan applicable to such distribution or
issuance and by the terms and conditions of the instruments evidencing or relating to such distribution or
issuance, which terms and conditions shall bind each Entity receiving such distribution or issuance.

        The Reorganized Debtors (i) shall emerge from the Chapter 11 Cases as a private company on the
Effective Date and the New Interests shall not be listed on a public stock exchange, (ii) shall not be
voluntarily subjected to any reporting requirements promulgated by the SEC, and (iii) shall not be required

                                                       49
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 59 of 206


to list the New Interests on a recognized U.S. stock exchange, except, in each case, as otherwise may be
required pursuant to the New Corporate Governance Documents.

        The New Corporate Governance Documents shall be effective as of the Effective Date and, as of
such date, shall be deemed to be valid, binding, and enforceable in accordance with their terms, and each
holder of New Interests shall be deemed bound thereby.

        3.       DIP New Money Exit Facility

          On or before the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall enter into
the DIP New Money Exit Facility (the terms of which shall be set forth in the DIP New Money Exit Facility
Documents). On the later of (i) the Effective Date and (ii) the date on which the DIP New Money Exit
Facility Documents have been executed and delivered, except as otherwise expressly provided in the Plan,
all of the Liens and security interests to be granted in accordance therewith (a) shall be deemed to be granted,
(b) shall be legal, binding, and enforceable Liens on, and security interests in, the applicable collateral in
accordance with the respective terms of the DIP New Money Exit Facility Documents, (c) shall be deemed
perfected on the Effective Date, subject only to the Liens and security interests as may be permitted to be
senior to them under the respective DIP New Money Exit Facility Documents, and (d) shall not be subject
to recharacterization or subordination for any purposes whatsoever and shall not constitute preferential
transfers or fraudulent conveyances under the Bankruptcy Code or any applicable non-bankruptcy law. The
Reorganized Debtors and the Entities granted such Liens and security interests shall be authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, federal, or other Law
that would be applicable in the absence of the Plan and the Confirmation Order (it being understood that
perfection shall occur automatically by virtue of the entry of the Confirmation Order (subject solely to the
occurrence of the Effective Date) and any such filings, recordings, approvals, and consents shall not be
required), and will thereafter cooperate to make all other filings and recordings that otherwise would be
necessary under applicable law to give notice of such Liens and security interests to third parties.

        4.       UCC Settlement

                 (a)     Establishment of UCC Settlement Trust

        On the Effective Date, the UCC Settlement Trust Documents shall be executed by the Reorganized
Debtors and the UCC Settlement Trustee, and all other necessary steps shall be taken to establish the UCC
Settlement Trust in accordance with the Plan and the UCC Settlement Trust Documents. The UCC
Settlement Trust Documents will provide the powers, duties, and authorities of the UCC Settlement Trustee.
The Creditors’ Committee shall have the sole authority to determine the identity of the UCC Settlement
Trustee in accordance with the UCC Settlement Trust Documents.

         The UCC Settlement Trust shall be established for the purposes of, among other
things: (i) distribution of the UCC Settlement Proceeds to Holders of Allowed General Unsecured Claims
and Holders of Allowed 3L Notes Claims; (ii) reconciling, contesting, objecting to, seeking to subordinate,
compromising, or settling any and all Disputed General Unsecured Claims and Disputed 3L Notes Claims;
and (iii) performing such other functions as are provided for in the Plan or the UCC Settlement Trust
Documents.

        On or following the later of the Effective Date and the UCC Settlement Determination Date, the
Debtors shall irrevocably transfer and shall be deemed to have irrevocably transferred the UCC Settlement
Proceeds to the UCC Settlement Trust, which shall be funded exclusively with the UCC Settlement Proceeds
and shall not be entitled to receive any additional value. Pursuant to section 1141 of the Bankruptcy Code,


                                                      50
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                    Document    Page 60 of 206


the UCC Settlement Proceeds shall automatically vest in the UCC Settlement Trust free and clear of all
Claims, Interests, Liens, other encumbrances or interests of any kind as of the applicable date of transfer of
such UCC Settlement Proceeds to the UCC Settlement Trust. Pursuant to and to the fullest extent permitted
by section 1146 of the Bankruptcy Code, such transfer(s) shall be exempt from any stamp, real estate transfer,
other transfer, mortgage reporting, sales, use, or other similar tax.

                  (b)      Payment of Expenses

         On the Effective Date, the Debtors shall indefeasibly pay the 3L/Unsecured Notes Trustee Expenses
and the Creditors’ Committee Member Expenses using the UCC Settlement Consideration, without the
requirement for the 3L Notes Trustee or the Unsecured Notes Trustee to file with the Bankruptcy Court
either a retention application or a fee application, which shall not be subject to setoff, recoupment, reduction,
or reallocation of any kind.

                  (c)      Other Provisions of the UCC Settlement

         The UCC Settlement Trust Documents may provide that Holders of Allowed 3L Notes Claims who
receive a distribution from the UCC Settlement Trust shall, to the extent funds are available in the UCC
Settlement Trust, receive a distribution from the UCC Settlement Trust in an amount that provides such
Holder with a recovery on account of its Allowed 3L Notes Claim that is equal to a 4.17% recovery on
account of such Allowed 3L Notes Claims;6 provided, however, that notwithstanding the foregoing or
anything to the contrary in this Plan or the UCC Settlement Trust Documents, (i) the UCC Settlement Trust
shall be funded exclusively with the UCC Settlement Proceeds, and shall not be entitled to receive any other
amounts or value, and (ii) neither the Debtors nor the Reorganized Debtors shall be obligated to provide any
additional funding or make any additional payments to the UCC Settlement Trust or Holders of 3L Notes
Claims. The remainder of the UCC Settlement Trust shall be distributed Pro Rata to Holders of Allowed
General Unsecured Claims.

         5.       Use of Cash

         Consistent with the terms of the Plan, the 9019 Order, and the UCC Settlement Trust Documents,
the Debtors or Reorganized Debtors, as applicable, shall use Cash on hand, proceeds of the DIP New Money
Facilities, or other amounts to fund distributions to certain Holders of Allowed Claims and effectuate the
UCC Settlement and the Unsecured Notes Settlement, including the payment of the 3L/Unsecured Notes
Trustee Expenses, the Creditors’ Committee Member Expenses, and the Unsecured Notes Pool.

E.       Exemption from Registration Requirements and Certain DTC Matters.

         The New Interests (other than any New Interests issued pursuant to the MIP), or any other Securities,
being issued, offered, or distributed under this Plan (including any Securities issued on the Effective Date or
thereafter pursuant to the Exit LC Facility Documents), and any interests in the UCC Settlement Trust
pursuant to this Plan and the UCC Settlement Trust Documents, to the extent constituting Securities, will be
issued without registration under the Securities Act or any similar federal, state, or local Law in reliance
upon section 1145 of the Bankruptcy Code to the maximum extent permitted by law. To the extent the New
Interests, or any other Securities cannot be issued, offered, or distributed in reliance upon section 1145 of


6    In the event that the UCC Settlement Proceeds are insufficient for Holders of Allowed 3L Notes Claims to receive
     a recovery equal to a 4.17% on account of such Allowed 3L Notes Claims, the UCC Settlement Proceeds may be
     distributed Pro Rata to Holders of Allowed 3L Notes Claims pursuant to this Plan and the UCC Settlement Trust
     Documents.


                                                         51
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 61 of 206


the Bankruptcy Code, including with respect to an Entity that is an “underwriter” as defined in
section 1145(b) of the Bankruptcy Code relating to the definition of underwriter in section 2(a)(11) of the
Securities Act, they will be issued without registration under the Securities Act or similar Law in reliance
upon Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or Regulation S under
the Securities Act (or another applicable exemption from the registration requirements of the Securities Act).
Any equity or equity-linked interests issued pursuant to the MIP (including any New Interests issued
pursuant to the MIP) will be issued without registration under the Securities Act or similar Law in reliance
upon Section 4(a)(2) of the Securities Act, Rule 506 of Regulation D and/or Rule 701 promulgated
thereunder, and/or Regulation S under the Securities Act (or another applicable exemption from the
registration requirements of the Securities Act).

          Securities issued in reliance upon section 1145 of the Bankruptcy Code (to the fullest extent
permitted and available) (a) are exempt from, among other things, the registration requirements of section 5
of the Securities Act and any other applicable Law requiring registration prior to the offering, issuance,
distribution, or sale of Securities, to the maximum extent possible, (b) are not “restricted securities” as
defined in Rule 144(a)(3) under the Securities Act, and (c) are freely tradeable and transferable by any holder
thereof that, at the time of transfer, (i) is not an “affiliate” of the Reorganized Debtors as defined in
Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate” within 90 days of such transfer,
(iii) has not acquired such Securities from an “affiliate” within one year of such transfer, and (iv) is not an
Entity that is an “underwriter” (as defined in section 2(a)(11) of the Securities Act). The offering, issuance,
distribution, and sale of any Securities in accordance with section 1145 of the Bankruptcy Code shall be
made without registration under the Securities Act or any similar federal, state, or local Law in reliance upon
section 1145(a) of the Bankruptcy Code.

          The issuance of the New Interests or any other Securities shall not constitute an invitation or offer
to sell, or the solicitation of an invitation or offer to buy, any securities in contravention of any applicable
Law in any jurisdiction. No action has been taken, nor will be taken, in any jurisdiction that would permit a
public offering of any of the New Interests or any other Securities (other than Securities issued pursuant to
section 1145 of the Bankruptcy Code) in any jurisdiction where such action for that purpose is required.

         Any New Interests, or any other Securities, issued in reliance upon the exemption from registration
provided by Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder, and/or
Regulation S under the Securities Act will be “restricted securities.” Such Securities may not be resold,
exchanged, assigned, or otherwise transferred except pursuant to an effective registration statement under
the Securities Act or an available exemption therefrom and other applicable Law and subject to any
restrictions in the New Corporate Governance Documents. The offering, issuance, distribution, and sale of
such Securities shall be made without registration under the Securities Act or any similar federal, state, or
local Law in reliance upon Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder,
and/or Regulation S under the Securities Act.

         Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of the
New Interests to be issued under this Plan through the facilities of DTC (or another similar depository), the
Reorganized Debtors need not provide any further evidence other than this Plan or the Confirmation Order
with respect to the treatment of the New Interests to be issued under this Plan under applicable securities
Laws. DTC (or another similar depository) shall be required to accept and conclusively rely upon this Plan
and Confirmation Order in lieu of a legal opinion regarding whether the New Interests to be issued under
this Plan is exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository
services. Notwithstanding anything to the contrary in this Plan, no Entity (including, for the avoidance of
doubt, DTC) may require a legal opinion regarding the validity of any transaction contemplated by this Plan,
including, for the avoidance of doubt, whether the New Interests to be issued under this Plan is exempt from
registration and/or eligible for DTC book-entry delivery, settlement, and depository services.

                                                      52
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 62 of 206


        It is not expected that any New Interests, or any other Securities, will be eligible for any depository
services, including with respect to DTC, on or about the Effective Date. Further, it is not intended that the
New Interests will be listed on a national securities exchange registered under section 6 of the Securities
Exchange Act of 1934, as amended (or a comparable non-U.S. securities exchange) on or about the Effective
Date.

F.      Corporate Existence.

        Except as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, each Debtor shall continue to exist after the
Effective Date as a separate corporation, limited liability company, partnership, or other form, as the case
may be, with all the powers of a corporation, limited liability company, partnership, or other form, as the
case may be, pursuant to the applicable Law in the jurisdiction in which each applicable Debtor is
incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or other
formation documents) in effect prior to the Effective Date, except to the extent such certificate of
incorporation and bylaws (or other formation documents) are amended under this Plan or otherwise, in each
case, consistent with this Plan, and to the extent such documents are amended in accordance therewith, such
documents are deemed to be amended pursuant to this Plan and require no further action or approval (other
than any requisite Filings, approvals, or consents required under applicable state, provincial, or federal Law).
After the Effective Date, the respective certificate of incorporation and bylaws (or other formation
documents) of one or more of the Reorganized Debtors may be amended or modified on the terms therein
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules. After the Effective Date, one or more of the Reorganized Debtors may be disposed
of, merged with another entity, dissolved, wound down, or liquidated without supervision or approval by the
Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules.

G.      Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, on the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall vest
in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other encumbrances.
On and after the Effective Date, except as otherwise provided in this Plan, the Plan Supplement, or the
Confirmation Order, each Reorganized Debtor may operate its businesses and may use, acquire, or dispose
of property and compromise or settle any Claims, Interests, or Causes of Action without supervision or
approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the Bankruptcy
Rules.

H.      Cancelation of Existing Securities and Agreements.

         On the later of the Effective Date and the date on which distributions are made pursuant to this Plan
(if not made on the Effective Date), except for the purpose of evidencing a right to a distribution under this
Plan or as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, the DIP New
Money Documents, or the Exit LC Facility Documents, or any agreement, instrument, or other document
incorporated therein, all notes, Securities, instruments, certificates, credit agreements, indentures, and other
documents evidencing Claims or Interests (collectively, the “Canceled Instruments”), shall be canceled and
the rights of the Holders thereof and obligations of the Debtors (and, as applicable under bankruptcy and
non-bankruptcy Law, of the non-Debtor Affiliates) thereunder or in any way related thereto shall be deemed
satisfied in full, canceled, released, discharged, and of no force and effect without any need for further action
or approval of the Bankruptcy Court or for a Holder to take further action, and the Agents and Holders, as
applicable, shall be discharged and released and shall not have any continuing duties or obligations

                                                       53
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                              Desc Main
                                    Document    Page 63 of 206


thereunder. Holders of or parties to such Canceled Instruments will have no rights arising from or relating
to such Canceled Instruments, or the cancelation thereof, except the rights provided for or reserved pursuant
to this Plan, the Confirmation Order, the DIP New Money Documents, or the Exit LC Facility
Documents. Notwithstanding anything to the contrary herein, but subject to any applicable provisions of
Article VI hereof, to the extent canceled pursuant to this paragraph, the Debt Documents shall continue in
effect solely to the extent necessary to: (a) permit Holders of Claims or Interests under the Debt Documents
to receive and accept their respective Plan Distributions on account of such Claims or Interests, if any, subject
to any applicable charging Liens;7 (b) permit the Disbursing Agent or other Agents, as applicable, to make
Plan Distributions on account of the Allowed Claims under the Debt Documents, subject to any applicable
charging Liens; (c) preserve any rights of each Agent (on its own behalf or on behalf of any applicable
Holder) thereunder, respectively, to maintain, exercise, and enforce any applicable rights of indemnity,
reimbursement, or contribution, or subrogation or any other claim or entitlement; (d) preserve any rights of
each Agent (on its own behalf or on behalf of any applicable Holder) thereunder, respectively, to maintain,
enforce, and exercise their respective liens, including any charging liens, as applicable, under the terms of
the applicable Indentures or other agreements, or any related or ancillary document, instrument, agreement,
or principle of law, against any money or property distributed or allocable on account of such Claims or
Interests, as applicable; and (e) preserve the rights of each Agent (on its own behalf or on behalf of any
applicable Holder), to appear and be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy
Court, including, but not limited to, enforcing any obligations owed to any such Agent (on its own behalf or
on behalf of any applicable Holder), as applicable, under this Plan, the Plan Supplement, the Confirmation
Order, or other document incorporated therein. Except as provided in this Plan (including Article VI hereof),
the Plan Supplement, or the Confirmation Order, or as may be necessary to effectuate the terms of this Plan,
on the Effective Date, without any further action or approval of the Bankruptcy Court or any Holder, the
Agents and each Holder, and their respective agents, successors, and assigns, shall be automatically and fully
discharged and released of all of their duties and obligations associated with the Debt Documents, as
applicable; provided that any provisions of the Debt Documents that survive their termination shall survive
in accordance with their terms.8

        Upon the final distributions in accordance with Article VI hereof, or notice from the Debtors or the
Reorganized Debtors, as applicable, that there will be no distribution on account of any Notes Claim, (i) the
applicable Notes shall thereafter be deemed null, void, and worthless, and (ii) at the request of the Agent
under the applicable Indenture, DTC shall take down the relevant position relating to such Notes without
any requirement of indemnification or security on the part of the Debtors, the Reorganized Debtors, any
Agent, or any third party designated by the foregoing parties.

I.       Corporate Action.

        On the Effective Date, or as soon as reasonably practicable thereafter, except as otherwise provided
in this Plan, the Plan Supplement, or the Confirmation Order, all actions contemplated under the

7    For the avoidance of doubt, charging Liens include any and all charging liens the applicable Agents may assert,
     pursuant to the Indentures, with respect to the Plan Distributions set forth herein; provided, however, that
     notwithstanding anything to the contrary in this Plan or the Plan Supplement, the Unsecured Notes Trustee shall
     not be entitled to assert any charging Liens or other right of surcharge over payment of the Unsecured Notes
     Settlement Proceeds to Unsecured Notes Settlement Participants pursuant to the Unsecured Notes Settlement and
     the 9019 Order.

8    For the avoidance of doubt, this paragraph does not and shall not be construed to cancel any Unexpired Lease and
     does not impair the Claims of any counterparty to an Unexpired Lease arising under letters of credit, surety bonds,
     security deposits (solely with respect to Unexpired Leases that are assumed pursuant to section 365 of the
     Bankruptcy Code), or liabilities of third parties.


                                                           54
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 64 of 206


Confirmation Order, this Plan, and the Plan Supplement shall be deemed authorized and approved in all
respects, including: (a) adoption or assumption, as applicable, of the Compensation and Benefit Programs
in accordance with the terms set forth herein, or in the Plan Supplement, as applicable; (b) discharge of the
duties of, and the dissolution of, the then-existing board of directors of WeWork Parent and selection of the
directors or managers, as applicable, and officers for the Reorganized Debtors, including the appointment of
the New Board, which selection, appointment, and election shall be as determined in accordance with the
Corporate Governance Term Sheet; (c) the issuance and distribution of the New Interests and any other
Securities contemplated in this Plan, and the Plan Supplement; (d) implementation of the Restructuring
Transactions, and performance of all actions and transactions contemplated hereby and thereby (including,
for the avoidance of doubt, causing Reorganized WeWork to become the new holding company of the
Reorganized Debtors on or prior to the Effective Date); (e) all other acts or actions contemplated or
reasonably necessary or appropriate to promptly consummate the Restructuring Transactions contemplated
by this Plan (whether to occur before, on, or after the Effective Date); (f) adoption, execution, delivery,
and/or Filing of the New Corporate Governance Documents; (g) the rejection, assumption, or assumption
and assignment, as applicable, of Executory Contracts and Unexpired Leases; (h) entry into the Exit LC
Facility and the execution, delivery, and Filing of the Exit LC Facility Documents; (i) adoption of the MIP
by the New Board and issuance of any Emergence Awards (each if applicable); and (j) all other acts or actions
contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring
Transactions (whether before, on, or after the Effective Date).

        Except as otherwise provided in this Plan or the Plan Supplement, all matters provided for in this
Plan and the Plan Supplement involving the corporate structure of the Debtors or the Reorganized Debtors,
and any corporate, partnership, limited liability company, or other governance action required by the Debtors
or the Reorganized Debtors, as applicable, in connection with this Plan and the Plan Supplement shall be
deemed to have timely occurred and shall be in effect and shall be authorized and approved in all respects,
without any requirement of further action by the equity holders, members, directors, managers, or officers
of the Debtors or the Reorganized Debtors, as applicable.

         On or, as applicable, prior to the Effective Date, except as otherwise provided in this Plan or the
Plan Supplement, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall be
authorized and, as applicable, directed to issue, execute, and deliver the agreements, documents, Securities,
and instruments contemplated under this Plan (or necessary or desirable to effect the transactions
contemplated under this Plan) in the name of and on behalf of the Reorganized Debtors, including the New
Interests, the Exit LC Facility Documents, the New Corporate Governance Documents, the Plan Supplement,
any other Definitive Documents, and any and all other agreements, documents, Securities, and instruments
relating to the foregoing (to the extent not previously authorized by the Bankruptcy Court).
The authorizations and approvals contemplated by this Article V.I shall be effective notwithstanding any
requirements under non-bankruptcy Law.

J.      New Corporate Governance Documents.

        On or as soon as reasonably practicable after the Effective Date, except as otherwise provided in
this Plan or the Plan Supplement and subject to local Law requirements, the New Corporate Governance
Documents (which shall be consistent with the RSA, this Plan, and the Plan Supplement) shall be
automatically adopted or amended in a manner consistent with the terms and conditions set forth in the
Corporate Governance Term Sheet, which shall be reasonable and customary, and shall be acceptable to the
Debtors and subject to the consent of the Required Consenting Stakeholders and shall supersede any existing
organizational documents. To the extent required under this Plan, the Plan Supplement, or applicable
non-bankruptcy Law, each of the Reorganized Debtors will File its New Corporate Governance Documents
with the applicable Secretaries of State and/or other applicable authorities in its respective state or country
of organization if and to the extent required in accordance with the applicable Law of the respective state or

                                                      55
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document    Page 65 of 206


country of organization. The New Corporate Governance Documents will (a) authorize the issuance of the
New Interests and (b) prohibit the issuance of non-voting equity Securities to the extent required under
section 1123(a)(6) of the Bankruptcy Code.

        After the Effective Date, each Reorganized Debtor may amend and restate its respective New
Corporate Governance Documents as permitted by Laws of the respective states, provinces, or countries of
incorporation and the New Corporate Governance Documents.

        On the Effective Date, Reorganized WeWork shall enter into and deliver the New Stockholders
Agreement with respect to each Holder of New Interests, which shall become effective and be deemed
binding in accordance with their terms and conditions upon the parties thereto without further notice to or
order of the Bankruptcy Court, act, or action under applicable Law, regulation, order, or rule or the vote,
consent, authorization, or approval of an Entity (other than the relevant consents required by any Definitive
Document). Holders of New Interests shall be deemed to have executed the New Stockholders Agreement
and be parties thereto, without the need to deliver signature pages thereto.

K.      Challenges.

        Effective upon entry of the Confirmation Order, all Challenges (as defined in Cash Collateral Final
Order) shall be deemed withdrawn, settled, overruled, or otherwise resolved.

L.      Section 1146 Exemption.

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code and applicable Law, any
transfers (whether from a Debtor to a Reorganized Debtor or to any other Person) of property under this Plan
or pursuant to (a) the issuance, distribution, transfer, or exchange of any debt, equity Security, or other
interest in the Debtors or the Reorganized Debtors, including the New Interests, the DIP New Money Exit
Facility, and the Exit LC Facility, (b) the Restructuring Transactions, (c) the creation, modification,
consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or other security
interest, or the securing of additional indebtedness by such or other means, (d) the making, assignment, or
recording of any lease or sublease, (e) the grant of collateral as security for the Reorganized Debtors’
obligations under and in connection with the Exit LC Facility, or (f) the making, delivery, or recording of
any deed or other instrument of transfer under, in furtherance of, or in connection with, this Plan, including
any deeds, bills of sale, assignments, or other instrument of transfer executed in connection with any
transaction arising out of, contemplated by, or in any way related to this Plan, shall not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or
recording fee, or other similar tax or government assessment, and upon entry of the Confirmation Order, the
appropriate state or local government officials or agents shall forego the collection of any such tax or
government assessment and accept for filing and recordation any of the foregoing instruments or other
documents without payment of such tax, recordation fee, or governmental assessment. All filing or recording
officers (or any other Person with authority over any of the foregoing, other than in respect of any tax
imposed under any foreign Law), wherever located and by whomever appointed, shall comply with the
requirements of section 1146(a) of the Bankruptcy Code, and upon entry of the Confirmation Order, shall
forego the collection of any such tax or governmental assessment, and shall accept for filing and recordation
any of the foregoing instruments or other documents without the payment of any such tax, recordation fee,
or governmental assessment.




                                                     56
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 66 of 206


M.      Management Incentive Plan.

         The MIP shall be established and reserved for grants to be made from time to time from such pool
to employees (including officers), and directors of the Reorganized Debtors at the discretion of the New
Board following the Effective Date. The terms and conditions (including, without limitation, with respect
to participants, allocation, timing, and the form and structure of the equity or equity-based awards) shall be
determined at the discretion of the New Board after the Effective Date; provided that Emergence Awards
may be allocated on or prior to the Effective Date as emergence grants to retain or recruit individuals selected
to serve in key senior management positions on or after the Effective Date, subject to the terms and
conditions, including, but not limited to, with respect to form, allocated percentage of the MIP, structure,
and vesting, determined by, in each case, the Required Consenting Stakeholders.

N.      Employee and Retiree Benefits.

         Except as otherwise provided in this Article IV.N, all Compensation and Benefits Programs shall be
assumed by the Reorganized Debtors and the Reorganized Debtors shall be authorized to continue the
Compensation and Benefits Programs and shall continue to honor the terms thereof (provided, for the
avoidance of doubt, with respect to those individuals referenced in the term sheet agreed to by email by the
Required Consenting Stakeholders on May 29, 2024 (the “Employment Agreements Term Sheet”), such
terms of employment shall only be assumed as amended on the terms set forth in the Employment
Agreements Term Sheet); provided, however, that in accordance with the New Corporate Governance
Documents, the Reorganized Debtors may review, amend, terminate, or modify any of the foregoing
programs in accordance with applicable Law and the terms of the applicable Compensation and Benefits
Program. For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and
after the Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy Code),
if any, shall continue to be paid in accordance with applicable Law.

O.      Preservation of Causes of Action.

         In accordance with section 1123(b) of the Bankruptcy Code, each Reorganized Debtor, as
applicable, shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’ rights
to commence, prosecute, or settle such Retained Causes of Action shall be preserved notwithstanding the
occurrence of the Effective Date or any other provision of this Plan to the contrary, other than any Causes of
Action released by the Debtors pursuant to the releases and exculpations contained in this Plan, including in
Article VIII hereof, which shall be deemed released and waived by the Debtors and the Reorganized Debtors
as of the Effective Date.

        The Reorganized Debtors may pursue such Retained Causes of Action, as appropriate, in
accordance with the best interests of the Reorganized Debtors. No Entity may rely on the absence of
a specific reference in this Plan, the Plan Supplement, or the Disclosure Statement to any Cause of
Action against it as any indication that the Debtors or the Reorganized Debtors will not pursue any
and all available Retained Causes of Action of the Debtors against it. The Debtors and the
Reorganized Debtors (as applicable) expressly reserve all rights to prosecute any and all Retained
Causes of Action against any Entity (except as set forth in Article VIII.C). Unless otherwise agreed
upon in writing by the parties to the applicable Cause of Action, all objections to the Schedule of
Retained Causes of Action must be Filed with the Bankruptcy Court on or before 30 days after the
Effective Date. Any such objection that is not timely Filed shall be disallowed and forever barred,
estopped, and enjoined from assertion against any Reorganized Debtor without the need for any
objection or responsive pleading by the Reorganized Debtors or any other party in interest or any

                                                      57
Case 23-19865-JKS             Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                              Desc Main
                                     Document    Page 67 of 206


further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors may
settle any such objection without any further notice to or action, order, or approval of the Bankruptcy Court.
If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained Causes
of Action that remains unresolved by the Debtors or the Reorganized Debtors, as applicable, and the
objecting party for 30 days, such objection shall be resolved by the Bankruptcy Court. Unless any Causes
of Action of the Debtors against an Entity are expressly waived, relinquished, exculpated, released,
compromised, or settled in this Plan or a Final Order (and for the avoidance of doubt, any Causes of Action
on the Schedule of Retained Causes of Action shall not be expressly relinquished, exculpated, released,
compromised, or settled in this Plan), the Reorganized Debtors expressly reserve all Causes of Action, for
later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral
estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply
to such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors
notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during the
Chapter 11 Cases or pursuant to this Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code,
any Retained Causes of Action that a Debtor may hold against any Entity shall vest in the Reorganized
Debtors. The applicable Reorganized Debtors through their authorized agents or representatives, shall retain
and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall have the
exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon, settle,
compromise, release, withdraw, or litigate to judgment any such Causes of Action and to decline to do any
of the foregoing without the consent or approval of any third party or further notice to or action, order, or
approval of the Bankruptcy Court except as otherwise released in this Plan.

                                  ARTICLE V.
             TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.       Assumption and Rejection of Executory Contracts and Unexpired Leases.

         On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired
Leases will be deemed assumed by the applicable Reorganized Debtor in accordance with the provisions
and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those that: (1) are Unexpired
Leases of non-residential real property that (a) have not been assumed by the Debtors pursuant to a Final
Order and (b) are not expressly set forth in the Schedule of Assumed Executory Contracts and Unexpired
Leases, which schedule shall be subject to the consent of the Required Consenting Stakeholders, and
assumed by the deadline set forth in section 365(d)(4) or any applicable Extension Order; (2) are identified
on the Schedule of Rejected Executory Contracts and Unexpired Leases, which schedule shall be subject to
the consent of the Required Consenting Stakeholders; (3) have previously expired or terminated pursuant to
their own terms or agreement of the parties thereto, forfeiture or by operation of law; (4) have been
previously rejected by the Debtors pursuant to a Final Order; (5) any obligations of WeWork Inc. arising
under contracts or leases that are not assumed; or (6) are, as of the Effective Date, the subject of (a) a motion
to reject that is pending or (b) an order of the Bankruptcy Court that is not yet a Final Order. For the
avoidance of doubt, the Unexpired Leases described in subsection (1) of this paragraph will be deemed
rejected pursuant to section 365 of the Bankruptcy Code.9




9    The foregoing is not intended to enjoin, restrain, limit, impair or impose any additional procedural prerequisites to
     the exercise of set off or recoupment by landlords after the Effective Date under assumed Unexpired Leases
     pursuant to the terms of such Unexpired Leases and applicable law.


                                                           58
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 68 of 206


        For the avoidance of doubt and notwithstanding anything to the contrary herein, the Debtors shall
make all assumption and rejection determinations for their Executory Contracts and Unexpired Leases either
through the Filing of a motion or identification in the Plan Supplement, in each case, prior to the applicable
deadlines set forth in sections 365(d)(2) and 365(d)(4) of the Bankruptcy Code, as clarified by the Extension
Order or any subsequent extension as agreed between the Debtors and the applicable landlord.

          Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases
(in each case, including with agreed modifications as applicable) as set forth in this Plan, or the Schedule of
Rejected Executory Contracts and Unexpired Leases or the Schedule of Assumed Executory Contracts and
Unexpired Leases, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise
specifically set forth herein, in the Schedule of Rejected Executory Contracts and Unexpired Leases, or in
the Schedule of Assumed Executory Contracts and Unexpired Leases (as applicable), assumptions,
assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to this
Plan are effective as of the Effective Date (unless approved by the Court pursuant to an earlier order).
Notwithstanding anything herein to the contrary, with respect to any Unexpired Lease that is listed on the
Schedule of Rejected Executory Contracts and Unexpired Leases, the effective date of the rejection of any
such Unexpired Lease shall be the later of (a) the date set forth in the Schedule of Rejected Executory
Contracts and Unexpired Leases (b) the date upon which the Debtors notify the affected landlord and such
landlord’s counsel (if known to Debtors’ counsel) in writing (email being sufficient) that they have
surrendered the premises and, as applicable, (i) turning over keys issued by the landlord, key codes, and/or
security codes, if any, to the affected landlord or (ii) notifying such affected landlord or such landlord’s
counsel (if known to Debtors’ counsel) in writing (email being sufficient) that the property has been
surrendered, all WeWork-issued key cards have been disabled and, unless otherwise agreed as between the
Debtors and the landlord, each affected landlord is authorized to disable all WeWork-issued key cards
(including those of any members using the leased location) and the landlord may rekey the leased premises.
Each Executory Contract or Unexpired Lease assumed pursuant to this Plan or by Bankruptcy Court order
but not assigned to a third party before the Effective Date shall revest in and be fully enforceable by the
applicable contracting Reorganized Debtor in accordance with its terms, including in accordance with any
amendments executed by the Debtors and the counterparties to the applicable Executory Contract or
Unexpired Lease during these Chapter 11 Cases and effective upon assumption by the Debtors; provided
that, prior to the Effective Date and in connection with such assumption, any such terms that are rendered
unenforceable by the provisions of this Plan or the Bankruptcy Code shall remain unenforceable solely in
connection therewith. Any motions to assume Executory Contracts or Unexpired Leases pending on the
Confirmation Date shall be subject to approval by a Final Order on or after the Confirmation Date in
accordance with any applicable terms herein (including the consent rights of the Required Consenting
Stakeholders), unless otherwise settled by the applicable Debtors and counterparties. Notwithstanding
anything to the contrary in this Plan, the Debtors or the Reorganized Debtors, as applicable, reserve the right
to alter, amend, modify, or supplement the Schedule of Rejected Executory Contracts and Unexpired Leases
or Schedule of Assumed Executory Contracts and Unexpired Leases identified in this Article V.A and in the
Plan Supplement at any time through and including 45 days after the Effective Date, subject to the consent
of the Required Consenting Stakeholders.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty,
each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
supplements, restatements, or other agreements related thereto, and all rights related thereto, if any, including
all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
interests. Unless otherwise provided by Article V.K, modifications, amendments, supplements, and
restatements to prepetition Executory Contracts and Unexpired Leases that have been executed by the
Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of the Executory


                                                       59
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                  Document    Page 69 of 206


Contract or Unexpired Lease or the validity, priority, or amount of any Claims that may arise in connection
therewith.

         To the maximum extent permitted by Law, the transactions contemplated by this Plan shall not
constitute a “change of control” or “assignment” (or terms with similar effect) under any Executory Contract
or Unexpired Lease assumed or assumed and assigned pursuant to this Plan, or any other transaction, event,
or matter that would (a) result in a violation, breach or default under such Executory Contract or Unexpired
Lease, (b) increase, accelerate or otherwise alter any obligations, rights or liabilities of the Debtors or the
Reorganized Debtors under such Executory Contract or Unexpired Lease, or (c) result in the creation or
imposition of a Lien upon any property or asset of the Debtors or the Reorganized Debtors pursuant to the
applicable Executory Contract or Unexpired Lease. Any consent or advance notice required under such
Executory Contract or Unexpired Lease in connection with assumption or assumption and assignment
thereof (subject to the other provisions of this Article V.A) shall be deemed satisfied by Confirmation. To
the extent that any provision in any Executory Contract or Unexpired Lease assumed or assumed and
assigned pursuant to this Plan restricts or prevents, or purports to restrict or prevent, or is breached or deemed
breached by, the assumption or assumption and assignment of such Executory Contract or Unexpired Lease
(including any “change of control” provision), then such provision shall be deemed modified such that the
transactions contemplated by this Plan shall not entitle the non-Debtor party or parties to such Executory
Contract or Unexpired Lease to terminate such Executory Contract or Unexpired Lease or to exercise any
other default-related rights with respect thereto.

         Notwithstanding anything to the contrary in this Plan, after the Confirmation Date, an Executory
Contract or Unexpired Lease on the Schedule of Rejected Executory Contracts and Unexpired Leases as of
the Confirmation Date may not be assumed by the applicable Debtor(s) unless the applicable lessor or
contract counterparty has (a) consented to such assumption, (b) objected to the rejection of such Executory
Contract or Unexpired Lease on the grounds that such Executory Contract or Unexpired Lease should not
be rejected and should instead be assumed (and such objection remains outstanding), or (c) in the case of
Unexpired Leases, consented to an extension of the time period in which the applicable Debtor(s) must
assume or reject such Unexpired Lease pursuant to section 365(d)(4) of the Bankruptcy Code (as extended
with the applicable lessor’s prior consent, the “Deferred Deadline”), in which case for purposes of clause
(c) the applicable Debtor(s) shall have until the Deferred Deadline to assume such Unexpired Lease, subject
to the applicable lessor’s right to object to such assumption, or such Unexpired Lease shall be deemed
rejected. For any Executory Contract or Unexpired Lease assumed pursuant to this paragraph, all Cure
Obligations shall be satisfied on the Effective Date or as soon as reasonably practicable thereafter, unless
subject to a dispute with respect to the Cure Obligation, in which case such dispute shall be addressed in
accordance with Article V.D.

        For the avoidance of doubt, at any time prior to the applicable deadlines set forth in section 365(d)
of the Bankruptcy Code, as clarified by the Extension Order, and as the same may be extended, the Debtors
may reject any Executory Contract or Unexpired Lease pursuant to a separate motion Filed with the
Bankruptcy Court.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules require the Debtors to
assume or reject an Executory Contract or Unexpired Lease by a deadline, including section 365(d) of the
Bankruptcy Code, such requirement shall be satisfied if the Debtors make an election, either through the
Filing of a motion or identification in the Plan Supplement, to assume or reject such Executory Contract or
Unexpired Lease prior to the applicable deadline, regardless of whether or not the Bankruptcy Court has
actually ruled on such proposed assumption or rejection prior to such deadline.

       If certain, but not all, of a contract counterparty’s Executory Contracts or Unexpired Leases are
assumed pursuant to the Plan, the Confirmation Order shall be a determination that such counterparty’s

                                                       60
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 70 of 206


Executory Contracts or Unexpired Leases that are being rejected pursuant to the Plan are severable
agreements that are not integrated with those Executory Contracts and/or Unexpired Leases that are being
assumed pursuant to the Plan. Parties seeking to contest this finding with respect to their Executory
Contracts and/or Unexpired Leases must file a timely objection to the Plan on the grounds that their
agreements are integrated and not severable, and any such dispute shall be resolved by the Bankruptcy Court
at the Combined Hearing (to the extent not resolved by the parties prior to the Combined Hearing).

        If the effective date of any rejection of an Executory Contract or Unexpired Lease is after the
Effective Date pursuant to the terms herein, the Reorganized Debtors shall serve a notice on the affected
counterparty setting forth the deadline for Filing any Claims arising from such rejection.

B.      Indemnification Obligations.

         All indemnification provisions, consistent with applicable Law, in place as of the Effective Date
(whether in the bylaws, certificates of incorporation or formation, limited liability company agreements,
other organizational documents, board resolutions, indemnification agreements, employment contracts, or
otherwise) for current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, restructuring advisors, the Unsecured Notes Trustee (whether or not such
indemnification provisions are determined by a court of competent jurisdiction to be executory), and other
professionals and/or agents or representatives of, or acting on behalf, of the Debtors, as applicable, shall be
Reinstated and remain intact, irrevocable and shall survive the effectiveness of this Plan on terms no less
favorable to such current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of, or acting on behalf of, the Debtors, as applicable, than those
that existed prior to the Effective Date; provided that all indemnification provisions in the agreements listed
on the Schedule of Rejected Executory Contracts and Unexpired Leases will not be assumed; provided,
further, that the Reorganized Debtors shall retain the ability not to indemnify former directors of the Debtors
for any Claims or Causes of Action arising out of or relating to any act or omission that constitutes intentional
fraud, gross negligence, or willful misconduct, or to the extent the agreement contemplating such
indemnification obligation is rejected, terminated, or discharged pursuant to the Plan Supplement; provided,
further, that nothing herein shall expand any of the Debtors’ indemnification obligations in place as of the
Petition Date.

C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Entry of the Confirmation Order shall constitute a Final Order approving the rejections, if any, of
any Executory Contracts or Unexpired Leases on the Schedule of Rejected Executory Contracts and
Unexpired Leases. Any objection to the rejection of an Executory Contract or Unexpired Lease under this
Plan must be Filed with the Bankruptcy Court on or before 10 days after the service of notice of rejection on
the affected counterparty. Unless otherwise provided by a Final Order of the Bankruptcy Court, all Proofs
of Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired Leases,
pursuant to this Plan or the Confirmation Order, if any, must be Filed with the Claims Agent within 30 days
after the later of (a) the date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such rejection and (b) the effective date of such rejection. Any Claims arising from the rejection
of an Executory Contract or Unexpired Lease not Filed with the Claims Agent within such time will
be automatically disallowed, forever barred from assertion, and shall not be enforceable against the
Debtors or the Reorganized Debtors, the Estates, or their property without the need for any objection
by the Reorganized Debtors or further notice to, or action, order, or approval of the Bankruptcy Court
or any other Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired
Lease shall be deemed fully satisfied, released, and discharged, notwithstanding anything in the Proof
of Claim to the contrary. For the avoidance of doubt, unless otherwise agreed, any property remaining on
the premises subject to a rejected Unexpired Lease shall be deemed abandoned by the Debtors or the

                                                       61
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 71 of 206


Reorganized Debtors, as applicable, as of the effective date of the rejection, and the counterparty to such
Unexpired Lease shall be authorized to (i) use or dispose of any property left on the premises in its sole and
absolute discretion without notice or liability to the Debtors or the Reorganized Debtors, as applicable, or
any third party, and (ii) shall be authorized to assert a Claim for any and all damages arising from the
abandonment of such property by Filing a Claim in accordance with this Article V.C. Claims arising from
the rejection of any of the Debtors’ Executory Contracts and Unexpired Leases shall be classified as General
Unsecured Claims.

D.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or
Unexpired Lease, on the Effective Date or as soon as reasonably practicable thereafter, the Debtors or the
Reorganized Debtors, as applicable, shall, in accordance with the Schedule of Assumed Executory Contracts
and Unexpired Leases and the Final Orders otherwise assuming Executory Contracts and Unexpired Leases,
satisfy all Cure Obligations relating to Executory Contracts and Unexpired Leases that are being assumed
under this Plan; provided that, if the effective date of such assumption occurs prior to the Effective Date,
such payment shall be on the effective date of such assumption or as soon as reasonably practicable
thereafter. Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or
Unexpired Lease, all objections to any Cure Obligations set forth in the Schedule of Assumed Executory
Contracts and Unexpired Leases must be Filed with the Bankruptcy Court on or before 14 days after the
service of the Schedule of Assumed Executory Contracts and Unexpired Leases on affected counterparties.
Any such objection that is not timely Filed shall be disallowed and forever barred, estopped, and enjoined
from assertion, and shall not be enforceable against any Debtor or Reorganized Debtor, without the need for
any objection by the Debtors or the Reorganized Debtors or any other party in interest or any further notice
to or action, order, or approval of the Bankruptcy Court. Each such objection shall constitute a request for
allowance and payment of an Administrative Claim. Any Cure Obligations shall be deemed fully satisfied,
released, and discharged upon satisfaction by the Debtors or the Reorganized Debtors of the applicable Cure
Obligations; provided, however, that nothing herein shall prevent the Reorganized Debtors from satisfying
any Cure Obligations despite the failure of the relevant counterparty to File such request for satisfaction of
such Cure Obligations. The Reorganized Debtors also may settle Cure Obligations or disputes related thereto
without any further notice to or action, order, or approval of the Bankruptcy Court. In addition, any objection
to the assumption of an Executory Contract or Unexpired Lease under this Plan must be Filed with the
Bankruptcy Court on or before 14 days after the service of notice of assumption on affected counterparties.
Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object to the proposed
assumption or assumption and assignment, as applicable, of any Executory Contract or Unexpired Lease
will be deemed to have consented to such assumption or assumption and assignment.

         If there is any dispute regarding any Cure Obligations, the ability of the Reorganized Debtors or any
assignee to provide “adequate assurance of future performance” within the meaning of section 365 of the
Bankruptcy Code, or any other matter pertaining to assumption or assumption and assignment, then
satisfaction of any Cure Obligations shall occur as soon as reasonably practicable after (a) entry of a Final
Order resolving such dispute and approving such assumption (and, if applicable, assignment) or (b) as may
be agreed upon by the Debtors or the Reorganized Debtors, as applicable, and the counterparty to the
Executory Contract or Unexpired Lease. Any such disputes shall be scheduled for hearing upon request of
the affected counterparty or the Debtors or the Reorganized Debtors, as applicable, at the earliest
convenience of the Court; provided that no hearing will be scheduled on less than 10 days’ notice to the
affected counterparty and the Debtors or the Reorganized Debtors, as applicable, and that no such hearing
shall be scheduled less than 30 days after the Effective Date unless agreed to between the Debtors or the
Reorganized Debtors, as applicable, and the affected counterparty.




                                                      62
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 72 of 206


         In the event of a Court-Ordered Cure Obligation, the Debtors shall have the right (subject to the
consent of the Required Consenting Stakeholders) to (a) satisfy the Court-Ordered Cure Obligation as soon
as reasonably practicable thereafter and assume such Executory Contract or Unexpired Lease in accordance
with the terms herein or, (b) within 14 days of such determination, add such Executory Contract or
Unexpired Lease to the Schedule of Rejected Executory Contracts and Unexpired Leases, in which case such
Executory Contract or Unexpired Lease will be deemed rejected on the later of the (i) date of entry of the
Court-Ordered Cure Obligation and, (ii) solely with respect to Unexpired Leases, the date upon which the
Debtors notify the landlord in writing (email being sufficient) that they have surrendered the premises to the
landlord and returned the keys, key codes, or security codes, as applicable, and in the case of an Unexpired
Lease, the Debtors shall, pursuant to section 365(d)(4) of the Bankruptcy Code, immediately surrender the
related premises to the lessor unless otherwise agreed with the applicable lessor, subject to the applicable
counterparty’s right to object to such rejection; provided that, after the deadline to assume an Executory
Contract or Unexpired Lease set forth in section 365(d) of the Bankruptcy Code, as clarified by the Extension
Order, an Executory Contract or Unexpired Lease may only be added to the Schedule of Rejected Executory
Contracts and Unexpired Leases if (1) the applicable counterparty consents to such rejection, (2) the
applicable counterparty objected to the assumption or cure of such Executory Contract or Unexpired Lease
on the grounds that such Executory Contract or Unexpired Lease should not be assumed and should instead
be rejected, including alleging an incurable default (and such objection remains outstanding), or (3) the court
orders a Court-Ordered Cure Obligation. Notwithstanding anything to the contrary herein, the Reorganized
Debtors and the applicable counterparty shall be entitled to the full benefits of the Executory Contract or
Unexpired Lease (including without limitation, any license thereunder) pending the resolution of any Cure
Obligation dispute.

        At least 7 days prior to the first day of the Combined Hearing, the Debtors shall provide for notices
of proposed assumption or assumption and assignment and proposed Cure Obligations to be sent to
applicable parties. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely object
to the proposed assumption or assumption and assignment, as applicable, of any Executory Contract or
Unexpired Lease will be deemed to have consented to such assumption or assumption and assignment.
Assumption of any Executory Contract or Unexpired Lease pursuant to this Plan or otherwise shall result in
the full release and satisfaction of any Cure Obligations, Claims, or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership interest
composition or any bankruptcy-related defaults, arising at any time prior to the effective date of assumption,
upon the satisfaction of all applicable Cure Obligations. Any and all Proofs of Claim based upon
Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases, including
pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the later of (i) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such
assumption, (ii) the effective date of such assumption, or (iii) the Effective Date without the need for
any objection thereto or any further notice to or action, order, or approval of the Bankruptcy Court;
provided, however, that nothing herein shall affect the allowance of Claims or any Cure Obligation
agreed to by the Debtors in any written agreement amending or modifying any Executory Contract
or Unexpired Lease (subject to the consent of the Required Consenting Stakeholders) prior to
assumption pursuant to this Plan or otherwise.

        Notwithstanding anything herein to the contrary, upon assumption of an Unexpired Lease, the
Debtors or the Reorganized Debtors, as applicable, shall be obligated to pay or perform, unless waived or
otherwise modified by any amendment to such Unexpired Lease mutually agreed to by the applicable
landlord and Debtor(s), any accrued, but unbilled and not yet due to be paid or performed, obligations as of
the applicable deadline to File objections or disputes to the Cure Obligations for such Unexpired Lease under
such assumed Unexpired Lease, including, but not limited to, common area maintenance charges, taxes,
year-end adjustments, indemnity obligations, and repair and maintenance obligations, under the Unexpired
Lease, regardless of whether such obligations arose before or after the Effective Date, when such obligations

                                                      63
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                   Document    Page 73 of 206


become due in the ordinary course; provided that all rights of the parties to any such assumed Unexpired
Lease to dispute amounts asserted thereunder are fully preserved; provided, further, that nothing herein shall
relieve the Debtors or the Reorganized Debtors, as applicable, from any amounts that come due between
(a) the applicable deadline to File objections or disputes to the Cure Obligation for such Unexpired Lease
and (b) the effective date of assumption for such Unexpired Lease.

E.      Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

        Rejection of any Executory Contract or Unexpired Lease pursuant to this Plan or otherwise shall not
constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as
applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any
applicable non-bankruptcy Law to the contrary, the Reorganized Debtors expressly reserve and do not waive
any right to receive, or any continuing obligation of a counterparty to provide, warranties or continued
maintenance obligations with respect to goods previously purchased by the Debtors pursuant to rejected
Executory Contracts or Unexpired Leases.

F.      Insurance Contracts.

         Unless otherwise provided in this Plan, and notwithstanding anything to the contrary in the
Definitive Documents, on the Effective Date: (a) pursuant to sections 105 and 365 of the Bankruptcy Code,
the Debtors shall be deemed to have assumed all Insurance Contracts such that the Reorganized Debtors
shall become and remain liable in full for all of their and the Debtors’ obligations under the Insurance
Contracts, regardless of whether such obligations arose before or arise after the Effective Date, without the
requirement or need for any Insurer to file a Proof of Claim, an Administrative Claim, or a Cure Claim or
motion for payment and Insurers shall not be subject to any claims bar date or similar deadline governing
cure amounts; (b) such Insurance Contracts shall revest in the Reorganized Debtors; and (c) the automatic
stay of Bankruptcy Code section 362(a) and the injunctions set forth in Article VIII.F of the Plan, if and to
the extent applicable, shall be deemed lifted without further order of this Court, solely to permit:
(i) claimants with valid workers’ compensation claims or direct action claims against an Insurer under
applicable non-bankruptcy law to proceed with their claims; (ii) the Insurers to administer, handle, defend,
settle, and/or pay, in the ordinary course of business and without further order of this Bankruptcy Court,
(A) covered losses pursuant to any of the Insurance Contracts, including workers’ compensation claims,
(B) claims pursuant to which a claimant asserts a direct claim against any Insurer under applicable non-
bankruptcy law, or an order has been entered by this Court granting a claimant relief from the automatic stay
or the injunctions set forth in Article VIII.F of the Plan to proceed with its Claim, and (C) all costs in relation
to each of the foregoing; (iii) the Insurers to draw against any or all of the collateral or security provided in
connection with the applicable Insurance Contracts, by or on behalf of the Debtors (or the Reorganized
Debtors, as applicable), subject to the terms of the Exit LC Facility Documents, at any time and to hold the
proceeds thereof as security for the obligations of the Debtors (and Reorganized Debtors, as applicable)
and/or apply such proceeds to the obligations of the Debtors (and the Reorganized Debtors, as applicable)
under the applicable Insurance Contracts, in such order as the applicable Insurer may determine; and (iv) the
Insurers to cancel any Insurance Contract or take other reasonable actions relating to the Insurance Contracts
(including effectuating a setoff), to the extent permissible under applicable nonbankruptcy Law and the terms
of the applicable Insurance Contracts.

       Notwithstanding anything in this Plan to the contrary, the Reorganized Debtors shall be deemed to
have assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the
Bankruptcy Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired
D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained in this Plan,
Confirmation shall not discharge, impair, or otherwise modify any indemnity obligations assumed by the

                                                        64
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 74 of 206


foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity obligation will be
deemed and treated as an Executory Contract that has been assumed by the Debtors under this Plan as to
which no Proof of Claim need be Filed.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise
reduce the coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect, on
or after the Petition Date, with respect to conduct occurring prior to, on, or after the Petition Date, and all
members, directors, managers, and officers of the Debtors who served in such capacity at any time prior to
the Effective Date shall be entitled to the full benefits of any such policy for the full term of such policy, to
the extent set forth therein, regardless of whether such members, directors, managers, and officers remain in
such positions after the Effective Date; provided, however, that the Reorganized Debtors shall retain the
ability to supplement, terminate or otherwise modify the coverage under any D&O Liability Insurance
Policies for any Causes of Action arising out of or related to any act or omission that is a criminal act or
constitutes actual fraud, gross negligence, bad faith, or willful misconduct.

G.      Reservation of Rights.

        Nothing contained in this Plan or the Plan Supplement shall constitute an admission by the Debtors
or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease or that any
Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a contract or lease
is or was executory or unexpired at the time of assumption or rejection, the Debtors, subject to the consent
of the Required Consenting Stakeholders, or the Reorganized Debtors, as applicable, shall have 45 days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease.

H.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.

I.      Employee Compensation and Benefits.

        1.       Compensation and Benefit Programs.

         Subject to the provisions of this Plan, all Compensation and Benefits Programs shall be treated as
Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code (provided, for the avoidance of doubt, with respect to those
individuals referenced in the Employment Agreements Term Sheet, such terms of employment shall only be
assumed as amended on the terms set forth in the Employment Agreements Term Sheet), except for:

                 (a)     all employee equity or equity-based incentive plans (and the awards granted
                         thereunder), and any provisions set forth in the Compensation and Benefits
                         Programs that provide for rights to acquire Parent Interests; provided that,
                         notwithstanding the foregoing or anything to the contrary herein, the Debtors are
                         authorized and directed to pay the Cash component of any bonus programs in
                         accordance with the terms of such program (including, for the avoidance of doubt,
                         the timing of any payments, which shall not be accelerated);

                 (b)     Compensation and Benefits Programs that have been rejected pursuant to an order
                         of a Bankruptcy Court;



                                                       65
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 75 of 206


                 (c)     any Compensation and Benefits Programs that, as of the entry of the Confirmation
                         Order, have been specifically waived by the beneficiaries of any Compensation and
                         Benefits Program; and

                 (d)     any Compensation and Benefits Programs for the benefit of the Existing Board
                         Members.

        Any assumption of Compensation and Benefits Programs pursuant to the terms herein shall be
deemed not to trigger (a) any applicable change of control, immediate vesting, or termination (including, in
each case, any similar provisions therein) or (b) an event of “Good Reason” (or a term of like import), in
each case as a result of the consummation of the Restructuring Transactions or any other transactions
contemplated by this Plan. No counterparty shall have rights under a Compensation and Benefits Program
assumed pursuant to this Plan other than those applicable immediately prior to such assumption.

        2.       Workers’ Compensation Programs.

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the Reorganized
Debtors shall continue to honor their obligations under: (a) all applicable workers’ compensation Laws in
states in which the Reorganized Debtors operate or have operated; and (b) the Debtors’ written contracts,
agreements, agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, plans,
and Insurance Contracts, for workers’ compensation and workers’ compensation insurance. All Proofs of
Claims filed by workers’ compensation claimants on account of workers’ compensation shall be deemed
withdrawn automatically and without any further notice to or action, order, or approval of the Bankruptcy
Court; provided that nothing in this Plan shall limit, diminish, or otherwise alter the Debtors’ or the
Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable Law, including
non-bankruptcy Law, with respect to any such contracts, agreements, policies, programs, plans, and
Insurance Contracts; provided, further, that nothing herein shall be deemed to impose any obligations on the
Debtors in addition to what is provided for under applicable state Law and the terms of the applicable
Insurance Contracts.

J.      Intellectual Property Licenses and Agreements.

         All intellectual property contracts, licenses, royalties, or other similar agreements to which the
Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as Executory Contracts pursuant to this Plan and shall be assumed by the respective Debtors or
Reorganized Debtors, as applicable, and shall continue in full force and effect unless any such intellectual
property contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to
a separate order of the Bankruptcy Court or is the subject of a separate rejection motion Filed by the Debtors
as set forth in this Plan. Unless otherwise noted hereunder, all other intellectual property contracts, licenses,
royalties, or other similar agreements shall vest in the Reorganized Debtors and the Reorganized Debtors
may take all actions as may be necessary or appropriate to ensure such vesting as contemplated herein.

K.      Contracts and Leases Entered into after the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or the
Reorganized Debtors in the ordinary course of their business. Accordingly, such contracts and leases
(including any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected by
entry of the Confirmation Order, except as may be agreed to by the counterparties to such contracts and
leases.



                                                       66
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 76 of 206


                                        ARTICLE VI.
                            PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date.

         Unless otherwise provided in this Plan, on or as soon as reasonably practicable after the Effective
Date (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes an
Allowed Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim shall
receive the full amount of the distributions that this Plan provides for Allowed Claims in the applicable
Class. In the event that any payment or act under this Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may be completed
on the next succeeding Business Day, but shall be deemed to have been completed as of the required date.
If and to the extent that there are Disputed Claims, distributions on account of any such Disputed Claims
shall be made pursuant to the provisions set forth in Article VII hereof. Except as otherwise provided in this
Plan, Holders of Claims shall not be entitled to interest, dividends, or accruals on the distributions provided
for in this Plan, regardless of whether such distributions are delivered on or at any time after the Effective
Date.

         Notwithstanding the foregoing, (a) Allowed Administrative Claims with respect to liabilities
incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (b) Allowed Priority Tax Claims shall be paid in accordance with
Article II.D of this Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the Effective
Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement between the
Debtors and the Holder of such Claim or as may be due and payable under applicable non-bankruptcy Law
or in the ordinary course of business. Thereafter, a Distribution Date shall occur no less frequently than once
in every 180-day period, as necessary, in the discretion of the Reorganized Debtors.

B.      Disbursing Agent.

        Except as otherwise set forth in this Plan, the Plan Supplement, or the UCC Settlement Trust
Documents (solely with respect to the UCC Settlement), all distributions under this Plan shall be made by
the applicable Disbursing Agent. The Disbursing Agent shall not be required to give any bond or surety or
other security for the performance of its duties (unless otherwise ordered by the Bankruptcy Court).

C.      Rights and Powers of Disbursing Agent.

        1.       Powers of the Disbursing Agent.

         The Disbursing Agent shall be empowered to, as applicable: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under this Plan; (b) make all
distributions contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities;
and (d) exercise such other powers as may be vested in the Disbursing Agent by order of the Bankruptcy
Court, pursuant this Plan, or as deemed by the Disbursing Agent to be necessary and proper to implement
the provisions hereof.

        2.       Expenses Incurred on or After the Effective Date.

       Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any


                                                       67
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                            Desc Main
                                    Document    Page 77 of 206


reasonable compensation and expense reimbursement Claims (including reasonable attorney fees and
expenses), made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors in the ordinary
course of business without any further notice to, or action, order, or approval of the Bankruptcy Court.

D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions.

         1.       Record Date for Distribution.

        On the Distribution Record Date, the Claims Register shall be closed and any party responsible for
making distributions is and shall be authorized and entitled to recognize only those record Holders listed on
the Claims Register as of the close of business on the Distribution Record Date. Unless otherwise provided
in a Final Order from the Bankruptcy Court, if a Claim, other than one based on a Security that is traded on
a recognized securities exchange, is transferred 20 or fewer days before the Distribution Record Date, the
Disbursing Agent shall make distributions to the transferee only to the extent practical and, in any event,
only if the relevant transfer form contains an unconditional and explicit certification and waiver of any
objection to the transfer by the transferor.

         2.       Delivery of Distributions in General.

         Except as otherwise provided herein or in the Plan Supplement, the applicable Disbursing Agent
shall make distributions to Holders of Allowed Claims and Allowed Interests, as applicable, as of the
Distribution Record Date at the address for each such Holder as indicated on the Debtors’ records as of, the
date of any such distribution (to the extent such address is not available in the Debtors’ records, such Holder
must provide sufficient information to deliver the distribution); provided that the manner of such
distributions shall be determined at the discretion of the Reorganized Debtors; provided, further, that
distributions of Securities with DTC or another similar securities depository (including the applicable
Notes), shall be made pursuant to the customary procedures of DTC of the similar securities depository (as
applicable).10

         3.       Delivery of Distributions on Notes Claims.

         All distributions to Holders of Allowed Notes Claims shall be made by or at the direction of the
respective Agent for further distribution to the relevant Holders of Allowed Notes Claims under the terms of
the relevant Indenture or as provided herein or in the Plan Supplement. The Agents shall hold or direct such
distributions for the benefit of the respective Holders of Allowed Notes Claims. As soon as practicable in
accordance with the requirements set forth in this Article VI, the Agents shall arrange to deliver such
distributions to or on behalf of such Holders, subject to the rights of the Agents to assert their respective
charging liens. If the Agents are unable to make, or the Agents consent to the Disbursing Agent making such
distributions, the Disbursing Agent, with the cooperation of the Agents, shall make such distributions to the
extent practicable. The Agents shall have no duties or responsibility relating to any form of distribution to
Holders of Allowed Notes Claims that are not DTC eligible and the Debtors, the Reorganized Debtors and/or
the Disbursing Agent, as applicable, shall use reasonably commercial efforts to seek the cooperation of DTC
so that any distribution on account of an Allowed Notes Claim that is held in the name of, or by a nominee
of, DTC, shall be made to the extent possible through the facilities of DTC (whether by means of book-entry


10   For the avoidance of doubt, no later than 2 Business Days before the Effective Date, at 5:00 p.m. (prevailing
     Eastern Time), any of the Tranche A Initial Commitment Parties (as defined in the RSA) shall have the right to
     designate its entitlement to any or all of the Prepetition Secured Equity Distribution, the DIP New Money Initial
     Commitment Premium, the DIP New Money Supplemental Premium, and the New Money Equity Distribution to
     any Related Funds (as defined in the RSA) of such parties.


                                                          68
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 78 of 206


exchange, or otherwise) on the Effective Date or as soon as practicable thereafter. The Agents shall retain
all rights under the relevant Indentures to exercise their respective charging liens against distributions to
their respective Holders. Regardless of whether such distributions are made by any Agent, or by the
Distribution Agent at the reasonable direction of any Agent, the applicable charging liens shall attach to such
distributions in the same manner as if such distributions were made through the applicable Agent. No Agent
shall incur any liability whatsoever on account of any distributions under the Plan, whether such distributions
are made by any Agent, or by the Distribution Agent at the reasonable direction of any Agent, except for
fraud, gross negligence, or willful misconduct.

        4.      Minimum Distributions.

         The applicable Disbursing Agent shall not make any distributions to a Holder of an Allowed Claim
or Allowed Interest on account of such Allowed Claim or Allowed Interest of Cash or otherwise where such
distribution is valued, in the reasonable discretion of the applicable Disbursing Agent, at less than $100.
When any distribution pursuant to this Plan on account of an Allowed Claim or Allowed Interest, as
applicable, would otherwise result in the issuance of a number of shares of the New Interests that is not a
whole number, the actual distribution of shares of the New Interests shall be rounded as follows: (a) fractions
of one-half or greater shall be rounded to the next higher whole number; and (b) fractions of less than one-
half shall be rounded to the next lower whole number with no further payment therefor. The total number
of authorized shares of the New Interests to be distributed under this Plan shall be adjusted as necessary to
account for the foregoing rounding. No fractional shares of the New Interests shall be distributed, and no
Cash shall be distributed in lieu of such fractional amounts. Each Allowed Claim or Interest to which these
limitations apply shall be discharged pursuant to Article VIII.A of this Plan and its Holder shall be forever
barred pursuant to Article VIII.A of this Plan from asserting that Claim against or Interest in the Reorganized
Debtors or their property pursuant to Article VIII.A of this Plan.

         Any amounts owed to a Holder of an Allowed Claim that is entitled to distributions in an amount
less than $100 shall not receive distributions on account thereof, and each Claim shall be discharged pursuant
to Article VIII.A of this Plan and its Holder is forever barred pursuant to Article VIII.A of this Plan from
asserting that Claim against the Reorganized Debtors or their property and such amount shall revest in the
applicable Reorganized Debtor automatically (and without need for a further order by the Bankruptcy Court).

        5.      Undeliverable and Unclaimed Distributions.

         If any distribution to a Holder of an Allowed Claim is returned to the applicable Disbursing Agent
as undeliverable, no distribution shall be made to such Holder unless and until the Disbursing Agent is
notified in writing of such Holder’s then-current address or other necessary information for delivery, at which
time all currently due missed distributions shall be made to such Holder on the next Distribution Date without
interest. Undeliverable distributions shall remain in the possession of the Reorganized Debtors until such
time as a distribution becomes deliverable, or such distribution reverts to the Reorganized Debtors or is
canceled pursuant to this Article VI, and shall not be supplemented with any interest, dividends, or other
accruals of any kind.

        Any distribution under this Plan that is an Unclaimed Distribution or remains undeliverable for a
period of 90 days after distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and such Unclaimed Distribution or undeliverable distribution shall revest in the
applicable Reorganized Debtor automatically (and without need for a further order by the Bankruptcy Court,
notwithstanding any applicable federal, provincial, or estate escheat, abandoned, or unclaimed property
Laws to the contrary) and, to the extent such Unclaimed Distribution is comprised of the New Interests, such
New Interests shall be canceled. Upon such revesting, the Claim of the Holder or its successors with respect
to such property shall be canceled, released, discharged, and forever barred notwithstanding any applicable

                                                      69
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 79 of 206


federal or state escheat, abandoned, or unclaimed property Laws, or any provisions in any document
governing the distribution that is an Unclaimed Distribution, to the contrary. The Disbursing Agent shall
adjust the distributions of the New Interests to reflect any such cancelation.

        6.       Surrender of Canceled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate or
instrument evidencing a Claim or an Interest that has been canceled in accordance with Article IV.H hereof
shall be deemed to have surrendered such certificate or instrument to the Disbursing Agent. Such
surrendered certificate or instrument shall be canceled solely with respect to the Debtors, and such
cancelation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another with
respect to such certificate or instrument, including with respect to any indenture or agreement that governs
the rights of the Holder of a Claim or Interest, which shall continue in effect for purposes of allowing Holders
to receive distributions under this Plan, charging Liens, priority of payment, and indemnification rights.
Notwithstanding anything to the contrary herein, this paragraph shall not apply to certificates or instruments
evidencing Claims that are Unimpaired under this Plan.

E.      Manner of Payment.

        Except as otherwise provided in this Plan, the Plan Supplement, or any agreement, instrument, or
other document incorporated in this Plan or the Plan Supplement, all distributions of the New Interests to
the Holders of the applicable Allowed Claims or Allowed Interests, in each case if any, under this Plan shall
be made by the Disbursing Agent on behalf of the Debtors or the Reorganized Debtors, as applicable.

        All distributions of Cash to the Holders of the applicable Allowed Claims or Allowed Interests, in
each case if any, under this Plan shall be made by the Disbursing Agent on behalf of the applicable Debtor
or Reorganized Debtor.

        At the option of the applicable Disbursing Agent, any Cash payment to be made hereunder may be
made by check, automated clearing house (ACH), or wire transfer or as otherwise required or provided in
applicable agreements.

F.      Indefeasible Distributions.

        Except as otherwise provided in Article VI.L, any and all distributions made under this Plan shall
be indefeasible and not subject to clawback or turnover provisions.

G.      Compliance with Tax Requirements.

         In connection with this Plan, to the extent applicable, the Debtors, the Reorganized Debtors, the
Disbursing Agent, the UCC Settlement Trustee, and any other applicable withholding agent shall comply
with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions made pursuant to this Plan shall be subject to such withholding and reporting requirements;
provided that any amounts withheld shall be deemed distributed to and received by the applicable recipient
for all purposes under this Plan. Notwithstanding any provision in this Plan to the contrary, such parties
shall be authorized to take all actions necessary or appropriate to comply with such withholding and reporting
requirements, including liquidating a portion of the distribution to be made under this Plan to generate
sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of
information necessary to facilitate such distributions, or establishing any other mechanisms they believe are
reasonable and appropriate. The Debtors and the Reorganized Debtors reserve the right to allocate all



                                                      70
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 80 of 206


distributions made under this Plan in compliance with all applicable wage garnishments, alimony, child
support, and similar spousal awards, Liens, and encumbrances.

         Any person entitled to receive any property as an issuance or distribution under this Plan shall deliver
to the applicable Disbursing Agent or, if different, the applicable withholding agent for U.S. federal income
tax purposes, a properly completed and duly executed IRS Form W-9 or (if the payee is a foreign Person) an
appropriate IRS Form W-8 (including any supporting documentation) (as applicable).

H.      Allocations.

          Distributions in respect of Allowed Claims shall be, with respect to each specific Claim, allocated
first to the principal amount of such Claims (as determined for U.S. federal income tax purposes) and then,
to the extent the consideration exceeds the principal amount of the Claims, to any portion of such Claims for
accrued but unpaid interest.

I.      No Postpetition Interest on Claims.

         Unless otherwise specifically provided for in the DIP Orders, this Plan, or the Confirmation Order,
or required by applicable bankruptcy and non-bankruptcy Law, postpetition interest shall not accrue or be
paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on such Claim. Additionally, and without limiting the foregoing, interest shall not accrue or
be paid on any Disputed Claim with respect to the period from the Effective Date to the date a final
distribution is made on account of such Disputed Claim, if and when such Disputed Claim becomes an
Allowed Claim.

J.      Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim
asserted in currency other than U.S. dollars shall be automatically deemed converted to the equivalent U.S.
dollar value using the exchange rate for the applicable currency as published in The Wall Street Journal,
National Edition, on the Petition Date.

K.      Preservation of Setoffs and Recoupment.

         Except as expressly provided in this Plan or the Plan Supplement, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that such
Reorganized Debtor may hold against the Holder of such Allowed Claim to the extent such setoff or
recoupment is either (a) agreed in amount among the relevant Reorganized Debtor(s) and the Holder of the
Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or another court of competent
jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of any
Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or their applicable successor
of any and all claims, rights, and Causes of Action that such Reorganized Debtor or their applicable successor
may possess against the applicable Holder. In no event shall any Holder of a Claim be entitled to recoup
such Claim against any claim, right, or Cause of Action of the Debtors or the Reorganized Debtors unless
such Holder actually has performed such recoupment and provided notice thereof in writing to the Debtors
in accordance with Article XII.F hereof on or before the Effective Date, notwithstanding any indication in
any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.

        Notwithstanding anything to the contrary herein, nothing in this Plan or the Confirmation Order
shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired Lease to assert


                                                       71
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                   Document    Page 81 of 206


any right of setoff or recoupment that such party may have under applicable bankruptcy Law or
non-bankruptcy Law, including, but not limited to, the (i) ability, if any, of such parties to setoff or recoup a
security deposit held pursuant to the terms of their Unexpired Lease(s) with the Debtors, or any successors
to the Debtors, under this Plan, (ii) assertion of rights of setoff or recoupment, if any, in connection with
Claims reconciliation, or (iii) assertion of setoff or recoupment as a defense, if any, to any Claim or action
by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

L.      Claims Paid or Payable by Third Parties.

        1.       Claims Paid by Third Parties.

         The Debtors or the Reorganized Debtors (as applicable) shall reduce in full a Claim, and such Claim
shall be disallowed without a Claim Objection having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives payment in
full on account of such Claim from a party that is not a Debtor or Reorganized Debtor. Subject to the last
sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on account of such Claim
and receives payment from a party that is not a Debtor or Reorganized Debtor on account of such Claim,
such Holder shall, within 14 days of receipt thereof, repay or return the distribution to the applicable
Reorganized Debtor to the extent the Holder’s total recovery on account of such Claim from the third party
and under this Plan exceeds the amount of such Claim as of the date of any such distribution under this Plan.
The failure of such Holder to timely repay or return such distribution shall result in the Holder owing the
applicable Reorganized Debtor annualized interest at the Federal Judgment Rate on such amount owed for
each Business Day after the 14-day grace period specified above until the amount is repaid.

        2.       Claims Payable by Third Parties.

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted
all remedies with respect to such Insurance Contract. To the extent that one or more of the Debtors’ Insurers
agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction
or otherwise settled), then immediately upon such Insurers’ agreement, the applicable portion of such Claim
may be expunged without a Claim Objection having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court.

        3.       Applicability of Insurance Contracts.

         Except as otherwise provided in this Plan or the Plan Supplement, distributions to Holders of
Allowed Claims shall be in accordance with the provisions of any applicable Insurance Contract. Nothing
contained in this Plan shall constitute or be deemed a waiver of any rights, defenses, or Cause of Action that
the Debtors or any Insurer may hold against any other Entity under any Insurance Contracts, nor shall
anything contained herein constitute or be deemed a waiver by such Insurers of any defenses or related
rights, including coverage defenses, held by such Insurers under applicable Insurance Contracts.

                                       ARTICLE VII.
                           PROCEDURES FOR RESOLVING CONTINGENT,
                             UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Disputed Claims Process.

       1.     Except with respect to any 3L Notes Claim and any General Unsecured Claim,
the Debtors and the Reorganized Debtors, as applicable, shall have the exclusive authority with


                                                        72
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                  Document    Page 82 of 206


respect to all Claims (subject to the consent of the Required Consenting Stakeholders)
to: (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy Court,
that a claim subject to any Proof of Claim that is Filed is Allowed; and (ii) file, settle, compromise,
withdraw, or litigate to judgment any objections to Claims as permitted under this Plan.

        2.       With respect to any 3L Notes Claim and any General Unsecured Claim, the UCC
Settlement Trustee shall have the exclusive authority to: (i) determine, without the need for notice to
or action, order, or approval of the Bankruptcy Court, that a claim subject to any Proof of Claim that
is Filed is Allowed; and (ii) file, settle, compromise, withdraw, or litigate to judgment any objections
to Claims as permitted under this Plan.

        3.     All Proofs of Claim required to be Filed by this Plan that are Filed after the date that
they are required to be Filed pursuant to this Plan shall be disallowed and forever barred, estopped,
and enjoined from assertion, and shall not be enforceable against any Reorganized Debtor, without
the need for any objection by the Reorganized Debtors or any further notice to or action, order, or
approval of the Bankruptcy Court.

B.      Allowance of Claims.

        After the Effective Date, each of the Reorganized Debtors or the UCC Settlement Trust (as
applicable) shall have and retain any and all rights and defenses the applicable Debtor had with respect to
any Claim or Interest immediately before the Effective Date. The Debtors or the UCC Settlement Trust (as
applicable), in their sole discretion, may affirmatively determine to deem Unimpaired Claims Allowed to the
same extent such Claims would be Allowed under applicable non-bankruptcy Law. Except as expressly
provided in this Plan or in any order entered in the Chapter 11 Cases before the Effective Date (including
the Confirmation Order), no Claim or Interest shall become an Allowed Claim or Interest unless and until
such Claim or Interest, as applicable, is deemed Allowed under this Plan or the Bankruptcy Code, or the
Bankruptcy Court has entered a Final Order, including the Confirmation Order (when it becomes a Final
Order), in the Chapter 11 Cases allowing such Claim or Interest.

C.      Claims Administration Responsibilities.

         With respect to all Classes of Claims and Interests, and except as otherwise specifically provided in
this Plan and notwithstanding any requirements that may be imposed pursuant to Bankruptcy Rule 9019,
after the Effective Date, the Reorganized Debtors or the UCC Settlement Trust (as applicable) shall have the
sole authority (with respect to any Stub Rent Claims, subject to the consent rights set forth in the Bar Date
Order and subject to the consent of the Required Consenting Stakeholders, as applicable) to: (a) File and
prosecute Claim Objections; (b) settle, compromise, withdraw, litigate to judgment, or otherwise resolve any
and all Claim Objections, regardless of whether such Claims are in a Class or otherwise; (c) settle,
compromise, or resolve any Disputed Claim without any further notice to or action, order, or approval by
the Bankruptcy Court; and (d) administer and adjust the Claims Register to reflect any such settlements or
compromises without any further notice to or action, order, or approval by the Bankruptcy Court. After the
Effective Date, the Reorganized Debtors or the UCC Settlement Trust (as applicable) shall resolve Disputed
Claims in accordance with their fiduciary duties and pursuant to the terms of this Plan. For the avoidance
of doubt, except as otherwise provided in this Plan, from and after the Effective Date, each Reorganized
Debtor or the UCC Settlement Trust (as applicable) shall have and retain any and all the rights and defenses
such Debtor had immediately prior to the Effective Date with respect to any Disputed Claim, including the
Causes of Action retained pursuant to Article IV.N of this Plan, unless such Causes of Action were released
pursuant to Article VIII of this Plan.




                                                     73
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 83 of 206


D.      Estimation of Claims and Interests.

         Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, or the UCC Settlement
Trust (as applicable), may (but are not required to) at any time request that the Bankruptcy Court estimate
any Claim or Interest pursuant to applicable Law, including pursuant to section 502(c) of the Bankruptcy
Code and/or Bankruptcy Rule 3012, for any reason, regardless of whether any party previously has objected
to such Claim or Interest or whether the Bankruptcy Court has ruled on any such objection, and the
Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest, including during the
litigation of any objection to any Claim or Interest or during the pendency of any appeal relating to such
objection. Notwithstanding any provision to the contrary in this Plan, a Claim or Interest that has been
expunged from the Claims Register, but that either is subject to appeal or has not been the subject of a Final
Order, shall be deemed to be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court.
In the event that the Bankruptcy Court estimates any Claim or Interest and does not provide otherwise, such
estimated amount shall constitute a maximum limitation on such Claim or Interest for all purposes under
this Plan (including for purposes of distributions and discharge) and may be used as evidence in any
supplemental proceedings, and the Debtors, the Reorganized Debtors, or the UCC Settlement Trust (as
applicable) may elect to pursue any supplemental proceedings to object to any ultimate distribution on such
Claim or Interest. Notwithstanding section 502(j) of the Bankruptcy Code, in no event shall any Holder of
a Claim or Interest that has been estimated pursuant to section 502(c) of the Bankruptcy Code or otherwise
be entitled to seek reconsideration of such estimation unless such Holder has Filed a motion requesting the
right to seek such reconsideration on or before 7 days after the date on which such Claim or Interest is
estimated. Each of the foregoing Claims and Interests and objection, estimation, and resolution procedures
are cumulative, not exclusive of one another, and shall be consistent with any procedures set forth in the Bar
Date Order and subject to the consent of the Required Consenting Stakeholders. Claims or Interest may be
estimated and subsequently compromised, settled, withdrawn, or resolved by any mechanism approved by
the Bankruptcy Court.

E.      Disputed Claims Reserve.

        On or before the Effective Date, the Reorganized Debtors incorporated in the U.S., subject to the
consent of the Required Consenting Stakeholders, shall establish one or more reserves of the applicable
consideration for any Claims against any Debtor that are Disputed Claims as of the Distribution Record Date
other than General Unsecured Claims, which reserves shall be administered by the Disbursing Agent.

         After the Effective Date, the applicable Disbursing Agent shall hold such consideration in such
reserve(s) in trust for the benefit of such Disputed Claims as of the Distribution Record Date, that are
ultimately determined to be Allowed after the Distribution Record Date. The Disbursing Agent shall
distribute such amounts (net of any expenses, including any taxes relating thereto), as provided herein, as
such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will be distributable
on account of such Claims as such amounts would have been distributable had such Claims been Allowed
Claims as of the Effective Date under Article III of this Plan solely to the extent of the amounts available in
the applicable reserve(s).

        Upon a Disputed Claim becoming disallowed by a Final Order or pursuant to Article VII.A, the
applicable amount of the consideration that was in the disputed claims reserve on account of such Disputed
Claim shall be canceled by the Reorganized Debtors or the applicable Disbursing Agent. The Disbursing
Agent shall adjust the distributions of the consideration to reflect any such cancelation.

        The Debtors or the UCC Settlement Trust (as applicable) may take the position that grantor trust
treatment applies in whole or in part to any assets held in a disputed claims reserve. To the extent such
treatment applies to any such account or fund, for all U.S. federal income tax purposes, the beneficiaries of

                                                      74
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 84 of 206


any such account or fund would be treated as grantors and owners thereof, and it is intended, to the extent
reasonably practicable, that any such account or fund would be classified as a liquidating trust under
section 301.7701-4 of the Treasury Regulations. Accordingly, subject to the immediately foregoing
sentence, if such intended U.S. federal income tax treatment applied, then for U.S. federal income tax
purposes, the beneficiaries of any such account or fund would be treated as if such beneficiaries had received
an interest in such account or fund’s assets and then contributed such interests (in accordance with the
Restructuring Transactions Exhibit) to such account or fund. Alternatively, any assets held in a disputed
claim reserve may be subject to the tax rules that apply to “disputed ownership funds” under
section 1.468B–9 of the Treasury Regulations. To the extent such U.S. federal income tax treatment applies,
any such assets will be subject to entity-level taxation, which will be borne by such disputed ownership
funds and the Reorganized Debtors, shall be required to comply with the relevant rules. However, it is
unclear whether these U.S. tax principles will apply to any such reserve and, as a result, the tax consequences
of such reserve may vary.

F.      Adjustment to Claims or Interests without Objection.

         Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged (including pursuant to this Plan) on the Claims Register by the
Reorganized Debtors (without the Reorganized Debtors or the UCC Settlement Trust (as applicable) having
to File an application, motion, complaint, objection, Claim Objection, or any other legal proceeding seeking
to object to such Claim or Interest) and without any further notice to or action, order, or approval of the
Bankruptcy Court.

G.      Time to File Objections to Claims.

        Any objections to Claims or Interests shall be Filed on or before the later of (a) 180 days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Bankruptcy Court
upon a motion by the Debtors, the Reorganized Debtors, or the UCC Settlement Trust, as applicable.

H.      Disallowance of Claims or Interests.

         Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which
property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the
Debtors or the Reorganized Debtors allege is a transferee of a transfer that is avoidable under sections 522(f),
522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if: (a) the Entity, on
the one hand, and the Debtors, the Reorganized Debtors, or the UCC Settlement Trust, as applicable, on the
other hand, agree or the Bankruptcy Court has determined by Final Order that such Entity or transferee is
liable to turn over any property or monies under any of the aforementioned sections of the Bankruptcy Code;
and (b) such Entity or transferee has failed to turn over such property by the date set forth in such agreement
or Final Order.

        Except as otherwise provided herein or as agreed to by the Debtors, the Reorganized Debtors,
or the UCC Settlement Trust (as applicable) any and all Proofs of Claim Filed after the Claims Bar
Date shall be deemed disallowed and expunged as of the Effective Date without having to File an
application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy
Court, and Holders of such disallowed Claims shall not receive any distributions on account of such
Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order; provided,
however, that not less than 14 days’ notice to any Holders of General Unsecured Claims affected by
the foregoing in this paragraph shall be provided (which such notice may be served on the affected
claimants and may be Filed on an aggregate basis consistent with Bankruptcy Rule 3007(d)).

                                                      75
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 85 of 206


I.      Amendments to Claims.

       Except as provided in this Plan or the Confirmation Order, on or after the Effective Date, a Claim
may not be Filed or amended without the prior authorization of the Bankruptcy Court, the Reorganized
Debtors, or the UCC Settlement Trust, as applicable, and any such new or amended Claim Filed shall be
deemed disallowed in full and expunged without any further notice to or action, order, or approval of the
Bankruptcy Court to the maximum extent provided by applicable Law.

J.      No Distributions Pending Allowance.

         Notwithstanding any other provision of this Plan, if any portion of a Claim or Interest is a Disputed
Claim or Interest, as applicable, no payment or distribution provided hereunder shall be made on account of
such Claim or Interest unless and until such Disputed Claim or Interest becomes an Allowed Claim or
Interest; provided that, if only the Allowed amount of an otherwise valid Claim or Interest is Disputed, such
Claim or Interest shall be deemed Allowed in the amount not Disputed and payment or distribution shall be
made on account of such undisputed amount.

K.      Distributions After Allowance.

         To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the
provisions of this Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Interest becomes a Final Order, the Disbursing Agent
shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder is entitled
under this Plan as of such date, without any interest to be paid on account of such Claim or Interest.

L.      Single Satisfaction of Claims.

         Holders of Allowed Claims or Allowed Interests may assert such Claims against or Interests in the
Debtors obligated with respect to such Claims or Interests, and such Claims and Interests shall be entitled to
share in the recovery provided for the applicable Claim against or Interest in the Debtors based upon the full
Allowed amount of such Claims or Interests. Notwithstanding the foregoing, in no case shall the aggregate
value of all property received or retained under this Plan on account of any Allowed Claim or Allowed
Interest exceed the amount of the Allowed Claim or Allowed Interest.

                                   ARTICLE VIII.
             SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically provided
in this Plan, the Confirmation Order, or in any contract, instrument, or other agreement or document created
or entered into pursuant to this Plan or the Plan Supplement, the distributions, rights, and treatment that are
provided in this Plan shall be in complete satisfaction and discharge, effective as of the Effective Date, of
Claims (including any Intercompany Claims resolved or compromised after the Effective Date by the
Reorganized Debtors), Interests, and Causes of Action of any nature whatsoever, including any interest
accrued on Claims or Interests from and after the Petition Date, whether known or unknown, against,
liabilities of, Liens on, obligations of, rights against, and interests in, the Debtors or any of their assets or
properties, regardless of whether any property shall have been distributed or retained pursuant to this Plan
on account of such Claims and Interests, including demands, liabilities, and Causes of Action that arose
before the Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests


                                                       76
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                   Document    Page 86 of 206


relate to services performed by employees of the Debtors prior to the Effective Date and that arise from a
termination of employment, any contingent or non-contingent liability on account of representations or
warranties issued on or before the Effective Date, and all debts of the kind specified in sections 502(g),
502(h), or 502(i) of the Bankruptcy Code, in each case whether or not: (a) a Proof of Claim based upon such
debt or right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (b) a Claim or Interest
based upon such debt, right, or interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the
Holder of such a Claim or Interest has accepted this Plan. Any default by the Debtors or their Affiliates with
respect to any Claim or Interest that existed immediately prior to or on account of the Filing of the Chapter 11
Cases shall be deemed cured on the Effective Date. The Confirmation Order shall be a judicial determination
of the discharge of all Claims (other than the Reinstated Claims), Interests (other than the Intercompany
Interests that are Reinstated), and Causes of Action subject to the occurrence of the Effective Date.

B.      Release of Liens.

        Except as otherwise provided herein, in the DIP New Money Documents, Exit LC Facility
Documents, the Plan Supplement, the Confirmation Order, or in any contract, instrument, release, or
other agreement or document created pursuant to this Plan, on the Effective Date and concurrently
with the applicable distributions made pursuant to this Plan and, in the case of a Secured Claim,
satisfaction in full of the portion of the Secured Claim that is Allowed as of the Effective Date, except
for Other Secured Claims that the Debtors elect to Reinstate in accordance with this Plan, all
mortgages, deeds of trust, Liens, pledges, or other security interests against any property of the Estates
shall be fully released and discharged, and all of the right, title, and interest of any Holder of such
mortgages, deeds of trust, Liens, pledges, or other security interests shall revert to the Reorganized
Debtors and their successors and assigns, in each case, without any further approval or order of the
Bankruptcy Court and without any action or Filing being required to be made by the Debtors or the
Reorganized Debtors, or any other Holder of a Secured Claim. Any Holder of such Secured Claim
(and the applicable agents for such Holder) shall be authorized and directed, at the sole cost and
expense of the Reorganized Debtors, to release any collateral or other property of any Debtor
(including any cash collateral and possessory collateral) held by such Holder (and the applicable
agents for such Holder), and to take such actions as may be reasonably requested by the Reorganized
Debtors to evidence the release of such Liens and/or security interests, including the execution,
delivery, and Filing or recording of such releases. The presentation or Filing of the Confirmation
Order to or with any federal, state, provincial, or local agency, records office, or department shall
constitute good and sufficient evidence of, but shall not be required to effect, the termination of such
mortgages, deeds of trust, Liens, pledges, and other security interests.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in full
pursuant to this Plan, or any agent for such Holder, has filed or recorded publicly any Liens and/or
security interests to secure such Holder’s Secured Claim, then as soon as practicable on or after the
Effective Date, such Holder (or the agent for such Holder) shall take any and all steps requested by
the Debtors, the Reorganized Debtors, the DIP New Money Agents, the Exit LC Facility Agents, that
are necessary or desirable to record or effectuate the cancelation and/or extinguishment of such Liens
and/or security interests, including the making of any applicable filings or recordings, and the
Reorganized Debtors shall be entitled to make any such filings or recordings on such Holder’s behalf.

C.      Releases by the Debtors.

               Except as expressly set forth in this Plan or the Confirmation Order, effective as of the
Effective Date, pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, including the obligations of the Debtors under this Plan and the contributions and
services of the Released Parties in facilitating the expeditious reorganization of the Debtors and

                                                      77
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                 Document    Page 87 of 206


implementation of the restructuring contemplated by this Plan, the adequacy of which is hereby
confirmed, on and after the Effective Date, each Released Party is hereby deemed conclusively,
absolutely, unconditionally, irrevocably, finally, and forever released and waived, to the fullest extent
permissible under applicable Law, by each and all of the Debtors, and each of their respective current
and former non-SoftBank Parties Affiliates, the Reorganized Debtors, and their Estates, in each case
on behalf of themselves and their respective successors, assigns, and representatives, including any
Estate representative appointed or selected pursuant to section 1123(b)(3) of the Bankruptcy Code,
and any and all other Entities who may purport to assert any Claim or Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, from any and all Claims, Interests,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities, whether known or
unknown, foreseen or unforeseen, asserted or unasserted, matured or unmatured, fixed or contingent,
liquidated or unliquidated, accrued or unaccrued, existing or hereinafter arising, in law, equity,
contract, tort, or otherwise, including any derivative claims, asserted or assertable on behalf of any of
the Debtors, the Reorganized Debtors, or their Estates that such Entity would have been legally
entitled to assert in their own right (whether individually or collectively) or on behalf of the Holder of
any Claim or Cause of Action against, or Interest in, a Debtor or any other Entity, based on or relating
to (including the formulation, preparation, dissemination, negotiation, entry into, or filing of, as
applicable), or in any manner arising from, in whole or in part, the Debtors, the Reorganized Debtors
or their Estates (including the capital structure, management, ownership, or operation thereof), the
purchase, sale, exchange, issuance, termination, repayment, extension, amendment, or rescission of
any debt instrument or Security of the Debtors or the Reorganized Debtors, the assertion or
enforcement of rights and remedies against the Debtors, the formulation, preparation, dissemination,
negotiation, consummation, entry into, or Filing of, as applicable, the Debt Documents, the Exit LC
Facility Documents, and the RSA, the subject matter of, or the transactions or events giving rise to,
any Claim or Interest that is treated in this Plan, the business or contractual arrangements between
any Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the Notes
Exchange Transactions, the decision to File the Chapter 11 Cases, any intercompany transactions, the
Chapter 11 Cases, the Restructuring Transactions, and any related adversary proceedings, the
formulation, preparation, dissemination, negotiation, consummation, entry into, or Filing of, as
applicable the Definitive Documents or any other contract instrument, release, or other agreement or
document created or entered into in connection with the Definitive Documents, the Restructuring
Transactions, the pursuit of Confirmation and Consummation, the administration and
implementation of this Plan, any action or actions taken in furtherance of or consistent with the
administration of this Plan, including the issuance or distribution of Securities pursuant to this Plan,
or the distribution of property under this Plan or any other related agreement, the solicitation of votes
on this Plan, or upon any other act, or omission, transaction, agreement, event, or other occurrence
taking place on or before the Effective Date related or relating to the foregoing. Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release (a) any obligations
arising on or after the Effective Date of any party or Entity under this Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement this Plan as set forth in this Plan; or (b) any Retained Causes of
Action.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related
provisions and definitions contained in this Plan, and further, shall constitute the Bankruptcy Court’s
finding that the Debtor Release is: (a) in exchange for the good and valuable consideration provided
by the Released Parties, including the Released Parties’ contributions to facilitating the Restructuring
Transactions and implementing this Plan; (b) a good faith settlement and compromise of the Claims
released by the Debtor Release; (c) in the best interests of the Debtors and all Holders of Claims and
Interests; (d) fair, equitable, and reasonable; (e) given and made after due notice and opportunity for

                                                   78
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                 Document    Page 88 of 206


hearing; (f) a bar to any of the Debtors, the Reorganized Debtors, or the Debtors’ Estates asserting
any Claim or Cause of Action of any kind whatsoever released pursuant to the Debtor Release;
(g) essential to the Confirmation of this Plan; and (h) an exercise of the Debtors’ business judgment.

D.      Releases by the Releasing Parties.

        Effective as of the Effective Date, except as expressly set forth in this Plan or the Confirmation
Order, in exchange for good and valuable consideration, including the obligations of the Debtors
under this Plan and the contributions and services of the Released Parties in facilitating the
expeditious reorganization of the Debtors and implementation of the restructuring contemplated by
this Plan, pursuant to section 1123(b) of the Bankruptcy Code, in each case except for Claims arising
under, or preserved by, this Plan, to the fullest extent permissible under applicable Law, each
Releasing Party (other than the Debtors or the Reorganized Debtors), in each case on behalf of itself
and its respective successors, assigns, and representatives, and any and all other Entities who may
purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for, or because
of a Releasing Party, is deemed to have conclusively, absolutely, unconditionally, irrevocably, and
forever released, to the fullest extent permissible under applicable Law, each Debtor, Reorganized
Debtor, and each other Released Party from any and all Claims, Interests, obligations, rights, suits,
damages, Causes of Action, remedies, and liabilities, whether known or unknown, foreseen or
unforeseen, asserted or unasserted, matured or unmatured, fixed or contingent, liquidated or
unliquidated, accrued or unaccrued, existing or hereinafter arising, in law, equity, contract, tort, or
otherwise, including any derivative claims, asserted or assertable on behalf of any of the Debtors, the
Reorganized Debtors, or their estates that such Entity would have been legally entitled to assert in
their own right (whether individually or collectively), based on or relating to (including the
formulation, preparation, dissemination, negotiation, entry into, or filing of, as applicable), or in any
manner arising from, in whole or in part, the Debtors, the Reorganized Debtors or their estates
(including the capital structure, management, ownership, or operation thereof), the Chapter 11 Cases,
the Restructuring Transactions, the purchase, sale, exchange, issuance, termination, repayment,
extension, amendment, or rescission of any debt instrument or Security of the Debtors or the
Reorganized Debtors, the assertion or enforcement of rights and remedies against the Debtors, the
formulation, preparation, dissemination, negotiation, consummation, entry into, or Filing of, as
applicable, the Debt Documents, the Exit LC Facility Documents, and the RSA, the subject matter of,
or the transactions or events giving rise to, any Claim or Interest that is treated in this Plan, the
business or contractual arrangements between any Debtor and any Released Party, the Debtors’ in- or
out-of-court restructuring efforts, the Notes Exchange Transactions, the decision to File the
Chapter 11 Cases, any intercompany transactions, and any related adversary proceedings, the
formulation, preparation, dissemination, negotiation, consummation, entry into, or Filing of, as
applicable, the Definitive Documents or any other contract instrument, release or other agreement or
document created or entered into in connection with the Definitive Documents, or the Restructuring
Transactions, the pursuit of Confirmation and Consummation, the administration and
implementation of this Plan, any action or actions taken in furtherance of or consistent with the
administration of this Plan, including the issuance or distribution of Securities pursuant to this Plan,
or the distribution of property under this Plan or any other related agreement, the solicitation of votes
on this Plan, or upon any other act, or omission, transaction, agreement, event, or other occurrence
taking place on or before the Effective Date related or relating to the foregoing. Notwithstanding
anything to the contrary in the foregoing, the releases set forth above do not release any obligations
arising on or after the Effective Date of any party or Entity under this Plan, any Restructuring
Transaction, or any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement this Plan as set forth in this Plan.



                                                   79
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                 Document    Page 89 of 206


         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant
to Bankruptcy Rule 9019, of the releases set forth in this Section D, which includes by reference each
of the related provisions and definitions contained in this Plan, and, further, shall constitute the
Bankruptcy Court’s finding that the releases set forth in this Section D are: (a) consensual;
(b) essential to the Confirmation of this Plan; (c) given in exchange for the good and valuable
consideration provided by the Released Parties, including, without limitation, the Released Parties’
contributions to facilitating the Restructuring Transactions and implementing this Plan; (d) a good
faith settlement and compromise of the Claims released pursuant to this Article VIII.D; (e) in the best
interests of the Debtors and their estates; (f) fair, equitable, and reasonable; (g) given and made after
due notice and opportunity for hearing; and (h) a bar to any of the Releasing Parties asserting any
Claim or Cause of Action of any kind whatsoever released pursuant to this Article VIII.D.

E.      Exculpation.

         Except as otherwise specifically provided in this Plan or the Confirmation Order, and to the
fullest extent permitted by law, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is exculpated from, any and all Claims, Interests, obligations, rights, suits, damages,
or Causes of Action whether direct or derivative, for any claim related to any act or omission arising
prior to the Effective Date, in connection with, relating to, or arising out of, the administration of the
Chapter 11 Cases, the formulation, preparation, dissemination, negotiation, consummation, entry
into, or Filing of, as applicable, the Chapter 11 Cases, the Definitive Documents, or any Restructuring
Transaction, contract, instrument, release, or other agreement or document created or entered into
before or during the Chapter 11 Cases in connection with the Restructuring Transactions, any
preference, fraudulent transfer, or other avoidance Claim arising pursuant to chapter 5 of the
Bankruptcy Code or other applicable law, the Disclosure Statement or this Plan, the Filing of the
Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the solicitation of votes
for, or Confirmation of, this Plan, the funding of this Plan, the occurrence of the Effective Date, the
administration and implementation of this Plan, including the issuance of Securities pursuant to this
Plan, or the distribution of property under this Plan or any other related agreement, the purchase,
sale, or rescission of the purchase or sale of any security of the Debtors or the Reorganized Debtors in
connection with this Plan and the Restructuring Transactions, or the transactions in furtherance of
any of the foregoing, or upon any other act or omission, transaction, agreements, event, or other
occurrence taking place on or before the Effective Date related to or relating to any of the foregoing
(including, for the avoidance of doubt, providing any legal opinion effective as of the Effective Date
requested by any Entity regarding any transaction, contract, instrument, document, or other
agreement contemplated by this Plan), except for Claims or Causes of Action related to any act or
omission of an Exculpated Party that is determined in a Final Order to have constituted actual fraud,
willful misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably
rely upon the advice of counsel with respect to their duties and responsibilities pursuant to this Plan.
The Exculpated Parties have, and upon Consummation of this Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to this Plan and, therefore, are not, and on account
of such distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of this Plan or such distributions
made pursuant to this Plan. Notwithstanding the foregoing, the exculpation shall not release any
obligation or liability of any Entity for any Effective Date obligation under this Plan or any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
this Plan. The exculpation will be in addition to, and not in limitation of, all other releases,
indemnities, exculpations, and any other applicable law or rules protecting such Exculpated Parties
from liability.


                                                   80
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                 Document    Page 90 of 206


F.      Injunction.

        Upon entry of the Confirmation Order, except as otherwise expressly provided in this Plan or
the Confirmation Order, or for obligations issued or required to be paid pursuant to this Plan or the
Confirmation Order, all Entities who have held, hold, or may hold Claims or Interests that have been
extinguished, released, discharged, or are subject to exculpation, whether or not such Entities vote in
favor of, against or abstain from voting on this Plan or are presumed to have accepted or deemed to
have rejected this Plan, and other parties in interest, along with their respective present or former
employees, agents, officers, directors, principals, Affiliates, and Related Parties are permanently
enjoined, from and after the Effective Date, from taking any of the following actions against, as
applicable, the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released
Parties: (a) commencing, conducting, or continuing in any manner any action or other proceeding of
any kind on account of or in connection with or with respect to any such Claims, Interests, Causes of
Action, or liabilities; (b) enforcing, levying, attaching, collecting, or recovering by any manner or
means any judgment, award, decree, or order against such Entities on account of or in connection
with or with respect to any such Claims, Interests, Causes of Action, or liabilities; (c) creating,
perfecting, or enforcing any lien or encumbrance of any kind against such Entities or the property or
the estates of such Entities on account of or in connection with or with respect to any such Claims,
Interests, Causes of Action, or liabilities; (d) except as otherwise provided under this Plan (including
Article V.K), asserting any right of setoff, subrogation, or recoupment of any kind against any
obligation due from such Entities or against the property of such Entities on account of or in
connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities unless
such Holder has timely Filed a motion with the Bankruptcy Court expressly requesting the right to
perform such setoff, subrogation, or recoupment on or before the Effective Date, and notwithstanding
an indication of a Claim, Interest, Cause of Action, liability or otherwise that such Holder asserts, has,
or intends to preserve any right of setoff pursuant to applicable law or otherwise; (e) commencing or
continuing in any manner any action or other proceeding of any kind on account of or in connection
with or with respect to any such claims, Interests, or Causes of Action released or settled pursuant to
this Plan; and (f) if such Entity (alone or together with a group of people that is treated as a single
entity under the applicable rules) is a “50-percent shareholder” as defined under section 382(g)(4)(D)
of the Tax Code with respect to any Debtor, claiming a worthless stock deduction for U.S. federal
income tax purposes with respect to the Interests of WeWork Parent for any tax period of such Entity
ending prior to the Effective Date.

      Upon entry of the Confirmation Order, all Holders of Claims and Interests shall be precluded
and permanently enjoined from taking any actions to interfere with the implementation or
Consummation of this Plan.

        With respect to Claims or Causes of Action that have not been released, discharged, or are not
subject to exculpation, no Person or Entity may commence or pursue a Claim or Cause of Action of
any kind against the Debtors, the Reorganized Debtors, any Exculpated Party, or any Released Party
that relates to any act or omission occurring from the Petition Date to the Effective Date in connection
with, relating to, or arising out of, in whole or in part, the Chapter 11 Cases (including the Filing and
administration thereof), the Debtors, the governance, management, transactions, ownership, or
operation of the Debtors, the purchase, sale, exchange, issuance, termination, repayment, extension,
amendment, or rescission of any debt instrument or Security of the Debtors or the Reorganized
Debtors, the RSA, the subject matter of, or the transactions or events giving rise to any Claim or
Interest that is treated in this Plan, the business or contractual or other arrangements or other
interactions between any Releasing Party and any Released Party or Exculpated Party, the
restructuring of any Claim or Interest before or during the Chapter 11 Cases, any other in- or
out-of-court restructuring efforts of the Debtors; any intercompany transactions, any Restructuring

                                                   81
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 91 of 206


Transaction, the RSA, the formulation, preparation, dissemination, negotiation, or Filing of the RSA
and the Definitive Documents, or any other contract, instrument, release, or other agreement or
document created or entered into in connection with the Disclosure Statement, this Plan, or any of the
other Definitive Documents, the Notes and the Indentures, the pursuit of Confirmation, the
administration and implementation of this Plan, including the issuance of securities pursuant to this
Plan, or the distribution of property under this Plan or any other related agreement (including, for
the avoidance of doubt, providing any legal opinion requested by any Entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by this Plan or the
reliance by any Exculpated Party on this Plan or the Confirmation Order in lieu of such legal opinion),
without the Bankruptcy Court (a) first determining, after notice and a hearing, that such Claim or
Cause of Action represents a colorable Claim and (b) specifically authorizing such Person or Entity
to bring such Claim or Cause of Action. To the extent the Bankruptcy Court may have jurisdiction
over such colorable Claim or Cause of Action, the Bankruptcy Court shall have sole and exclusive
jurisdiction to adjudicate such underlying Claim or Cause of Action should it permit such Claim or
Cause of Action to proceed.

G.      Gatekeeper Provision.

         No party may commence, continue, amend, or otherwise pursue, join in, or otherwise support any
other party commencing, continuing, amending, or pursuing, a Cause of Action of any kind against the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties that relates to, or is
reasonably likely to relate to any act or omission in connection with, relating to, or arising out of, a Cause
of Action subject to Article VIII.C, Article VIII.D, Article VIII.E, and Article VIII.F of this Plan without
first: (a) requesting a determination from the Bankruptcy Court (which request must attach to the complaint
or petition proposed to be filed by the requesting party), after notice and a hearing, that such Cause of Action
(i) represents a colorable claim against a Debtor, Reorganized Debtor, Exculpated Party, or Released Party
and (ii) was not discharged, released, enjoined, or otherwise prohibited under this Plan; and (b) obtaining
from the Bankruptcy Court the foregoing determination as well as specific authorization for such party to
bring such Cause of Action against any such Debtor, Reorganized Debtor, Exculpated Party, or Released
Party. For the avoidance of doubt, any party that obtains such determination and authorization and
subsequently wishes to amend the authorized complaint or petition to add any Causes of Action not explicitly
included in the authorized complaint or petition must obtain authorization from the Bankruptcy Court before
filing any such amendment in the court where such complaint or petition is pending. The Bankruptcy Court
will have sole and exclusive jurisdiction to determine whether a Cause of Action constitutes a direct or
derivative claim, is colorable and, only to the extent legally permissible, will have jurisdiction to adjudicate
the underlying colorable Cause of Action.

H.      Protections Against Discriminatory Treatment.

         Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the United States
Constitution, all Entities, including Governmental Units, shall not discriminate against the Reorganized
Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or other similar
grant to, condition such a grant to, discriminate with respect to such a grant against, the Reorganized Debtors,
or another Entity with whom the Reorganized Debtors have been associated, solely because each Debtor has
been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent before the commencement of the
Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors are granted or denied a discharge),
or has not paid a debt that is dischargeable in the Chapter 11 Cases.




                                                      82
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                  Document    Page 92 of 206


I.      Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance
with their standard document retention policy, as may be altered, amended, modified, or supplemented by
the Reorganized Debtors.

J.      Reimbursement or Contribution.

         If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity pursuant
to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent as of the
time of allowance or disallowance, such Claim shall be forever disallowed and expunged notwithstanding
section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (a) such Claim has been
adjudicated as non-contingent or (b) the relevant Holder of a Claim has Filed a non-contingent Proof of
Claim on account of such Claim and a Final Order has been entered prior to the Confirmation Date
determining such Claim as no longer contingent.

                                   ARTICLE IX.
                CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN

A.      Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied,
subject to the consent of the Required Consenting Stakeholders, (and, solely with respect to Article IX.A.7
below as it pertains to the Agent Professionals, to the applicable Agents) or waived by the Required
Consenting Stakeholders, subject to the consent of the Required Consenting Stakeholders and the
Reasonable Consent of the Creditors’ Committee (and, solely with respect to Article IX.A.7 below as it
pertains to the Agent Professionals, the applicable Agents (or as otherwise indicated)), pursuant to the
provisions of Article IX.B hereof:

        1.      the RSA shall remain in full force and effect, all conditions shall have been satisfied or
                waived thereunder (other than any conditions related to the occurrence of the Effective
                Date), and there shall be no breach thereunder that, after the expiration of any applicable
                notice period or any cure period, would give rise to a right to terminate the RSA;

        2.      the Cash Collateral Final Order shall be consistent with the RSA in all respects (including
                the consent rights set forth therein) and shall not have been vacated, stayed, or modified
                without the prior written consent of the Required Consenting Stakeholders;

        3.      the DIP LC/TLC Order shall be consistent with the RSA in all respects (including the
                consent rights set forth therein) and shall not have been vacated, stayed, or modified without
                the prior written consent of the Required Consenting Stakeholders;

        4.      the DIP New Money Orders shall be consistent with the RSA in all respects (and subject to
                the consent of the Required Consenting Stakeholders) and shall not have been vacated,
                stayed, or modified without the prior written consent of the Required Consenting
                Stakeholders and the Required Lenders;

        5.      each document or agreement constituting a Definitive Document shall have been executed
                and/or effectuated, in form and substance consistent with this Plan, the Restructuring
                Transactions contemplated herein, and the Plan Supplement, and shall be subject to the
                consent of the Required Consenting Stakeholders;


                                                      83
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                             Document    Page 93 of 206


      6.    the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings,
            or documents that are necessary to implement and effectuate this Plan, and all applicable
            regulatory or government-imposed waiting periods shall have expired or been terminated;

      7.    all obligations of the Debtors and the DIP New Money Lenders under the DIP New Money
            Documents shall have been satisfied in accordance with the terms thereof and this Plan;

      8.    the DIP New Money Documents shall have been duly executed and delivered by all Entities
            party thereto and all conditions precedent (other than any conditions related to the
            occurrence of the Effective Date) to the effectiveness of the DIP New Money Documents
            shall have been satisfied or duly waived in writing in accordance with the terms of the DIP
            New Money Documents and the closing of the DIP New Money Facilities shall have
            occurred;

      9.    the Exit LC Facility Documents shall have been duly executed and delivered by all Entities
            party thereto and all conditions precedent (other than any conditions related to the
            occurrence of the Effective Date) to the effectiveness of the Exit LC Facility Documents
            shall have been satisfied or duly waived in writing in accordance with the terms of the Exit
            LC Facility Documents and the closing of the Exit LC Facility shall have occurred;

      10.   all fees, expenses, and premiums payable pursuant to the RSA, Plan, Definitive Documents,
            or pursuant to any order of the Bankruptcy Court shall have been paid by the Debtors or the
            Reorganized Debtors, as applicable, and the Restructuring Expenses incurred, or estimated
            to be incurred, up to and including the Effective Date shall have been paid in full in Cash
            on the Effective Date as set forth in Article II.F of this Plan;

      11.   all Allowed Professional Fee Claims required to be approved by the Bankruptcy Court shall
            have been paid in full or amounts sufficient to pay such fees and expenses in full after the
            Effective Date have been placed in the professional fee escrow account as set forth in, and
            in accordance with, this Plan;

      12.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be in form and
            substance consistent with the RSA and subject to the consent of the Required Consenting
            Stakeholders, and such order shall have become a final and non-appealable order, which
            shall not have been stayed, reversed, vacated, amended, supplemented, or otherwise
            modified, unless waived by the Required Consenting Stakeholders;

      13.   the UCC Settlement Trust Documents shall have been executed and/or effectuated, in form
            and substance consistent with this Plan, the Restructuring Transactions contemplated herein,
            and the Plan Supplement; and the UCC Settlement Proceeds shall have been funded into the
            UCC Settlement Trust or otherwise reserved for such funding (to the extent the UCC
            Settlement Determination Date has not yet occurred);

      14.   the Debtors shall have otherwise substantially consummated the Restructuring Transactions
            (subject to the consent of the Required Consenting Stakeholders), and all transactions
            contemplated by this Plan and in the Definitive Documents, in a manner consistent in all
            respects with this Plan, unless waived by the Required Consenting Stakeholders;

      15.   the final version of the Plan Supplement and all of the schedules, documents, and exhibits
            contained therein (and any amendment(s) thereto) shall have been Filed and all documents



                                                84
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                  Document    Page 94 of 206


                 therein shall continue to satisfy the RSA in all respects, unless waived by the Required
                 Consenting Stakeholders;

        16.      all financing necessary for this Plan shall have been obtained and any documents related
                 thereto, without duplication of the conditions described otherwise in this Article IX.A, shall
                 have been executed, delivered, and be in full force and effect (with all conditions precedent
                 thereto, other than the occurrence of the Effective Date or certification by the Debtors that
                 the Effective Date has occurred, having been satisfied or waived), and subject to the consent
                 of the Required Consenting Stakeholders; and

        17.      immediately prior to, or in connection with, the Effective Date, the Debtors and their
                 non-SoftBank Party Affiliates shall possess no less than $300 million in cash (inclusive of
                 the proceeds of the DIP New Money Exit Facility), which amount shall be exclusive of
                 (i) any proceeds generated by the Japan/India Sales, (ii) amounts required to satisfy all
                 outstanding DIP New Money Interim Facility Claims, (iii) amounts required to either
                 establish reserves for or satisfy Administrative Claims, including, for the avoidance of
                 doubt, Cure Claims, and (iv) amounts constituting Aggregate Exit LC Cash Collateral.

B.      Waiver of Conditions.

         Except as otherwise specified in this Plan, and subject to the limitations contained in and other terms
of the RSA, any one or more of the conditions to Consummation (or any component thereof) set forth in this
Article IX may be waived only if waived in writing (email being sufficient) by the Debtors and the Required
Consenting Stakeholders without notice, leave, or order of the Bankruptcy Court or any formal action other
than proceedings to confirm or consummate this Plan.

C.      Effect of Failure of Conditions.

         If Consummation does not occur, this Plan shall be null and void in all respects and nothing
contained in this Plan, the Disclosure Statement, the RSA, or any other Definitive Document
shall: (a) constitute a waiver or release of any claims by the Debtors, Claims, or Interests; (b) prejudice in
any manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (c) constitute
an admission, acknowledgment, offer, or undertaking of any sort by the Debtors, any Holders of Claims or
Interests, or any other Entity; provided that all provisions of this Plan, the RSA, or any other Definitive
Document that survive termination thereof shall remain in effect in accordance with the terms thereof.

D.      Substantial Consummation.

         “Substantial Consummation” of this Plan, as defined in section 1101(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                   ARTICLE X.
              MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

A.      Modification and Amendments.

        Except as otherwise specifically provided in this Plan and subject to the consent rights of the
Required Consenting Stakeholders and the Creditors’ Committee (as applicable), the Debtors reserve the
right to modify this Plan, whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan; provided
that any such modification (whether material or immaterial) shall be acceptable in form and substance to the


                                                      85
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                  Document    Page 95 of 206


Required Consenting Stakeholders. Subject to those restrictions on modifications set forth in this Plan, the
RSA, the requirements of section 1127 of the Bankruptcy Code, Bankruptcy Rule 3019, and, to the extent
applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of the Debtors expressly reserves
its respective rights to revoke or withdraw, or to alter, amend, or modify this Plan with respect to such Debtor,
one or more times, after Confirmation, and, to the extent necessary may initiate proceedings in the
Bankruptcy Court to so alter, amend, or modify this Plan, or remedy any defect or omission, or reconcile
any inconsistencies in this Plan, the Disclosure Statement, or the Confirmation Order, in such matters as may
be necessary to carry out the purposes and intent of this Plan.

B.      Effect of Confirmation on Modifications.

         Entry of the Confirmation Order shall mean that all modifications or amendments to this Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and shall constitute
a finding that such modifications or amendments to this Plan do not require additional disclosure or
resolicitation under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of Plan.

         To the extent permitted by the RSA and subject to the consent of the Required Consenting
Stakeholders, the Debtors reserve the right to revoke or withdraw this Plan prior to the Confirmation Date
and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
Confirmation or Consummation does not occur, then: (a) this Plan shall be null and void in all respects;
(b) any settlement or compromise embodied in this Plan (including the fixing or limiting to an amount certain
of any claims by the Debtors, Claims or Interests, or Class of Claims or Interests), assumption or rejection
of Executory Contracts or Unexpired Leases effected under this Plan, and any document or agreement
executed pursuant to this Plan, shall be deemed null and void; and (c) nothing contained in this Plan
shall: (i) constitute a waiver or release of any claims by the Debtors, Claims, or Interests; (ii) prejudice in
any manner the rights of such Debtor or any other Entity; or (iii) constitute an admission, acknowledgement,
offer, or undertaking of any sort by such Debtor or any other Entity.

                                           ARTICLE XI.
                                    RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters arising
out of, or relating to, the Chapter 11 Cases and this Plan pursuant to sections 105(a) and 1142 of the
Bankruptcy Code, including jurisdiction to:

                 (a)     allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
                         secured or unsecured status, or amount of any Claim or Interest, including the
                         resolution of any request for payment of any Administrative Claim and the
                         resolution of any and all objections to the secured or unsecured status, priority,
                         amount, or allowance of Claims or Interests;

                 (b)     decide and resolve all matters related to the granting and denying, in whole or in
                         part, any applications for allowance of compensation or reimbursement of expenses
                         to Professionals authorized pursuant to the Bankruptcy Code or this Plan;

                 (c)     resolve any matters related to: (i) the assumption, assumption and assignment, or
                         rejection of any Executory Contract or Unexpired Lease to which a Debtor is party
                         or with respect to which a Debtor may be liable and to hear, determine, and, if


                                                       86
Case 23-19865-JKS    Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                            Document    Page 96 of 206


                    necessary, liquidate, any Claims arising therefrom, including Cure Obligations
                    pursuant to section 365 of the Bankruptcy Code; (ii) any potential contractual
                    obligation under any Executory Contract or Unexpired Lease that is assumed;
                    (iii) the Reorganized Debtors amending, modifying, or supplementing, after the
                    Effective Date, pursuant to Article V hereof, the list of Executory Contracts and
                    Unexpired Leases to be assumed or rejected or otherwise; and (iv) any dispute
                    regarding whether a contract or lease is or was executory or expired;

            (d)     ensure that distributions to Holders of Allowed Claims and Holders of Allowed
                    Interests (as applicable) are accomplished pursuant to the provisions of this Plan
                    and adjudicate any and all disputes arising from or relating to distributions under
                    this Plan;

            (e)     adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                    litigated matters, and any other matters, and grant or deny any applications
                    involving a Debtor that may be pending on the Effective Date;

            (f)     adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145
                    of the Bankruptcy Code;

            (g)     enter and implement such orders as may be necessary to execute, implement, or
                    consummate the provisions of this Plan and all contracts, instruments, releases,
                    indentures, and other agreements or documents created or entered into in connection
                    with this Plan, the Confirmation Order, or the Disclosure Statement, including the
                    RSA;

            (h)     enter and enforce any order for the sale of property pursuant to sections 363, 1123,
                    or 1146(a) of the Bankruptcy Code;

            (i)     resolve any cases, controversies, suits, disputes, or Causes of Action that may arise
                    in connection with the Consummation, interpretation, or enforcement of this Plan
                    or any Entity’s obligations incurred in connection with this Plan;

            (j)     issue injunctions, enter and implement other orders, or take such other actions as
                    may be necessary to restrain interference by any Entity with Consummation or
                    enforcement of this Plan, including any action that is intended or is reasonably likely
                    to directly or indirectly prevent, impede, hinder, adversely affect, and/or delay any
                    of the Restructuring Transactions, or any actions or efforts of the Debtors and
                    Reorganized Debtors and/or their ability to consummate this Plan;

            (k)     resolve any cases, controversies, suits, disputes, or Causes of Action with respect to
                    the exculpations, discharges, injunctions, releases, and other provisions contained
                    in Article VIII hereof and enter such orders as may be necessary or appropriate to
                    implement such releases, injunctions, and other provisions;

            (l)     resolve any cases, controversies, suits, disputes, or Causes of Action with respect to
                    the repayment or return of distributions and the recovery of additional amounts
                    owed by the Holder of a Claim or Interest for amounts not timely repaid pursuant
                    to Article VI.L hereof;




                                                 87
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document    Page 97 of 206


               (m)     enter and implement such orders as are necessary if the Confirmation Order is for
                       any reason modified, stayed, reversed, revoked, or vacated;

               (n)     issue injunctions, enter and implement other orders, or take such other actions as
                       may be necessary to restrain interference by any Entity with Consummation or
                       enforcement of this Plan;

               (o)     determine any other matters that may arise in connection with or relate to this Plan,
                       the Plan Supplement, the Disclosure Statement, the Confirmation Order, or any
                       contract, instrument, release, indenture, or other agreement or document created in
                       connection with this Plan or the Disclosure Statement, including the RSA;

               (p)     enter an order or final decree concluding or closing the Chapter 11 Cases;

               (q)     adjudicate any and all disputes arising from or relating to distributions under this
                       Plan or any transactions contemplated therein;

               (r)     consider any modifications of this Plan, to cure any defect or omission, or to
                       reconcile any inconsistency in any Bankruptcy Court order, including the
                       Confirmation Order;

               (s)     determine requests for the payment of Claims and Interests entitled to priority
                       pursuant to section 507 of the Bankruptcy Code;

               (t)     hear and determine disputes arising in connection with the interpretation,
                       implementation, or enforcement of this Plan or the Confirmation Order, including
                       disputes arising under agreements, documents, or instruments executed in
                       connection with this Plan;

               (u)     hear and determine matters concerning U.S. state, local, and federal taxes in
                       accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

               (v)     hear and determine all disputes involving the existence, nature, scope, or
                       enforcement of any exculpations, discharges, injunctions, and releases granted in
                       this Plan, including under Article VIII hereof, whether occurring prior to or after
                       the Effective Date;

               (w)     enforce all orders previously entered by the Bankruptcy Court; and

               (x)     hear any other matter not inconsistent with the Bankruptcy Code.

        As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New
Corporate Governance Documents and any documents related thereto shall be governed by the jurisdictional
provisions therein and the Bankruptcy Court shall not retain jurisdiction with respect thereto.




                                                   88
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                  Document    Page 98 of 206


                                           ARTICLE XII.
                                    MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect.

         Subject to Article IX.A hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
otherwise, upon the occurrence of the Effective Date, the terms of this Plan (including, for the avoidance of
doubt, the documents and instruments contained in the Plan Supplement) shall be immediately effective and
enforceable and deemed binding upon the Debtors, the Reorganized Debtors, any and all Holders of Claims
or Interests (irrespective of whether such Holders of Claims or Interests have, or are deemed to have,
accepted this Plan), all Entities that are parties to or are subject to the settlements, compromises, releases,
discharges, and injunctions described in this Plan, each Entity acquiring property under this Plan, and any
and all non-Debtor parties to Executory Contracts and Unexpired Leases with the Debtors. All Claims and
Interests shall be as fixed, adjusted, or compromised, as applicable, pursuant to this Plan regardless of
whether any Holder of a Claim or Interest has voted on this Plan.

B.      Additional Documents.

         On or before the Effective Date, and consistent in all respects with the terms of the RSA, the Debtors
may File with the Bankruptcy Court such agreements and other documents as may be necessary to effectuate
and further evidence the terms and conditions of this Plan and the RSA; provided that any and all such
agreements and documents shall be in form and substance acceptable to the Debtors and subject to the
consent of the Required Consenting Stakeholders and the Reasonable Consent of the Creditors’ Committee.
The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests receiving
distributions pursuant to this Plan and all other parties in interest shall, from time to time, prepare, execute,
and deliver any agreements or documents and take any other actions as may be necessary or advisable to
effectuate the provisions and intent of this Plan.

C.      Statutory Committee and Cessation of Fee and Expense Payment.

        On the Effective Date, the Creditors’ Committee and any other statutory committee appointed in the
Chapter 11 Cases shall dissolve and members thereof shall be released and discharged from all rights and
duties from or related to the Chapter 11 Cases, except in connection with final fee applications of
Professionals for services rendered prior to the Effective Date. The Reorganized Debtors shall no longer be
responsible for paying any fees or expenses incurred by the members of or advisors to the Creditors’
Committee or any other statutory committees after the Effective Date.

D.      Reservation of Rights.

         Except as expressly set forth in this Plan, this Plan shall have no force or effect unless the Bankruptcy
Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or effect if the
Effective Date does not occur. None of the Filing of this Plan, any statement or provision contained in this
Plan, or the taking of any action by any Debtor, Consenting Stakeholder, Agent, or party under the DIP
Facilities, as applicable, with respect to this Plan, the Disclosure Statement, or the Plan Supplement shall be
or shall be deemed to be an admission or waiver of any rights of any Debtor, or Agent, as applicable, with
respect to the Holders of Claims or Interests prior to the Effective Date.




                                                       89
    Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                       Document    Page 99 of 206


     E.      Successors and Assigns.

             The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be binding
     on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
     manager, director, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

     F.      Notices.

             All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
     (including by email) and, unless otherwise expressly provided herein, shall be deemed to have been duly
     given or made when actually delivered, addressed as follows:

                  If to the Debtors:                                        If to Counsel to the Debtors:

WeWork Inc.                                                 Kirkland & Ellis LLP
12 East 49th Street, 3rd Floor                              601 Lexington Avenue
New York, NY 10017                                          New York, New York 10022
Attention: Pamela Swidler, Chief Legal Officer              Attention: Edward O. Sassower, P.C., Joshua A. Sussberg,
Email address: pamela.swidler@wework.com                    P.C., Steven N. Serajeddini, P.C., Ciara Foster, Connor K.
                                                            Casas
                                                            Email address: edward.sassower@kirkland.com,
                                                                            joshua.sussberg@kirkland.com,
                                                                            steven.serajeddini@kirkland.com,
                                                                            ciara.foster@kirkland.com,
                                                                            connor.casas@kirkland.com

                                                            -and-

                                                            Cole Schotz P.C.
                                                            Court Plaza North, 25 Main Street
                                                            Hackensack, New Jersey 07601
                                                            Attention: Michael D. Sirota, Esq., Warren A. Usatine,
                                                            Esq., Felice R. Yudkin, Esq., Ryan T. Jareck, Esq.
                                                            Email address: msirota@coleschotz.com,
                                                                             wusatine@coleschotz.com,
                                                                             fyudkin@coleschotz.com,
                                                                             rjareck@coleschotz.com

                If to the U.S. Trustee:                                   If to Counsel to the DIP Agent:

Office of The United States Trustee                         Milbank LLP
One Newark Center                                           55 Hudson Yards
1085 Raymond Boulevard, Suite 2100                          New York, NY 10001-2163
Newark, NJ 07102                                            Attention: Brian Kinney, Michael Price, George Zhang
Attention: Fran B. Steele, Esq., Peter J. D'Auria, Esq.     Email address: bkinney@milbank.com,
Email address: Fran.B.Steele@usdoj.gov,                                     mprice@milbank.com,
                Peter.J.D'Auria@usdoj.gov                                   gzhang@milbank.com,




                                                            90
    Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                      Document     Page 100 of 206



     If to Counsel to the Creditors’ Committee:                      If to Counsel to the SoftBank Parties:

Paul Hastings LLP                                          Weil, Gotshal & Manges LLP
200 Park Avenue                                            767 Fifth Avenue
New York, New York 10166                                   New York, NY 10153
Attention: Kris Hansen, Gabe Sasson, Frank Merola,         Attention: Gabriel A. Morgan, Kevin H. Bostel,
Matt Friedrick                                             Eric L. Einhorn
Email address:                                             Email address: gabriel.morgan@weil.com,
                krishansen@paulhastings.com,                               kevin.bostel@weil.com,
                gabesasson@paulhastings.com,                               eric.einhorn@weil.com
                frankmerola@paulhastings.com,
                matthewfriedrick@paulhastings.com          -and-

                                                           Wollmuth Maher & Deutsch LLP
                                                           500 Fifth Avenue, 25 Main Street
                                                           New York, NY 10110
                                                           Attention: Paul R. DeFilippo, James N. Lawlor
                                                           Email address: pdefilippo@wmd-law.com,
                                                                           jlawlor@wmd-law.com

          If to Counsel to the Ad Hoc Group:                                 If to Counsel to Cupar:

Davis Polk & Wardwell LLP                                  Cooley LLP
450 Lexington Avenue                                       55 Hudson Yards
New York, NY 10017                                         New York, NY 10001
Attention: Eli J. Vonnegut; Natasha Tsiouris;              Attention: Tom Hopkins, Cullen D. Speckhart,
Jonah A. Peppiatt                                          Logan Tiari, Michael A. Klein
Email address: eli.vonnegut@davispolk.com,                 Email address: thopkins@cooley.com,
                 natasha.tsiouris@davispolk.com,                          cspeckhart@cooley.com,
                 jonah.peppiatt@davispolk.com                             ltiari@cooley.com,
                                                                          mklein@cooley.com
Greenberg Traurig, LLP
500 Campus Drive, Suite 400
Florham Park, NJ 07932
Attention: Alan J. Brody
Email address: brodya@gtlaw.com


              After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities that
     to continue to receive documents pursuant to Bankruptcy Rule 2002, an Entity must File a renewed request
     to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized Debtors
     are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those
     Entities who have Filed such renewed requests.

     G.       Term of Injunctions or Stays.

              Unless otherwise provided in this Plan or in the Confirmation Order, all injunctions or stays
     in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order
     of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays
     contained in this Plan or the Confirmation Order) shall remain in full force and effect until the



                                                           91
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                  Document     Page 101 of 206


Effective Date. All injunctions or stays contained in this Plan or the Confirmation Order shall remain
in full force and effect in accordance with their terms.

        Notwithstanding anything to the contrary herein (except with respect to indemnification
obligations under assumed Unexpired Leases, which shall remain Unimpaired), the automatic stay
imposed by section 362 of the Bankruptcy Code and the injunctions set forth in Article VIII.F of this
Plan shall remain applicable to Claims that have the benefit of an applicable insurance policy arising
prior to the Effective Date up to the amount of the applicable SIR or deductible, which Claims shall
be treated as General Unsecured Claims.

H.      Entire Agreement.

        Except as otherwise indicated, and without limiting the effectiveness of the RSA, this Plan
(including, for the avoidance of doubt, the documents and instruments in the Plan Supplement) supersedes
all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into this Plan.

I.      Plan Supplement.

        All exhibits and documents included in the Plan Supplement are an integral part of this Plan and are
incorporated into and are a part of this Plan as if set forth in full in this Plan. After the exhibits and documents
are Filed, copies of such exhibits and documents shall be available upon written request to the Debtors’
counsel at the address above or by downloading such exhibits and documents from the Debtors’ restructuring
website at https://dm.epiq11.com/WeWork or the Bankruptcy Court’s website at https://www.njb.
uscourts.gov/.

J.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void, or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided that any such alteration shall be consistent with the
RSA and subject to the consent of the Required Consenting Stakeholders and the Reasonable Consent of the
Creditors’ Committee. Notwithstanding any such holding, alteration, or interpretation, the remainder of the
terms and provisions of this Plan will remain in full force and effect and will in no way be affected, impaired,
or invalidated by such holding, alteration, or interpretation.

         The Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(a) valid and enforceable pursuant to its terms; (b) integral to this Plan and may not be deleted or modified
without the Debtors’ or the Reorganized Debtors’ consent, as applicable (but subject to the terms of
the RSA); and (c) nonseverable and mutually dependent.

K.      Votes Solicited in Good Faith.

        Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on this
Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, managers, employees, advisors, and
attorneys will be deemed to have participated in good faith and in compliance with the Bankruptcy Code in


                                                        92
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 102 of 206


the offer, issuance, sale, and purchase of Securities offered and sold under this Plan and any previous plan,
and, therefore, no such parties nor individuals nor the Reorganized Debtors will have any liability for the
violation of any applicable Law, rule, or regulation governing the solicitation of votes on this Plan or the
offer, issuance, sale, or purchase of the Securities offered and sold under this Plan and any previous plan.

L.      Closing of Chapter 11 Cases.

         On and after the Effective Date, upon the filing of an appropriate motion, the Debtors or the
Reorganized Debtors shall be permitted to close all of the Chapter 11 Cases of the Debtors except for the
Chapter 11 Case(s) listed in the Restructuring Transactions Exhibit as having those Chapter 11 Case(s)
remain open following the Effective Date (as the Debtors may determine subject to the consent rights set
forth therein), and all contested matters relating to any of the Debtors, including Claim Objections and any
adversary proceedings, shall be administered and heard in the Chapter 11 Case(s) of such Debtor(s),
irrespective of whether such Claim(s) were Filed or such adversary proceeding was commenced against a
Debtor whose Chapter 11 Case was closed.

        When all Disputed Claims have become Allowed or disallowed and all distributions have been made
in accordance with this Plan, the Reorganized Debtors shall seek authority to close any remaining Chapter 11
Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules.

M.      Waiver or Estoppel.

        Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any
argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a
certain priority, secured or not subordinated by virtue of an agreement made with the Debtors or their
counsel, or any other Entity, if such agreement was not disclosed in this Plan, the Disclosure Statement, or
papers Filed with the Bankruptcy Court prior to the Confirmation Date.




                                                     93
Case 23-19865-JKS       Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39             Desc Main
                              Document     Page 103 of 206


  Dated: May 30, 2024                     WEWORK INC.

                                          on behalf of itself and all other Debtors



                                          /s/ David Tolley
                                          David Tolley
                                          Chief Executive Officer




                                           94
Case 23-19865-JKS   Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39   Desc Main
                          Document     Page 104 of 206



                                    Exhibit B

                                    Redline
Case 23-19865-JKS             Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                            Desc Main
                                    Document     Page 105 of 206



 NOTHING CONTAINED HEREIN SHALL CONSTITUTE AN OFFER, ACCEPTANCE,
 COMMITMENT, OR LEGALLY BINDING OBLIGATION OF THE DEBTORS OR ANY
 OTHER PARTY IN INTEREST, AND THIS PLAN IS SUBJECT TO APPROVAL BY THE
 BANKRUPTCY COURT AND OTHER CUSTOMARY CONDITIONS. THIS PLAN IS NOT AN
 OFFER WITH RESPECT TO ANY SECURITIES.

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                          Chapter 11

 WEWORK INC., et al.,                                            Case No. 23-19865 (JKS)

                                      Debtors.1                  (Jointly Administered)


                              THIRD AMENDED JOINT CHAPTER 11 PLAN
                          OF REORGANIZATION OF WEWORK INC. AND ITS
                 DEBTOR SUBSIDIARIES (FURTHER TECHNICAL MODIFICATIONS)
     KIRKLAND & ELLIS LLP                                COLE SCHOTZ P.C.
     KIRKLAND & ELLIS INTERNATIONAL LLP                  Michael D. Sirota, Esq.
     Edward O. Sassower, P.C.                            Warren A. Usatine, Esq.
     Joshua A. Sussberg, P.C. (admitted pro hac vice)    Felice R. Yudkin, Esq.
     Steven N. Serajeddini, P.C. (admitted pro hac vice) Ryan T. Jareck, Esq.
     Ciara Foster (admitted pro hac vice)                Court Plaza North, 25 Main Street
     601 Lexington Avenue                                Hackensack, New Jersey 07601
     New York, New York 10022                            Telephone:      (201) 489-3000
     Telephone:      (212) 446-4800                      msirota@coleschotz.com
     Facsimile:      (212) 446-4900                      wusatine@coleschotz.com
     edward.sassower@kirkland.com                        fyudkin@coleschotz.com
     joshua.sussberg@kirkland.com                        rjareck@coleschotz.com
     steven.serajeddini@kirkland.com
     ciara.foster@kirkland.com

     Co-Counsel for Debtors and                                  Co-Counsel for Debtors and
     Debtors in Possession                                       Debtors in Possession




 1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
       claims and noticing agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal
       place of business is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these
       chapter 11 cases is WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton,
       OR 97005.
Case 23-19865-JKS       Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                              Document     Page 106 of 206


                                      TABLE OF CONTENTS

 ARTICLE I. DEFINED TERMS, RULES OF INTERPRETATION, COMPUTATION OF TIME, AND
 GOVERNING LAW                                                               1
      A.      Defined Terms                                                  1
      B.      Rules of Interpretation                                       31
      C.      Computation of Time                                           32
      D.      Governing Law                                                 32
      E.      Reference to Monetary Figures                                 32
      F.      Reference to the Debtors or the Reorganized Debtors           32
      G.      Controlling Document                                          32
      H.      Consultation, Notice, Information, and Consent Rights.        33

 ARTICLE II. ADMINISTRATIVE CLAIMS, DIP ADMINISTRATIVE CLAIMS, PRIORITY
 CLAIMS, AND RESTRUCTURING EXPENSES                                                               33
      A.      Administrative Claims                                                               33
      B.      DIP Administrative Claims                                                           34
      C.      Professional Fee Claims                                                             35
      D.      Priority Tax Claims                                                                 37
      E.      Payment of Statutory Fees and Reporting to the U.S. Trustee                         37
      F.      Payment of Restructuring Expenses                                                   37
      G.      Payment of Stub Rent Claims and Post-Petition Rent Claims.                          38

 ARTICLE III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS                                38
      A.       Classification of Claims and Interests                                             38
      B.       Treatment of Claims and Interests                                                  39
      C.       Special Provision Governing Unimpaired Claims                                      44
      D.       Elimination of Vacant Classes                                                      45
      E.       Voting Classes, Presumed Acceptance by Non-Voting Classes                          45
      F.       Intercompany Interests                                                             45
      G.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
               Code                                                                               45
      H.       Controversy Concerning Impairment                                                  45
      I.       Subordinated Claims and Interests                                                  45

 ARTICLE IV. MEANS FOR IMPLEMENTATION OF THIS PLAN                                                46
      A.      General Settlement of Claims and Interests                                          46
      B.      Restructuring Transactions                                                          46
      C.      Reorganized Debtors                                                                 47
      D.      Sources of Consideration for Plan Distributions                                     47
      E.      Exemption from Registration Requirements and Certain DTC Matters.                   52
      F.      Corporate Existence                                                                 53
      G.      Vesting of Assets in the Reorganized Debtors                                        54
      H.      Cancelation of Existing Securities and Agreements                                   54
      I.      Corporate Action                                                                    55
      J.      New Corporate Governance Documents                                                  56
      K.      Challenges.                                                                         56
      L.      Section 1146 Exemption                                                              57
      M.      Management Incentive Plan                                                           57
      N.      Employee and Retiree Benefits                                                       57
      O.      Preservation of Causes of Action                                                    58


                                                   i
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                  Desc Main
                               Document     Page 107 of 206



 ARTICLE V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                59
      A.     Assumption and Rejection of Executory Contracts and Unexpired Leases                59
      B.     Indemnification Obligations                                                         61
      C.     Claims Based on Rejection of Executory Contracts or Unexpired Leases                62
      D.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases               62
      E.     Preexisting Obligations to the Debtors under Executory Contracts and Unexpired
             Leases                                                                              64
      F.     Insurance Contracts                                                                 64
      G.     Reservation of Rights                                                               65
      H.     Nonoccurrence of Effective Date                                                     65
      I.     Employee Compensation and Benefits                                                  66
      J.     Intellectual Property Licenses and Agreements                                       67
      K.     Contracts and Leases Entered into after the Petition Date                           67

 ARTICLE VI. PROVISIONS GOVERNING DISTRIBUTIONS                                                  67
      A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date   67
      B.      Disbursing Agent                                                                   68
      C.      Rights and Powers of Disbursing Agent                                              68
      D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions             68
      E.      Manner of Payment                                                                  70
      F.      Indefeasible Distributions                                                         71
      G.      Compliance with Tax Requirements                                                   71
      H.      Allocations                                                                        71
      I.      No Postpetition Interest on Claims                                                 71
      J.      Foreign Currency Exchange Rate                                                     72
      K.      Preservation of Setoffs and Recoupment                                             72
      L.      Claims Paid or Payable by Third Parties                                            72

 ARTICLE VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
 DISPUTED CLAIMS                                                                                 73
       A.     Disputed Claims Process                                                            73
       B.     Allowance of Claims                                                                73
       C.     Claims Administration Responsibilities                                             74
       D.     Estimation of Claims and Interests                                                 74
       E.     Disputed Claims Reserve                                                            75
       F.     Adjustment to Claims or Interests without Objection                                75
       G.     Time to File Objections to Claims                                                  76
       H.     Disallowance of Claims or Interests                                                76
       I.     Amendments to Claims                                                               76
       J.     No Distributions Pending Allowance                                                 76
       K.     Distributions After Allowance.                                                     76
       L.     Single Satisfaction of Claims                                                      77

 ARTICLE VIII. SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS                           77
      A.       Discharge of Claims and Termination of Interests                                  77
      B.       Release of Liens                                                                  77
      C.       Releases by the Debtors                                                           78
      D.       Releases by the Releasing Parties                                                 79
      E.       Exculpation                                                                       81
      F.       Injunction                                                                        81
                                                    ii
Case 23-19865-JKS      Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39     Desc Main
                             Document     Page 108 of 206



        G.     Gatekeeper Provision                                               83
        H.     Protections Against Discriminatory Treatment                       83
        I.     Document Retention                                                 83
        J.     Reimbursement or Contribution                                      83

 ARTICLE IX. CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN                    84
      A.      Conditions Precedent to the Effective Date                          84
      B.      Waiver of Conditions                                                86
      C.      Effect of Failure of Conditions                                     86
      D.      Substantial Consummation                                            86

 ARTICLE X. MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN                  86
      A.     Modification and Amendments                                          86
      B.     Effect of Confirmation on Modifications                              87
      C.     Revocation or Withdrawal of Plan                                     87

 ARTICLE XI. RETENTION OF JURISDICTION                                            87

 ARTICLE XII. MISCELLANEOUS PROVISIONS                                            89
      A.      Immediate Binding Effect                                            89
      B.      Additional Documents                                                90
      C.      Statutory Committee and Cessation of Fee and Expense Payment        90
      D.      Reservation of Rights                                               90
      E.      Successors and Assigns                                              90
      F.      Notices                                                             90
      G.      Term of Injunctions or Stays                                        92
      H.      Entire Agreement                                                    92
      I.      Plan Supplement                                                     93
      J.      Nonseverability of Plan Provisions                                  93
      K.      Votes Solicited in Good Faith                                       93
      L.      Closing of Chapter 11 Cases                                         93
      M.      Waiver or Estoppel                                                  94




                                                 iii
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 109 of 206


                                            INTRODUCTION

         WeWork Inc. and the other above-captioned debtors and debtors-in-possession (collectively,
the “Debtors”) propose this joint chapter 11 plan of reorganization (together with any documents
comprising the Plan Supplement, and as amended, supplemented, or otherwise modified from time to
time, subject to the consent of the Required Consenting Stakeholders, and the Reasonable Consent of the
Creditors’ Committee, this “Plan”) for the resolution of the outstanding Claims against, and Interests in,
the Debtors. Capitalized terms used herein and not otherwise defined shall have the meanings ascribed to
such terms in Article I.A of this Plan. This Plan constitutes a single Plan for all of the Debtors. The
Debtors are the proponents of this Plan within the meaning of section 1129 of the Bankruptcy Code. The
classification of Claims and Interests set forth in Article III of this Plan shall be deemed to apply
separately with respect to each Debtor, as applicable, for the purpose of receiving distributions pursuant to
this Plan. While this Plan constitutes a single plan of reorganization for all Debtors, this Plan does not
contemplate substantive consolidation of any of the Debtors.

       Reference is made, and Holders of Claims or Interests may refer, to the accompanying Disclosure
Statement for a discussion on the Debtors’ history, businesses, assets, operations, historical financial
information, valuation, projections, risk factors, a summary and analysis of this Plan, the Restructuring
Transactions, and certain related matters.

      ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE DEBTORS, TO THE
EXTENT APPLICABLE, ARE ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE
STATEMENT IN THEIR ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.
ALL HOLDERS OF CLAIMS AND INTERESTS SHOULD REVIEW THE SECURITIES LAW
RESTRICTIONS AND NOTICES SET FORTH IN THIS PLAN (INCLUDING, WITHOUT
LIMITATION, UNDER ARTICLE IV HEREOF) IN FULL.

      THE ISSUANCE OF ANY SECURITIES REFERRED TO IN THIS PLAN SHALL NOT
CONSTITUTE AN INVITATION OR OFFER TO SELL, OR THE SOLICITATION OF AN
INVITATION OR OFFER TO BUY, ANY SECURITIES IN CONTRAVENTION OF APPLICABLE
LAW IN ANY JURISDICTION. NO ACTION HAS BEEN TAKEN, NOR WILL BE TAKEN, IN ANY
JURISDICTION THAT WOULD PERMIT A PUBLIC OFFERING OF ANY SECURITIES REFERRED
TO IN THIS PLAN (OTHER THAN SECURITIES ISSUED PURSUANT TO SECTION 1145 OF THE
BANKRUPTCY CODE IN A DEEMED PUBLIC OFFERING) IN ANY JURISDICTION WHERE
SUCH ACTION FOR THAT PURPOSE IS REQUIRED.

                                      ARTICLE I.
                       DEFINED TERMS, RULES OF INTERPRETATION,
                       COMPUTATION OF TIME, AND GOVERNING LAW

A.      Defined Terms.

        As used in this Plan, capitalized terms have the meanings set forth below.

        1.      “1L Equity Distribution” means the percentage of the Prepetition Secured Equity
Distribution equal to (a)(i) Total 1L Claims divided by (ii) Total 1L Claims plus Adjusted 2L Notes
Claims multiplied by (b)(i) 100.00% of the New Interests included in the Prepetition Secured Equity
Distribution minus (ii) the Drawn DIP TLC Equity Distribution.

       2.      “1L Indenture” means that certain First Lien Senior Secured PIK Notes Indenture, dated
as of May 5, 2023 (as amended by the First Supplemental Indenture, dated as of July 17, 2023, and the

                                                       1
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 110 of 206


Second Supplemental Indenture, dated as of August 25, 2023, and as may be further amended, amended
and restated, or otherwise supplemented from time to time), by and among the Issuers, the guarantors
party thereto from time to time, and U.S. Bank Trust Company, National Association (and any successor
thereto), as trustee and as collateral agent.

         3.      “1L Notes” means, collectively, (a) the 1L Series 1 Notes, (b) the 1L Series 2 Notes, and
(c) the 1L Series 3 Notes.

        4.      “1L Notes Claims” means any Claims arising under the 1L Notes.

        5.      “1L Pari Passu Intercreditor Agreement” means that certain Amended and Restated Pari
Passu Intercreditor Agreement, dated as of May 5, 2023 (as amended, restated, amended and restated,
supplemented, or otherwise modified from time to time prior to the Petition Date).

       6.         “1L Series 1 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series I, issued by the Issuers under the 1L Indenture.

        7.      “1L Series 1 Notes Claims” means any Claims arising under the 1L Series 1 Notes.

       8.         “1L Series 2 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series II, issued by the Issuers under the 1L Indenture.

        9.      “1L Series 2 Notes Claims” means any Claims arising under the 1L Series 2 Notes.

       10.       “1L Series 3 Notes” means those certain 15.00% First Lien Senior Secured PIK Notes due
2027, Series III, issued by the Issuers under the 1L Indenture.

        11.     “1L Series 3 Notes Claims” means any Claims arising under the 1L Series 3 Notes.

         12.     “1L/2L/3L Intercreditor Agreement” means that certain intercreditor agreement, dated as
of May 5, 2023 (as amended, restated, amended and restated, supplemented, or otherwise modified from
time to time prior to the Petition Date).

        13.      “2L Collateral Agency Agreement” means the Second Lien Collateral Agency Agreement
as defined in the Cash Collateral Orders.

        14.     “2L Equity Distribution” means the percentage of the Prepetition Secured Equity
Distribution equal to (a)(i) Adjusted 2L Notes Claims divided by (ii) Total 1L Claims plus Adjusted 2L
Notes Claims multiplied by (b)(i) 100.00% of the New Interests included in the Prepetition Secured Equity
Distribution minus (ii) the Drawn DIP TLC Equity Distribution.

         15.      “2L Exchangeable Indenture” means that certain Second Lien Exchangeable Senior
Secured PIK Notes Indenture, dated as of May 5, 2023 (as may be amended and restated, or otherwise
supplemented from time to time), by and among the Issuers, the guarantors party thereto from time to
time, and U.S. Bank Trust Company, National Association (and any successor thereto), as trustee and as
collateral agent.

       16.    “2L Exchangeable Notes” means those certain 11.00% Second Lien Exchangeable Senior
Secured PIK Notes due 2027 issued by the Issuers under the 2L Exchangeable Indenture.




                                                     2
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 111 of 206


          17.   “2L Exchangeable Notes Claims” means any Claims arising under the 2L Exchangeable
Notes.

        18.    “2L Indenture” means that certain Second Lien Senior Secured PIK Notes Indenture,
dated as of May 5, 2023 (as may be amended and restated, or otherwise supplemented from time to time),
by and among the Issuers, the guarantors party thereto from time to time, and U.S. Bank Trust Company,
National Association (and any successor thereto), as trustee and as collateral agent.

          19.   “2L Notes” means, collectively, the 2L Secured Notes and the 2L Exchangeable Notes.

          20.   “2L Notes Claims” means any Claims arising under the 2L Notes.

       21.     “2L Secured Notes” means those certain 11.00% Second Lien Senior Secured PIK Notes
due 2027 issued by the Issuers under the 2L Indenture.

          22.   “2L Secured Notes Claims” means any Claims arising under the 2L Secured Notes.

        23.     “3L/Unsecured Notes Trustee Expenses” means the reasonable and documented
professional fees and expenses of the 3L Notes Trustee and the Unsecured Notes Trustee not previously
paid by, or on behalf of, the Debtors; provided that such amounts shall not exceed $1,750,000.00 in total.

          24.   “3L Collateral Agency Agreement” has the meaning ascribed to it in the Cash Collateral
Orders.

        25.      “3L Exchangeable Indenture” means that certain Third Lien Exchangeable Senior
Secured PIK Notes Indenture, dated May 5, 2023 (as may be amended, amended and restated, or
otherwise supplemented from time to time), by and among the Issuers, the guarantors party thereto from
time to time, and U.S. Bank Trust Company, National Association (and any successor thereto), as trustee
and as collateral agent.

       26.    “3L Exchangeable Notes” means those certain 12.00% Third Lien Exchangeable Senior
Secured PIK Notes due 2027 issued by the Issuers under the 3L Exchangeable Indenture.

        27.     “3L Exchangeable Notes Claims” means any Claims arising under the 3L Exchangeable
Indenture.

        28.     “3L Indenture” means that certain Third Lien Senior Secured PIK Notes Indenture, dated
May 5, 2023 (as may be amended, amended and restated, or otherwise supplemented from time to time),
by and among the Issuers, the guarantors party thereto from time to time, CSC Delaware Trust Company
(as successor to U.S. Bank Trust Company, National Association), as trustee, and U.S. Bank Trust
Company, National Association, as collateral agent.

          29.   “3L Notes” means, collectively, the 3L Exchangeable Notes and the 3L Secured Notes.

          30.   “3L Notes Claims” means any Claims arising under the 3L Notes.

          31.   “3L Notes Trustee” means the trustee under the 3L Indenture.

       32.     “3L Secured Notes” means those certain 12.00% Third Lien Senior Secured PIK Notes
due 2027 issued by the Issuers under the 3L Indenture.



                                                     3
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                  Document     Page 112 of 206


        33.      “5.00% Unsecured Notes” means those certain 5.00% Senior Notes due 2025, Series II,
issued by the Issuers under the 5.00% Unsecured Notes Indenture.

       34.      “5.00% Unsecured Notes Indenture” means that certain Amended and Restated Senior
Notes Indenture, dated as of December 16, 2021 (as it may be amended, supplemented, or otherwise
modified from time to time), by and among the Issuers, the guarantors from time to time party thereto, and
Computershare Trust Company, National Association (as successor to U.S. Bank Trust Company,
National Association, as successor to U.S. Bank National Association, as successor to Wells Fargo Bank,
National Association), as trustee.

        35.     “7.875% Unsecured Notes” means those certain 7.875% Senior Notes due 2025 issued by
Issuers under the 7.875% Unsecured Notes Indenture.

        36.     “7.875% Unsecured Notes Indenture” means that certain Senior Notes Indenture, dated of
April 30, 2018 (as it may be amended, supplemented, or otherwise modified from time to time), by and
among Issuers, the guarantors from time to time party thereto, and Computershare Trust Company,
National Association (as successor to U.S. Bank Trust Company, National Association, as successor to
U.S. Bank National Association, as successor to Wells Fargo Bank, National Association), as trustee.

         37.     “9019 Order” means the Order (I) Approving (A) the Settlement Between the Debtors and
the Ad Hoc Unsecured Noteholder Group and (B) The Opt-In Procedures Applicable to the Settlement
(II) Authorizing the Debtors to Perform All of Their Obligations Thereunder and (III) Granting Related
Relief [Docket No. 1966].

        38.     “Ad Hoc Group” means the ad hoc group of Holders (or beneficial owners) of, or
investment advisors, sub-advisors, or managers of discretionary accounts or funds that hold (or
beneficially own), Secured Notes Claims, and that is represented by the Ad Hoc Group Professionals.

        39.    “Ad Hoc Group Professionals” means Davis Polk & Wardwell LLP, as counsel, Ducera
Partners LLC, as financial advisor, Greenberg Traurig, LLP, as local co-counsel, Freshfields Bruckhaus
Deringer LLP, as foreign co-counsel, and any other special or local counsel or advisors providing advice
to the Ad Hoc Group in connection with the Restructuring Transactions.

       40.    “Ad Hoc Unsecured Noteholder Group” means that certain group of Holders of
Unsecured Notes identified by the Verified Statement of the Ad Hoc Group of Holders of WeWork’s
Unsecured Notes Pursuant to Bankruptcy Rule 2019 [Docket No. 1149].

       41.    “Ad Hoc Unsecured Noteholder Group Expenses” means $1,000,000.00, payable to the
Ad Hoc Unsecured Noteholder Group (in consideration of the fees and expenses of the Ad Hoc Unsecured
Noteholder Group Professionals) pursuant to the 9019 Order.

        42.    “Ad Hoc Unsecured Noteholder Group Professionals” means Brown Rudnick LLP and
McCarter & English, LLP, as co-counsel, providing advice to the Ad Hoc Unsecured Noteholder Group in
connection with the Chapter 11 Cases.

        43.    “Adequate Protection Supplemental Distribution” means the New Interests to be issued to
the SoftBank Parties on the Effective Date comprising approximately 2.90%2 of the New Interests, which
would have otherwise been allocated to the DIP New Money Lenders (other than the DIP New Money


2   This number remains subject to further adjustment based on final reconciliation of Claim amounts.


                                                          4
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 113 of 206


AHG Lenders and the DIP New Money Joining Lenders) pursuant to the New Money Equity Distribution
and shall instead be issued to the SoftBank Parties on account of the waiver of their Adequate Protection
Obligations and Adequate Protection Claims (other than First Lien Adequate Protection Fees and
Expenses) (in each case, as defined in the Cash Collateral Final Order) under the Plan. For the avoidance
of doubt, the New Interests issued as the Adequate Protection Supplemental Distribution shall be subject
to dilution on the same terms as the New Interests issued to the DIP New Money AHG Lenders on the
Effective Date or as otherwise modified by the Required Consenting Stakeholders.

        44.      “Adjusted 2L Notes Claims” means the total aggregate amount of 2L Notes Claims
excluding, for the avoidance of doubt, any postpetition interest or fees, multiplied by 70.00%.

         45.    “Administrative Claim” means a Claim against any of the Debtors arising on or after the
Petition Date and before the Effective Date for a cost or expense of administration of the
Chapter 11 Cases pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code,
including: (a) the actual and necessary costs and expenses of preserving the estates and operating the
businesses of the Debtors incurred on or after the Petition Date and through the Effective Date;
(b) Allowed DIP Administrative Claims; (c) Allowed Professional Fee Claims; (d) the Restructuring
Expenses; (e) all fees and charges assessed against the Estates under chapter 123 of the Judicial Code; and
(f) any adequate protection claims provided for in the Cash Collateral Orders.

        46.     “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
Administrative Claims, which shall be (a) 30 days after the Effective Date for Administrative Claims other
than Professional Fee Claims and (b) 45 days after the Effective Date for Professional Fee Claims.

        47.     “Administrative Claims Objection Bar Date” means the deadline for Filing objections to
requests for payment of Administrative Claims required to File a Proof of Claim form, which shall be the
first Business Day that is 60 days following the Effective Date; provided that the Administrative Claims
Objection Bar Date may be extended by the Bankruptcy Court after notice and a hearing.

       48.     “Adyen” means Adyen NV, Simon Carmiggel Tsraat 6-50, 5th Floor, 1011 DJ,
Amsterdam, the Netherlands.

        49.     “Adyen LC Equity Distribution” means the percentage of New Interests equal to (i) new
shares issued, calculated as the aggregate amount of the Adyen LC divided by a conversion price of
$20.00 divided by (ii) total shares outstanding post-equitization, with such percentage to be subject to
dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, Exit LC
SoftBank Cash Collateral Equity Distribution, the DIP TLC Fee Equity Distribution, and the Exit LC
Lender Fees.

         50.     “Adyen LCs” means, collectively (i) that certain amended standby letter of credit with the
number 40000427 issued on March 6, 2024, by Goldman Sachs International Bank for the benefit Adyen,
and (ii) that certain standby letter of credit with the number EGBLNS007923-EGS00792300 issued on
March 25, 2024, by JPMorgan, for the benefit of Adyen.

        51.     “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy Code. With
respect to any Person that is not a Debtor, the term “Affiliate” shall apply to such Person as if the Person
were a Debtor. “Affiliated” has a correlative meaning.




                                                      5
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 114 of 206


        52.     “Agent” means any collateral agent or trustee, administrative agent, lien agent, term agent,
indenture trustee, or similar Entity under the Prepetition LC Credit Agreement, Indentures, DIP
Documents, Exit LC Facility Documents, or similar agreements, including any successors thereto.

        53.    “Agent Professionals” means any counsel or advisors providing advice to the Agents in
connection with the Restructuring Transactions.

         54.     “Aggregate Exit LC Cash Collateral” means the cash collateral supporting the Rolled
Undrawn DIP TLC Claims (including any required associated “overcollateralization” necessary to provide
the requisite letter of credit collateralization for the Exit LC Facility as contemplated in the Exit LC
Facility Documents).

         55.      “Allowed” means, with respect to a Claim or Interest, any Claim or Interest (or portion
thereof) against any Debtor that, except as otherwise provided in this Plan: (a) is evidenced by a Proof of
Claim or Proof of Interest or request for payment of an Administrative Claim, as applicable, that is Filed
on or before the applicable Claims Bar Date; (b) is not listed in the schedules as contingent, unliquidated,
or disputed, and for which no contrary or superseding Proof of Claim, as applicable, has been timely
Filed; (c) is allowed, compromised, settled, or otherwise resolved pursuant to the terms of this Plan, in a
Final Order of the Bankruptcy Court, in any stipulation that is approved by a Final Order of the
Bankruptcy Court, or pursuant to any contract, instrument, indenture, or other agreement entered into or
assumed in connection herewith. For the avoidance of doubt, any Claim or Interest (or portion thereof),
that has been disallowed pursuant to a Final Order shall not be an “Allowed” Claim; provided that, with
respect to a Claim or Interest described in clauses (a) and (b) above, such Claim or Interest shall be
considered Allowed only if, and to the extent that, it is not Disputed and the period to object to such Claim
or Interest has expired. Any Claim that has been or is hereafter listed in the schedules as contingent,
unliquidated, or disputed, and for which no Proof of Claim is or has been timely Filed, is not considered
Allowed and shall be expunged without further action by the Debtors and without further notice to any
party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary
herein, no Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed
unless and until such Entity pays in full the amount that it owes such Debtor or Reorganized Debtor, as
applicable. Any Claim or Interest that has been or is hereafter categorized as contingent, unliquidated, or
Disputed, and for which no Proof of Claim or Proof of Interest, as applicable, is or has been timely Filed,
is not considered Allowed, as set forth in this Plan and the Confirmation Order. For the avoidance of
doubt, a Proof of Claim or Proof of Interest Filed after the applicable Claims Bar Date shall not be
Allowed for any purposes whatsoever absent entry of a Final Order allowing such late-Filed Claim.
“Allow,” “Allowing,” and “Allowance” shall have correlative meanings.

       56.       “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or other Claims and Causes of Action, or remedies that may be brought by, or on behalf of,
the Debtors or their Estates or other authorized parties in interest under the Bankruptcy Code or applicable
non-bankruptcy Law, including Claims, Causes of Action, or remedies arising under chapter 5 of the
Bankruptcy Code or under similar Law.

      57.      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time.

        58.     “Bankruptcy Court” means the United States Bankruptcy Court for the District of New
Jersey presiding over the Chapter 11 Cases, or any other court having jurisdiction over the Chapter 11
Cases, including, to the extent of the withdrawal of reference under 28 U.S.C. §§ 157 and 1334 and the




                                                      6
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 115 of 206


Standing Order of Reference to the Bankruptcy Court Under Title 11 of the United States District Court
for the District of New Jersey pursuant to 28 U.S.C. § 151.

        59.     “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure promulgated under
section 2075 of the Judicial Code and the general, local, and chambers rules of the Bankruptcy Court,
each, as amended from time to time.

        60.    “Bar Date Order” means the Order (I) Setting Bar Dates for Submitting Proofs of Claim,
Including Requests for Payment Under Section 503(B)(9) of the Bankruptcy Code; (II) Establishing an
Amended Schedules Bar Date, a Rejection Damages Bar Date, and a Stub Rent Bar Date; (III) Approving
the Form, Manner, and Procedures for Filing Proofs of Claim; (IV) Approving Notices Thereof; and
(V) Granting Related Relief [Docket No. 1285] (as amended, modified, or supplemented from time to time
in accordance with the terms thereof).

        61.    “Business Day” means any day other than a Saturday, Sunday, a “legal holiday” (as
defined in Bankruptcy Rule 9006(a)), or other day on which commercial banks are authorized to close
under the Laws of, or are in fact closed in, the state of New York or country of Japan.

        62.     “Cash” means cash in legal tender of the United States of America and cash equivalents,
including bank deposits, checks, and other similar items.

        63.     “Cash Collateral Documents” means the Cash Collateral Orders, the Cash Collateral
Motion, any collateral, security, or other documentation related thereto, and any budgets (including initial
and subsequent budgets) related thereto, which shall constitute “Definitive Documents” under, and be
subject to and consistent in all respects with, the RSA, including the consent rights set forth therein, and
as may be modified, supplemented, or amended in accordance with the RSA.

         64.      “Cash Collateral Final Order” means the Final Order (I) Authorizing the Debtors to Use
Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties, (III) Modifying the
Automatic Stay and (IV) Granting Related Relief [Docket No. 428], which shall constitute a “Definitive
Document” under, and be subject to and consistent in all respects with, the RSA, including the consent
rights set forth therein, and as may be modified, supplemented, or amended in accordance with the RSA.

        65.     “Cash Collateral Interim Order” means the Interim Order (I) Authorizing the Debtors to
Use Cash Collateral, (II) Granting Adequate Protection to the Prepetition Secured Parties,
(III) Modifying the Automatic Stay and (IV) Granting Related Relief [Docket No. 103], which shall
constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA,
including the consent rights set forth therein, and as may be modified, supplemented, or amended in
accordance with the RSA.

        66.      “Cash Collateral Motion” means the Debtors’ Motion for Entry of Interim and Final
Orders (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Related Adequate Protection to
the Prepetition Secured Parties, (III) Scheduling a Final Hearing, (IV) Modifying the Automatic Stay, and
(V) Granting Related Relief [Docket No. 43], which shall constitute a “Definitive Document” under, and
be subject to and consistent in all respects with, the RSA, including the consent rights set forth therein,
and as may be modified, supplemented, or amended in accordance with the RSA.

       67.     “Cash Collateral Orders” means, collectively, the Cash Collateral Interim Order, the
Cash Collateral Final Order, and any other orders entered in the Chapter 11 Cases authorizing the
Debtors’ use of cash collateral, which shall constitute “Definitive Documents” under, and be subject to



                                                      7
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 116 of 206


and consistent in all respects with, the RSA, including the consent rights set forth therein, and as may be
modified, supplemented, or amended in accordance with the RSA.

          68.     “Causes of Action” means, collectively, any and all claims, interests, controversies,
actions, proceedings, reimbursement claims, contribution claims, recoupment rights, debts, third-party
claims, indemnity claims, damages, remedies, causes of action, demands, rights, suits, obligations,
liabilities, accounts, judgments, defenses, offsets, powers, privileges, licenses, franchises, Liens,
guaranties, Avoidance Actions, agreements, counterclaims, and cross-claims, of any kind or character
whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
disputed or undisputed, asserted or unasserted, direct or indirect, assertable directly or derivatively, choate
or inchoate, reduced to judgment or otherwise, secured or unsecured, whether arising before, on, or after
the Petition Date, in tort, Law, equity, or otherwise pursuant to any theory of civil Law (whether local,
state, or federal U.S. Law or non-U.S. Law). Causes of Action also include: (a) all rights of setoff,
counterclaim, or recoupment and claims under contracts or for breaches of duties imposed by Law or in
equity; (b) any Claim (whether under local, state, federal U.S. Law or non-U.S. civil Law) based on or
relating to, or in any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary
duty, fraudulent transfer or fraudulent conveyance or voidable transaction Law, violation of local, state, or
federal non-U.S. Law or breach of any duty imposed by Law or in equity, including securities Laws and
negligence; (c) the right to object to or otherwise contest Claims or Interests and any Claim Objections;
(d) claims pursuant to section 362 or chapter 5 of the Bankruptcy Code; and (e) such claims and defenses
as fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the Bankruptcy
Code.

        69.     “Chapter 11 Cases” means: (a) when used with reference to a particular Debtor, the case
pending for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court; and (b) when
used with reference to all Debtors, the procedurally consolidated and jointly administered chapter 11 cases
pending for the Debtors in the Bankruptcy Court.

        70.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code, against
any of the Debtors.

        71.     “Claim Objection” means an objection to the allowance of a Claim as set forth in
section 502 of the Bankruptcy Code, Bankruptcy Rule 3007, and/or any order of the Bankruptcy Court
regarding omnibus claims objections.

         72.     “Claims Agent” means Epiq Corporate Restructuring, LLC, the notice, claims, and
solicitation agent retained by the Debtors in the Chapter 11 Cases [Docket No. 91].

        73.      “Claims Bar Date” means the applicable deadline by which Proofs of Claim must be
Filed, as established by: (a) the Bar Date Order; (b) a Final Order of the Bankruptcy Court; or (c) this
Plan.

         74.      “Claims Register” means the official register of Claims maintained by the Claims Agent
or the clerk of the Bankruptcy Court.

         75.    “Class” means a class of Claims or Interests as set forth in Article III of this Plan pursuant
to section 1122(a) and 1123(a)(1) of the Bankruptcy Code.

        76.    “Combined Hearing” means the combined hearing held by the Bankruptcy Court to
consider Confirmation, pursuant to Bankruptcy Rules 3017 and 3020(b)(2) and sections 1125, 1128, and


                                                       8
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                               Document     Page 117 of 206


1129 of the Bankruptcy Code, and final approval of the Disclosure Statement, as such hearing may be
continued from time to time.

        77.      “Compensation and Benefits Programs” means all employment, change-in-control
agreements, and severance agreements and policies, and all employment, wages, compensation, and
benefit plans and policies, staffing agencies and independent contractor obligations, retirement plans,
savings plans, bonus and incentive programs (whether cash or equity based), reimbursable expenses, paid
leave benefits, retention programs, additional benefits programs (including any fringe benefits or
perquisites), payroll vendor obligations, healthcare plans, disability plans, COBRA plans, severance
benefit plans and payments, life and accidental death and dismemberment insurance plans and programs,
for all employees of the Debtors, and all amendments and modifications thereto, applicable to the
Debtors’ employees, former employees, retirees, and non-employee directors and managers, in each case
existing with the Debtors as of immediately prior to the Effective Date.

        78.     “Confirmation” means the Bankruptcy Court’s entry of the Confirmation Order on the
docket of the Chapter 11 Cases.

       79.    “Confirmation Date” means the date upon which the Bankruptcy Court enters the
Confirmation Order on the docket of the Chapter 11 Cases within the meaning of Bankruptcy Rules 5003
and 9021.

        80.     “Confirmation Order” means the order entered by the Bankruptcy Court confirming this
Plan and approving the Disclosure Statement on a final basis, pursuant to sections 1125 and 1129 of the
Bankruptcy Code, which shall be subject to the consent of the Required Consenting Stakeholders and the
Reasonable Consent of the Creditors’ Committee, and shall constitute a “Definitive Document” under, and
be subject to and consistent in all respects with, the RSA.

       81.     “Consenting Stakeholders” has the meaning set forth in the RSA.

       82.     “Consummation” means the occurrence of the Effective Date.

        83.    “Controlled Subsidiary” means any subsidiary controlled by the Debtors in a manner that
allows the Debtors to legally control whether such subsidiary initiates an Insolvency Proceeding.

        84.      “Corporate Governance Term Sheet” means that certain corporate governance term sheet
included in the Plan Supplement and setting forth the terms of the New Corporate Governance Documents
(as may be modified, supplemented, or amended in accordance with the terms hereof, thereof, and the
RSA), which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute
a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        85.    “Court-Ordered Cure Obligation” means, as determined and ordered by the Bankruptcy
Court, any Cure Obligation with respect to any Executory Contract or Unexpired Lease that varies from
the Cure Obligations set forth in the Schedule of Assumed Executory Contracts and Unexpired Leases.

        86.     “Creditors’ Committee” means the statutory committee of unsecured creditors appointed
in the Chapter 11 Cases pursuant to section 1102 of the Bankruptcy Code by the U.S. Trustee pursuant to
the Notice of Appointment of Official Committee of Unsecured Creditors [Docket No. 150] on November
16, 2023, as may be reconstituted from time to time.

      87.      “Creditors’ Committee Member” means each Entity that is a member of the Creditors’
Committee, solely in its capacity as such.


                                                    9
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 118 of 206


        88.     “Creditors’ Committee Member Expenses” means the professional fees and expenses of
the Creditors’ Committee Members, other than the Unsecured Notes Trustee and 3L Notes Trustee, not to
exceed $650,000.00 in the aggregate.

        89.     “Cupar” means Cupar Grimmond, LLC, a Delaware limited liability company.

        90.     “Cupar Professionals” means Cooley LLP, as counsel, and Piper Sandler & Co., as
financial advisor, and any other advisors providing advice in connection with the Restructuring
Transactions and pursuant to an engagement letter approved by the Debtors in their discretion in
consultation with the Required Consenting Stakeholders.

       91.     “Cure Claim” means a monetary Claim based upon any Debtor’s defaults under an
Executory Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the parties
under an Executory Contract or Unexpired Lease) that is required to be cured pursuant to section 365 of
the Bankruptcy Code.

        92.     “Cure Obligation” means, collectively, all (a) Cure Claims and (b) other obligations
required to cure any non-monetary defaults (the performance required to cure such non-monetary defaults
and the timing of such performance will be described in reasonable detail in a notice of proposed
assumption and assignment) under any Executory Contract or Unexpired Lease that is to be assumed by
the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

        93.      “D&O Liability Insurance Policies” means all Insurance Contracts (including any “tail
policy”) issued at any time covering any of the Debtors’ current or former directors’, managers’, officers’,
and/or employees’ liability.

         94.     “Debt Documents” means, collectively, the Prepetition LC Facility Documents, the Notes,
the Indentures, the 1L/2L/3L Intercreditor Agreement, the 1L Pari Passu Intercreditor Agreement,
the 2L Collateral Agency Agreement, the 3L Collateral Agency Agreement, the DIP Documents, the Cash
Collateral Documents, and any other agreements, instruments, pledge agreements, intercreditor
agreements, guaranties, fee letters, control agreements, supplements, and other ancillary documents
related thereto (including any security agreements, intellectual property security agreements, or notes) (as
amended, restated, supplemented, waived, and/or modified from time to time).3

         95.     “Debtor Release” means the release given by the Debtors to the Released Parties as set
forth in Article VIII.C of this Plan.

         96.    “Definitive Chapter 11 Documents” means all agreements, instruments, pleadings, orders,
forms, questionnaires, and other documents (including all exhibits, schedules, supplements, appendices,
annexes, instructions, and attachments thereto) that are utilized to implement, effectuate, or that otherwise
relate to, the Restructuring Transactions, including: (a) the DIP Documents; (b) the Cash Collateral
Documents, (c) the Exit LC Facility Documents; (d) the New Corporate Governance Documents; (e) any
documents in connection with any First Day Pleadings or “second day” pleadings and all orders sought
pursuant thereto (including the First Day Pleadings) and First Day Orders; (f) this Plan; (g) the
Confirmation Order and any pleadings Filed by the Debtors in support of entry thereof; (h) the Disclosure
Statement and Solicitation Materials (including any motion seeking either approval of the Disclosure
Statement or combined or conditional approval of the Disclosure Statement and/or Plan);


3   For the avoidance of doubt, “Exit LC Facility Documents” should not be considered “Debt Documents” for
    purposes of this definition.


                                                      10
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 119 of 206


(i) the Disclosure Statement Order; (j) any “key employee” retention or incentive plan and any motion or
order related thereto; (k) the Restructuring Transactions Exhibit and Ruling Request, if any; (l) the Plan
Supplement; (m) any material agreements, settlements, motions, pleadings, briefs, applications, orders,
and other filings with the Bankruptcy Court with respect to the rejection, assumption and/or assumption
and assignment of Executory Contracts and/or Unexpired Leases; (n) if applicable, any sale order and any
other motions, proposed orders, and definitive documentation, including any purchase agreement or
procedures, related to the sale of all or substantially all of the assets of the Debtors taken as a whole;
(o) the 9019 Order; (p) any other material (with materiality determined in the reasonable discretion of the
Debtors subject to the consent of the Required Consenting Stakeholders) agreements, settlements,
applications, motions, pleadings, briefs, orders, and other filings with the Bankruptcy Court (including any
documentation related to any equity or debt investment or offering with respect to any Debtors) that may
be reasonably necessary or advisable to implement the Restructuring Transactions; and (q) any pleadings
that impose or seek authority to impose sell-down orders or restrictions on the ability of the Consenting
Stakeholders or other parties to trade any of the Debtors’ securities, each of which shall be subject to the
consent of the Required Consenting Stakeholders and shall constitute a “Definitive Document” under, and
be subject to and consistent in all respects with, the RSA, as may be modified, supplemented, or amended
in accordance with the RSA and subject to the consent of the Required Consenting Stakeholders.

        97.     “Definitive Documents” means, collectively, the Definitive Chapter 11 Documents and the
Definitive Insolvency Documents, which shall be consistent in all respects with the RSA and subject to
the consent of the Required Consenting Stakeholders; provided that notwithstanding anything to the
contrary herein, any monthly or quarterly operating reports, retention applications, fee applications, fee
statements, and declarations in support thereof or related thereto shall not constitute Definitive
Documents.

        98.      “Definitive Insolvency Documents” means all agreements, instruments, pleadings, orders,
forms, questionnaires, and other documents (including all exhibits, schedules, supplements, appendices,
annexes, instructions, and attachments thereto) that are utilized to implement or effectuate, or that
otherwise relate to, the Restructuring Transactions, in connection with any Insolvency Proceeding other
than the Chapter 11 Cases, each of which shall be (except as otherwise set forth herein) subject to the
consent of the Required Consenting Stakeholders, including: (a) a certified copy of the decision
commencing such Insolvency Proceeding or any analogous procedure under applicable law; (b) where
applicable, an order of the relevant court in which each Insolvency Proceeding has been filed, giving
orders for directions with respect to, among other things (if applicable), the convening of creditor and/or
member meetings to vote on the relevant Foreign Plan; (c) any Foreign Plan; (d) where applicable, an
order of the relevant court in which each Insolvency Proceeding has been filed sanctioning the relevant
Foreign Plan; and (e) any other material document, deed, agreement, Filing, notification, letter, or
instrument necessary or desirable entered into by a Debtor or Consenting Stakeholder in connection with
the relevant Foreign Plan or Insolvency Proceeding and referred to in (a) above (including, for the
avoidance of doubt, documents described in the explanatory statement relevant to any Insolvency
Proceeding); provided that each of the foregoing shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA, as may be modified, supplemented, or amended only in
accordance with the RSA subject to the consent of the Required Consenting Stakeholders.

         99.    “DIP Administrative Claim” means any DIP TLC Fee Claim and any DIP New Money
Claim.

         100.   “DIP Agents” means, collectively, the DIP LC/TLC Agent and the DIP New Money
Agent.



                                                     11
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 120 of 206


     101.    “DIP Agreements” means, collectively, the DIP LC/TLC Credit Agreement and the DIP
New Money Credit Agreements.

      102.     “DIP Claim” means, any and all Claims arising under the DIP Documents, including the
DIP Administrative Claims, the Drawn DIP TLC Claims, and the Undrawn DIP TLC Claims.

        103. “DIP Documents” means, collectively, the DIP LC/TLC Documents, the DIP Orders, and
the DIP New Money Documents.

      104.  “DIP Facilities” means, collectively, the DIP LC Facility, the DIP TLC Facility, and the
DIP New Money Facilities.

        105.    “DIP LC Facility” means that certain senior secured, first priority cash collateralized
debtor-in-possession “first out” letter of credit facility provided by the DIP LC Issuers in an aggregate
amount not to exceed $650,000,000 on the terms of, and subject to the conditions set forth in, the DIP
LC/TLC Credit Agreement and approved by the Bankruptcy Court pursuant to the DIP LC/TLC Order.

        106.    “DIP LC Issuers” Goldman Sachs International Bank and JPMorgan Chase Bank, N.A.

       107.    “DIP LCs” means the letters of credit issued, rolled, replaced, reissued, amended,
extended, renewed, or otherwise continued by the DIP LC Issuers under the DIP LC Facility.

         108.    “DIP LC/TLC Agent” means, collectively, pursuant to the DIP LC/TLC Credit
Agreement, Goldman Sachs International Bank as senior LC facility administrative agent, shared
collateral agent, and additional collateral agent, JPMorgan as the additional collateral agent, SVF II as the
junior TLC facility administrative agent, and any of their successors or assigns.

         109.    “DIP LC/TLC Credit Agreement” means that certain senior secured debtor-in-possession
credit agreement (as the same may be amended, restated, amended and restated, supplemented, waived, or
otherwise modified from time to time) entered into as of December 19, 2023, by and among WeWork
Companies U.S. LLC, as borrower, Goldman Sachs International Bank, as senior LC facility
administrative agent, shared collateral agent, issuing bank, additional collateral agent, sole structuring
agent, joint lead arranger, joint bookrunner, JPMorgan, as issuing bank, additional collateral agent, joint
lead arranger, joint bookrunner, SVF II as junior TLC facility lender and junior TLC facility
administrative agent, SVF II GP (Jersey) Limited, as general partner of SVF II, and SB Global Advisors
Limited, as manager of SVF II.

        110.    “DIP LC/TLC Documents” means, collectively, the DIP LC/TLC Credit Agreement and
any other agreements, instruments, pledge agreements, guaranties, security agreements, control
agreements, notes, fee letters, and other Credit Documents (as defined in the DIP LC/TLC Credit
Agreement) and documents related thereto (as amended, restated, supplemented, waived, and/or modified
from time to time).

        111.    “DIP LC/TLC Order” means the Final Order (I) Authorizing the Debtors to Obtain
Postpetition Financing, (II) Granting Liens and Providing Claims with Superpriority Administrative
Expense Status, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No. 427].

     112.    “DIP Lenders” means, collectively, the DIP LC Issuers, the DIP TLC Lender, and the DIP
New Money Lenders.




                                                      12
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 121 of 206


      113.    “DIP New Money Agent” means the Agent in its capacity as such, under the DIP New
Money Credit Agreements.

        114.     “DIP New Money AHG Lenders” means those Tranche A Initial Commitment Parties
and/or their Related Funds (both as defined in the RSA) that are DIP New Money Lenders.

      115.  “DIP New Money Claims” means the DIP New Money Interim Facility Claims and the
DIP New Money Exit Facility Claims.

      116.     “DIP New Money Credit Agreements” means the DIP New Money Interim Facility Credit
Agreement and the DIP New Money Exit Facility Credit Agreement.

        117.    “DIP New Money Documents” means, collectively, the DIP New Money Interim Facility
Documents and the DIP New Money Exit Facility Documents (each as may be modified, supplemented, or
amended), which shall be subject to the consent of the Required Consenting Stakeholders and shall
constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

        118.     “DIP New Money Exit Facility” means a superpriority, senior secured and priming
debtor-in-possession term loan credit facility consisting of an aggregate principal amount of $400 million
term loans, as further described in the DIP New Money Exit Facility Documents.

       119.     “DIP New Money Exit Facility Claims” means any Claims on account of the
“Obligations” (as defined in the DIP New Money Exit Facility Documents, and including any interest,
premiums, fees, or other amounts owed thereunder) due or payable as of the Effective Date under the DIP
New Money Exit Facility Documents attributable to the DIP New Money Exit Facility.

        120.     “DIP New Money Exit Facility Credit Agreement” means the debtor-in-possession credit
agreement, to be entered into, as the same may be amended, restated, amended and restated,
supplemented, waived, or otherwise modified from time to time, as set forth in the Plan Supplement or the
DIP New Money Motion, as applicable, which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA.

         121.   “DIP New Money Exit Facility Documents” means, collectively, the DIP New Money Exit
Facility Credit Agreement and all agreements, documents, and instruments delivered or entered into in
connection with the DIP New Money Exit Facility.

     122.    “DIP New Money Facilities” means the DIP New Money Interim Facility and the DIP
New Money Exit Facility.

         123.    “DIP New Money Initial Commitment Premium” means 10% of the New Interests, subject
to dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the Exit LC
Lender Fees, the Adyen LC Equity Distribution, the Exit LC SoftBank Cash Collateral Equity
Distribution, and the DIP TLC Fee Equity Distribution.

        124.     “DIP New Money Interim Facility” means a superpriority, senior secured and priming
debtor-in-possession term loan credit facility consisting of an aggregate principal amount of $50 million
term loans, as further described in the DIP New Money Interim Facility Documents.

       125.     “DIP New Money Interim Facility Claims” means any Claims on account of the
“Obligations” (as defined in the DIP New Money Interim Facility Documents, and including any interest,


                                                    13
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                           Desc Main
                                  Document     Page 122 of 206


premiums, fees, or other amounts owed thereunder) due or payable as of the Effective Date under the DIP
New Money Interim Facility Documents attributable to the DIP New Money Interim Facility.

        126.     “DIP New Money Interim Facility Credit Agreement” means the debtor-in-possession
credit agreement, to be entered into, as the same may be amended, restated, amended and restated,
supplemented, waived, or otherwise modified from time to time, as set forth in the Plan Supplement or the
DIP New Money Motion, as applicable, which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA.

         127.    “DIP New Money Interim Facility Documents” means, collectively, the DIP New Money
Interim Facility Credit Agreement and any other agreements, instruments, pledge agreements, guaranties,
security agreements, control agreements, notes, fee letters, and documents related thereto (as amended,
restated, supplemented, waived, and/or modified from time to time).

        128.  “DIP New Money Joining Lenders” means the Holders of 1L Series 1 Notes Claims and
2L Secured Notes Claims that (a) are not the DIP New Money AHG Lenders and (b) elect to participate in
the DIP New Money Facilities.

       129.     “DIP New Money Lenders” means the lender(s), each in its capacity as such, under the
DIP New Money Facilities; provided that, subject to the consent of the Required Consenting Stakeholders,
each Holder of 1L Series 1 Notes Claims and 2L Secured Notes Claims is expected to be offered the
opportunity to participate in the DIP New Money Facilities.

        130.      “DIP New Money Motion” means any motion seeking approval of the DIP New Money
Order, the DIP New Money Facilities or any of the DIP New Money Documentsthe Debtors’ Motion for
Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain New Postpetition Financing,
(II) Granting Liens and Providing Claims Superpriority Administrative Expense Status, (III) Modifying
the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting Related Relief [Docket No. 1804],
as may be modified, supplemented, or amended, which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA.

        131.     “DIP New Money Orders” means any interim order or, collectively, the Interim Order
(I) Authorizing the Debtors to Obtain New Postpetition Financing, (II) Granting Liens and Providing
Claims Superpriority Administrative Expense Status, (III) Modifying the Automatic Stay, (IV) Scheduling
a Final Hearing, and (V) Granting Related Relief [Docket No. 1883] and any Final Order entered by the
Bankruptcy Court approving the DIP New Money FacilitiesMotion, each as may be modified,
supplemented, or amended, and each of which shall be subject to the consent of the Required Consenting
Stakeholders and shall constitute a “Definitive Document” under, and be subject to and consistent in all
respects with, the RSA.

         132.    “DIP New Money Supplemental Premium” means the New Interests to be issued to the
DIP New Money AHG Lenders on the Effective Date comprising approximately 6.90%4 of the New
Interests, which would have otherwise been allocated to the DIP New Money Lenders (other than the DIP
New Money AHG Lenders and the DIP New Money Joining Lenders) pursuant to the New Money Equity
Distribution, and shall instead be issued to the DIP New Money AHG Lenders in connection with the DIP
New Money Exit Facility as a premium for the DIP New Money AHG Lenders providing commitments

4   This number remains subject to further adjustment based on the final reconciliation of Claim amounts.


                                                         14
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 123 of 206


under the DIP New Money Exit Facility. For the avoidance of doubt, the New Interests issued as DIP
New Money Supplemental Premium shall be subject to dilution on the same terms as the New Interests
issued to the DIP New Money AHG Lenders on the Effective Date or as otherwise modified by the
Required Consenting Stakeholders.

        133.     “DIP Orders” means, collectively, the DIP LC/TLC Order and the DIP New Money
Orders, as may be modified, supplemented, or amended, which shall be subject to the consent of the
Required Consenting Stakeholders and shall constitute “Definitive Documents” under, and be subject to
and consistent in all respects with, the RSA.

         134.   “DIP TLC Claims” means all Claims of the DIP TLC Lender arising under, derived from,
or based upon the DIP LC/TLC Documents, including Claims for all Junior TLC Facility Credit
Document Obligations (as defined in the DIP LC/TLC Credit Agreement), including, but not limited to,
all principal amounts outstanding, interest, fees, expenses, costs, and other charges arising under the DIP
LC/TLC Credit Agreement.

        135.     “DIP TLC Facility” means that certain first priority debtor-in-possession “last out” term
loan C facility provided by the DIP TLC Lender in an aggregate principal amount of $671,237,045.94 on
the terms of, and subject to the conditions set forth in, the DIP LC/TLC Credit Agreement and approved
by the Bankruptcy Court pursuant to the DIP LC/TLC Order.

       136.    “DIP TLC Fee Claims” means any Claims arising from the fees and expenses owing to
the DIP TLC Lender under the DIP TLC Facility, including reasonable and documented professionals’
fees, which Claims are Allowed super-priority administrative expenses pursuant to the DIP LC/TLC
Order.

        137.     “DIP TLC Fee Equity Distribution” means the percentage of New Interests equal to
(i) new shares issued, calculated as the amount of DIP TLC Fee Claims divided by a conversion price of
$20.00 divided by (ii) total shares outstanding post-equitization, with such percentage to be subject to
dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, Adyen LC
Equity Distribution, Exit LC SoftBank Cash Collateral Equity Distribution, and the Exit LC Lender Fees.

        138.  “DIP TLC Lender” means SVF II in its capacity as the junior TLC facility lender under
the DIP TLC Facility.

         139.    “Disbursing Agent” means, as applicable, the Entity or Entities selected by (a) the
Debtors or the Reorganized Debtors, including, if applicable, the Agents under the relevant Indentures, or
(b) the UCC Settlement Trustee (or its designee), as applicable, to make or to facilitate distributions,
allocations, and/or issuances in accordance with, and pursuant to, this Plan, the Confirmation Order (as
applicable), the UCC Settlement Trust Documents (as applicable), the 9019 Order (as applicable), and the
Unsecured Notes Settlement (as applicable).

         140.    “Disclosure Statement” means the disclosure statement relating to this Plan, as may be
amended, supplemented, or modified from time to time, including all exhibits, schedules, appendices,
related documents, ballots, notices, and procedures related to the solicitation of votes to accept or reject
this Plan, in each case, as may be amended, supplemented, or modified from time to time, that is prepared
and distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any other applicable
Law, to be approved pursuant to the Disclosure Statement Order, each as may be modified, supplemented,
or amended, and which shall be subject to the consent of the Required Consenting Stakeholders and shall
constitute a “Definitive Document” under, and be subject to and consistent in all respects with, the RSA.



                                                     15
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 124 of 206


        141.    “Disclosure Statement Order” means the order (and all exhibits thereto), entered by the
Bankruptcy Court, conditionally approving the Disclosure Statement and the Solicitation Materials, and
allowing solicitation of this Plan to commence (each as may be modified, supplemented, or amended),
which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute a
“Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

         142.    “Disputed” means, as to a Claim or an Interest, any Claim or Interest (or portion thereof):
(a) that is not Allowed; (b) that is not disallowed by this Plan, the Bankruptcy Code, or a Final Order, as
applicable; and (c) with respect to which a party in interest has Filed a Proof of Claim or Proof of Interest
or otherwise made a written request to a Debtor for payment, without any further notice to or action,
order, or approval of the Bankruptcy Court.

        143.     “Distribution Date” means, except as otherwise set forth herein, or as provided by the
UCC Settlement or the UCC Settlement Trust Documents (as applicable), the date or dates determined by
the Debtors or the Reorganized Debtors, on or after the Effective Date, with the first such date occurring
on or as soon as is reasonably practicable after the Effective Date, subject to the requirements of any
Foreign Proceeding that satisfies the consent rights with respect thereto set forth in the RSA, upon which
the Disbursing Agent shall, as soon as reasonably practicable after receipt thereof, make distributions to
Holders of Allowed Claims and/or Allowed Interests (as and if applicable) entitled to receive distributions
under this Plan.

        144.    “Distribution Record Date” means the record date for purposes of determining which
Holders of Allowed Claims against or Allowed Interests in the Debtors are eligible to receive distributions
under this Plan, which date shall be the Confirmation Date, or such other date as determined by the
Debtors and the Required Consenting Stakeholders. The Distribution Record Date shall not apply to
Securities of the Debtors deposited with DTC or another similar securities depository (including the
applicable Notes), the Holders of which shall receive a distribution in accordance with Article VI of this
Plan and, to the extent applicable, the 9019 Order, the UCC Settlement Trust Documents, and the
customary procedures of DTC or another similar securities depository.

        145.     “Drawn DIP TLC Claims” means a portion of the DIP TLC Claims in an amount equal to
the principal face amount due or payable under the DIP LC Facility attributable to DIP LCs that have been
drawn prior to the Effective Date, including any fees or other amounts cash collateralized and actually
paid to the DIP LC Issuers from the LC Cash Collateral Account (as defined in the DIP LC/TLC Credit
Agreement), to the extent the beneficiary thereof has not returned the proceeds of such draw to such LC
Cash Collateral Account (or such proceeds do not otherwise constitute Cash held in such LC Cash
Collateral Account) prior to the Effective Date.

        146.    “Drawn DIP TLC Equity Distribution” means a percentage of the Prepetition Secured
Equity Distribution equal to: the amount of Drawn DIP TLC Claims (i) divided by the sum of Total 1L
Claims, Drawn DIP TLC Claims, and Adjusted 2L Notes Claims and (ii) multiplied by 2.00.

        147.    “DTC” means The Depository Trust Company, a New York corporation.

        148.     “Effective Date” means the first Business Day after the Confirmation Order is entered on
which (a) all conditions precedent to the occurrence of the Effective Date set forth in Article IX.A of this
Plan have been satisfied or waived in accordance with Article IX.B of this Plan and (b) this Plan is
declared effective by the Debtors.

       149.   “Emergence Awards” means the awards that may be allocated on or prior to the Effective
Date as emergence grants to retain and recruit individuals selected to serve in key senior management


                                                      16
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 125 of 206


positions on or after the Effective Date, subject to the terms and conditions, including, but not limited to,
with respect to form, allocated percentage of the MIP, structure, and vesting, as more fully set forth in the
Plan Supplement and subject to the consent of the Required Consenting Stakeholders.

        150.    “Entity” has the meaning set forth in section 101(15) of the Bankruptcy Code.

       151.    “Estate” means as to each Debtor, the estate created for such Debtor in its Chapter 11
Case pursuant to section 541 of the Bankruptcy Code upon the commencement of such Debtor’s
Chapter 11 Case.

        152.   “Excess DIP TLC Claims” means the portion of the DIP TLC Claims in an amount equal
to the DIP TLC Claims minus the Drawn DIP TLC Claims minus the Rolled Undrawn DIP TLC Claims.

        153.    “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the
Debtors; (b) the Reorganized Debtors; (c) the Creditors’ Committee; (d) the Creditors’ Committee
Members; and (e) with respect to each of the foregoing Entities in clauses (a) through (b), each of the
Related Parties of such Entity; provided that notwithstanding the foregoing, the individuals listed in the
Released Parties Exception Schedule shall not be Exculpated Parties.

         154.     “Executory Contract” means a contract to which one or more of the Debtors is a party and
that is subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code, including any
modifications, amendments, addenda, or supplements thereto or restatements thereof.

       155.    “Existing Board Members” means each member of the board of directors (or similar
governing body, if applicable) of the Debtors who holds such position between the Petition Date and
immediately prior to the Effective Date.

         156.  “Exit LCs” means the letters of credit issued, rolled, replaced, reissued, amended,
extended, renewed, or otherwise continued by the Exit LC Facility Issuing Banks under the Exit LC
Facility.

         157.    “Exit LC Assigned Cash Collateral” means the 37.5% of the Aggregate Exit LC Cash
Collateral (which shall not be less than 37.5% of the face amount of the associated Exit LCs supported by
the Exit LC Facility as of the Effective Date) but excluding any associated “overcollateralization”
required by the Exit LC Facility (which shall, for the avoidance of doubt, constitute Exit LC SoftBank
Cash Collateral), rights to which shall be assigned to the Reorganized Debtors on the Effective Date;
provided, that any amounts above those required to cash collateralize the Exit LC Facility shall be:
(i) with respect to Drawn DIP TLC Claims, returned to the SoftBank Parties upon emergence; and
(ii) with respect to Post-Emergence Drawn Exit LC Amounts, treated in accordance with Article IV.D.1;
provided, further, that the $25 million used by the Debtors in connection with the Adyen LC shall be
included in, and shall not be additive to, the Exit LC Assigned Cash Collateral.

         158.    “Exit LC Assigned Cash Collateral Equity Distribution” means the percentage of New
Interests equal to (i) new shares issued, calculated as the amount of the Exit LC Assigned Cash Collateral
minus the amount of the Adyen LCs, which on the Effective Date shall be issued and held in escrow by
the Reorganized Debtors for the benefit of the DIP TLC Lender, pursuant to the terms of the Exit LC
Facility Documents, divided by a conversion price of $50.00; divided by (ii) total shares outstanding
post-equitization, with such percentage to be subject to dilution on account of the MIP, the DIP TLC Fee
Equity Distribution, Adyen LC Equity Distribution, Exit LC SoftBank Cash Collateral Equity
Distribution, and the Exit LC Lender Fees.



                                                      17
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 126 of 206


        159.   “Exit LC Credit Agreement” means the credit agreement related to the provision of credit
(as the same may be amended, restated, amended and restated, supplemented, waived, or otherwise
modified from time to time) to be provided on the Effective Date, as set forth in the Plan Supplement,
which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute a
“Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

         160.     “Exit LC Facility” means the letter of credit facility, to be provided by the Exit LC
Facility Lender and the Exit LC Facility Issuing Banks on the terms of, and subject to the conditions set
forth in, the Exit LC Credit Agreement.

        161.  “Exit LC Facility Agents” means, the Agent(s) in its capacity as such, under the Exit LC
Credit Agreement.

         162.   “Exit LC Facility Documents” means, collectively, the Exit LC Credit Agreement,
collateral documents, mortgages, deeds of trust, Uniform Commercial Code statements, and other loan
documents governing the Exit LC Facility (each as may be modified, supplemented, or amended), the
material documents of which shall be included in the Plan Supplement, which shall be subject to the
consent of the Required Consenting Stakeholders, and shall constitute a “Definitive Document” under,
and be subject to and consistent in all respects with, the RSA.

        163.    “Exit LC Facility Issuing Banks” means the issuing banks, in their capacity as such under
the Exit LC Facility.

         164.   “Exit LC Facility Lender” means the lender(s), in its capacity as such, under the Exit LC
Facility.

         165.   “Exit LC Lender Fees” means fees and other running costs charged by the SoftBank
Parties in connection with outstanding letters of credit, which shall be paid by the Reorganized Debtors to
the Exit LC Facility Lender pursuant to the Exit LC Facility Documents.

       166.     “Exit LC SoftBank Cash Collateral” means (a) the 62.50% of the Aggregate Exit LC
Cash Collateral (excluding any associated “overcollateralization” required by the Exit LC Facility), plus
(b) 100% of the “overcollateralization” associated with the Aggregate Exit LC Cash Collateral, rights to
which shall be retained by the SoftBank Parties on the Effective Date.

         167.   “Exit LC SoftBank Cash Collateral Equity Distribution” means the percentage of New
Interests to be distributed to the Exit LC Facility Lender (or its applicable non-Debtor Affiliates) on
account of Post-Emergence Drawn Exit LC Amount pursuant to the terms of the Exit LC Facility
Documents.

        168.    “Extension Order” means any Final Order entered by the Bankruptcy Court extending the
time for performance under any deadlines by which the Debtors must assume or reject Unexpired Leases.

        169.    “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition
Date.

        170.    “File,” “Filed,” or “Filing” means file, filed, or filing with the Bankruptcy Court or its
authorized designee in the Chapter 11 Cases.

        171.    “Final Order” means, as applicable, an order or judgment of the Bankruptcy Court, or
other court of competent jurisdiction with respect to the relevant subject matter, that has not been
reversed, stayed, modified, or amended, and as to which the time to appeal, seek certiorari, or move for a

                                                     18
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 127 of 206


new trial, reargument, or rehearing has expired, and as to which no appeal, petition for certiorari, or other
proceeding for a new trial, reargument, or rehearing has been timely taken; or as to which, any appeal that
has been taken or any petition for certiorari that has been or may be filed has been withdrawn with
prejudice, resolved by the highest court to which the order or judgment could be appealed or from which
certiorari could be sought, or the new trial, reargument, or rehearing has been denied, resulted in no stay
pending appeal or modification of such order, or has otherwise been dismissed with prejudice; provided
that the possibility that a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous
rule under the Bankruptcy Rules, may be Filed with respect to such order will not preclude such order
from being a Final Order.

        172.    “First Day Orders” means, as applicable, any orders of the Bankruptcy Court with respect
to the First Day Pleadings that has not been reversed, modified, or amended, which shall constitute
“Definitive Documents” under, and be subject to and consistent in all respects with, the RSA, including
the consent rights set forth therein, and as may be modified, supplemented, or amended in accordance with
the RSA.

        173.    “First Day Pleadings” means the motions, declarations, pleadings and all other
documents requesting certain emergency relief, or supporting the request for such relief, Filed by the
Debtors on or around the Petition Date and heard at the “first day” hearing, which shall constitute
“Definitive Documents” under, and be subject to and consistent in all respects with, the RSA, including
the consent rights set forth therein, and as may be modified, supplemented, or amended in accordance with
the RSA.

        174.     “Foreign Plan” means any voluntary plan, scheme, arrangement, or similar restructuring
plan that is administered or implemented through a Foreign Proceeding.

       175.     “Foreign Proceeding” means a “foreign main proceeding” or “foreign nonmain
proceeding,” as those terms are defined in section 1502 of the Bankruptcy Code, including any Insolvency
Proceeding, to the extent applicable.

         176.    “General Unsecured Claim” means any unsecured Claim against any of the Debtors, other
than: (a)(a) an Administrative Claim; (b)(b) a Priority Tax Claim; (c)(c) an Other Priority Claim;
(d)(d) a Section 510(b) Claim; (e)(e) an Intercompany Claim; (f)(f) any Go-Forward Guaranty Claim;
(g)(g) any other Secured Claim; (h)(h) an Unsecured Notes Claim; (i)(i) any unsecured deficiency claim
arising from any Secured Claim (including Secured Notes Claims, DIP TLC Claims, and Prepetition LC
Facility Claims); (j) any other Claim that is subordinated or entitled to priority under the Bankruptcy Code
or any other Final Order of the Bankruptcy Court; or (k) any Claim paid in full prior to the Effective Date
pursuant to a Final Order of the Bankruptcy Court. For the avoidance of doubt, General Unsecured
Claims include (I) unsecured Claims resulting from the rejection of Executory Contracts and Unexpired
Leases, (II) unsecured Claims resulting from litigation against one or more of the Debtors, and
(III) contingent Claims of any creditor on account of the guaranty obligations of any of the Debtors which
Claims are not Go-Forward Guaranty Claims.

         177.    “Go-Forward Guaranty Claims” means the Claims and/or guarantees in favor of any
creditor on account of a Debtor’s guaranty obligation under any leases for nonresidential real property,
solely to the extent such guaranty obligation is associated with: (a) an Unexpired Lease that is assumed
by any Debtor, in which case such guaranty obligation shall be Reinstated pursuant to the terms of such
assumption (including any applicable modification approved therein) and any adequate assurance of future
performance provided in connection with such assumption; and/or, without limiting the foregoing, (b) an
international lease that is identified in an exhibit to the Plan Supplement or identified via written notice
provided by the Debtors (or the Reorganized Debtors) to such creditor at any time on or after the Effective


                                                      19
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 128 of 206


Date; provided that the identification of such international leases shall be subject to the consent of the
Required Lenders and the Required Consenting Stakeholders and limited to those international leases that
the Debtors believe are necessary for the business operations of any of the Debtors, their Affiliates, or
franchisees.

        178.    “Governmental Unit” has the meaning set forth in section 101(27) of the Bankruptcy
Code.

        179.    “Holder” means an Entity holding a Claim against or an Interest in any Debtor, as
applicable.

         180.      “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is impaired within the meaning of section 1124 of the Bankruptcy Code.

        181.    “Indentures” means, collectively, the Secured Notes Indentures and the Unsecured Notes
Indentures.

        182.    “Initial Consenting AHG Noteholders” means those Consenting AHG Noteholders (as
defined in the RSA) who executed the RSA.

         183.     “Insolvency Proceeding” means any corporate action, legal proceeding, or other
procedure or step (including commencing any Foreign Proceeding) taken in any jurisdiction in relation to:
(a) the suspension of payments, a moratorium of any indebtedness, winding-up, bankruptcy, liquidation,
dissolution, administration, receivership, administrative receivership, judicial composition, or
reorganization (by way of voluntary arrangement, scheme, or otherwise) of any Debtor (or any of its
Controlled Subsidiaries), including under the Bankruptcy Code or any Foreign Proceeding;
(b) a composition, conciliation, compromise, or arrangement with the creditors generally of any Debtor (or
any of its Controlled Subsidiaries) or an assignment by any Debtor (or any of its Controlled Subsidiaries)
of its assets for the benefit of its creditors generally or any Debtor (or any of its Controlled Subsidiaries)
becoming subject to a distribution of its assets; (c) the appointment of a liquidator, receiver, administrator,
administrative receiver, compulsory manager, or other similar officer in respect of any Debtor (or any of
its Controlled Subsidiaries) or any of its assets; (d) the enforcement of any security over any assets of any
Debtor (or any of its Controlled Subsidiaries); (e) any request for recognition of a Foreign Proceeding
such as under chapter 15 of the Bankruptcy Code; or (f) any procedure or step in any jurisdiction
analogous to those set out in paragraphs (a) to (e) above.

        184.    “Insurance Contracts” means all insurance policies issued to or that provide coverage for
any of the Debtors or any of their directors, officers, or employees, in their capacities as such, or their
predecessors, and all agreements, documents and instruments relating thereto, including, for the avoidance
of doubt, workers’ compensation policies.

       185.     “Insurer” means any issuer of or party to any of the Debtors’ Insurance Contracts, other
than a Debtor or an Affiliate of a Debtor (including, for the avoidance of doubt, any third party
administrator) and any successor to or affiliate thereof.

        186.   “Intercompany Claim” means any Claim held by a Debtor or Affiliate of a Debtor against
another Debtor or Affiliate of a Debtor; provided that for the avoidance of doubt, any Claim held by any
SoftBank Parties or their non-Debtor Affiliates against any Debtor or its non-SoftBank Party Affiliates,
and any Claim held by any Debtor or its non-SoftBank Party Affiliates against any SoftBank Parties or
their non-Debtor Affiliates, shall not be an Intercompany Claim.



                                                       20
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 129 of 206


        187.   “Intercompany Interest” means any Interest in one Debtor or Affiliate of a Debtor held by
another Debtor or Affiliate of a Debtor; provided that for the avoidance of doubt, any Interest held by any
SoftBank Parties or their non-Debtor Affiliates in any Debtor or its non-SoftBank Party Affiliates, and any
Interest held by any Debtor or its non-SoftBank Party Affiliates in any SoftBank Parties or their
non-Debtor Affiliates, shall not be an Intercompany Interest.

         188.     “Interests” means collectively, any equity security (as defined in section 101(16) of the
Bankruptcy Code) in any Debtor and any shares (or any class thereof) of common stock or preferred stock,
general or limited partnership interests, limited liability company interests, and any other equity,
ownership, or profits interests of any Debtor and options, warrants, rights, restricted stock awards,
performance share awards, performance share units, stock appreciation rights, phantom stock rights,
stock-settled restricted stock units, cash-settled restricted stock units, or other securities or agreements
(including any registration rights agreements) to acquire or subscribe for, or which are convertible into the
shares (or any class thereof) of common stock or preferred stock, general or limited partnership interests,
limited liability company interests, or other equity, ownership, or profits interests of any Debtor (in each
case whether or not arising under or in connection with any employment agreement, separation agreement,
or employee incentive plan or program of a Debtor as of the Petition Date and whether or not certificated,
transferable, preferred, common, voting, or denominated “stock” or similar security), or any Claim
against, or Interest in, the Debtors subject to subordination pursuant to section 510(b) of the Bankruptcy
Code arising from or related to any of the foregoing.

        189.     “IRS” means the United States Internal Revenue Service.

        190.    “Issuers” means, as applicable, WeWork Companies U.S. LLC, as successor to WeWork
Companies LLC, WW Co-Obligor Inc., and any applicable successors thereto in their capacity as issuers
under the relevant Indentures.

        191.      “Japan/India Sales” means those certain transactions contemplated by the Debtors and/or
their Affiliates involving certain business operations in Japan and India.

        192.     “JPMorgan” means JPMorgan Chase Bank, N.A. and certain of its affiliates.

      193.     “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as
amended from time to time.

        194.    “Law” means any federal, state, local, or foreign law (including common law), statute,
code, ordinance, rule, regulation, treaty, duty, requirement, order, ruling, or judgment, in each case, that is
validly adopted, promulgated, issued, or entered by a governmental authority of competent jurisdiction
(including the Bankruptcy Court).

        195.     “Lien” has the meaning set forth in section 101(37) of the Bankruptcy Code.

        196.    “MIP” means an equity incentive plan, that will (i) reserve up to 7% of New Interests to
be determined by the New Board (determined on a fully diluted and fully distributed basis) for awards to
management (the “Pool”), and (ii) provide for the grant as of the Effective Date of up to 100% of the Pool
to members of management selected by the New Board in the form of restricted stock unit awards (or the
equivalent), and (iii) include other terms and conditions determined by the New Board.

        197.   “New Board” means the new board of directors or managers of Reorganized WeWork or
each of the Reorganized Debtors (if applicable and as the context requires)—selected in accordance with



                                                       21
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 130 of 206


the terms of the Corporate Governance Term Sheet—the identities of which shall be identified in the Plan
Supplement (if known at the time of its Filing).

        198.    “New Corporate Governance Documents” means the form of documents providing for the
corporate governance of the Reorganized Debtors, which may include any forms of certificate, articles of
incorporation, bylaws, limited liability company agreement, partnership agreement, shareholders’
agreement, and such other forms of applicable formation documents, organizational, and governance
documents (if any) of the Reorganized Debtors, as the same may be modified, supplemented, or amended,
each of which shall be subject to the consent of the Required Consenting Stakeholders and shall constitute
“Definitive Documents” under, and be subject to and consistent in all respects with, the RSA.

     199.     “New Interests” means the common stock (or other equity interests) of Reorganized
WeWork to be issued on or after the Effective Date in accordance with this Plan.

         200.    “New Money Equity Distribution” means (prior to giving effect to the DIP New Money
Initial Commitment Premium and the Supplemental Distributions) 80% of New Interests (which shall be
equal to 40,000,000 shares of the New Interests), subject to dilution on account of the MIP, the Exit LC
Assigned Cash Collateral Equity Distribution, the Exit LC Lender Fees, the Adyen LC Equity
Distribution, the Exit LC SoftBank Cash Collateral Equity Distribution, and the DIP TLC Fee Equity
Distribution.

        201.      “New Stockholders Agreement” means the definitive stockholders agreement or other
applicable agreement (including all annexes, exhibits, and scheduled thereto) governing the New Interests,
as may be modified, supplemented, or amended, which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA.

          202.   “Notes” means, collectively, the Secured Notes and the Unsecured Notes.

          203.   “Notes Claims” means, collectively, the Secured Notes Claims and the Unsecured Notes
Claims.

       204.    “Notes Exchange Transactions” means, collectively, the recapitalization transactions by
and among, inter alia, the Debtors, the Ad Hoc Group, SoftBank, and Cupar, consummated in May 2023.

         205.   “Other Priority Claim” means any Claim, other than an Administrative Claim or a
Priority Tax Claim, entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.

         206.   “Other Secured Claim” means any Secured Claim other than: (a) the Prepetition LC
Facility Claims; (b) the Secured Notes Claims; (c) the Prepetition LC Subrogation Claims; or (d) the
Priority Tax Claims (solely to the extent they are Secured Claims).

      207.     “Parent Interests” means, collectively, all Interests in WeWork Parent outstanding
immediately prior to the Effective Date.

          208.   “Person” has the meaning set forth in section 101(41) of the Bankruptcy Code.

          209.   “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

       210.    “Plan Distribution” means a payment or distribution to Holders of Allowed Claims,
Allowed Interests, or other eligible Entities in accordance with this Plan.


                                                    22
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 131 of 206


         211.    “Plan Supplement” means the compilation of documents and forms of documents,
agreements, schedules, and exhibits to this Plan (in each case subject to the consent of the Required
Consenting Stakeholders) that will be Filed by the Debtors with the Bankruptcy Court, and any additional
documents Filed prior to the Effective Date as amendments to the Plan Supplement, which shall
include: (a) the Schedule of Retained Causes of Action; (b) the Schedule of Rejected Executory Contracts
and Unexpired Leases; (c) the Schedule of Assumed Executory Contracts and Unexpired Leases; (d) the
Exit LC Facility Documents; (e) the New Corporate Governance Documents; (f) any Ruling Request;
(g) the Restructuring Transactions Exhibit (which, for the avoidance of doubt, shall remain subject to
modification in accordance with the RSA until the Effective Date); (h) the schedule of Go-Forward
Guaranty Claims (which shall constitute a Definitive Chapter 11 Document); (i) the Released Parties
Exception Schedule; (j) the UCC Settlement Trust Documents and (k) any other necessary documentation
relating to the Restructuring Transactions, all of which shall be subject to the consent of the Required
Consenting Stakeholders and the Reasonable Consent of the Creditors’ Committee and shall constitute a
“Definitive Document” under, and be subject to and consistent in all respects with, the RSA.

         212.    “Post-Emergence Drawn Exit LC Amount” means the principal amount of Exit LCs drawn
after the Effective Date, including any fees or other amounts actually paid in connection with the draw of
such Exit LCs.

        213.   “Post-Petition Rent Claim” means a Claim of a landlord for unpaid rent under such
landlord’s Unexpired Lease with a Debtor, solely to the extent such Claim became payable during the
period from and including the Petition Date through the earlier of (a) the Effective Date and (b) the date
such Unexpired Lease was rejected by the Debtors (if applicable).

        214.    “Prepetition LC Credit Agreement” means, as it may be amended, supplemented, or
otherwise modified from time to time prior to the Petition Date, that certain credit agreement, dated as of
December 27, 2019, by and among WeWork Companies U.S. LLC, as successor to WeWork Companies
LLC, SVF II, as obligor, SVF II GP (Jersey Limited), acting in its capacity as general partner of SVF II
and in its own corporate capacity, and SB Global Advisers Limited, acting in its capacity as manager of
SVF II, and the several issuing creditors and letter of credit participants from time to time party thereto,
Goldman Sachs International Bank, as senior tranche administrative agent and shared collateral agent,
Kroll Agency Service Limited, as junior tranche administrative agent, and the parties thereto from time to
time.

         215.    “Prepetition LC Facility Claims” means all Claims arising under the Prepetition LC
Facility Documents, including the Prepetition LC Subrogation Claims or the Prepetition LC
Reimbursement Claims, and all unpaid accrued and deferred fees and interest, including, without
limitation, any upfront fees, running fees, administrative, and fronting fees (without double counting). For
the avoidance of doubt, (a) any cash collateral posted but subsequently returned to the SoftBank Parties
shall not give rise to a Prepetition LC Facility Claim, (b) any Holder of a Prepetition LC Facility Claim
that is a Prepetition LC Reimbursement Claim which was converted or otherwise replaced with a
Prepetition LC Subrogation Claim shall, with respect to its Prepetition LC Reimbursement Claim, only be
entitled to recover the amount of such Prepetition LC Reimbursement Claim that was not so converted or
otherwise replaced, and (c) any Holder of a Prepetition LC Facility Claim that was converted or otherwise
replaced with a DIP TLC Claim shall, with respect to its Prepetition LC Facility Claim, only be entitled to
recover the amount of such Prepetition LC Facility Claim that was not so converted or otherwise replaced.

         216.  “Prepetition LC Facility Documents” means the Prepetition LC Credit Agreement and
related documents, including, without limitation, the Prepetition LC Reimbursement Agreement.




                                                     23
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 132 of 206


       217.    “Prepetition LC Reimbursement Agreement” means that certain reimbursement
agreement, dated as of December 20, 2022 (as amended, restated, amended and restated, supplemented, or
otherwise modified from time to time), by and among SVF II, SoftBank Group Corp., and WeWork
Companies U.S. LLC, as successor to WeWork Companies LLC.

      218.   “Prepetition LC Reimbursement Claims” means all claims arising under the Prepetition
LC Reimbursement Agreement.

         219.    “Prepetition LC Subrogation Claims” means claims for any and all Applicable
Obligations (as defined in the Prepetition LC Credit Agreement) paid by SVF II, including, without
limitation, the total amount required pursuant to the terms of the Prepetition LC Credit Agreement for
SVF II to reimburse all drawn amounts under the Senior L/C Tranche and the Junior L/C Tranche (as both
terms are defined in the Prepetition LC Credit Agreement) and to pay or cash collateralize all outstanding
amounts under the Prepetition LC Credit Agreement (including, without limitation, any fees, interest,
expenses, and other amounts thereunder).

        220.     “Prepetition Secured Equity Distribution” means 100% of the New Interests (which shall
be equal to 50,000,000 shares of the New Interests) minus the New Money Equity Distribution (prior to
giving effect to the DIP New Money Initial Commitment Premium and the Supplemental Distributions),
subject to dilution on account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the
Exit LC Lender Fees, Adyen LC Equity Distribution, Exit LC SoftBank Cash Collateral Equity
Distribution, and the DIP TLC Fee Equity Distribution.

        221.    “Priority Tax Claim” means (a) any Claim of a Governmental Unit of the kind specified
in section 507(a)(8) of the Bankruptcy Code, or (b) any Secured Claim that, absent its secured status,
would meet the description of a Claim of a Governmental Unit of the kind specified in section 507(a)(8)
of the Bankruptcy Code, together with any related Secured Claim for penalties.

        222.     “Pro Rata” means the proportion that an Allowed Claim or an Allowed Interest in a
particular Class bears to the aggregate amount of Allowed Claims or Allowed Interests in that Class or the
proportion of the Allowed Claims or Allowed Interests in a particular Class and other Classes entitled to
share in the same recovery as such Allowed Claim or Allowed Interests under this Plan, unless otherwise
indicated.

         223.    “Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant to a Final
Order in accordance with sections 327, 328, 363, or 1103 of the Bankruptcy Code and to be compensated
for services rendered prior to or as of the Confirmation Date, pursuant to sections 327, 328, 329, 330, 331,
or 363 of the Bankruptcy Code; or (b) awarded compensation and reimbursement by Final Order pursuant
to section 503(b)(4) of the Bankruptcy Code.

         224.    “Professional Fee Amount” means the aggregate amount of Professional Fee Claims and
other unpaid fees and expenses that Professionals estimate they have incurred or will incur in rendering
services to the Debtors prior to and as of the Confirmation Date, which estimates Professionals shall
deliver to the Debtors as set forth in Article II.C.3 of this Plan.

        225.    “Professional Fee Claim” means any Claim by a Professional for compensation for
services rendered or reimbursement of expenses incurred by such Professionals through and including the
Confirmation Date to the extent such fees and expenses have not been paid pursuant to an order of the
Bankruptcy Court. To the extent the Bankruptcy Court denies or reduces by a Final Order any amount of




                                                     24
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 133 of 206


a Professional’s requested fees and expenses, then the amount by which such fees or expenses are reduced
or denied shall reduce the applicable Professional Fee Claim.

       226.   “Professional Fee Escrow Account” means an interest-bearing account funded by the
Debtors with Cash on the Effective Date in an amount equal to the total estimated Professional Fee
Amount.

       227.    “Proof of Claim” means a proof of Claim against any of the Debtors Filed in the
Chapter 11 Cases.

         228.   “Proof of Interest” means a proof of Interest in any of the Debtors Filed in the Chapter 11
Cases.

         229.    “Reasonable Consent of the Creditors’ Committee” means the reasonable consent of the
Creditors’ Committee, which consent shall (a) only be required as to provisions that directly and adversely
affect recoveries and/or distributions for unsecured creditors pursuant to the Plan and the UCC Settlement,
and (b) not be unreasonably withheld, conditioned, or delayed.

         230.   “Reinstate,” “Reinstated,” or “Reinstatement” means, with respect to a Claim or Interest,
that the Claim or Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy
Code.

         231.    “Related Party” means, collectively, with respect to any Entity, in each case in its
capacity as such with respect to such Entity, such Entity’s current and former directors, managers,
officers, shareholders, investment committee members, special committee members, equity holders
(regardless of whether such interests are held directly or indirectly), affiliated investment funds or
investment vehicles, managed accounts or funds, predecessors, participants, successors, assigns (whether
by operation of Law or otherwise), subsidiaries, current and former associated Entities, managed or
advised Entities, accounts, or funds, Affiliates, partners, limited partners, general partners, principals,
members, management companies, investment or fund advisors or managers, fiduciaries, employees,
agents, trustees, advisory board members, financial advisors, attorneys (including any other attorneys or
professionals retained by any current or former director or manager in his or her capacity as director or
manager of an entity), accountants, investment bankers, consultants, other representatives, restructuring
advisors, and other professionals and advisors, and any such Person’s or Entity’s respective predecessors,
successors, assigns, heirs, executors, estates, and nominees.

         232.     “Released Parties” means, collectively, and in each case in its capacity as such: (a) each
of the Debtors; (b) each of the Reorganized Debtors; (c) each Consenting Stakeholder; (d) the DIP
Lenders; (e) the Creditors’ Committee; (f) each Creditors’ Committee Member; (g) each member of the
Ad Hoc Unsecured Noteholder Group; (h) each Unsecured Notes Settlement Participant; (i) the Releasing
Parties; (j) each Agent; and (k) each Related Party of each such Entity in clause (a) through (k); provided
that, in each case, an Entity shall not be a Released Party if it: (x) elects to opt out of the releases
described in Article VIII.D of this Plan; or (y) timely objects to the releases contained in Article VIII.D of
this Plan and such objection is not resolved before Confirmation; provided, further, that notwithstanding
the foregoing, the individuals listed in the Released Parties Exception Schedule shall not be Released
Parties.

        233.     “Released Parties Exception Schedule” means a list of individuals, which shall be
included in the Plan Supplement, shall be subject to the consent of the Required Consenting Stakeholders,




                                                      25
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                 Document     Page 134 of 206


and shall constitute a “Definitive Document” under, and be subject to and consistent in all respects with,
the RSA.

         234.     “Releasing Parties” means, collectively, and in each case in its capacity as such: (a) each
Debtor; (b) each of the Reorganized Debtors; (c) each member of the Ad Hoc Unsecured Noteholder
Group; (d) each Consenting Stakeholder; (e) each of the DIP Lenders; (f) each Agent; (g) the Creditors’
Committee; (h) each Creditors’ Committee Member; (i) each Unsecured Notes Settlement Participant; (j)
all Holders of Claims that vote to accept this Plan; (k) all Holders of Claims that are deemed to accept this
Plan who do not affirmatively opt out of the releases provided by this Plan by checking the box on the
applicable notice of non-voting status indicating that they opt not to grant the releases provided in this
Plan; (l) all Holders of Claims that abstain from voting on this Plan and who do not affirmatively opt out
of the releases provided by this Plan by checking the box on the applicable ballot indicating that they opt
not to grant the releases provided in this Plan; (m) all Holders of Claims or Interests that vote to reject this
Plan or are deemed to reject this Plan and who do not affirmatively opt out of the releases provided by this
Plan by checking the box on the applicable ballot or notice of nonvoting status indicating that they opt not
to grant the releases provided in this Plan; (n) each current and former Affiliate of each Entity in clause
(a) through (m); and (o) each Related Party of each Entity in clause (a) through (n) for which such Entity
is legally entitled to bind such Related Party to the releases contained in this Plan under applicable law;
provided that an Entity in clause (k) through clause (m) shall not be a Releasing Party if it: (x) elects to
opt out of the releases contained in Article VIII.D of this Plan; or (y) timely objects to the releases
contained in Article VIII.D of this Plan and such objection is not resolved before Confirmation.

        235.    “Reorganized Debtors” means the Debtors, as reorganized pursuant to and under this
Plan, on and after the Effective Date, or any successors or assigns thereto including by transfer, merger,
consolidation, or otherwise, and including any new Entity established in connection with the
implementation of the Restructuring Transactions, including, for the avoidance of doubt, Reorganized
WeWork.

         236.     “Reorganized WeWork” means, on and after the Effective Date, (a) a new corporation,
limited liability company, partnership, or other Entity that may be formed to, among other things, directly
or indirectly own and hold all or substantially all of the assets and/or stock of the Debtors, as applicable,
in accordance with this Plan and the Plan Supplement, or any successor or assign thereto, including by
transfer, merger, consolidation, sale, subscription or otherwise, and including any new Entity established
in connection with the implementation of the Restructuring Transactions, (b) the WeWork Parent, or
(c) another Reorganized Debtor, as applicable and in all cases in accordance with the RSA, this Plan, and
the Plan Supplement.

         237.    “Required Consenting AHG Noteholders” means, as of the relevant date, (a) at least 2
unaffiliated Initial Consenting AHG Noteholders, holding at least 50.00% of the aggregate outstanding
principal amount of Secured Notes Claims that are held by the Initial Consenting AHG Noteholders, (b) if
there are not at least 2 unaffiliated Initial Consenting AHG Noteholders holding at least 50.00% of the
aggregate outstanding principal amount of Secured Notes Claims that are held by the Initial Consenting
AHG Noteholders, then Initial Consenting AHG Noteholders holding at least 50.00% of the aggregate
outstanding principal amount of Secured Notes Claims that are held by Initial Consenting AHG
Noteholders, or (c) if there are no Initial Consenting AHG Noteholders party to the RSA, Consenting
AHG Noteholders holding at least 50.00% of the aggregate outstanding principal amount of Secured
Notes Claims that are held by Consenting AHG Noteholders (as defined in the RSA).

        238.   “Required Consenting Stakeholders” means, collectively, the SoftBank Parties, Cupar,
and the Required Consenting AHG Noteholders.



                                                       26
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 135 of 206


       239.    “Required Consenting Stakeholders’ Advisors” means the Ad Hoc Group Professionals,
Cupar Professionals, and SoftBank Professionals.

      240.      “Required Lenders” has the meaning ascribed to such term in the DIP New Money Credit
Agreements.

         241.    “Restructuring Expenses” means the reasonable and documented fees and expenses of
(i) the Required Consenting Stakeholders’ Advisors accrued since the inception of their respective
engagements, and (ii) the Agents under the 1L Indenture (as provided in the Cash Collateral Orders),
related to the Chapter 11 Cases or the Restructuring Transactions and not previously paid by, or on behalf
of, the Debtors.

         242.    “Restructuring Transactions” means any transaction and any actions as may be necessary
or appropriate to effect a restructuring of the Debtors’ respective businesses or a corporate restructuring of
the overall corporate structure of the Debtors on the terms set forth in this Plan, the issuance of all
Securities, notes, instruments, certificates, and other documents required to be issued or executed pursuant
to this Plan, one or more intercompany mergers, amalgamations, consolidations, arrangements,
continuances, restructurings, transfers, conversions, dispositions, liquidations, formations, dissolutions, or
other corporate transactions described in, approved by, contemplated by, or undertaken to implement this
Plan (including the Plan Supplement), the RSA, the Definitive Documents, including those described in
Article IV.B hereof, in all cases, in accordance with the terms of the RSA.

         243.     “Restructuring Transactions Exhibit” means the exhibit to the Plan Supplement that will
set forth the material components of the transactions required to effectuate the Restructuring Transactions
contemplated by the RSA and this Plan, including any “tax steps memo,” or other document describing
steps to be taken and the related tax considerations in connection with the Restructuring Transactions, as
may be modified, supplemented, or amended, which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA.

        244.     “Retained Causes of Action” means Causes of Action that shall vest in the Reorganized
Debtors on the Effective Date, which, for the avoidance of doubt, shall not include any of the Causes of
Action that are settled, released, or exculpated under this Plan.

       245.     “Revised Joint Administration Order” means the revised Order (I) Directing Joint
Administration of Chapter 11 Cases and (II) Granting Related Relief [Docket No. 1116].

       246.     “Rolled Undrawn DIP TLC Claims” means a portion of the DIP TLC Claims in the
amount required to cash collateralize (in accordance with the DIP LC/TLC Credit Agreement) the
aggregate face amount of DIP LCs that are undrawn as of the Effective Date.

         247.   “RSA” means that certain Restructuring Support Agreement, dated as of the Petition Date,
by and among the Debtors and the Consenting Stakeholders, as amended and restated by that certain
Amended and Restated Restructuring Support Agreement, dated as of May 5, 2024, by and among the
Debtors and the Consenting Stakeholders, including all exhibits, schedules, and other attachments thereto,
as such agreement may be amended, amended and restated, modified, or supplemented from time to time,
solely in accordance with the terms thereof.




                                                      27
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 136 of 206


        248.     “Ruling Request” means a request for one or more private letter rulings from the IRS (if
any) pertaining to certain U.S. federal income tax matters relating to the Restructuring Transactions that is
submitted to the IRS in accordance with Section 4.04 of the RSA.

         249.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means any schedule
(including any amendments, supplements, or modifications thereto) listing the Executory Contracts and
Unexpired Leases to be assumed by the Debtors pursuant to this Plan, including (as applicable) a good
faith estimate of proposed Cure Obligations (if any) with respect thereto.

        250.     “Schedule of Rejected Executory Contracts and Unexpired Leases” means the schedule
(including any amendments, supplements, or modifications thereto) of Executory Contracts and Unexpired
Leases to be rejected by the Debtors pursuant to this Plan.

       251.    “Schedule of Retained Causes of Action” means the schedule of Retained Causes of
Action which shall be included in the Plan Supplement.

        252.    “SEC” means the United States Securities and Exchange Commission.

       253.    “Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of
the Bankruptcy Code.

         254.    “Secured Claim” means a Claim that is: (a) secured by a Lien on property in which any
of the Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable Law
or by reason of a Bankruptcy Court order, or that is subject to a valid right of setoff pursuant to
section 553 of the Bankruptcy Code, to the extent of the value of the creditor’s interest in the Debtors’
interest in such property or to the extent of the amount subject to setoff, as applicable, as determined
pursuant to section 506(a) of the Bankruptcy Code; or (b) Allowed pursuant to this Plan, or separate order
of the Bankruptcy Court, as a secured claim.

        255.    “Secured Notes” means the 1L Notes, 2L Notes, and 3L Notes.

         256.   “Secured Notes Claims” means any Claim arising under, derived from, based on, or
related to the Secured Notes or Secured Notes Documents, including Claims for all principal amounts
outstanding, interest, fees, expenses, costs, guaranties, and other charges arising thereunder or related
thereto.

        257.    “Secured Notes Documents” means, collectively, the Secured Notes Indentures and all
instruments, security agreements, collateral agreements, guaranty agreements, intercreditor agreements,
pledges, and other documents with respect to the Secured Notes.

       258.   “Secured Notes Indentures” means, collectively, the 1L Indenture, the 2L Indenture, the
2L Exchangeable Indenture, the 3L Indenture, and the 3L Exchangeable Indenture.

         259.    “Securities Act” means the Securities Act of 1933, as amended, 15 U.S.C. §§ 77a–77aa,
together with the rules and regulations promulgated thereunder, as amended from time to time, or any
similar federal, state, or local Law.

        260.    “Security” means any security, as defined in section 2(a)(1) of the Securities Act.

      261.    “SoftBank Parties” means collectively SVF II, SVF II Aggregator, SVF II WW, and SVF
II WW Holdings.


                                                      28
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 137 of 206


        262.     “SoftBank Professionals” means Weil, Gotshal & Manges LLP, as counsel, Houlihan
Lokey Capital, Inc., as financial advisor, Wollmuth Maher & Deutsch LLP, as local co-counsel, and any
other special or local counsel or advisors providing advice to the SoftBank Parties in connection with the
Restructuring Transactions.

        263.      “Solicitation Materials” means all materials provided in connection with the solicitation
of votes on this Plan pursuant to sections 1125 and 1126 of the Bankruptcy Code (as such materials may
be modified, supplemented, or amended), which shall be subject to the consent of the Required
Consenting Stakeholders and shall constitute a “Definitive Document” under, and be subject to and
consistent in all respects with, the RSA.

        264.    “Stub Rent Claim” means a Claim of a landlord for unpaid rent under such landlord’s
Unexpired Lease with a Debtor, solely to the extent such Claim is for the portion of unpaid rent for the
period from the Petition Date through and including November 30, 2023.

       265.    “Supplemental Distributions” means the DIP New Money Supplemental Premium and the
Adequate Protection Supplemental Distribution.

        266.    “SVF II” means SoftBank Vision Fund II-2 L.P., a limited partnership established in
Jersey, acting by its manager SB Global Advisers Limited, a limited company incorporated under the
Laws of England and Wales.

         267.    “SVF II Aggregator” means SVF II Aggregator (Jersey) L.P., a limited partnership
established in Jersey, acting by its general partner, SVF II GP (Jersey) Limited, a Jersey private company.

        268.    “SVF II WW” means SVF II WW (DE) LLC, a Delaware limited liability company.

        269.   “SVF II WW Holdings” means SVF II WW Holdings (Cayman) Limited, a Cayman
Islands exempted company.

        270.    “Tax Code” means the United States Internal Revenue Code of 1986, as amended.

        271.   “Total 1L Claims” means the total aggregate amount of (a) Prepetition LC Facility Claims
and (b) 1L Notes Claims, in each case, including, all postpetition interest and fees.

       272.    “Treasury Regulations” means the regulations promulgated under the Internal Revenue
Code by the United States Department of the Treasury.

         273.     “UCC Settlement” means the settlement between the Debtors, the Required Consenting
Stakeholders, and the Creditors’ Committee, as may be approved by the Bankruptcy Court through the
9019 Order and/or the Confirmation Order, pursuant to which, among other things, (a) Holders of 3L
Notes Claims and General Unsecured Claims shall be entitled to receive their share of the UCC Settlement
Proceeds from the UCC Settlement Trust, (b) Unsecured Notes Settlement Non-Participants shall be
entitled to receive their share of the Unsecured Notes Pool, (c) the Debtors shall pay the Creditors’
Committee Member Expenses and the 3L/Unsecured Notes Trustee Expenses, (d) the UCC Settlement
Trust shall be established and funded solely with the UCC Settlement Proceeds, (e) each party shall waive
its right to assert any Avoidance Actions, and (f) the Creditors’ Committee shall support Confirmation of
the Plan.

        274.    “UCC Settlement Consideration” means an amount of Cash equal to $33,000,000.00.



                                                     29
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 138 of 206


         275.   “UCC Settlement Deduction” means the amount equal to the sum of (a) the Unsecured
Notes Settlement Proceeds, (b) the Unsecured Notes Pool, (c) the Ad Hoc Unsecured Noteholder Group
Expenses, (d) the 3L/Unsecured Notes Trustee Expenses, (e) the Creditors’ Committee Member Expenses,
and (f) the Allowed Professional Fee Claims of the Professionals retained by the Creditors’ Committee;
provided that in no event shall such sum exceed $32,650,000.00; provided further, that the determination
of the amount of the UCC Settlement Deduction shall not occur until the UCC Settlement Determination
Date.

         276.    “UCC Settlement Determination Date” means the date that final amounts have been
determined in respect of (i) the Ad Hoc Unsecured Noteholder Group Expenses, (ii) the 3L/Unsecured
Notes Trustee Expenses, (iii) the Committee Member Expenses, and (iv) Allowed Professional Fee
Claims of the Professionals retained by the Creditors’ Committee (including approval and Allowance of
final fee applications).

       277.    “UCC Settlement Proceeds” means an amount of Cash equal to (a) the UCC Settlement
Consideration minus (b) the UCC Settlement Deduction.

        278.     “UCC Settlement Trust” means that certain trust to be established on the Effective Date
and funded solely with the UCC Settlement Proceeds, which trust shall be administered by the UCC
Settlement Trustee and make distributions under the UCC Settlement pursuant to the UCC Settlement
Trust Documents; provided, that no disbursement or distribution shall be made from the UCC Settlement
Trust until the UCC Settlement Determination Date.

        279.    “UCC Settlement Trust Documents” means the agreements and other documents
establishing and governing the UCC Settlement Trust, the form(s) of which shall be included in the Plan
Supplement and shall be subject to the consent of the Required Consenting Stakeholders and the
Reasonable Consent of the Creditors’ Committee.

        280.     “UCC Settlement Trustee” means a person or Entity designated by the Creditors’
Committee to serve as the trustee and administrator for the UCC Settlement Trust, whose identity will be
disclosed in the Plan Supplement.

        281.     “Unclaimed Distribution” means any distribution under this Plan on account of an
Allowed Claim or Allowed Interest to a Holder that has not: (a) accepted a particular distribution or, in
the case of distributions made by check, negotiated such check within 90 days of receipt; (b) given notice
to the Reorganized Debtors of an intent to accept a particular distribution within 90 days of receipt;
(c) responded to, as applicable, the Debtors’ or the Reorganized Debtors’ requests for information
necessary to facilitate a particular distribution prior to the deadline included in such request for
information; or (d) timely taken any other action necessary to facilitate such distribution.

        282.   “Undrawn DIP TLC Claims” means a portion of the DIP TLC Claims in an amount equal
to Rolled Undrawn DIP TLC Claims plus the Excess DIP TLC Claims.

        283.    “Unexpired Lease” means, with respect to any Debtor, a lease of nonresidential real
property to which one or more of the Debtors is a party that is subject to assumption or rejection, by such
Debtor, under section 365 of the Bankruptcy Code, including any modifications, amendments, addenda, or
supplements thereto or restatements thereof.

         284.     “Unimpaired” means with respect to a Class of Claims or Interests, a Class of Claims or
Interests that is not Impaired within the meaning of section 1124 of the Bankruptcy Code.



                                                     30
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                          Desc Main
                                  Document     Page 139 of 206


       285.   “Unsecured Notes” means, collectively, the 5.00% Unsecured Notes, and the 7.875%
Unsecured Notes.

          286.    “Unsecured Notes Claims” means, collectively, any Claim on account of the Unsecured
Notes.

        287.   “Unsecured Notes Indentures” means, collectively, the 5.00% Unsecured Notes Indenture
and the 7.875% Unsecured Notes Indenture.

       288.    “Unsecured Notes Pool” means an amount of Cash to be distributed to the Unsecured
Notes Settlement Non-Participants, which shall be funded from the UCC Settlement Consideration in an
amount not to exceed the lesser of (a) $500,000.00 and (b) the amount that results in the Unsecured Notes
Settlement Non-Participants receiving a 1.00% recovery on account of their Unsecured Notes Claims.

         289.    “Unsecured Notes Settlement” means the settlement between the Debtors, the Required
Consenting Stakeholders, and the Unsecured Notes Settlement Participants, as approved by the 9019
Order and pursuant to which, among other things, (a) the Unsecured Notes Settlement Participants shall be
entitled to receive their Pro Rata share of the Unsecured Notes Settlement Proceeds, (b) the Ad Hoc
Unsecured Noteholder Group shall receive payment of the Ad Hoc Unsecured Noteholder Group
Expenses, (c) the Unsecured Notes Settlement Participants shall be included as Releasing Parties, and
(d) the Ad Hoc Unsecured Noteholder Group shall support Confirmation of the Plan.

       290.    “Unsecured Notes Settlement Non-Participant” means any Holder of an Unsecured Notes
Claim who is not an Unsecured Notes Settlement Participant.

       291.    “Unsecured Notes Settlement Participant” means any Holder of an Unsecured Notes
Claim who elects to participate in the Unsecured Notes Settlement.

          292.    “Unsecured Notes Settlement Proceeds” means $7,500,000.00 in Cash.

          293.    “Unsecured Notes Trustee” means the trustee under the Unsecured Notes Indentures.

          294.    “U.S. Trustee” means the Office of the United States Trustee for the District of New
Jersey.

       295.   “WeWork Parent” means Debtor WeWork Inc., a public company incorporated under the
Laws of Delaware.

B.        Rules of Interpretation.

        For purposes of this Plan: (a)(a) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the masculine,
feminine, or neuter gender shall include the masculine, feminine, and the neuter gender; (b)(b) unless
otherwise specified, any reference herein to an existing document, schedule, or exhibit, whether or not
Filed, having been Filed, or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter
be amended, modified, or supplemented in accordance with this Plan or the Confirmation Order, as
applicable; (c)(c) any reference to an Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (d)(d) unless otherwise specified, all references herein to “Articles” are references
to Articles hereof; (e)(e) unless otherwise specified, all references herein to exhibits are references to
exhibits in the Plan Supplement; (f)(f) unless otherwise specified, the words “herein,” “hereof,” and
“hereto” refer to this Plan in its entirety rather than to a particular portion of this Plan; (g)(g) subject to the
provisions of any contract, charters, bylaws, partnership agreements, limited liability company

                                                         31
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 140 of 206


agreements, operating agreements, or other organizational documents or shareholders’ agreements, as
applicable, instrument, release, or other agreement or document entered into in connection with this Plan,
the rights and obligations arising pursuant to this Plan shall be governed by, and construed and enforced in
accordance with the applicable Law, including the Bankruptcy Code and the Bankruptcy Rules;
(h)(h) unless otherwise specified herein, any reference to “corporate action,” “corporate structure,” and
other references to “corporate” and “corporation” will be deemed to include corporation, limited liability
companies, partnerships, and analogous entities incorporated or formed under applicable Laws, as
applicable; (i)(i) any immaterial effectuating provisions may be interpreted by the Debtors or the
Reorganized Debtors in such a manner that is consistent with the overall purpose and intent of this Plan all
without further notice to or action, order, or approval of the Bankruptcy Court or any other Entity;
(j)(j) unless otherwise specified herein, the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply, and for the avoidance of doubt, any variation of the word “include” is not limiting, and
shall be deemed followed by the words “without limitation”; (k)(k) any term used in capitalized form
herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall
have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may
be; (l)(l) all references to docket numbers of documents Filed in the Chapter 11 Cases are references to the
docket numbers under the Bankruptcy Court’s Case Management and Electronic Case Filing system;
(m)(m) all references to statutes, regulations, orders, rules of courts, and the like shall mean as amended
from time to time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (n)(n) references to
“Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall include “Proofs of
Interest,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (o)(o) captions and
headings are inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of this Plan; (p)(p) references to “shareholders,” “directors,” and/or “officers” shall also
include “members” and/or “managers,” as applicable, as such terms are defined under the applicable state
limited liability company Laws; (q)(q) the term “subject to the consent rights set forth in the RSA” and
other similar references shall be deemed to require the consent of Cupar, the Required Consenting AHG
Noteholders and the SoftBank Parties (regardless of whether the RSA makes reference to such document
or action) including, for the avoidance of doubt, if any portion of the RSA is no longer in full force and
effect at any time; and (r)(r) all references herein to consent, acceptance, or approval may be conveyed by
counsel for the respective Person or Entity that have such consent, acceptance, or approval rights,
including by electronic mail.

C.      Computation of Time.

        Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply
in computing any period of time prescribed or allowed herein. If the date on which a transaction may
occur pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Subject to the requirements of the Restructuring
Transactions Exhibit and any other Definitive Document, any action to be taken on the Effective Date may
be taken on or as soon as reasonably practicable after the Effective Date.

D.      Governing Law.

        Except to the extent a rule of Law or procedure is supplied by federal Law (including the
Bankruptcy Code or the Bankruptcy Rules), and subject to the provisions of any contract, lease,
instrument, release, indenture, or other agreement or document entered into expressly in connection
herewith, the rights and obligations arising hereunder shall be governed by, and construed and enforced in
accordance with, the laws of the State of New York, without giving effect to conflict of Laws principles;
provided that corporate governance matters relating to the Debtors or the Reorganized Debtors, as




                                                      32
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 141 of 206


applicable, not incorporated in New York, shall be governed by the Laws of the jurisdiction of
incorporation or formation of the relevant Debtor or Reorganized Debtor, as applicable.

E.      Reference to Monetary Figures.

       All references in this Plan to monetary figures shall refer to currency of the United States of
America, unless otherwise expressly provided herein.

F.      Reference to the Debtors or the Reorganized Debtors.

         Except as otherwise specifically provided in this Plan to the contrary, references in this Plan to the
Debtors or the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as applicable,
to the extent the context requires.

G.      Controlling Document.

        In the event of an inconsistency between this Plan and the Disclosure Statement, the terms of this
Plan shall control in all respects. In the event of an inconsistency between this Plan and any document
included in the Plan Supplement, including the schedules or exhibits, the terms of the relevant provision in
this Plan shall control (unless expressly stated otherwise in the applicable provision of the Plan
Supplement; provided that that in the event of an inconsistency between this Plan and the Restructuring
Transactions Exhibit, the Restructuring Transactions Exhibit shall control); provided, further, that to the
extent that the UCC Settlement Trust Documents provide additional specificity that is not inconsistent
with the terms of the Plan, such specific provisions in the UCC Settlement Trust Documents shall control.
In the event of an inconsistency between the Confirmation Order and this Plan, including the Plan
Supplement or the Restructuring Transactions Exhibit, the Confirmation Order shall control.

H.      Consultation, Notice, Information, and Consent Rights.

        Notwithstanding anything herein to the contrary, all consultation, information, notice, and consent
rights of the parties to the RSA, as may be modified, supplemented, or amended in accordance with the
RSA and subject to the consent of the Required Consenting Stakeholders, as applicable, and as
respectively set forth therein, with respect to the form and substance of this Plan, all exhibits to this Plan,
the Plan Supplement, and the Definitive Documents, including any amendments, restatements,
supplements, or other modifications to such agreements and documents, and any consents, waivers, or
other deviations under or from any such documents, shall be incorporated herein by this reference
(including to the applicable definitions in Article I.A hereof) and fully enforceable as if stated in full
herein until such time as the RSA is terminated in accordance with its terms.

                                       ARTICLE II.
                                ADMINISTRATIVE CLAIMS,
                              DIP ADMINISTRATIVE CLAIMS,
                     PRIORITY CLAIMS, AND RESTRUCTURING EXPENSES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims,
Professional Fee Claims, DIP Administrative Claims, and Priority Tax Claims have not been classified
and, thus, are excluded from the Classes of Claims and Interests set forth in Article III hereof.

A.      Administrative Claims.

       Except as otherwise provided under this Plan, and except with respect to the Professional Fee
Claims and Claims for fees and expenses pursuant to section 1930 of chapter 123 of title 28 of the United

                                                       33
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 142 of 206


States Code, and except to the extent that a Holder of an Allowed Administrative Claim and the Debtor(s)
against which such Allowed Administrative Claim is asserted agree to less favorable treatment for such
Holder, or such Holder has been paid by any Debtor on account of such Allowed Administrative Claim
prior to the Effective Date, each Holder of such an Allowed Administrative Claim will receive in full and
final satisfaction of its Allowed Administrative Claim an amount of Cash equal to the amount of such
Allowed Administrative Claim in accordance with the following: (a) if an Administrative Claim is
Allowed on or prior to the Effective Date, on the Effective Date or as soon as reasonably practicable
thereafter (or, if not then due, when such Allowed Administrative Claim is due or as soon as reasonably
practicable thereafter); (b) if such Administrative Claim is not Allowed as of the Effective Date, no later
than 30 days after the date on which an order Allowing such Administrative Claim becomes a Final Order,
or as soon as reasonably practicable thereafter; (c) if such Allowed Administrative Claim is based on
liabilities incurred by the Debtors in the ordinary course of their business after the Petition Date, in
accordance with the terms and conditions of the particular transaction giving rise to such Allowed
Administrative Claim without any further action by the Holder of such Allowed Administrative Claim;
(d) at such time and upon such terms as may be agreed upon by such Holder and the Debtors or the
Reorganized Debtors, as applicable; or (e) at such time and upon such terms as set forth in an order of the
Bankruptcy Court.

         First Lien Adequate Protection Fees and Expenses (as defined in the Cash Collateral Final Order)
that are accrued and unpaid as of the Effective Date pursuant to the terms of the Cash Collateral Orders,
will be indefeasibly paid by the Debtors in full in Cash or will be provided such other treatment
acceptable to the Debtors and subject to the consent of the Required Consenting Stakeholders without the
need to File a request for payment of an Administrative Claim with the Bankruptcy Court on account of
such First Lien Adequate Protection Fees and Expenses. The Debtors’ obligation to pay such First Lien
Adequate Protection Fees and Expenses, to the extent not indefeasibly paid in full in Cash on the Effective
Date, shall survive the Effective Date and shall not be released or discharged pursuant to this Plan or the
Confirmation Order until indefeasibly paid in full in Cash by the Debtors. All Adequate Protection
Obligations and Adequate Protection Claims (each as defined in the Cash Collateral Orders) including
accrued or unpaid interest (other than the First Lien Adequate Protection Fees and Expenses) that are
accrued and unpaid as of the Effective Date pursuant to the terms of the Cash Collateral Orders will be
deemed to be waived and cancelled as of the Effective Date; provided that the Adequate Protection
Supplemental Distribution shall be issued to the SoftBank Parties on account of the waiver of their
Adequate Protection Obligations and Adequate Protection Claims (other than First Lien Adequate
Protection Fees and Expenses).

         Except as otherwise provided below in Article II, Holders of Administrative Claims that are
required to File and serve a request for payment of such Administrative Claims must do so by the
Administrative Claims Bar Date. Objections to such requests must be Filed and served on the requesting
party and the Debtors (if the Debtors are not the objecting party) by the Administrative Claims Objection
Bar Date. Holders of such Claims who do not File and serve such requests by the Administrative Claims
Bar Date shall be forever barred, estopped, and enjoined from asserting such Administrative Claims
against the Debtors or the Reorganized Debtors, and such Administrative Claims shall be deemed
compromised, settled, and released as of the Effective Date. Objections to such requests, if any, must be
Filed with the Bankruptcy Court and served on the Debtors and the requesting party no later than 60 days
after the Effective Date. Notwithstanding the foregoing, no request for payment of an Administrative
Claim need be Filed with the Bankruptcy Court with respect to an Administrative Claim previously
Allowed. After notice and a hearing in accordance with the procedures established by the Bankruptcy
Code, the Bankruptcy Rules, and any prior Bankruptcy Court orders, the Allowed amounts, if any, of
Administrative Claims shall be determined by, and satisfied in accordance with, an order that becomes a
Final Order of the Bankruptcy Court.


                                                     34
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 143 of 206


      HOLDERS OF ADMINISTRATIVE CLAIMS FOR UNPAID INVOICES THAT ARISE IN
THE ORDINARY COURSE OF THE DEBTORS’ BUSINESS AND WHICH ARE NOT DUE AND
PAYABLE ON OR BEFORE THE EFFECTIVE DATE SHALL BE PAID IN THE ORDINARY
COURSE OF BUSINESS IN ACCORDANCE WITH THE TERMS THEREOF AND NEED NOT
FILE ADMINISTRATIVE CLAIMS.

B.      DIP Administrative Claims.

         The DIP Administrative Claims shall be deemed Allowed in the full amount outstanding under the
DIP Agreements as of the Effective Date (including any unpaid accrued interest and unpaid fees,
expenses, and other obligations under the DIP Agreements as of the Effective Date). Except as otherwise
expressly provided in the DIP Agreements, or the DIP Orders, upon the indefeasible payment or
satisfaction in full of all Allowed DIP Claims, all commitments under the DIP Agreements shall terminate
and all Liens and security interests granted to secure the DIP Claims shall be automatically terminated and
of no further force and effect, without any further notice to or action, order, or approval of the Bankruptcy
Court or any other Entity. Except to the extent that a Holder of a DIP Administrative Claim agrees to less
favorable treatment, on the Effective Date, in full satisfaction, settlement, discharge, and release of, and in
exchange for, the DIP Administrative Claims, each Holder of an Allowed DIP Administrative Claim shall
receive the following treatment:

      1.     Each Holder of an Allowed DIP TLC Fee Claim shall receive its Pro Rata share of the
DIP TLC Fee Equity Distribution.

        2.       Each Holder of a DIP New Money Interim Facility Claim shall receive payment in full in
Cash, with the proceeds of the DIP New Money Exit Facility, or other treatment in a manner to be
acceptable to the Debtors, the Required Consenting Stakeholders and the Required Lenders, pursuant to
the terms of the DIP New Money Interim Facility Documents.

         3.      Each Holder of a DIP New Money Exit Facility Claim shall receive its Pro Rata share of
the New Money Equity Distribution (subject to adjustment as necessary to account for the Supplemental
Distributions); each Holder of a DIP New Money Exit Facility Claim entitled to receive the DIP New
Money Initial Commitment Premium pursuant to the DIP New Money Exit Facility Credit Agreement
shall receive its Pro Rata share of the DIP New Money Initial Commitment Premium; each Holder of a
DIP New Money Exit Facility Claim entitled to receive the DIP New Money Supplemental Premium shall
receive its Pro Rata share of the DIP New Money Supplemental Premium.

         The New Money Equity Distribution shall be allocated as specified in the DIP New Money Exit
Facility Documents and this Plan. Any New Money Equity Distribution shall be subject to dilution on
account of the MIP, the Exit LC Assigned Cash Collateral Equity Distribution, the Exit LC Lender Fees,
the Adyen LC Equity Distribution, the Exit LC SoftBank Cash Collateral Equity Distribution, and the DIP
TLC Fee Equity Distribution.

        On the Effective Date, the rights and obligations of the Debtors under the DIP New Money
Documents shall vest in the Reorganized Debtors, as applicable. The proceeds of the DIP New Money
Exit Facility shall be used by the Reorganized Debtors to repay any outstanding amounts under the DIP
New Money Interim Facility and for other general corporate purposes.

         Notwithstanding anything to the contrary in this Plan or the Confirmation Order, the DIP
Facilities and the DIP Documents shall continue in full force and effect (other than, for the avoidance of
doubt, any Liens or other security interests terminated pursuant to this Article II.B) after the Effective
Date with respect to any contingent or unsatisfied obligations thereunder, as applicable, including, but not


                                                       35
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 144 of 206


limited to, those provisions relating to the rights of the DIP Agents, and the DIP Lenders to expense
reimbursement, indemnification, and any other similar obligations of the Debtors to the DIP Agents, and
the DIP Lenders (which rights shall be fully enforceable against the Reorganized Debtors) and any
provisions thereof that may survive termination or maturity of the DIP Facilities in accordance with the
terms thereof.

C.       Professional Fee Claims.

         1.      Final Fee Applications and Payment of Professional Fee Claims.

         All final requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date must be Filed no later than 45 days after
the Effective Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee
Claims after notice and a hearing in accordance with the procedures established by the Bankruptcy Court,
Bankruptcy Rules, and Prior Bankruptcy Court orders. The Reorganized Debtors shall pay Professional
Fee Claims in Cash in the amount the Bankruptcy Court Allows, including from the Professional Fee
Escrow Account, as soon as reasonably practicable after such Professional Fee Claims are Allowed, and
which Allowed amount shall not be subject to disallowance, setoff, recoupment, subordination,
recharacterization, or reduction of any kind, including pursuant to section 502(d) of the Bankruptcy Code.
To the extent that funds held in the Professional Fee Escrow Account are insufficient to satisfy the amount
of Professional Fee Claims owing to the Professionals, such Professionals shall have an Allowed
Administrative Claim for any such deficiency, which shall be satisfied in accordance with Article II.A of
this Plan.

         2.      Professional Fee Escrow Account.

         No later than the Effective Date, the Debtors incorporated in the U.S. shall, in consultation with
the Required Consenting Stakeholders, establish and fund the Professional Fee Escrow Account with Cash
equal to the Professional Fee Amount.5 The Professional Fee Escrow Account shall be maintained in trust
solely for the Professionals until all Professional Fee Claims Allowed by the Bankruptcy Court have been
irrevocably paid in full pursuant to one or more Final Orders and any invoices for fees and expenses
incurred after the Effective Date in connection with the final fee applications. Such funds shall not be
considered property of the Debtors’ Estates. The amount of Allowed Professional Fee Claims shall be
paid in Cash to the Professionals by the Reorganized Debtors from the Professional Fee Escrow Account
as soon as reasonably practicable after such Professional Fee Claims are Allowed. When all such
Allowed Professional Fee Claims have been paid in full, any remaining amount in the Professional Fee
Escrow Account shall promptly be transferred to the Reorganized Debtors without any further notice to or
action, order, or approval of the Bankruptcy Court.

         3.      Professional Fee Amount.

        Professionals shall reasonably estimate their unpaid Professional Fee Claims and other unpaid
fees and expenses incurred in rendering services to the Debtors before and as of the Effective Date, and
shall deliver such estimate to the Debtors no later than 5 days before the Effective Date; provided that
such estimate shall not be deemed to limit the amount of the fees and expenses that are the subject of each
Professional’s final request for payment in the Chapter 11 Cases. If a Professional does not provide an


5    For the avoidance of doubt, with respect to the payment of Allowed Professional Fee Amounts of Creditors’
     Committee Professionals pursuant to the UCC Settlement, such fees may only be funded using the UCC
     Settlement Consideration.


                                                       36
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 145 of 206


estimate, the Debtors or the Reorganized Debtors may estimate the unpaid and unbilled fees and expenses
of such Professional; provided, however, that such estimate shall not be binding or considered an
admission with respect to the fees and expenses of such Professional. The total aggregate amount so
estimated as of the Effective Date shall be utilized by the Debtors to determine the amount to be funded to
the Professional Fee Escrow Account; provided, further, that the Reorganized Debtors shall use Cash on
hand to increase the amount of the Professional Fee Escrow Account to the extent fee applications are
Filed after the Effective Date in excess of the amount held in the Professional Fee Escrow Account based
on such estimates.

        4.      Post-Effective Fees and Expenses.

         Except as otherwise specifically provided in this Plan, from and after the Effective Date, the
Reorganized Debtors shall, in the ordinary course of business and without any further notice to or action,
order, or approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal,
professional, or other fees and expenses incurred by the Reorganized Debtors or, solely as it pertains to
the final fee applications, the Creditors’ Committee. Upon the Confirmation Date, any requirement that
Professionals comply with sections 327 through 331, 363, and 1103 of the Bankruptcy Code in seeking
retention or compensation for services rendered after such date shall terminate, and the Reorganized
Debtors may employ and pay any Professional in the ordinary course of business without any further
notice to or action, order, or approval of the Bankruptcy Court.

        The Debtors and the Reorganized Debtors, as applicable, shall pay, within 10 Business Days after
submission of a detailed invoice to the Debtors or the Reorganized Debtors, as applicable, such reasonable
Claims for compensation or reimbursement of expenses incurred by the retained Professionals of the
Debtors, the Reorganized Debtors, or the Creditors’ Committee, as applicable. If the Debtors or the
Reorganized Debtors, as applicable, dispute the reasonableness of any such invoice, the Debtors or the
Reorganized Debtors, as applicable, or the affected Professional may submit such dispute to the
Bankruptcy Court for a determination of the reasonableness of any such invoice, and the disputed portion
of such invoice shall not be paid until the dispute is resolved.

D.      Priority Tax Claims.

        Except to the extent that a Holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, in full and final satisfaction, settlement, release, and discharge of, and in exchange for, each
Allowed Priority Tax Claim, each Holder of such Allowed Priority Tax Claim shall be treated in
accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy Code.

E.      Payment of Statutory Fees and Reporting to the U.S. Trustee.

         All fees due and payable pursuant to 28 U.S.C. § 1930(a) shall be paid by the Debtors, the
Reorganized Debtors, or the Disbursing Agent (on behalf of the Reorganized Debtors), as applicable, for
each quarter (including any fraction thereof) until the Chapter 11 Cases are converted, dismissed, or
closed, whichever occurs first. All monthly reports shall be Filed, and all fees due and payable pursuant
to section 1930(a) of title 28 of the United States Code, shall be paid by the Debtors or the Reorganized
Debtors (or the Disbursing Agent on behalf of the Reorganized Debtors), as applicable, on the Effective
Date. Following the Effective Date, the Reorganized Debtors (or the Disbursing Agent on behalf of the
Reorganized Debtors) shall (a) pay such fees as such fees are assessed and come due for each quarter
(including any fraction thereof) and (b) File quarterly reports in a form consistent with the Revised Joint
Administration Order and reasonably acceptable to the U.S. Trustee. Each Debtor shall remain obligated
to pay such quarterly fees to the U.S. Trustee and to File quarterly reports until the earliest of that



                                                     37
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 146 of 206


particular Debtor’s case being closed, dismissed, or converted to a case under chapter 7 of the Bankruptcy
Code.

F.      Payment of Restructuring Expenses.

         The Restructuring Expenses incurred, or estimated to be incurred, up to and including the
Effective Date, shall be paid in full in Cash on the Effective Date or as reasonably practicable thereafter
(to the extent not previously paid during the course of the Chapter 11 Cases) in accordance with the terms
of the RSA, the Cash Collateral Orders, or any other Final Order of the Bankruptcy Court without any
requirement to (1) File a fee application with the Bankruptcy Court, or (2) for review or approval by the
Bankruptcy Court; provided that the foregoing shall be subject to the Debtors’ receipt of an invoice with
reasonable detail (but without the need for itemized time detail) from the applicable Entity entitled to such
Restructuring Expenses. All Restructuring Expenses to be paid on the Effective Date shall be estimated
prior to and as of the Effective Date, and such estimates shall be delivered to the Debtors at least 3
Business Days before the anticipated Effective Date; provided, however, that such estimates (and related
invoices) shall not be considered an admission or limitation with respect to such Restructuring Expenses.
In addition, the Debtors and the Reorganized Debtors (as applicable) shall continue to pay, when due and
payable in the ordinary course (but no sooner than within 5 Business Days of receipt of an invoice),
Restructuring Expenses related to implementation, Consummation, and defense of the Plan, whether
incurred before, on, or after the Effective Date without any requirement for review or approval by the
Bankruptcy Court or for any party to File a fee application with the Bankruptcy Court; provided that the
foregoing shall be subject to the Debtors’ receipt of an invoice with reasonable detail (but without the
need for itemized time detail) from the applicable Entity entitled to such Restructuring Expenses.

G.      Payment of Stub Rent Claims and Post-Petition Rent Claims.

         Except as otherwise provided under this Plan, and except to the extent that a Holder of an
Allowed Stub Rent Claim and the Debtor against which such Allowed Stub Rent Claim is asserted agree
to less favorable treatment for such Holder, or such Claim has been paid or otherwise satisfied prior to the
Effective Date, each Holder of such an Allowed Stub Rent Claim will receive, in full and final satisfaction
of its Allowed Stub Rent Claim, an amount of Cash equal to the amount of such Allowed Stub Rent Claim
on either (a) the Effective Date, or (b) at such time and upon such terms as otherwise agreed upon by such
Holder and the Debtors or the Reorganized Debtors, as applicable.

         Except as otherwise provided under this Plan, and except to the extent that a Holder of an
Allowed Post-Petition Rent Claim and the Debtor against which such Allowed Post-Petition Rent Claim is
asserted agree to less favorable treatment for such Holder, or such Claim has been paid or otherwise
satisfied prior to the Effective Date, each Holder of such an Allowed Post-Petition Rent Claim will
receive, in full and final satisfaction of its Allowed Post-Petition Rent Claim, an amount of Cash equal to
the amount of such Allowed Post-Petition Rent Claim on either (a) the Effective Date, or (b) at such time
and upon such terms as otherwise agreed upon by such Holder and the Debtors or the Reorganized
Debtors, as applicable.

                                   ARTICLE III.
              CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims and Interests.

         This Plan constitutes a single Plan for all of the Debtors. Except for the Claims addressed in
Article II hereof, all Claims and Interests are classified in the Classes set forth below in accordance with
sections 1122 and 1123(a)(1) of the Bankruptcy Code. A Claim or an Interest, or any portion thereof, is


                                                      38
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 147 of 206


classified in a particular Class only to the extent that any portion of such Claim or Interest fits within the
description of that Class and is classified in other Classes to the extent that any portion of the Claim or
Interest fits within the description of such other Classes. A Claim or an Interest also is classified in a
particular Class for the purpose of receiving distributions under this Plan only to the extent that such
Claim or Interest is an Allowed Claim or Allowed Interest in that Class and has not been paid, released, or
otherwise satisfied prior to the Effective Date.

        The classification of Claims and Interests against each Debtor pursuant to this Plan is as set forth
below. All of the potential Classes for the Debtors are set forth herein. Voting tabulations for recording
acceptances or rejections of this Plan shall be conducted on a Debtor-by-Debtor basis as set forth herein.

            Class            Claims and Interests                Status          Voting Rights
          Class 1      Other Secured Claims                  Unimpaired       Presumed to Accept
          Class 2      Other Priority Claims                 Unimpaired       Presumed to Accept
          Class 3A     Drawn DIP TLC Claims                  Impaired         Entitled to Vote
          Class 3B     Undrawn DIP TLC Claims                Impaired         Entitled to Vote
          Class 4A     Prepetition LC Facility Claims        Impaired         Entitled to Vote
          Class 4B     1L Notes Claims                       Impaired         Entitled to Vote
          Class 5      2L Notes Claims                       Impaired         Entitled to Vote
          Class 6      3L Notes Claims                       Impaired         Deemed to Reject
          Class 7      Unsecured Notes Claims                Impaired         Deemed to Reject
          Class 8      General Unsecured Claims              Impaired         Deemed to Reject
          Class 9      Go-Forward Guaranty Claims            Unimpaired       Presumed to Accept
                                                             Unimpaired /     Presumed to Accept
          Class 10     Intercompany Claims
                                                             Impaired         / Deemed to Reject
                                                             Unimpaired /     Presumed to Accept
          Class 11     Intercompany Interests
                                                             Impaired         / Deemed to Reject
          Class 12     Parent Interests                      Impaired         Deemed to Reject
          Class 13     Section 510(b) Claims                 Impaired         Deemed to Reject

B.      Treatment of Claims and Interests.

         Each Holder of an Allowed Claim or Allowed Interest, as applicable, shall receive under this Plan
the treatment described below in full and final satisfaction, settlement, release, and discharge of and in
exchange for such Holder’s Allowed Claim or Allowed Interest, as applicable, except to the extent
different treatment is agreed to in writing by the Debtors or the Reorganized Debtors, as applicable, and
the Holder of such Allowed Claim or Allowed Interest, as applicable, subject to the consent of the
Required Consenting Stakeholders. Unless otherwise indicated, the Holder of an Allowed Claim or
Allowed Interest, as applicable, shall receive such treatment on the Effective Date (or, if payment is not
then due, in accordance with such Claim’s or Interest’s terms in the ordinary course of business) or as
soon as reasonably practicable thereafter.


                                                      39
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                            Document     Page 148 of 206


      1.    Class 1 – Other Secured Claims

            (a)     Classification: Class 1 consists of all Other Secured Claims.

            (b)     Treatment: In full and final satisfaction of such Allowed Other Secured Claims,
                    each Holder of an Allowed Other Secured Claim shall receive, at the option of the
                    applicable Debtor (or Reorganized Debtor, as applicable) and subject to the
                    consent of the Required Consenting Stakeholders:

                    (i)     payment in full in Cash of its Allowed Other Secured Claim;

                    (ii)    the collateral securing its Allowed Other Secured Claim;

                    (iii)   Reinstatement of its Allowed Other Secured Claim; or

                    (iv)    such other treatment that renders its Allowed Other Secured Claim
                            Unimpaired in accordance with section 1124 of the Bankruptcy Code.

            (c)     Voting: Class 1 is Unimpaired under this Plan. Holders of Allowed Other
                    Secured Claims are conclusively presumed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                    to vote to accept or reject this Plan.

      2.    Class 2 – Other Priority Claims

            (a)     Classification: Class 2 consists of all Other Priority Claims.

            (b)     Treatment: In full and final satisfaction of such Allowed Other Priority Claims,
                    each Holder of an Allowed Other Priority Claim shall receive, at the option of the
                    applicable Debtor (or Reorganized Debtor, as applicable) and subject to the
                    consent of the Required Consenting Stakeholders:

                    (i)     payment in full in Cash of its Allowed Other Priority Claim; or

                    (ii)    treatment in a manner consistent with section 1129(a)(9) of the
                            Bankruptcy Code.

            (c)     Voting: Class 2 is Unimpaired under this Plan. Holders of Allowed Other
                    Priority Claims are conclusively presumed to have accepted this Plan pursuant to
                    section 1126(f) of the Bankruptcy Code. Therefore, such Holders are not entitled
                    to vote to accept or reject this Plan.

      3.    Class 3A – Drawn DIP TLC Claims

            (a)     Classification: Class 3A consists of all Drawn DIP TLC Claims.

            (b)     Allowance: The Drawn DIP TLC Claims shall be Allowed in the full amount of
                    such Claims outstanding under the DIP LC/TLC Credit Agreement as of the
                    Effective Date.




                                                 40
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                            Document     Page 149 of 206


            (c)     Treatment: In full and final satisfaction of such Allowed Drawn DIP TLC
                    Claims, the Holder of each Allowed Drawn DIP TLC Claim shall receive its Pro
                    Rata share of the Drawn DIP TLC Equity Distribution.

            (d)     Voting: Class 3A is Impaired under this Plan. Holders of Allowed Drawn DIP
                    TLC Claims are entitled to vote to accept or reject this Plan.

      4.    Class 3B – Undrawn DIP TLC Claims

            (a)     Classification: Class 3B consists of all Undrawn DIP TLC Claims.

            (b)     Allowance: The Undrawn DIP TLC Claims shall be Allowed in the full amount
                    of such Claims outstanding under the DIP LC/TLC Credit Agreement as of the
                    Effective Date.

            (c)     Treatment: In full and final satisfaction of such Allowed Undrawn DIP TLC
                    Claims, each Allowed Undrawn DIP TLC Claim shall receive the following
                    treatment:

                    (i)     in the case of an Excess DIP TLC Claim, such Claim shall be paid in full
                            in cash in an amount equal to such Excess DIP TLC Claim from amounts
                            remaining from the proceeds of the DIP TLC Facility (or, for the
                            avoidance of doubt, interest accrued on the amounts funded pursuant to
                            the DIP TLC Facility), which amounts shall be funded solely from
                            amounts which constitute DIP LC Loan Collateral (as defined in the DIP
                            LC/TLC Order) after the funding of the SoftBank Parties’ obligations to
                            support the Exit LC Facility; and

                    (ii)    in the case of a Rolled Undrawn DIP TLC Claim, such Claim shall be
                            converted into obligations under the Exit LC Facility on a
                            dollar-for-dollar basis.

            (d)     Voting: Class 3B is Impaired under this Plan. Holders of Allowed Undrawn DIP
                    TLC Claims are entitled to vote to accept or reject this Plan.

      5.    Class 4A – Prepetition LC Facility Claims

            (a)     Classification: Class 4A consists of all Prepetition LC Facility Claims.

            (b)     Allowance: The Prepetition LC Facility Claims shall be Allowed to the full
                    extent set forth in the Prepetition LC Facility Documents.

            (c)     Treatment: In full and final satisfaction of such Allowed Prepetition LC Facility
                    Claims, each Holder of an Allowed Prepetition LC Facility Claim shall receive its
                    Pro Rata share of the 1L Equity Distribution.

            (d)     Voting: Class 4A is Impaired under this Plan. Holders of Allowed Prepetition
                    LC Facility Claims are entitled to vote to accept or reject this Plan.




                                                41
Case 23-19865-JKS    Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                           Document     Page 150 of 206


      6.    Class 4B – 1L Notes Claims

            (a)     Classification: Class 4B consists of all 1L Notes Claims.

            (b)     Allowance: The 1L Notes Claims shall be Allowed to the full extent set forth in
                    the applicable Secured Notes Documents.

            (c)     Treatment: In full and final satisfaction of such Allowed 1L Notes Claims, each
                    Holder of an Allowed 1L Notes Claim shall receive its Pro Rata share of the 1L
                    Equity Distribution.

            (d)     Voting: Class 4B is Impaired under this Plan. Holders of Allowed 1L Notes
                    Claims are entitled to vote to accept or reject this Plan.

      7.    Class 5 – 2L Notes Claims

            (a)     Classification: Class 5 consists of all 2L Notes Claims.

            (b)     Allowance: The 2L Notes Claims shall be Allowed to the full extent set forth in
                    the applicable Secured Notes Documents (excluding, for the avoidance of doubt,
                    postpetition interest and fees).

            (c)     Treatment: In full and final satisfaction of such Allowed 2L Notes Claims, each
                    Holder of an Allowed 2L Notes Claim shall receive its Pro Rata share of the 2L
                    Equity Distribution.

            (d)     Voting: Class 5 is Impaired under this Plan. Holders of Allowed 2L Notes
                    Claims are entitled to vote to accept or reject this Plan.

      8.    Class 6 – 3L Notes Claims

            (a)     Classification: Class 6 consists of all 3L Notes Claims.

            (b)     Allowance: The 3L Notes Claims shall be Allowed to the full extent set forth in
                    the applicable Secured Notes Documents (excluding, for the avoidance of doubt,
                    postpetition interest).

            (c)     Treatment: Each Holder of an Allowed 3L Notes Claim shall receive, in full and
                    final satisfaction of such Claim, its share of the UCC Settlement Proceeds, to be
                    distributed by the UCC Settlement Trust in accordance with the terms of the UCC
                    Settlement Trust Documents; provided that the SoftBank Parties, as the sole
                    Holders of Allowed 3L Exchangeable Notes Claims, agree to waive any
                    distribution on account of such Allowed 3L Exchangeable Notes Claims and to
                    not receive any portion of the UCC Settlement Proceeds or be entitled to any
                    distribution from the UCC Settlement Trust; provided, further, that in connection
                    with any distribution from the UCC Settlement Trust to any Holder of an Allowed
                    3L Notes Claim, such distribution shall not be subject to an intercreditor pay-over
                    provision, or any such similar provision, under the 1L/2L/3L Intercreditor
                    Agreement, the DIP Documents, the Exit LC Facility Documents, or any other
                    related agreement.



                                                42
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                            Document     Page 151 of 206


            (d)     Voting: Class 6 is Impaired under this Plan. Holders of 3L Notes Claims are
                    conclusively deemed to have rejected the Plan. Therefore, such Holders are not
                    entitled to vote to accept or reject this Plan.

      9.    Class 7 – Unsecured Notes Claims

            (a)     Classification: Class 7 consists of all Unsecured Notes Claims.

            (b)     Allowance: The Unsecured Notes Claims shall be Allowed to the full extent set
                    forth in the applicable Unsecured Notes Indentures (excluding, for the avoidance
                    of doubt, postpetition interest).

            (c)     Treatment: Each Holder of an Allowed Unsecured Notes Claim shall receive the
                    following treatment:

                    (i)     any such Holder that is an Unsecured Notes Settlement Non-Participant
                            shall receive, in full and final satisfaction of such Claim, its Pro Rata
                            share of the Unsecured Notes Pool; provided that no such Holder shall
                            receive more than a 1.0% recovery on account of such Claim; and

                    (ii)    any such Holder that is an Unsecured Notes Settlement Participant shall
                            not receive or retain any distribution, property, or other value under this
                            Article III on account of such Claim; provided that nothing in this Plan
                            shall prevent any such Holder from receiving distributions under the 9019
                            Order.

            (d)     Voting: Class 7 is Impaired under this Plan. Holders of Unsecured Notes Claims
                    are conclusively deemed to have rejected the Plan. Therefore, such Holders are
                    not entitled to vote to accept or reject this Plan.

      10.   Class 8 – General Unsecured Claims

            (a)     Classification: Class 8 consists of all General Unsecured Claims.

            (b)     Treatment: Each Holder of an Allowed General Unsecured Claim shall receive,
                    in full and final satisfaction of such Claim, its share of the UCC Settlement
                    Proceeds, to be distributed by the UCC Settlement Trust in accordance with the
                    terms of the UCC Settlement Trust Documents.

            (c)     Voting: Class 8 is Impaired under this Plan. Holders of General Unsecured
                    Claims are conclusively deemed to have rejected the Plan. Therefore, such
                    Holders are not entitled to vote to accept or reject this Plan.

      11.   Class 9 – Go-Forward Guaranty Claims

            (a)     Classification: Class 9 consists of all Go-Forward Guaranty Claims.

            (b)     Treatment: Each Allowed Go-Forward Guaranty Claim shall be Reinstated.




                                                 43
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                            Document     Page 152 of 206


            (c)     Voting: Class 9 is Unimpaired under this Plan. Holders of Allowed Go-Forward
                    Guaranty Claims are conclusively presumed to have accepted this Plan.
                    Therefore, such Holders are not entitled to vote to accept or reject this Plan.

      12.   Class 10 – Intercompany Claims

            (a)     Classification: Class 10 consists of all Intercompany Claims.

            (b)     Treatment:      Each Allowed Intercompany Claim shall be (i) Reinstated,
                    (ii) converted to equity (other than, for the avoidance of doubt, equity of
                    Reorganized WeWork), (iii) canceled, released, or discharged, or (iv) otherwise
                    set off, settled, or distributed, at the option of the Debtors or the Reorganized
                    Debtors, and subject to the consent of the Required Consenting Stakeholders, in
                    each case in accordance with the Restructuring Transactions Exhibit.

            (c)     Voting: Class 10 is Unimpaired under this Plan if Reinstated or Impaired under
                    this Plan if converted to equity, canceled, released, discharged, set off, settled, or
                    distributed. Holders of Intercompany Claims are conclusively deemed to have
                    accepted or rejected this Plan. Therefore, such Holders are not entitled to vote to
                    accept or reject this Plan.

      13.   Class 11 – Intercompany Interests

            (a)     Classifications: Class 11 consists of all Intercompany Interests.

            (b)     Treatment: Each Allowed Intercompany Interest shall be (i) Reinstated,
                    (ii) canceled, released, or discharged, or (iii) otherwise set off, settled, or
                    distributed, at the option of the Debtors or the Reorganized Debtors, and subject
                    to the consent of the Required Consenting Stakeholders, in each case in
                    accordance with the Restructuring Transactions Exhibit.

            (c)     Voting: Class 11 is Unimpaired under this Plan if Reinstated or Impaired under
                    this Plan if canceled, released, discharged, set off, settled, or distributed. Holders
                    of Intercompany Interests are conclusively deemed to have accepted or rejected
                    this Plan. Therefore, such Holders are not entitled to vote to accept or reject this
                    Plan.

      14.   Class 12 – Parent Interests

            (a)     Classification: Class 12 consists of all Parent Interests.

            (b)     Treatment: All Parent Interests shall be canceled, released, discharged, and
                    extinguished and will be of no further force or effect, and Holders of such Parent
                    Interests shall not receive any distribution on account of such Interests, except as
                    otherwise provided in the Restructuring Transactions Exhibit, and subject to the
                    consent of the Required Consenting Stakeholders.

            (c)     Voting: Class 12 is Impaired under this Plan. Holders of Interests in WeWork
                    Parent are conclusively deemed to have rejected this Plan. Therefore, such
                    Holders are not entitled to vote to accept or reject this Plan, except as otherwise
                    provided in the Restructuring Transactions Exhibit.


                                                  44
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 153 of 206


        15.     Class 13 – Section 510(b) Claims

                (a)     Classification: Class 13 consists of all Section 510(b) Claims.

                (b)     Treatment: On the Effective Date, all Section 510(b) Claims against any
                        applicable Debtor shall be canceled, released, discharged, and extinguished and
                        will be of no further force or effect, and Holders of Section 510(b) Claims shall
                        not receive or retain any distribution, property, or other value on account of such
                        Section 510(b) Claims.

                (c)     Voting: Class 13 is Impaired under this Plan. Holders of Section 510(b) Claims
                        are conclusively deemed to have rejected this Plan. Therefore, such Holders are
                        not entitled to vote to accept or reject this Plan.

C.      Special Provision Governing Unimpaired Claims.

         Except as otherwise provided in this Plan or the Plan Supplement, nothing under this Plan shall
affect the Debtors’ or the Reorganized Debtors’ rights regarding any Unimpaired Claim, including all
rights regarding legal and equitable defenses to, or setoffs or recoupments against, any such Unimpaired
Claim. Unless otherwise Allowed, Claims that are Unimpaired shall remain Disputed Claims under this
Plan.

D.      Elimination of Vacant Classes.

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed
Interest or a Claim or Interest temporarily Allowed by the Bankruptcy Court in any amount greater than
zero as of the date of the Combined Hearing shall be deemed eliminated from this Plan for purposes of
voting to accept or reject this Plan and for purposes of determining acceptance or rejection of this Plan by
such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

E.      Voting Classes, Presumed Acceptance by Non-Voting Classes.

         If a Class contains Claims or Interests eligible to vote on this Plan and no Holder of Claims or
Interests eligible to vote in such Class votes to accept or reject this Plan, the Holders of such Claims or
Interests in such Class shall be deemed to have accepted this Plan.

F.      Intercompany Interests.

         To the extent Reinstated under this Plan, (a) distributions on account of Intercompany Interests
are not being received by Holders of such Intercompany Interests on account of their Intercompany
Interests but for the purposes of administrative convenience and due to the importance of maintaining the
prepetition corporate structure for the ultimate benefit of the Holders of New Interests, and in exchange
for the Debtors’ and the Reorganized Debtors’ agreement under this Plan to make certain distributions to
the Holders of Allowed Claims, and (b) other than as described in the Restructuring Transactions Exhibit,
all Intercompany Interests shall be owned on and after the Effective Date by the same Reorganized Debtor
that corresponds with the Debtor that owned such Intercompany Interests immediately prior to the
Effective Date.

G.      Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code.

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by one or more Impaired Class of Claims. In the event any Debtor does not have

                                                     45
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 154 of 206


one or more Impaired Classes of Claims, all Classes of Claims against such Debtor are presumed to have
accepted the Plan. The Debtors shall seek Confirmation pursuant to section 1129(b) of the Bankruptcy
Code with respect to any rejecting Class(es) of Claims or Interests. The Debtors reserve the right to
modify this Plan in accordance with Article X hereof and the terms of the RSA (subject to the consent
rights of the Required Consenting Stakeholders) to the extent that Confirmation pursuant to
section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims or Interests or reclassifying Claims to the extent permitted by the
Bankruptcy Code and the Bankruptcy Rules. For the avoidance of doubt, notwithstanding any of the
foregoing, the Plan shall enforce all rights and subordination arising under any intercreditor agreements in
accordance with section 510(a) of the Bankruptcy Code.

H.      Controversy Concerning Impairment.

        If a controversy arises as to whether any Claims or Interests, or any Class of Claims or Interests,
are Impaired, the Bankruptcy Court shall, after notice and a hearing, determine such controversy on or
before the Confirmation Date.

I.      Subordinated Claims and Interests.

         The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and the
respective distributions and treatments under this Plan take into account and conform to the relative
priority and rights of the Claims and Interests in each Class in connection with any contractual, legal, and
equitable subordination rights relating thereto, whether arising under general principles of equitable
subordination, section 510(b) of the Bankruptcy Code, or otherwise, including intercreditor agreements
pursuant to section 510(a) of the Bankruptcy Code. Pursuant to section 510 of the Bankruptcy Code, the
Debtors or the Reorganized Debtors, as applicable, subject to the consent of the Required Consenting
Stakeholders, reserve the right to re-classify any Allowed Claim or Allowed Interest in accordance with
any contractual, legal, or equitable subordination rights relating thereto.

                                      ARTICLE IV.
                         MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests.

         As discussed in further detail in the Disclosure Statement and as otherwise provided herein,
pursuant to section 1123 ofTo the greatest extent permissible under the Bankruptcy Code and the
Bankruptcy Rules, and in consideration for the classification, distributions, releases, and other benefits
provided under this Plan, upon the Effective Date, the provisions of this Plan shall constitute a good faith
compromise and settlement of all Claims, Interests, Causes of Action, and controversies released, settled,
compromised, discharged, satisfied, or otherwise resolved pursuant to this Plan. This Plan shall be
deemed a motion to approve the good faith compromise and settlement of all such Claims, Interests,
Causes of Action, and controversies pursuant to Bankruptcy Rule 9019, and the entry of the Confirmation
Order shall constitute the Bankruptcy Court’s approval of such compromise and settlement under section
1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court
that such settlement and compromise is fair, equitable, reasonable and in the best interests of the Debtors,
their Estates, and Holders of Claims and Interests. Subject to Article VI hereof, all distributions made to
Holders of Allowed Claims and Allowed Interests, as applicable, in any Class are intended to be, and shall
be, final.

       Certain Claims and Causes of Action may exist between one or more of the Debtors and one or
more of its Affiliates, which Claims and Causes of Action (other than any such Claims and Causes of


                                                      46
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 155 of 206


Action that are not released pursuant to Article VIII, including any obligations arising under business or
commercial agreements or arrangements among the Released Parties and any non-Debtor Entity) have
been settled, and such settlement is reflected in the treatment of the Intercompany Claims and the Claims
against and Interests in each Debtor Entity. This Plan shall be deemed a motion to approve the good faith
compromise and settlement of such Claims and Causes of Action pursuant to Bankruptcy Rule 9019.

B.      Restructuring Transactions.

         On or before the Effective Date, or as soon as reasonably practicable thereafter, the applicable
Debtors or the Reorganized Debtors, subject to the consent of the Required Consenting Stakeholders, shall
consummate the Restructuring Transactions and take all actions as may be necessary or appropriate to
effectuate any transaction described in, approved by, contemplated by, or necessary to effectuate this Plan
that are consistent with and pursuant to the terms and conditions of this Plan, including: (a) the execution
and delivery of appropriate agreements or other documents of merger, amalgamation, consolidation,
restructuring, conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase, or
liquidation containing terms that are consistent with the terms of this Plan, the RSA, and the Plan
Supplement and that satisfy the requirements of applicable Law and any other terms to which the
applicable Entities may agree; (b) the execution and delivery of appropriate instruments of transfer,
assignment, assumption, or delegation of any asset, property, right, liability, debt, or obligation on terms
consistent with the terms of this Plan, the RSA, and the Plan Supplement and having other terms for which
the applicable Entities may agree; (c) the execution, delivery, and Filing, if applicable, of appropriate
certificates or articles of incorporation, formation, reincorporation, merger, consolidation, conversion,
amalgamation, arrangement, continuance, or dissolution pursuant to applicable state or provincial Law,
including any applicable New Corporate Governance Documents; (d) such other transactions and/or
Bankruptcy Court filings that are required to effectuate the Restructuring Transactions, including any
sales, mergers, consolidations, restructurings, conversions, dispositions, transfers, formations,
organizations, dissolutions, or liquidations or those conducted pursuant to the Restructuring Transactions
Exhibit (including, for the avoidance of doubt, if so provided in the Restructuring Transactions Exhibit, all
transactions necessary to provide for the sale/purchase of all or substantially all of the assets or Interests
of any of the Debtors, which purchase may be structured as a taxable transaction for U.S. federal income
tax purposes); (e) the execution, delivery, and Filing of the DIP New Money Documents; (f) the
execution, delivery, and Filing of the Exit LC Facility Documents; (g) the execution and delivery of the
UCC Settlement Trust Documents and all other steps that are necessary or appropriate to establish the
UCC Settlement Trust; and (h) all other actions that the applicable Entities determine to be necessary or
appropriate, including making filings or recordings that may be required by applicable Law in connection
with this Plan.

        The Confirmation Order shall, and shall be deemed to, pursuant to sections 363 and 1123 of the
Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to effect
any transaction described in, contemplated by, or necessary to effectuate this Plan. On the Effective Date
or as soon as reasonably practicable thereafter, the Reorganized Debtors, as applicable, shall issue all
Securities, notes, instruments, certificates, and other documents required to be issued pursuant to the
Restructuring Transactions.

C.      Reorganized Debtors.

        On the Effective Date, in accordance with the terms of the RSA and the Corporate Governance
Term Sheet, the New Board shall be appointed, and the Reorganized Debtors shall adopt the New
Corporate Governance Documents. The Reorganized Debtors shall be authorized to adopt any other
agreements, documents, and instruments and to take any other actions contemplated under this Plan as
necessary to consummate this Plan so long as such agreements, documents, instruments, and actions


                                                      47
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                Document     Page 156 of 206


satisfy the requirements of the RSA. Cash payments to be made pursuant to this Plan will be made by the
Debtors, the Reorganized Debtors, or the Disbursing Agent (as applicable). The Debtors and the
Reorganized Debtors will be entitled to transfer funds between and among themselves as they determine
to be necessary or appropriate to enable the Debtors or the Reorganized Debtors, as applicable, to satisfy
their obligations under this Plan. Except as set forth herein, any changes in intercompany account
balances resulting from such transfers will be accounted for and settled in accordance with the Debtors’
historical intercompany account settlement practices and will not violate the terms of this Plan.

D.      Sources of Consideration for Plan Distributions.

        The Debtors and the Reorganized Debtors shall fund distributions under this Plan, as applicable,
with (a) the proceeds from the DIP New Money Exit Facility; (b) the New Interests; (c) Cash or other
proceeds from the sale of Estate property (if any); and (d) the Debtors’ Cash on hand, as applicable. The
issuance, distribution, or authorization, as applicable or as described in the Restructuring Transaction
Exhibit, of certain Securities in connection with this Plan, including the New Interests will be exempt
from SEC registration to the fullest extent permitted by Law, as more fully described in Article IV.E,
below.

        1.      Exit LC Facility.

       On the Effective Date, the Debtors and the SoftBank Parties shall enter into the Exit LC Facility
pursuant to the following terms, as described in further detail in, and subject to, the Exit LC Facility
Documents:

                (a)     the Exit LC Facility shall havebe cash collateralized by the Aggregate Exit LC
                        Cash Collateral, which credit support shall be committed for a 6-year term,
                        subject to mandatory redemption on a dollar-for-dollar basis upon change of
                        control;

                (b)     on the Effective Date, all Undrawn DIP TLC Claims shall constitute obligations
                        under the Exit LC Facility, and all directly associated cash collateral with respect
                        to each letter of credit (subject to the assignment of the Exit LC Assigned Cash
                        Collateral pursuant to Article IV.D.1(c) and (d) below) shall continue as credit
                        support under the Exit LC Facility, in each case on a dollar-for-dollar basis
                        (provided that, to the extent the Exit LC Facility Issuing Banks agree to reduce
                        the level of cash collateralization required to support the Exit LC Facility, only
                        such reduced amount of cash collateralization shall continue as credit support;
                        provided, further, that such reduced amount shall not be less than 100% of the
                        face amount of the associated Exit LCs), until the earlier of one of the following:
                        (i) expiration or reduction of the letters of credit under the Exit LC Facility; (ii) a
                        change of control; (iii) refinancing of the Exit LC Facility; or
                        (iv) maturity/expiration of the 6-year term as described in Article IV.D.1(a)
                        above;

                (c)     on the Effective Date, the Reorganized Debtors shall receive rights to the Exit LC
                        Assigned Cash Collateral and, thereafter, such Exit LC Assigned Cash Collateral
                        shall only be released to the Reorganized Debtors as follows:




                                                      48
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                            Document     Page 157 of 206


                    (i)     the portion of Exit LC Assigned Cash Collateral associated with any
                            expired or reduced Exit LCs may be released to the Reorganized Debtors
                            at their discretion; and

                    (ii)    all Exit LC Assigned Cash Collateral shall be released to the Reorganized
                            Debtors upon (A) a change of control; (B) refinancing of the Exit LC
                            Facility; or (C) maturity of the 6-year term as described in
                            Article IV.D.1(a);

            (d)     on the Effective Date, the SoftBank Parties shall retain rights to the Exit LC
                    SoftBank Cash Collateral and, thereafter, such Exit LC SoftBank Cash Collateral
                    shall only be released to the SoftBank Parties as follows, subject to the potential
                    equitization of such cash collateral to the extent such amounts may be equitized
                    under certain circumstances pursuant to the terms of the Exit LC Facility
                    Documents:

                    (i)     the portion of Exit LC SoftBank Cash Collateral associated with any
                            expired or reduced Exit LCs may be released to the SoftBank Parties on a
                            semi-annual basis, in proportion to the Exit LC Assigned Cash Collateral
                            released to the Reorganized Debtors under Article IV.D.1(c)(i) during the
                            same semi-annual period; and

                    (ii)    all Exit LC SoftBank Cash Collateral shall be released to the SoftBank
                            Parties upon (A) a change of control; (B) refinancing of the Exit LC
                            Facility; or (C) maturity of the 6-year term as described in
                            Article IV.D.1(a);

            (e)     on or after the Effective Date, the Reorganized Debtors shall be responsible for
                    the payment of interests, fees and other running costs due to the Exit LC Facility
                    Issuing Banks;

            (f)     on or after the Effective Date, the Exit LC Lender Fees and Post-Emergence
                    Drawn Exit LC Amount may be paid in cash or equitized pursuant to the Exit LC
                    Facility Documents;

            (g)     on or after the Effective Date, deposit interest or other similar amounts that
                    accrue on the Aggregate Exit LC Cash Collateral shall be assigned as follows:

                    (i)     37.50% to the Reorganized Debtors (which shall be available to the
                            Debtors for general corporate purposes); and

                    (ii)    62.50% to the SoftBank Parties (which shall not be available to the
                            Debtors for any purpose and shall be released to the SoftBank Parties on
                            a semi-annual basis); and

            (h)     on the Effective Date, the Exit LC Assigned Cash Collateral Equity Distribution
                    shall be issued and held in escrow by the Reorganized Debtors for the benefit of
                    the DIP TLC Lender, and, on or after the Effective Date, a Pro Rata portion of the
                    Exit LC Assigned Cash Collateral Equity Distribution shall be released from
                    escrow to the DIP TLC Lender, (i) in a percentage equal to the percentage of Exit
                    LC Assigned Cash Collateral that the Reorganized Debtors elect to withdraw


                                                 49
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 158 of 206


                         from the applicable cash collateral accounts from time to time in accordance with
                         the terms of the Exit LC Facility Documents, or (ii) upon maturity, change of
                         control, or refinancing of the Exit LC Facility.

         To the extent not already approved, Confirmation shall be deemed approval of the Exit LC
Facility and the Exit LC Facility Documents, as applicable, and all transactions and related agreements
contemplated thereby, and all actions to be taken, undertakings to be made, and obligations to be incurred
by the Reorganized Debtors in connection therewith, including the payment of all fees, indemnities,
expenses, and other payments provided for therein and authorization of the Debtors or the Reorganized
Debtors (as applicable), without further notice to or order of the Bankruptcy Court, to enter into and
execute the Exit LC Facility Documents and such other documents as may be required to effectuate the
treatment afforded by the Exit LC Facility. Execution of the Exit LC Facility Documents by the Exit LC
Facility Agents shall be deemed to bind all Exit LC Facility Lenders as if each such Exit LC Facility
Lender had executed the applicable Exit LC Facility Documents with appropriate authorization.

         On the Effective Date, all of the Liens and security interests to be granted in accordance with the
Exit LC Facility Documents, to the extent applicable: (i) shall be deemed to be granted; (ii) shall be legal,
binding, automatically perfected, non-avoidable, and enforceable Liens on, and security interests in, the
collateral granted thereunder in accordance with the terms of the Exit LC Facility Documents; (iii) shall
be deemed automatically perfected on or prior to the Effective Date, subject only to such Liens and
security interests as may be permitted under the respective Exit LC Facility Documents; and (iv) shall not
be subject to avoidance, recharacterization, or equitable subordination for any purposes whatsoever and
shall not constitute preferential transfers, fraudulent transfers, or fraudulent conveyances under the
Bankruptcy Code or any applicable non-bankruptcy Law.

         To the extent applicable, the Reorganized Debtors, the applicable non-Debtor Affiliates, and the
Persons and Entities granted such Liens and security interests shall be authorized to make all filings and
recordings, and to obtain all governmental approvals and consents, and to take any other actions necessary
to establish and perfect such Liens and security interests under the provisions of the applicable state,
federal, or other Law that would be applicable in the absence of this Plan and the Confirmation Order (it
being understood that perfection shall occur automatically by virtue of the entry of the Confirmation
Order and any such Filings, recordings, approvals, and consents shall not be required), and will thereafter
cooperate to make all other filings and recordings that otherwise would be in accordance with the Exit LC
Facility Documents and necessary under applicable Law to give notice of such Liens and security interests
to third parties.

        2.      New Interests

         The Confirmation Order shall authorize the issuance of Reorganized WeWork’s New Interests,
and any other Securities derivative thereto, in one or more issuances without the need for any further
corporate action, and the Debtors or Reorganized Debtors, as applicable, are authorized to take any action
necessary or appropriate in furtherance thereof. By the Effective Date, applicable Holders of Claims shall
receive the New Interests in exchange for their Claims pursuant to Articles II and III and in accordance
with, to the extent applicable, the Exit LC Facility Documents. New Interests issued under the Plan shall
be subject to dilution by the New Interests issued in connection with the Exit LC Facility on the terms set
forth in the Exit LC Facility Documents and the New Corporate Governance Documents, including the
MIP, the Exit LC SoftBank Cash Collateral Equity Distribution, and the Exit LC Lender Fees.

         All of the shares or units of New Interests issued pursuant to the Plan shall be duly authorized,
validly issued, fully paid, and non-assessable. Each distribution and issuance of New Interests under the
Plan shall be governed by the terms and conditions set forth in the Plan applicable to such distribution or


                                                      50
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 159 of 206


issuance and by the terms and conditions of the instruments evidencing or relating to such distribution or
issuance, which terms and conditions shall bind each Entity receiving such distribution or issuance.

        The Reorganized Debtors (i) shall emerge from the Chapter 11 Cases as a private company on the
Effective Date and the New Interests shall not be listed on a public stock exchange, (ii) shall not be
voluntarily subjected to any reporting requirements promulgated by the SEC, and (iii) shall not be
required to list the New Interests on a recognized U.S. stock exchange, except, in each case, as otherwise
may be required pursuant to the New Corporate Governance Documents.

        The New Corporate Governance Documents shall be effective as of the Effective Date and, as of
such date, shall be deemed to be valid, binding, and enforceable in accordance with their terms, and each
holder of New Interests shall be deemed bound thereby.

        3.      DIP New Money Exit Facility

         On or before the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall enter
into the DIP New Money Exit Facility (the terms of which shall be set forth in the DIP New Money Exit
Facility Documents). On the later of (i) the Effective Date and (ii) the date on which the DIP New Money
Exit Facility Documents have been executed and delivered, except as otherwise expressly provided in the
Plan, all of the Liens and security interests to be granted in accordance therewith (a) shall be deemed to be
granted, (b) shall be legal, binding, and enforceable Liens on, and security interests in, the applicable
collateral in accordance with the respective terms of the DIP New Money Exit Facility Documents,
(c) shall be deemed perfected on the Effective Date, subject only to the Liens and security interests as may
be permitted to be senior to them under the respective DIP New Money Exit Facility Documents, and
(d) shall not be subject to recharacterization or subordination for any purposes whatsoever and shall not
constitute preferential transfers or fraudulent conveyances under the Bankruptcy Code or any applicable
non-bankruptcy law. The Reorganized Debtors and the Entities granted such Liens and security interests
shall be authorized to make all filings and recordings, and to obtain all governmental approvals and
consents necessary to establish and perfect such Liens and security interests under the provisions of the
applicable state, federal, or other Law that would be applicable in the absence of the Plan and the
Confirmation Order (it being understood that perfection shall occur automatically by virtue of the entry of
the Confirmation Order (subject solely to the occurrence of the Effective Date) and any such filings,
recordings, approvals, and consents shall not be required), and will thereafter cooperate to make all other
filings and recordings that otherwise would be necessary under applicable law to give notice of such Liens
and security interests to third parties.

        4.      UCC Settlement

                (a)     Establishment of UCC Settlement Trust

        On the Effective Date, the UCC Settlement Trust Documents shall be executed by the
Reorganized Debtors and the UCC Settlement Trustee, and all other necessary steps shall be taken to
establish the UCC Settlement Trust in accordance with the Plan and the UCC Settlement Trust
Documents. The UCC Settlement Trust Documents will provide the powers, duties, and authorities of the
UCC Settlement Trustee. The Creditors’ Committee shall have the sole authority to determine the identity
of the UCC Settlement Trustee in accordance with the UCC Settlement Trust Documents.

        The UCC Settlement Trust shall be established for the purposes of, among other
things: (i) distribution of the UCC Settlement Proceeds to Holders of Allowed General Unsecured Claims
and Holders of Allowed 3L Notes Claims; (ii) reconciling, contesting, objecting to, seeking to
subordinate, compromising, or settling any and all Disputed General Unsecured Claims and Disputed 3L


                                                      51
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 160 of 206


Notes Claims; and (iii) performing such other functions as are provided for in the Plan or the UCC
Settlement Trust Documents.

         On or following the later of the Effective Date and the UCC Settlement Determination Date, the
Debtors shall irrevocably transfer and shall be deemed to have irrevocably transferred the UCC Settlement
Proceeds to the UCC Settlement Trust, which shall be funded exclusively with the UCC Settlement
Proceeds and shall not be entitled to receive any additional value. Pursuant to section 1141 of the
Bankruptcy Code, the UCC Settlement Proceeds shall automatically vest in the UCC Settlement Trust free
and clear of all Claims, Interests, Liens, other encumbrances or interests of any kind as of the applicable
date of transfer of such UCC Settlement Proceeds to the UCC Settlement Trust. Pursuant to and to the
fullest extent permitted by section 1146 of the Bankruptcy Code, such transfer(s) shall be exempt from
any stamp, real estate transfer, other transfer, mortgage reporting, sales, use, or other similar tax.

                (b)      Payment of Expenses

       On the Effective Date, the Debtors shall indefeasibly pay the 3L/Unsecured Notes Trustee
Expenses and the Creditors’ Committee Member Expenses using the UCC Settlement Consideration,
without the requirement for the 3L Notes Trustee or the Unsecured Notes Trustee to file with the
Bankruptcy Court either a retention application or a fee application, which shall not be subject to setoff,
recoupment, reduction, or reallocation of any kind.

                (c)      Other Provisions of the UCC Settlement

        The UCC Settlement Trust Documents may provide that Holders of Allowed 3L Notes Claims
who receive a distribution from the UCC Settlement Trust shall, to the extent funds are available in the
UCC Settlement Trust, receive a distribution from the UCC Settlement Trust in an amount that provides
such Holder with a recovery on account of its Allowed 3L Notes Claim that is equal to a 4.17% recovery
on account of such Allowed 3L Notes Claims;6 provided, however, that notwithstanding the foregoing or
anything to the contrary in this Plan or the UCC Settlement Trust Documents, (i) the UCC Settlement
Trust shall be funded exclusively with the UCC Settlement Proceeds, and shall not be entitled to receive
any other amounts or value, and (ii) neither the Debtors nor the Reorganized Debtors shall be obligated to
provide any additional funding or make any additional payments to the UCC Settlement Trust or Holders
of 3L Notes Claims. The remainder of the UCC Settlement Trust shall be distributed Pro Rata to Holders
of Allowed General Unsecured Claims.

        5.      Use of Cash

        Consistent with the terms of the Plan, the 9019 Order, and the UCC Settlement Trust Documents,
the Debtors or Reorganized Debtors, as applicable, shall use Cash on hand, proceeds of the DIP New
Money Facilities, or other amounts to fund distributions to certain Holders of Allowed Claims and
effectuate the UCC Settlement and the Unsecured Notes Settlement, including the payment of the
3L/Unsecured Notes Trustee Expenses, the Creditors’ Committee Member Expenses, and the Unsecured
Notes Pool.




6   In the event that the UCC Settlement Proceeds are insufficient for Holders of Allowed 3L Notes Claims to
    receive a recovery equal to a 4.17% on account of such Allowed 3L Notes Claims, the UCC Settlement Proceeds
    may be distributed Pro Rata to Holders of Allowed 3L Notes Claims pursuant to this Plan and the UCC
    Settlement Trust Documents.


                                                       52
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                         Desc Main
                                 Document     Page 161 of 206


E.      Exemption from Registration Requirements and Certain DTC Matters.

        The New Interests (other than any New Interests issued pursuant to the MIP), or any other
Securities, being issued, offered, or distributed under this Plan (including any Securities issued on the
Effective Date or thereafter pursuant to the Exit LC Facility Documents), and any interests in the UCC
Settlement Trust pursuant to this Plan and the UCC Settlement Trust Documents, to the extent constituting
Securities, will be issued without registration under the Securities Act or any similar federal, state, or local
Law in reliance upon section 1145 of the Bankruptcy Code to the maximum extent permitted by law. To
the extent the New Interests, or any other Securities cannot be issued, offered, or distributed in reliance
upon section 1145 of the Bankruptcy Code, including with respect to an Entity that is an “underwriter” as
defined in section 1145(b) of the Bankruptcy Code relating to the definition of underwriter in
section 2(a)(11) of the Securities Act, they will be issued without registration under the Securities Act or
similar Law in reliance upon Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder,
and/or Regulation S under the Securities Act (or another applicable exemption from the registration
requirements of the Securities Act). Any equity or equity-linked interests issued pursuant to the MIP
(including any New Interests issued pursuant to the MIP) will be issued without registration under the
Securities Act or similar Law in reliance upon Section 4(a)(2) of the Securities Act, Rule 506 of
Regulation D and/or Rule 701 promulgated thereunder, and/or Regulation S under the Securities Act (or
another applicable exemption from the registration requirements of the Securities Act).

         Securities issued in reliance upon section 1145 of the Bankruptcy Code (to the fullest extent
permitted and available) (a) are exempt from, among other things, the registration requirements of
section 5 of the Securities Act and any other applicable Law requiring registration prior to the offering,
issuance, distribution, or sale of Securities, to the maximum extent possible, (b) are not “restricted
securities” as defined in Rule 144(a)(3) under the Securities Act, and (c) are freely tradeable and
transferable by any holder thereof that, at the time of transfer, (i) is not an “affiliate” of the Reorganized
Debtors as defined in Rule 144(a)(1) under the Securities Act, (ii) has not been such an “affiliate” within
90 days of such transfer, (iii) has not acquired such Securities from an “affiliate” within one year of such
transfer, and (iv) is not an Entity that is an “underwriter” (as defined in section 2(a)(11) of the Securities
Act). The offering, issuance, distribution, and sale of any Securities in accordance with section 1145 of
the Bankruptcy Code shall be made without registration under the Securities Act or any similar federal,
state, or local Law in reliance upon section 1145(a) of the Bankruptcy Code.

          The issuance of the New Interests or any other Securities shall not constitute an invitation or offer
to sell, or the solicitation of an invitation or offer to buy, any securities in contravention of any applicable
Law in any jurisdiction. No action has been taken, nor will be taken, in any jurisdiction that would permit
a public offering of any of the New Interests or any other Securities (other than Securities issued pursuant
to section 1145 of the Bankruptcy Code) in any jurisdiction where such action for that purpose is required.

         Any New Interests, or any other Securities, issued in reliance upon the exemption from
registration provided by Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder,
and/or Regulation S under the Securities Act will be “restricted securities.” Such Securities may not be
resold, exchanged, assigned, or otherwise transferred except pursuant to an effective registration statement
under the Securities Act or an available exemption therefrom and other applicable Law and subject to any
restrictions in the New Corporate Governance Documents. The offering, issuance, distribution, and sale
of such Securities shall be made without registration under the Securities Act or any similar federal, state,
or local Law in reliance upon Section 4(a)(2) of the Securities Act, Regulation D promulgated thereunder,
and/or Regulation S under the Securities Act.

      Should the Reorganized Debtors elect on or after the Effective Date to reflect any ownership of
the New Interests to be issued under this Plan through the facilities of DTC (or another similar


                                                       53
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 162 of 206


depository), the Reorganized Debtors need not provide any further evidence other than this Plan or the
Confirmation Order with respect to the treatment of the New Interests to be issued under this Plan under
applicable securities Laws. DTC (or another similar depository) shall be required to accept and
conclusively rely upon this Plan and Confirmation Order in lieu of a legal opinion regarding whether the
New Interests to be issued under this Plan is exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services. Notwithstanding anything to the contrary in this Plan, no
Entity (including, for the avoidance of doubt, DTC) may require a legal opinion regarding the validity of
any transaction contemplated by this Plan, including, for the avoidance of doubt, whether the New
Interests to be issued under this Plan is exempt from registration and/or eligible for DTC book-entry
delivery, settlement, and depository services.

        It is not expected that any New Interests, or any other Securities, will be eligible for any
depository services, including with respect to DTC, on or about the Effective Date. Further, it is not
intended that the New Interests will be listed on a national securities exchange registered under section 6
of the Securities Exchange Act of 1934, as amended (or a comparable non-U.S. securities exchange) on or
about the Effective Date.

F.      Corporate Existence.

         Except as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, each Debtor shall continue to exist after
the Effective Date as a separate corporation, limited liability company, partnership, or other form, as the
case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as
the case may be, pursuant to the applicable Law in the jurisdiction in which each applicable Debtor is
incorporated or formed and pursuant to the respective certificate of incorporation and bylaws (or other
formation documents) in effect prior to the Effective Date, except to the extent such certificate of
incorporation and bylaws (or other formation documents) are amended under this Plan or otherwise, in
each case, consistent with this Plan, and to the extent such documents are amended in accordance
therewith, such documents are deemed to be amended pursuant to this Plan and require no further action
or approval (other than any requisite Filings, approvals, or consents required under applicable state,
provincial, or federal Law). After the Effective Date, the respective certificate of incorporation and
bylaws (or other formation documents) of one or more of the Reorganized Debtors may be amended or
modified on the terms therein without supervision or approval by the Bankruptcy Court and free of any
restrictions of the Bankruptcy Code or Bankruptcy Rules. After the Effective Date, one or more of the
Reorganized Debtors may be disposed of, merged with another entity, dissolved, wound down, or
liquidated without supervision or approval by the Bankruptcy Court and free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules.

G.      Vesting of Assets in the Reorganized Debtors.

         Except as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, or any
agreement, instrument, or other document incorporated therein, on the Effective Date, all property in each
Estate, all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall
vest in each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, or other
encumbrances. On and after the Effective Date, except as otherwise provided in this Plan, the Plan
Supplement, or the Confirmation Order, each Reorganized Debtor may operate its businesses and may
use, acquire, or dispose of property and compromise or settle any Claims, Interests, or Causes of Action
without supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy
Code or the Bankruptcy Rules.




                                                     54
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                            Desc Main
                                   Document     Page 163 of 206


H.       Cancelation of Existing Securities and Agreements.

         On the later of the Effective Date and the date on which distributions are made pursuant to this
Plan (if not made on the Effective Date), except for the purpose of evidencing a right to a distribution
under this Plan or as otherwise provided in this Plan, the Plan Supplement, the Confirmation Order, the
DIP New Money Documents, or the Exit LC Facility Documents, or any agreement, instrument, or other
document incorporated therein, all notes, Securities, instruments, certificates, credit agreements,
indentures, and other documents evidencing Claims or Interests (collectively, the “Canceled
Instruments”), shall be canceled and the rights of the Holders thereof and obligations of the Debtors (and,
as applicable under bankruptcy and non-bankruptcy Law, of the non-Debtor Affiliates) thereunder or in
any way related thereto shall be deemed satisfied in full, canceled, released, discharged, and of no force
and effect without any need for further action or approval of the Bankruptcy Court or for a Holder to take
further action, and the Agents and Holders, as applicable, shall be discharged and released and shall not
have any continuing duties or obligations thereunder. Holders of or parties to such Canceled Instruments
will have no rights arising from or relating to such Canceled Instruments, or the cancelation thereof,
except the rights provided for or reserved pursuant to this Plan, the Confirmation Order, the DIP New
Money Documents, or the Exit LC Facility Documents. Notwithstanding anything to the contrary herein,
but subject to any applicable provisions of Article VI hereof, to the extent canceled pursuant to this
paragraph, the Debt Documents shall continue in effect solely to the extent necessary to: (a) permit
Holders of Claims or Interests under the Debt Documents to receive and accept their respective Plan
Distributions on account of such Claims or Interests, if any, subject to any applicable charging Liens;7
(b) permit the Disbursing Agent or other Agents, as applicable, to make Plan Distributions on account of
the Allowed Claims under the Debt Documents, subject to any applicable charging Liens; (c) preserve any
rights of each Agent (on its own behalf or on behalf of any applicable Holder) thereunder, respectively, to
maintain, exercise, and enforce any applicable rights of indemnity, reimbursement, or contribution, or
subrogation or any other claim or entitlement; (d) preserve any rights of each Agent (on its own behalf or
on behalf of any applicable Holder) thereunder, respectively, to maintain, enforce, and exercise their
respective liens, including any charging liens, as applicable, under the terms of the applicable Indentures
or other agreements, or any related or ancillary document, instrument, agreement, or principle of law,
against any money or property distributed or allocable on account of such Claims or Interests, as
applicable; and (e) preserve the rights of each Agent (on its own behalf or on behalf of any applicable
Holder), to appear and be heard in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court,
including, but not limited to, enforcing any obligations owed to any such Agent (on its own behalf or on
behalf of any applicable Holder), as applicable, under this Plan, the Plan Supplement, the Confirmation
Order, or other document incorporated therein. Except as provided in this Plan (including Article VI
hereof), the Plan Supplement, or the Confirmation Order, or as may be necessary to effectuate the terms of
this Plan, on the Effective Date, without any further action or approval of the Bankruptcy Court or any
Holder, the Agents and each Holder, and their respective agents, successors, and assigns, shall be
automatically and fully discharged and released of all of their duties and obligations associated with the
Debt Documents, as applicable; provided that any provisions of the Debt Documents that survive their
termination shall survive in accordance with their terms.8


7    For the avoidance of doubt, charging Liens include any and all charging liens the applicable Agents may assert,
     pursuant to the Indentures, with respect to the Plan Distributions set forth herein; provided, however, that
     notwithstanding anything to the contrary in this Plan or the Plan Supplement, the Unsecured Notes Trustee shall
     not be entitled to assert any charging Liens or other right of surcharge over payment of the Unsecured Notes
     Settlement Proceeds to Unsecured Notes Settlement Participants pursuant to the Unsecured Notes Settlement and
     the 9019 Order.

8    For the avoidance of doubt, this paragraph does not and shall not be construed to cancel any Unexpired Lease
     and does not impair the Claims of any counterparty to an Unexpired Lease arising under letters of credit, surety

                                                          55
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                             Desc Main
                                   Document     Page 164 of 206


         Upon the final distributions in accordance with Article VI hereof, or notice from the Debtors or
the Reorganized Debtors, as applicable, that there will be no distribution on account of any Notes Claim,
(i) the applicable Notes shall thereafter be deemed null, void, and worthless, and (ii) at the request of the
Agent under the applicable Indenture, DTC shall take down the relevant position relating to such Notes
without any requirement of indemnification or security on the part of the Debtors, the Reorganized
Debtors, any Agent, or any third party designated by the foregoing parties.

I.       Corporate Action.

         On the Effective Date, or as soon as reasonably practicable thereafter, except as otherwise
provided in this Plan, the Plan Supplement, or the Confirmation Order, all actions contemplated under the
Confirmation Order, this Plan, and the Plan Supplement shall be deemed authorized and approved in all
respects, including: (a) adoption or assumption, as applicable, of the Compensation and Benefit Programs
in accordance with the terms set forth herein, or in the Plan Supplement, as applicable; (b) discharge of
the duties of, and the dissolution of, the then-existing board of directors of WeWork Parent and selection
of the directors or managers, as applicable, and officers for the Reorganized Debtors, including the
appointment of the New Board, which selection, appointment, and election shall be as determined in
accordance with the Corporate Governance Term Sheet; (c) the issuance and distribution of the New
Interests and any other Securities contemplated in this Plan, and the Plan Supplement; (d) implementation
of the Restructuring Transactions, and performance of all actions and transactions contemplated hereby
and thereby (including, for the avoidance of doubt, causing Reorganized WeWork to become the new
holding company of the Reorganized Debtors on or prior to the Effective Date); (e) all other acts or
actions contemplated or reasonably necessary or appropriate to promptly consummate the Restructuring
Transactions contemplated by this Plan (whether to occur before, on, or after the Effective Date);
(f) adoption, execution, delivery, and/or Filing of the New Corporate Governance Documents; (g) the
rejection, assumption, or assumption and assignment, as applicable, of Executory Contracts and
Unexpired Leases; (h) entry into the Exit LC Facility and the execution, delivery, and Filing of the Exit
LC Facility Documents; (i) adoption of the MIP by the New Board and issuance of any Emergence
Awards (each if applicable); and (j) all other acts or actions contemplated or reasonably necessary or
appropriate to promptly consummate the Restructuring Transactions (whether before, on, or after the
Effective Date).

        Except as otherwise provided in this Plan or the Plan Supplement, all matters provided for in this
Plan and the Plan Supplement involving the corporate structure of the Debtors or the Reorganized
Debtors, and any corporate, partnership, limited liability company, or other governance action required by
the Debtors or the Reorganized Debtors, as applicable, in connection with this Plan and the Plan
Supplement shall be deemed to have timely occurred and shall be in effect and shall be authorized and
approved in all respects, without any requirement of further action by the equity holders, members,
directors, managers, or officers of the Debtors or the Reorganized Debtors, as applicable.

        On or, as applicable, prior to the Effective Date, except as otherwise provided in this Plan or the
Plan Supplement, the appropriate officers of the Debtors or the Reorganized Debtors, as applicable, shall
be authorized and, as applicable, directed to issue, execute, and deliver the agreements, documents,
Securities, and instruments contemplated under this Plan (or necessary or desirable to effect the
transactions contemplated under this Plan) in the name of and on behalf of the Reorganized Debtors,



     and does not impair the Claims of any counterparty to an Unexpired Lease arising under letters of credit, surety
     bonds, security deposits (solely with respect to Unexpired Leases that are assumed pursuant to section 365 of the
     Bankruptcy Code), or liabilities of third parties.


                                                           56
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 165 of 206


including the New Interests, the Exit LC Facility Documents, the New Corporate Governance Documents,
the Plan Supplement, any other Definitive Documents, and any and all other agreements, documents,
Securities, and instruments relating to the foregoing (to the extent not previously authorized by the
Bankruptcy Court). The authorizations and approvals contemplated by this Article V.I shall be effective
notwithstanding any requirements under non-bankruptcy Law.

J.      New Corporate Governance Documents.

         On or as soon as reasonably practicable after the Effective Date, except as otherwise provided in
this Plan or the Plan Supplement and subject to local Law requirements, the New Corporate Governance
Documents (which shall be consistent with the RSA, this Plan, and the Plan Supplement) shall be
automatically adopted or amended in a manner consistent with the terms and conditions set forth in the
Corporate Governance Term Sheet, which shall be reasonable and customary, and shall be acceptable to
the Debtors and subject to the consent of the Required Consenting Stakeholders and shall supersede any
existing organizational documents. To the extent required under this Plan, the Plan Supplement, or
applicable non-bankruptcy Law, each of the Reorganized Debtors will File its New Corporate Governance
Documents with the applicable Secretaries of State and/or other applicable authorities in its respective
state or country of organization if and to the extent required in accordance with the applicable Law of the
respective state or country of organization. The New Corporate Governance Documents will (a) authorize
the issuance of the New Interests and (b) prohibit the issuance of non-voting equity Securities to the extent
required under section 1123(a)(6) of the Bankruptcy Code.

        After the Effective Date, each Reorganized Debtor may amend and restate its respective New
Corporate Governance Documents as permitted by Laws of the respective states, provinces, or countries
of incorporation and the New Corporate Governance Documents.

        On the Effective Date, Reorganized WeWork shall enter into and deliver the New Stockholders
Agreement with respect to each Holder of New Interests, which shall become effective and be deemed
binding in accordance with their terms and conditions upon the parties thereto without further notice to or
order of the Bankruptcy Court, act, or action under applicable Law, regulation, order, or rule or the vote,
consent, authorization, or approval of an Entity (other than the relevant consents required by any
Definitive Document). Holders of New Interests shall be deemed to have executed the New Stockholders
Agreement and be parties thereto, without the need to deliver signature pages thereto.

K.      Challenges.

        Effective upon entry of the Confirmation Order, all Challenges (as defined in Cash Collateral
Final Order) shall be deemed withdrawn, settled, overruled, or otherwise resolved.

L.      Section 1146 Exemption.

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code and applicable Law,
any transfers (whether from a Debtor to a Reorganized Debtor or to any other Person) of property under
this Plan or pursuant to (a) the issuance, distribution, transfer, or exchange of any debt, equity Security, or
other interest in the Debtors or the Reorganized Debtors, including the New Interests, the DIP New
Money Exit Facility, and the Exit LC Facility, (b) the Restructuring Transactions, (c) the creation,
modification, consolidation, termination, refinancing, and/or recording of any mortgage, deed of trust, or
other security interest, or the securing of additional indebtedness by such or other means, (d) the making,
assignment, or recording of any lease or sublease, (e) the grant of collateral as security for the
Reorganized Debtors’ obligations under and in connection with the Exit LC Facility, or (f) the making,
delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in connection


                                                       57
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 166 of 206


with, this Plan, including any deeds, bills of sale, assignments, or other instrument of transfer executed in
connection with any transaction arising out of, contemplated by, or in any way related to this Plan, shall
not be subject to any document recording tax, stamp tax, conveyance fee, intangibles, or similar tax,
mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or
recording fee, regulatory filing or recording fee, or other similar tax or government assessment, and upon
entry of the Confirmation Order, the appropriate state or local government officials or agents shall forego
the collection of any such tax or government assessment and accept for filing and recordation any of the
foregoing instruments or other documents without payment of such tax, recordation fee, or governmental
assessment. All filing or recording officers (or any other Person with authority over any of the foregoing,
other than in respect of any tax imposed under any foreign Law), wherever located and by whomever
appointed, shall comply with the requirements of section 1146(a) of the Bankruptcy Code, and upon entry
of the Confirmation Order, shall forego the collection of any such tax or governmental assessment, and
shall accept for filing and recordation any of the foregoing instruments or other documents without the
payment of any such tax, recordation fee, or governmental assessment.

M.      Management Incentive Plan.

         The MIP shall be established and reserved for grants to be made from time to time from such pool
to employees (including officers), and directors of the Reorganized Debtors at the discretion of the New
Board following the Effective Date. The terms and conditions (including, without limitation, with respect
to participants, allocation, timing, and the form and structure of the equity or equity-based awards) shall
be determined at the discretion of the New Board after the Effective Date; provided that Emergence
Awards may be allocated on or prior to the Effective Date as emergence grants to retain or recruit
individuals selected to serve in key senior management positions on or after the Effective Date, subject to
the terms and conditions, including, but not limited to, with respect to form, allocated percentage of the
MIP, structure, and vesting, determined by, in each case, the Required Consenting Stakeholders.

N.      Employee and Retiree Benefits.

         Except as otherwise provided in this Article IV.N, all Compensation and Benefits Programs shall
be assumed by the Reorganized Debtors and the Reorganized Debtors shall be authorized to continue the
Compensation and Benefits Programs and shall continue to honor the terms thereof (provided, for the
avoidance of doubt, with respect to those individuals referenced in the term sheet agreed to by email by
the Required Consenting Stakeholders on May 29, 2024 (the “Employment Agreements Term Sheet”),
such terms of employment shall only be assumed as amended on the terms set forth in the Employment
Agreements Term Sheet); provided, however, that in accordance with the New Corporate Governance
Documents, the Reorganized Debtors may review, amend, terminate, or modify any of the foregoing
programs in accordance with applicable Law and the terms of the applicable Compensation and Benefits
Program. For the avoidance of doubt, pursuant to section 1129(a)(13) of the Bankruptcy Code, from and
after the Effective Date, all retiree benefits (as such term is defined in section 1114 of the Bankruptcy
Code), if any, shall continue to be paid in accordance with applicable Law.

O.      Preservation of Causes of Action.

        In accordance with section 1123(b) of the Bankruptcy Code, each Reorganized Debtor, as
applicable, shall retain and may enforce all rights to commence and pursue, as appropriate, any and all
Causes of Action of the Debtors, whether arising before or after the Petition Date, including any actions
specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized Debtors’
rights to commence, prosecute, or settle such Retained Causes of Action shall be preserved
notwithstanding the occurrence of the Effective Date or any other provision of this Plan to the contrary,
other than any Causes of Action released by the Debtors pursuant to the releases and exculpations


                                                      58
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 167 of 206


contained in this Plan, including in Article VIII hereof, which shall be deemed released and waived by the
Debtors and the Reorganized Debtors as of the Effective Date.

        The Reorganized Debtors may pursue such Retained Causes of Action, as appropriate, in
accordance with the best interests of the Reorganized Debtors. No Entity may rely on the absence
of a specific reference in this Plan, the Plan Supplement, or the Disclosure Statement to any Cause
of Action against it as any indication that the Debtors or the Reorganized Debtors will not pursue
any and all available Retained Causes of Action of the Debtors against it. The Debtors and the
Reorganized Debtors (as applicable) expressly reserve all rights to prosecute any and all Retained
Causes of Action against any Entity (except as set forth in Article VIII.C). Unless otherwise agreed
upon in writing by the parties to the applicable Cause of Action, all objections to the Schedule of
Retained Causes of Action must be Filed with the Bankruptcy Court on or before 30 days after the
Effective Date. Any such objection that is not timely Filed shall be disallowed and forever barred,
estopped, and enjoined from assertion against any Reorganized Debtor without the need for any
objection or responsive pleading by the Reorganized Debtors or any other party in interest or any
further notice to or action, order, or approval of the Bankruptcy Court. The Reorganized Debtors
may settle any such objection without any further notice to or action, order, or approval of the Bankruptcy
Court. If there is any dispute regarding the inclusion of any Cause of Action on the Schedule of Retained
Causes of Action that remains unresolved by the Debtors or the Reorganized Debtors, as applicable, and
the objecting party for 30 days, such objection shall be resolved by the Bankruptcy Court. Unless any
Causes of Action of the Debtors against an Entity are expressly waived, relinquished, exculpated,
released, compromised, or settled in this Plan or a Final Order (and for the avoidance of doubt, any Causes
of Action on the Schedule of Retained Causes of Action shall not be expressly relinquished, exculpated,
released, compromised, or settled in this Plan), the Reorganized Debtors expressly reserve all Causes of
Action, for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res
judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or Consummation.

         The Reorganized Debtors reserve and shall retain such Causes of Action of the Debtors
notwithstanding the rejection or repudiation of any Executory Contract or Unexpired Lease during the
Chapter 11 Cases or pursuant to this Plan. In accordance with section 1123(b)(3) of the Bankruptcy Code,
any Retained Causes of Action that a Debtor may hold against any Entity shall vest in the Reorganized
Debtors. The applicable Reorganized Debtors through their authorized agents or representatives, shall
retain and may exclusively enforce any and all such Causes of Action. The Reorganized Debtors shall
have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce,
abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action and to
decline to do any of the foregoing without the consent or approval of any third party or further notice to or
action, order, or approval of the Bankruptcy Court except as otherwise released in this Plan.

                                ARTICLE V.
           TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

        On the Effective Date, except as otherwise provided herein, all Executory Contracts or Unexpired
Leases will be deemed assumed by the applicable Reorganized Debtor in accordance with the provisions
and requirements of sections 365 and 1123 of the Bankruptcy Code, other than those that: (1) are
Unexpired Leases of non-residential real property that (a) have not been assumed by the Debtors pursuant
to a Final Order and (b) are not expressly set forth in the Schedule of Assumed Executory Contracts and
Unexpired Leases, which schedule shall be subject to the consent of the Required Consenting


                                                      59
Case 23-19865-JKS            Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                              Desc Main
                                   Document     Page 168 of 206


Stakeholders, and assumed by the deadline set forth in section 365(d)(4) or any applicable Extension
Order; (2) are identified on the Schedule of Rejected Executory Contracts and Unexpired Leases, which
schedule shall be subject to the consent of the Required Consenting Stakeholders; (3) have previously
expired or terminated pursuant to their own terms or agreement of the parties thereto, forfeiture or by
operation of law; (4) have been previously assumed or rejected by the Debtors pursuant to a Final Order;
(5) any obligations of WeWork Inc. arising under contracts or leases that are not assumed; or (6) are, as of
the Effective Date, the subject of (a) a motion to reject that is pending or (b) an order of the Bankruptcy
Court that is not yet a Final Order. For the avoidance of doubt, the Unexpired Leases and Executory
Contracts described in subsection (1) of this paragraph will be deemed rejected pursuant to section 365 of
the Bankruptcy Code.89

         For the avoidance of doubt and notwithstanding anything to the contrary herein, the Debtors shall
make all assumption and rejection determinations for their Executory Contracts and Unexpired Leases
either through the Filing of a motion or identification in the Plan Supplement, in each case, prior to the
applicable deadlines set forth in sections 365(d)(2) and 365(d)(4) of the Bankruptcy Code, as clarified by
the Extension Order or any subsequent extension as agreed between the Debtors and the applicable
landlord.

        Entry of the Confirmation Order shall constitute an order of the Bankruptcy Court approving the
assumptions, assumptions and assignments, or rejections of the Executory Contracts or Unexpired Leases
(in each case, including with agreed modifications as applicable) as set forth in this Plan, or the Schedule
of Rejected Executory Contracts and Unexpired Leases or the Schedule of Assumed Executory Contracts
and Unexpired Leases, pursuant to sections 365(a) and 1123 of the Bankruptcy Code. Except as otherwise
specifically set forth herein, in the Schedule of Rejected Executory Contracts and Unexpired Leases, or in
the Schedule of Assumed Executory Contracts and Unexpired Leases (as applicable), assumptions,
assumptions and assignments, or rejections of Executory Contracts and Unexpired Leases pursuant to this
Plan are effective as of the Effective Date (unless approved by the Court pursuant to an earlier order).
Notwithstanding anything herein to the contrary, with respect to any Unexpired Lease that is listed on the
Schedule of Rejected Executory Contracts and Unexpired Leases, the effective date of the rejection of any
such Unexpired Lease shall be the later of (a) the date set forth in the Schedule of Rejected Executory
Contracts and Unexpired Leases (b) the date upon which the Debtors notify the affected landlord and such
landlord’s counsel (if known to Debtors’ counsel) in writing (email being sufficient) that they have
surrendered the premises and, as applicable, (i) turning over keys issued by the landlord, key codes, and/or
security codes, if any, to the affected landlord or (ii) notifying such affected landlord or such landlord’s
counsel (if known to Debtors’ counsel) in writing (email being sufficient) that the property has been
surrendered, all WeWork-issued key cards have been disabled and, unless otherwise agreed as between
the Debtors and the landlord, each affected landlord is authorized to disable all WeWork-issued key cards
(including those of any members using the leased location) and the landlord may rekey the leased
premises. Each Executory Contract or Unexpired Lease assumed pursuant to this Plan or by Bankruptcy
Court order but not assigned to a third party before the Effective Date shall revest in and be fully
enforceable by the applicable contracting Reorganized Debtor in accordance with its terms, including in
accordance with any amendments executed by the Debtors and the counterparties to the applicable
Executory Contract or Unexpired Lease during these Chapter 11 Cases and effective upon assumption by
the Debtors; provided that, prior to the Effective Date and in connection with such assumption, any such
terms that are rendered unenforceable by the provisions of this Plan or the Bankruptcy Code shall remain
unenforceable solely in connection therewith. Any motions to assume Executory Contracts or Unexpired

89   The foregoing is not intended to enjoin, restrain, limit, impair or impose any additional procedural prerequisites
     to the exercise of set off or recoupment by landlords after the Effective Date under assumed Unexpired Leases
     pursuant to the terms of such Unexpired Leases and applicable law.


                                                           60
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 169 of 206


Leases pending on the Confirmation Date shall be subject to approval by a Final Order on or after the
Confirmation Date in accordance with any applicable terms herein (including the consent rights of the
Required Consenting Stakeholders), unless otherwise settled by the applicable Debtors and counterparties.
Notwithstanding anything to the contrary in this Plan, the Debtors or the Reorganized Debtors, as
applicable, reserve the right to alter, amend, modify, or supplement the Schedule of Rejected Executory
Contracts and Unexpired Leases or Schedule of Assumed Executory Contracts and Unexpired Leases
identified in this Article V.A and in the Plan Supplement at any time through and including 45 days after
the Effective Date, subject to the consent of the Required Consenting Stakeholders.

         Except as otherwise provided herein or agreed to by the Debtors and the applicable counterparty,
each assumed Executory Contract or Unexpired Lease shall include all modifications, amendments,
supplements, restatements, or other agreements related thereto, and all rights related thereto, if any,
including all easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal,
and any other interests. Unless otherwise provided by Article V.K, Mmodifications, amendments,
supplements, and restatements to prepetition Executory Contracts and Unexpired Leases that have been
executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the prepetition nature of
the Executory Contract or Unexpired Lease or the validity, priority, or amount of any Claims that may
arise in connection therewith.

          To the maximum extent permitted by Law, the transactions contemplated by this Plan shall not
constitute a “change of control” or “assignment” (or terms with similar effect) under any Executory
Contract or Unexpired Lease assumed or assumed and assigned pursuant to this Plan, or any other
transaction, event, or matter that would (a) result in a violation, breach or default under such Executory
Contract or Unexpired Lease, (b) increase, accelerate or otherwise alter any obligations, rights or
liabilities of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease,
or (c) result in the creation or imposition of a Lien upon any property or asset of the Debtors or the
Reorganized Debtors pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or
advance notice required under such Executory Contract or Unexpired Lease in connection with
assumption or assumption and assignment thereof (subject to the other provisions of this Article V.A)
shall be deemed satisfied by Confirmation. To the extent that any provision in any Executory Contract or
Unexpired Lease assumed or assumed and assigned pursuant to this Plan restricts or prevents, or purports
to restrict or prevent, or is breached or deemed breached by, the assumption or assumption and assignment
of such Executory Contract or Unexpired Lease (including any “change of control” provision), then such
provision shall be deemed modified such that the transactions contemplated by this Plan shall not entitle
the non-Debtor party or parties to such Executory Contract or Unexpired Lease to terminate such
Executory Contract or Unexpired Lease or to exercise any other default-related rights with respect thereto.

        Notwithstanding anything to the contrary in this Plan, after the Confirmation Date, an Executory
Contract or Unexpired Lease on the Schedule of Rejected Executory Contracts and Unexpired Leases as
of the Confirmation Date may not be assumed by the applicable Debtor(s) unless the applicable lessor or
contract counterparty has (a) consented to such assumption, (b) objected to the rejection of such
Executory Contract or Unexpired Lease on the grounds that such Executory Contract or Unexpired Lease
should not be rejected and should instead be assumed (and such objection remains outstanding), or (c) in
the case of Unexpired Leases, consented to an extension of the time period in which the applicable
Debtor(s) must assume or reject such Unexpired Lease pursuant to section 365(d)(4) of the Bankruptcy
Code (as extended with the applicable lessor’s prior consent, the “Deferred Deadline”), in which case for
purposes of clause (c) the applicable Debtor(s) shall have until the Deferred Deadline to assume such
Unexpired Lease, subject to the applicable lessor’s right to object to such assumption, or such Unexpired
Lease shall be deemed rejected. For any Executory Contract or Unexpired Lease assumed pursuant to this
paragraph, all Cure Obligations shall be satisfied on the Effective Date or as soon as reasonably



                                                      61
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 170 of 206


practicable thereafter, unless subject to a dispute with respect to the Cure Obligation, in which case such
dispute shall be addressed in accordance with Article V.D.

        For the avoidance of doubt, at any time prior to the applicable deadlines set forth in section 365(d)
of the Bankruptcy Code, as clarified by the Extension Order, and as the same may be extended, the
Debtors may reject any Executory Contract or Unexpired Lease pursuant to a separate motion Filed with
the Bankruptcy Court.

        To the extent any provision of the Bankruptcy Code or the Bankruptcy Rules require the Debtors
to assume or reject an Executory Contract or Unexpired Lease by a deadline, including section 365(d) of
the Bankruptcy Code, such requirement shall be satisfied if the Debtors make an election, either through
the Filing of a motion or identification in the Plan Supplement, to assume or reject such Executory
Contract or Unexpired Lease prior to the applicable deadline, regardless of whether or not the Bankruptcy
Court has actually ruled on such proposed assumption or rejection prior to such deadline.

        If certain, but not all, of a contract counterparty’s Executory Contracts or Unexpired Leases are
assumed pursuant to the Plan, the Confirmation Order shall be a determination that such counterparty’s
Executory Contracts or Unexpired Leases that are being rejected pursuant to the Plan are severable
agreements that are not integrated with those Executory Contracts and/or Unexpired Leases that are being
assumed pursuant to the Plan. Parties seeking to contest this finding with respect to their Executory
Contracts and/or Unexpired Leases must file a timely objection to the Plan on the grounds that their
agreements are integrated and not severable, and any such dispute shall be resolved by the Bankruptcy
Court at the Combined Hearing (to the extent not resolved by the parties prior to the Combined Hearing).

        If the effective date of any rejection of an Executory Contract or Unexpired Lease is after the
Effective Date pursuant to the terms herein, the Reorganized Debtors shall serve a notice on the affected
counterparty setting forth the deadline for Filing any Claims arising from such rejection.

B.      Indemnification Obligations.

        All indemnification provisions, consistent with applicable Law, in place as of the Effective Date
(whether in the bylaws, certificates of incorporation or formation, limited liability company agreements,
other organizational documents, board resolutions, indemnification agreements, employment contracts, or
otherwise) for current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, restructuring advisors, the Unsecured Notes Trustee (whether or not such
indemnification provisions are determined by a court of competent jurisdiction to be executory), and other
professionals and/or agents or representatives of, or acting on behalf, of the Debtors, as applicable, shall
be Reinstated and remain intact, irrevocable and shall survive the effectiveness of this Plan on terms no
less favorable to such current and former directors, officers, managers, employees, attorneys, accountants,
investment bankers, and other professionals of, or acting on behalf of, the Debtors, as applicable, than
those that existed prior to the Effective Date; provided that all indemnification provisions in the
agreements listed on the Schedule of Rejected Executory Contracts and Unexpired Leases will not be
assumed; provided, further, that the Reorganized Debtors shall retain the ability not to indemnify former
directors of the Debtors for any Claims or Causes of Action arising out of or relating to any act or
omission that constitutes intentional fraud, gross negligence, or willful misconduct, or to the extent the
agreement contemplating such indemnification obligation is rejected, terminated, or discharged pursuant
to the Plan Supplement; provided, further, that nothing herein shall expand any of the Debtors’
indemnification obligations in place as of the Petition Date.




                                                      62
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 171 of 206


C.      Claims Based on Rejection of Executory Contracts or Unexpired Leases.

         Entry of the Confirmation Order shall constitute a Final Order approving the rejections, if any, of
any Executory Contracts or Unexpired Leases on the Schedule of Rejected Executory Contracts and
Unexpired Leases. Any objection to the rejection of an Executory Contract or Unexpired Lease under this
Plan must be Filed with the Bankruptcy Court on or before 10 days after the service of notice of rejection
on the affected counterparty. Unless otherwise provided by a Final Order of the Bankruptcy Court, all
Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or Unexpired
Leases, pursuant to this Plan or the Confirmation Order, if any, must be Filed with the Claims Agent
within 30 days after the later of (a) the date of entry of an order of the Bankruptcy Court (including the
Confirmation Order) approving such rejection and (b) the effective date of such rejection. Any Claims
arising from the rejection of an Executory Contract or Unexpired Lease not Filed with the Claims
Agent within such time will be automatically disallowed, forever barred from assertion, and shall
not be enforceable against the Debtors or the Reorganized Debtors, the Estates, or their property
without the need for any objection by the Reorganized Debtors or further notice to, or action,
order, or approval of the Bankruptcy Court or any other Entity, and any Claim arising out of the
rejection of the Executory Contract or Unexpired Lease shall be deemed fully satisfied, released,
and discharged, notwithstanding anything in the Proof of Claim to the contrary. For the avoidance
of doubt, unless otherwise agreed, any property remaining on the premises subject to a rejected Unexpired
Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors, as applicable, as of the
effective date of the rejection, and the counterparty to such Unexpired Lease shall be authorized to (i) use
or dispose of any property left on the premises in its sole and absolute discretion without notice or liability
to the Debtors or the Reorganized Debtors, as applicable, or any third party, and (ii) shall be authorized to
assert a Claim for any and all damages arising from the abandonment of such property by Filing a Claim
in accordance with this Article V.C. Claims arising from the rejection of any of the Debtors’ Executory
Contracts and Unexpired Leases shall be classified as General Unsecured Claims.

D.      Cure of Defaults for Assumed Executory Contracts and Unexpired Leases.

         Unless otherwise agreed upon in writing by the parties to the applicable Executory Contract or
Unexpired Lease, on the Effective Date or as soon as reasonably practicable thereafter, the Debtors or the
Reorganized Debtors, as applicable, shall, in accordance with the Schedule of Assumed Executory
Contracts and Unexpired Leases and the Final Orders otherwise assuming Executory Contracts and
Unexpired Leases, satisfy all Cure Obligations relating to Executory Contracts and Unexpired Leases that
are being assumed under this Plan; provided that, if the effective date of such assumption occurs prior to
the Effective Date, such payment shall be on the effective date of such assumption or as soon as
reasonably practicable thereafter. Unless otherwise agreed upon in writing by the parties to the applicable
Executory Contract or Unexpired Lease, all objections to any Cure Obligations set forth in the Schedule
of Assumed Executory Contracts and Unexpired Leases must be Filed with the Bankruptcy Court on or
before 14 days after the service of the Schedule of Assumed Executory Contracts and Unexpired Leases
on affected counterparties. Any such objection that is not timely Filed shall be disallowed and forever
barred, estopped, and enjoined from assertion, and shall not be enforceable against any Debtor or
Reorganized Debtor, without the need for any objection by the Debtors or the Reorganized Debtors or any
other party in interest or any further notice to or action, order, or approval of the Bankruptcy Court. Each
such objection shall constitute a request for allowance and payment of an Administrative Claim. Any
Cure Obligations shall be deemed fully satisfied, released, and discharged upon satisfaction by the
Debtors or the Reorganized Debtors of the applicable Cure Obligations; provided, however, that nothing
herein shall prevent the Reorganized Debtors from satisfying any Cure Obligations despite the failure of
the relevant counterparty to File such request for satisfaction of such Cure Obligations. The Reorganized
Debtors also may settle Cure Obligations or disputes related thereto without any further notice to or
action, order, or approval of the Bankruptcy Court. In addition, any objection to the assumption of an

                                                       63
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 172 of 206


Executory Contract or Unexpired Lease under this Plan must be Filed with the Bankruptcy Court on or
before 14 days after the service of notice of assumption on affected counterparties. Any counterparty to
an Executory Contract or Unexpired Lease that fails to timely object to the proposed assumption or
assumption and assignment, as applicable, of any Executory Contract or Unexpired Lease will be deemed
to have consented to such assumption or assumption and assignment.

         If there is any dispute regarding any Cure Obligations, the ability of the Reorganized Debtors or
any assignee to provide “adequate assurance of future performance” within the meaning of section 365 of
the Bankruptcy Code, or any other matter pertaining to assumption or assumption and assignment, then
satisfaction of any Cure Obligations shall occur as soon as reasonably practicable after (a) entry of a Final
Order resolving such dispute and approving such assumption (and, if applicable, assignment) or (b) as
may be agreed upon by the Debtors or the Reorganized Debtors, as applicable, and the counterparty to the
Executory Contract or Unexpired Lease. Any such disputes shall be scheduled for hearing upon request
of the affected counterparty or the Debtors or the Reorganized Debtors, as applicable, at the earliest
convenience of the Court; provided that no hearing will be scheduled on less than 10 days’ notice to the
affected counterparty and the Debtors or the Reorganized Debtors, as applicable, and that no such hearing
shall be scheduled less than 30 days after the Effective Date unless agreed to between the Debtors or the
Reorganized Debtors, as applicable, and the affected counterparty.

         In the event of a Court-Ordered Cure Obligation, the Debtors shall have the right (subject to the
consent of the Required Consenting Stakeholders) to (a) satisfy the Court-Ordered Cure Obligation as
soon as reasonably practicable thereafter and assume such Executory Contract or Unexpired Lease in
accordance with the terms herein or, (b) within 14 days of such determination, add such Executory
Contract or Unexpired Lease to the Schedule of Rejected Executory Contracts and Unexpired Leases, in
which case such Executory Contract or Unexpired Lease will be deemed rejected on the later of the
(i) date of entry of the Court-Ordered Cure Obligation and, (ii) solely with respect to Unexpired Leases,
the date upon which the Debtors notify the landlord in writing (email being sufficient) that they have
surrendered the premises to the landlord and returned the keys, key codes, or security codes, as applicable,
and in the case of an Unexpired Lease, the Debtors shall, pursuant to section 365(d)(4) of the Bankruptcy
Code, immediately surrender the related premises to the lessor unless otherwise agreed with the applicable
lessor, subject to the applicable counterparty’s right to object to such rejection; provided that, after the
deadline to assume an Executory Contract or Unexpired Lease set forth in section 365(d) of the
Bankruptcy Code, as clarified by the Extension Order, an Executory Contract or Unexpired Lease may
only be added to the Schedule of Rejected Executory Contracts and Unexpired Leases if (1) the applicable
counterparty consents to such rejection, (2) the applicable counterparty objected to the assumption or cure
of such Executory Contract or Unexpired Lease on the grounds that such Executory Contract or
Unexpired Lease should not be assumed and should instead be rejected, including alleging an incurable
default (and such objection remains outstanding), or (3) the court orders a Court-Ordered Cure Obligation.
Notwithstanding anything to the contrary herein, the Reorganized Debtors and the applicable counterparty
shall be entitled to the full benefits of the Executory Contract or Unexpired Lease (including without
limitation, any license thereunder) pending the resolution of any Cure Obligation dispute.

         At least 7 days prior to the first day of the Combined Hearing, the Debtors shall provide for
notices of proposed assumption or assumption and assignment and proposed Cure Obligations to be sent
to applicable parties. Any counterparty to an Executory Contract or Unexpired Lease that fails to timely
object to the proposed assumption or assumption and assignment, as applicable, of any Executory
Contract or Unexpired Lease will be deemed to have consented to such assumption or assumption and
assignment. Assumption of any Executory Contract or Unexpired Lease pursuant to this Plan or otherwise
shall result in the full release and satisfaction of any Cure Obligations, Claims, or defaults, whether
monetary or nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or any bankruptcy-related defaults, arising at any time prior to the effective date of

                                                      64
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 173 of 206


assumption, upon the satisfaction of all applicable Cure Obligations. Any and all Proofs of Claim based
upon Executory Contracts or Unexpired Leases that have been assumed in the Chapter 11 Cases,
including pursuant to the Confirmation Order, shall be deemed disallowed and expunged as of the
later of (i) the date of entry of an order of the Bankruptcy Court (including the Confirmation
Order) approving such assumption, (ii) the effective date of such assumption, or (iii) the Effective
Date without the need for any objection thereto or any further notice to or action, order, or
approval of the Bankruptcy Court; provided, however, that nothing herein shall affect the allowance
of Claims or any Cure Obligation agreed to by the Debtors in any written agreement amending or
modifying any Executory Contract or Unexpired Lease (subject to the consent of the Required
Consenting Stakeholders) prior to assumption pursuant to this Plan or otherwise.

        Notwithstanding anything herein to the contrary, upon assumption of an Unexpired Lease, the
Debtors or the Reorganized Debtors, as applicable, shall be obligated to pay or perform, unless waived or
otherwise modified by any amendment to such Unexpired Lease mutually agreed to by the applicable
landlord and Debtor(s), any accrued, but unbilled and not yet due to be paid or performed, obligations as
of the applicable deadline to File objections or disputes to the Cure Obligations for such Unexpired Lease
under such assumed Unexpired Lease, including, but not limited to, common area maintenance charges,
taxes, year-end adjustments, indemnity obligations, and repair and maintenance obligations, under the
Unexpired Lease, regardless of whether such obligations arose before or after the Effective Date, when
such obligations become due in the ordinary course; provided that all rights of the parties to any such
assumed Unexpired Lease to dispute amounts asserted thereunder are fully preserved; provided, further,
that nothing herein shall relieve the Debtors or the Reorganized Debtors, as applicable, from any amounts
that come due between (a) the applicable deadline to File objections or disputes to the Cure Obligation for
such Unexpired Lease and (b) the effective date of assumption for such Unexpired Lease.

E.      Preexisting Obligations to the Debtors under Executory Contracts and Unexpired Leases.

        Rejection of any Executory Contract or Unexpired Lease pursuant to this Plan or otherwise shall
not constitute a termination of preexisting obligations owed to the Debtors or the Reorganized Debtors, as
applicable, under such Executory Contracts or Unexpired Leases. In particular, notwithstanding any
applicable non-bankruptcy Law to the contrary, the Reorganized Debtors expressly reserve and do not
waive any right to receive, or any continuing obligation of a counterparty to provide, warranties or
continued maintenance obligations with respect to goods previously purchased by the Debtors pursuant to
rejected Executory Contracts or Unexpired Leases.

F.      Insurance Contracts.

        Unless otherwise provided in this Plan, and notwithstanding anything to the contrary in the
Definitive Documents, on the Effective Date: (a) pursuant to sections 105 and 365 of the Bankruptcy
Code, the Debtors shall be deemed to have assumed all Insurance Contracts such that the Reorganized
Debtors shall become and remain liable in full for all of their and the Debtors’ obligations under the
Insurance Contracts, regardless of whether such obligations arose before or arise after the Effective Date,
without the requirement or need for any Insurer to file a Proof of Claim, an Administrative Claim, or a
Cure Claim or motion for payment and Insurers shall not be subject to any claims bar date or similar
deadline governing cure amounts; (b) such Insurance Contracts shall revest in the Reorganized Debtors;
and (c) the automatic stay of Bankruptcy Code section 362(a) and the injunctions set forth in
Article VIII.F of the Plan, if and to the extent applicable, shall be deemed lifted without further order of
this Court, solely to permit: (i) claimants with valid workers’ compensation claims or direct action claims
against an Insurer under applicable non-bankruptcy law to proceed with their claims; (ii) the Insurers to
administer, handle, defend, settle, and/or pay, in the ordinary course of business and without further order
of this Bankruptcy Court, (A) covered losses pursuant to any of the Insurance Contracts, including


                                                     65
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 174 of 206


workers’ compensation claims, (B) claims pursuant to which a claimant asserts a direct claim against any
Insurer under applicable non-bankruptcy law, or an order has been entered by this Court granting a
claimant relief from the automatic stay or the injunctions set forth in Article VIII.F of the Plan to proceed
with its Claim, and (C) all costs in relation to each of the foregoing; (iii) the Insurers to draw against any
or all of the collateral or security provided in connection with the applicable Insurance Contracts, by or on
behalf of the Debtors (or the Reorganized Debtors, as applicable), subject to the terms of the Exit LC
Facility Documents, at any time and to hold the proceeds thereof as security for the obligations of the
Debtors (and Reorganized Debtors, as applicable) and/or apply such proceeds to the obligations of the
Debtors (and the Reorganized Debtors, as applicable) under the applicable Insurance Contracts, in such
order as the applicable Insurer may determine; and (iv) the Insurers to cancel any Insurance Contract or
take other reasonable actions relating to the Insurance Contracts (including effectuating a setoff), to the
extent permissible under applicable nonbankruptcy Law and the terms of the applicable Insurance
Contracts.

        Notwithstanding anything in this Plan to the contrary, the Reorganized Debtors shall be deemed to
have assumed all of the Debtors’ D&O Liability Insurance Policies pursuant to section 365(a) of the
Bankruptcy Code effective as of the Effective Date. Entry of the Confirmation Order will constitute the
Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each of the unexpired
D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained in this Plan,
Confirmation shall not discharge, impair, or otherwise modify any indemnity obligations assumed by the
foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity obligation will be
deemed and treated as an Executory Contract that has been assumed by the Debtors under this Plan as to
which no Proof of Claim need be Filed.

         In addition, after the Effective Date, none of the Reorganized Debtors shall terminate or otherwise
reduce the coverage under any D&O Liability Insurance Policies (including any “tail policy”) in effect, on
or after the Petition Date, with respect to conduct occurring prior to, on, or after the Petition Date, and all
members, directors, managers, and officers of the Debtors who served in such capacity at any time prior to
the Effective Date shall be entitled to the full benefits of any such policy for the full term of such policy,
to the extent set forth therein, regardless of whether such members, directors, managers, and officers
remain in such positions after the Effective Date; provided, however, that the Reorganized Debtors shall
retain the ability to supplement, terminate or otherwise modify the coverage under any D&O Liability
Insurance Policies for any Causes of Action arising out of or related to any act or omission that is a
criminal act or constitutes actual fraud, gross negligence, bad faith, or willful misconduct.

G.      Reservation of Rights.

        Nothing contained in this Plan or the Plan Supplement shall constitute an admission by the
Debtors or any other party that any contract or lease is in fact an Executory Contract or Unexpired Lease
or that any Reorganized Debtor has any liability thereunder. If there is a dispute regarding whether a
contract or lease is or was executory or unexpired at the time of assumption or rejection, the Debtors,
subject to the consent of the Required Consenting Stakeholders, or the Reorganized Debtors, as
applicable, shall have 45 days following entry of a Final Order resolving such dispute to alter their
treatment of such contract or lease.

H.      Nonoccurrence of Effective Date.

        In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
with respect to any request to extend the deadline for assuming or rejecting Unexpired Leases pursuant to
section 365(d)(4) of the Bankruptcy Code.



                                                       66
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 175 of 206


I.      Employee Compensation and Benefits.

        1.      Compensation and Benefit Programs.

         Subject to the provisions of this Plan, all Compensation and Benefits Programs shall be treated as
Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code (provided, for the avoidance of doubt, with respect to
those individuals referenced in the Employment Agreements Term Sheet, such terms of employment shall
only be assumed as amended on the terms set forth in the Employment Agreements Term Sheet), except
for:

                (a)      all employee equity or equity-based incentive plans (and the awards granted
                         thereunder), and any provisions set forth in the Compensation and Benefits
                         Programs that provide for rights to acquire Parent Interests; provided that,
                         notwithstanding the foregoing or anything to the contrary herein, the Debtors are
                         authorized and directed to pay the Cash component of any bonus programs in
                         accordance with the terms of such program (including, for the avoidance of doubt,
                         the timing of any payments, which shall not be accelerated);

                (b)      Compensation and Benefits Programs that have been rejected pursuant to an order
                         of a Bankruptcy Court;

                (c)      any Compensation and Benefits Programs that, as of the entry of the Confirmation
                         Order, have been specifically waived by the beneficiaries of any Compensation
                         and Benefits Program; and

                (d)      any Compensation and Benefits Programs for the benefit of the Existing Board
                         Members.

        Any assumption of Compensation and Benefits Programs pursuant to the terms herein shall be
deemed not to trigger (a) any applicable change of control, immediate vesting, or termination (including,
in each case, any similar provisions therein) or (b) an event of “Good Reason” (or a term of like import),
in each case as a result of the consummation of the Restructuring Transactions or any other transactions
contemplated by this Plan. No counterparty shall have rights under a Compensation and Benefits Program
assumed pursuant to this Plan other than those applicable immediately prior to such assumption.

        2.      Workers’ Compensation Programs.

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable workers’
compensation Laws in states in which the Reorganized Debtors operate or have operated; and (b) the
Debtors’ written contracts, agreements, agreements of indemnity, self-insured workers’ compensation
bonds, policies, programs, plans, and Insurance Contracts, for workers’ compensation and workers’
compensation insurance. All Proofs of Claims filed by workers’ compensation claimants on account of
workers’ compensation shall be deemed withdrawn automatically and without any further notice to or
action, order, or approval of the Bankruptcy Court; provided that nothing in this Plan shall limit, diminish,
or otherwise alter the Debtors’ or the Reorganized Debtors’ defenses, Causes of Action, or other rights
under applicable Law, including non-bankruptcy Law, with respect to any such contracts, agreements,
policies, programs, plans, and Insurance Contracts; provided, further, that nothing herein shall be deemed




                                                      67
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 176 of 206


to impose any obligations on the Debtors in addition to what is provided for under applicable state Law
and the terms of the applicable Insurance Contracts.

J.      Intellectual Property Licenses and Agreements.

        All intellectual property contracts, licenses, royalties, or other similar agreements to which the
Debtors have any rights or obligations in effect as of the date of the Confirmation Order shall be deemed
and treated as Executory Contracts pursuant to this Plan and shall be assumed by the respective Debtors or
Reorganized Debtors, as applicable, and shall continue in full force and effect unless any such intellectual
property contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to
a separate order of the Bankruptcy Court or is the subject of a separate rejection motion Filed by the
Debtors as set forth in this Plan. Unless otherwise noted hereunder, all other intellectual property
contracts, licenses, royalties, or other similar agreements shall vest in the Reorganized Debtors and the
Reorganized Debtors may take all actions as may be necessary or appropriate to ensure such vesting as
contemplated herein.

K.      Contracts and Leases Entered into after the Petition Date.

        Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by such Debtor, will be performed by the applicable Debtor or
the Reorganized Debtors in the ordinary course of their business. Accordingly, such contracts and leases
(including any assumed Executory Contracts and Unexpired Leases) will survive and remain unaffected
by entry of the Confirmation Order, except as may be agreed to by the counterparties to such contracts and
leases.

                                        ARTICLE VI.
                            PROVISIONS GOVERNING DISTRIBUTIONS

A.      Distributions on Account of Claims or Interests Allowed as of the Effective Date.

         Unless otherwise provided in this Plan, on or as soon as reasonably practicable after the Effective
Date (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes
an Allowed Claim, or as soon as reasonably practicable thereafter), each Holder of an Allowed Claim
shall receive the full amount of the distributions that this Plan provides for Allowed Claims in the
applicable Class. In the event that any payment or act under this Plan is required to be made or performed
on a date that is not a Business Day, then the making of such payment or the performance of such act may
be completed on the next succeeding Business Day, but shall be deemed to have been completed as of the
required date. If and to the extent that there are Disputed Claims, distributions on account of any such
Disputed Claims shall be made pursuant to the provisions set forth in Article VII hereof. Except as
otherwise provided in this Plan, Holders of Claims shall not be entitled to interest, dividends, or accruals
on the distributions provided for in this Plan, regardless of whether such distributions are delivered on or
at any time after the Effective Date.

         Notwithstanding the foregoing, (a) Allowed Administrative Claims with respect to liabilities
incurred by the Debtors in the ordinary course of business during the Chapter 11 Cases or assumed by the
Debtors prior to the Effective Date shall be paid or performed in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice and (b) Allowed Priority Tax Claims shall be paid in accordance with
Article II.D of this Plan. To the extent any Allowed Priority Tax Claim is not due and owing on the
Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors and the Holder of such Claim or as may be due and payable under applicable


                                                      68
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 177 of 206


non-bankruptcy Law or in the ordinary course of business. Thereafter, a Distribution Date shall occur no
less frequently than once in every 180-day period, as necessary, in the discretion of the Reorganized
Debtors.

B.      Disbursing Agent.

        Except as otherwise set forth in this Plan, the Plan Supplement, or the UCC Settlement Trust
Documents (solely with respect to the UCC Settlement), all distributions under this Plan shall be made by
the applicable Disbursing Agent. The Disbursing Agent shall not be required to give any bond or surety
or other security for the performance of its duties (unless otherwise ordered by the Bankruptcy Court).

C.      Rights and Powers of Disbursing Agent.

        1.      Powers of the Disbursing Agent.

         The Disbursing Agent shall be empowered to, as applicable: (a) effect all actions and execute all
agreements, instruments, and other documents necessary to perform its duties under this Plan; (b) make all
distributions contemplated hereby; (c) employ professionals to represent it with respect to its
responsibilities; and (d) exercise such other powers as may be vested in the Disbursing Agent by order of
the Bankruptcy Court, pursuant this Plan, or as deemed by the Disbursing Agent to be necessary and
proper to implement the provisions hereof.

        2.      Expenses Incurred on or After the Effective Date.

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes), and any
reasonable compensation and expense reimbursement Claims (including reasonable attorney fees and
expenses), made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors in the
ordinary course of business without any further notice to, or action, order, or approval of the Bankruptcy
Court.

D.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

        1.      Record Date for Distribution.

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible
for making distributions is and shall be authorized and entitled to recognize only those record Holders
listed on the Claims Register as of the close of business on the Distribution Record Date. Unless
otherwise provided in a Final Order from the Bankruptcy Court, if a Claim, other than one based on a
Security that is traded on a recognized securities exchange, is transferred 20 or fewer days before the
Distribution Record Date, the Disbursing Agent shall make distributions to the transferee only to the
extent practical and, in any event, only if the relevant transfer form contains an unconditional and explicit
certification and waiver of any objection to the transfer by the transferor.

        2.      Delivery of Distributions in General.

         Except as otherwise provided herein or in the Plan Supplement, the applicable Disbursing Agent
shall make distributions to Holders of Allowed Claims and Allowed Interests, as applicable, as of the
Distribution Record Date at the address for each such Holder as indicated on the Debtors’ records as of,
the date of any such distribution (to the extent such address is not available in the Debtors’ records, such
Holder must provide sufficient information to deliver the distribution); provided that the manner of such
distributions shall be determined at the discretion of the Reorganized Debtors; provided, further, that

                                                      69
Case 23-19865-JKS             Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                             Desc Main
                                    Document     Page 178 of 206


distributions of Securities with DTC or another similar securities depository (including the applicable
Notes), shall be made pursuant to the customary procedures of DTC of the similar securities depository
(as applicable).910

          3.       Delivery of Distributions on Notes Claims.

         All distributions to Holders of Allowed Notes Claims shall be made by or at the direction of the
respective Agent for further distribution to the relevant Holders of Allowed Notes Claims under the terms
of the relevant Indenture or as provided herein or in the Plan Supplement. The Agents shall hold or direct
such distributions for the benefit of the respective Holders of Allowed Notes Claims. As soon as
practicable in accordance with the requirements set forth in this Article VI, the Agents shall arrange to
deliver such distributions to or on behalf of such Holders, subject to the rights of the Agents to assert their
respective charging liens. If the Agents are unable to make, or the Agents consent to the Disbursing Agent
making such distributions, the Disbursing Agent, with the cooperation of the Agents, shall make such
distributions to the extent practicable. The Agents shall have no duties or responsibility relating to any
form of distribution to Holders of Allowed Notes Claims that are not DTC eligible and the Debtors, the
Reorganized Debtors and/or the Disbursing Agent, as applicable, shall use reasonably commercial efforts
to seek the cooperation of DTC so that any distribution on account of an Allowed Notes Claim that is held
in the name of, or by a nominee of, DTC, shall be made to the extent possible through the facilities of
DTC (whether by means of book-entry exchange, or otherwise) on the Effective Date or as soon as
practicable thereafter. The Agents shall retain all rights under the relevant Indentures to exercise their
respective charging liens against distributions to their respective Holders. Regardless of whether such
distributions are made by any Agent, or by the Distribution Agent at the reasonable direction of any
Agent, the applicable charging liens shall attach to such distributions in the same manner as if such
distributions were made through the applicable Agent. No Agent shall incur any liability whatsoever on
account of any distributions under the Plan, whether such distributions are made by any Agent, or by the
Distribution Agent at the reasonable direction of any Agent, except for fraud, gross negligence, or willful
misconduct.

          4.       Minimum Distributions.

         The applicable Disbursing Agent shall not make any distributions to a Holder of an Allowed
Claim or Allowed Interest on account of such Allowed Claim or Allowed Interest of Cash or otherwise
where such distribution is valued, in the reasonable discretion of the applicable Disbursing Agent, at less
than $100. When any distribution pursuant to this Plan on account of an Allowed Claim or Allowed
Interest, as applicable, would otherwise result in the issuance of a number of shares of the New Interests
that is not a whole number, the actual distribution of shares of the New Interests shall be rounded as
follows: (a) fractions of one-half or greater shall be rounded to the next higher whole number; and
(b) fractions of less than one-half shall be rounded to the next lower whole number with no further
payment therefor. The total number of authorized shares of the New Interests to be distributed under this
Plan shall be adjusted as necessary to account for the foregoing rounding. No fractional shares of the New
Interests shall be distributed, and no Cash shall be distributed in lieu of such fractional amounts. Each
Allowed Claim or Interest to which these limitations apply shall be discharged pursuant to Article VIII.A
of this Plan and its Holder shall be forever barred pursuant to Article VIII.A of this Plan from asserting


910   For the avoidance of doubt, no later than 12 Business Days before the Effective Date, at 5:00 p.m. (prevailing
      Eastern Time), any of the Tranche A Initial Commitment Parties (as defined in the RSA) shall have the right to
      designate its entitlement to any or all of the Prepetition Secured Equity Distribution, the DIP New Money Initial
      Commitment Premium, the DIP New Money Supplemental Premium, and the New Money Equity Distribution to
      any Related Funds (as defined in the RSA) of such parties.


                                                            70
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 179 of 206


that Claim against or Interest in the Reorganized Debtors or their property pursuant to Article VIII.A of
this Plan.

        Any amounts owed to a Holder of an Allowed Claim that is entitled to distributions in an amount
less than $100 shall not receive distributions on account thereof, and each Claim shall be discharged
pursuant to Article VIII.A of this Plan and its Holder is forever barred pursuant to Article VIII.A of this
Plan from asserting that Claim against the Reorganized Debtors or their property and such amount shall
revest in the applicable Reorganized Debtor automatically (and without need for a further order by the
Bankruptcy Court).

        5.      Undeliverable and Unclaimed Distributions.

         If any distribution to a Holder of an Allowed Claim is returned to the applicable Disbursing Agent
as undeliverable, no distribution shall be made to such Holder unless and until the Disbursing Agent is
notified in writing of such Holder’s then-current address or other necessary information for delivery, at
which time all currently due missed distributions shall be made to such Holder on the next Distribution
Date without interest. Undeliverable distributions shall remain in the possession of the Reorganized
Debtors until such time as a distribution becomes deliverable, or such distribution reverts to the
Reorganized Debtors or is canceled pursuant to this Article VI, and shall not be supplemented with any
interest, dividends, or other accruals of any kind.

         Any distribution under this Plan that is an Unclaimed Distribution or remains undeliverable for a
period of 90 days after distribution shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code and such Unclaimed Distribution or undeliverable distribution shall revest in the
applicable Reorganized Debtor automatically (and without need for a further order by the Bankruptcy
Court, notwithstanding any applicable federal, provincial, or estate escheat, abandoned, or unclaimed
property Laws to the contrary) and, to the extent such Unclaimed Distribution is comprised of the New
Interests, such New Interests shall be canceled. Upon such revesting, the Claim of the Holder or its
successors with respect to such property shall be canceled, released, discharged, and forever barred
notwithstanding any applicable federal or state escheat, abandoned, or unclaimed property Laws, or any
provisions in any document governing the distribution that is an Unclaimed Distribution, to the contrary.
The Disbursing Agent shall adjust the distributions of the New Interests to reflect any such cancelation.

        6.      Surrender of Canceled Instruments or Securities.

         On the Effective Date or as soon as reasonably practicable thereafter, each holder of a certificate
or instrument evidencing a Claim or an Interest that has been canceled in accordance with Article IV.H
hereof shall be deemed to have surrendered such certificate or instrument to the Disbursing Agent. Such
surrendered certificate or instrument shall be canceled solely with respect to the Debtors, and such
cancelation shall not alter the obligations or rights of any non-Debtor third parties vis-à-vis one another
with respect to such certificate or instrument, including with respect to any indenture or agreement that
governs the rights of the Holder of a Claim or Interest, which shall continue in effect for purposes of
allowing Holders to receive distributions under this Plan, charging Liens, priority of payment, and
indemnification rights. Notwithstanding anything to the contrary herein, this paragraph shall not apply to
certificates or instruments evidencing Claims that are Unimpaired under this Plan.

E.      Manner of Payment.

        Except as otherwise provided in this Plan, the Plan Supplement, or any agreement, instrument, or
other document incorporated in this Plan or the Plan Supplement, all distributions of the New Interests to



                                                     71
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 180 of 206


the Holders of the applicable Allowed Claims or Allowed Interests, in each case if any, under this Plan
shall be made by the Disbursing Agent on behalf of the Debtors or the Reorganized Debtors, as applicable.

        All distributions of Cash to the Holders of the applicable Allowed Claims or Allowed Interests, in
each case if any, under this Plan shall be made by the Disbursing Agent on behalf of the applicable Debtor
or Reorganized Debtor.

        At the option of the applicable Disbursing Agent, any Cash payment to be made hereunder may be
made by check, automated clearing house (ACH), or wire transfer or as otherwise required or provided in
applicable agreements.

F.      Indefeasible Distributions.

        Except as otherwise provided in Article VI.L, any and all distributions made under this Plan shall
be indefeasible and not subject to clawback or turnover provisions.

G.      Compliance with Tax Requirements.

         In connection with this Plan, to the extent applicable, the Debtors, the Reorganized Debtors, the
Disbursing Agent, the UCC Settlement Trustee, and any other applicable withholding agent shall comply
with all tax withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions made pursuant to this Plan shall be subject to such withholding and reporting requirements;
provided that any amounts withheld shall be deemed distributed to and received by the applicable
recipient for all purposes under this Plan. Notwithstanding any provision in this Plan to the contrary, such
parties shall be authorized to take all actions necessary or appropriate to comply with such withholding
and reporting requirements, including liquidating a portion of the distribution to be made under this Plan
to generate sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt
of information necessary to facilitate such distributions, or establishing any other mechanisms they
believe are reasonable and appropriate. The Debtors and the Reorganized Debtors reserve the right to
allocate all distributions made under this Plan in compliance with all applicable wage garnishments,
alimony, child support, and similar spousal awards, Liens, and encumbrances.

         Any person entitled to receive any property as an issuance or distribution under this Plan shall
deliver to the applicable Disbursing Agent or, if different, the applicable withholding agent for U.S.
federal income tax purposes, a properly completed and duly executed IRS Form W-9 or (if the payee is a
foreign Person) an appropriate IRS Form W-8 (including any supporting documentation) (as applicable).

H.      Allocations.

         Distributions in respect of Allowed Claims shall be, with respect to each specific Claim, allocated
first to the principal amount of such Claims (as determined for U.S. federal income tax purposes) and
then, to the extent the consideration exceeds the principal amount of the Claims, to any portion of such
Claims for accrued but unpaid interest.

I.      No Postpetition Interest on Claims.

        Unless otherwise specifically provided for in the DIP Orders, this Plan, or the Confirmation
Order, or required by applicable bankruptcy and non-bankruptcy Law, postpetition interest shall not
accrue or be paid on any prepetition Claims, and no Holder of a Claim shall be entitled to interest accruing
on or after the Petition Date on such Claim. Additionally, and without limiting the foregoing, interest
shall not accrue or be paid on any Disputed Claim with respect to the period from the Effective Date to the


                                                     72
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 181 of 206


date a final distribution is made on account of such Disputed Claim, if and when such Disputed Claim
becomes an Allowed Claim.

J.      Foreign Currency Exchange Rate.

        Except as otherwise provided in a Bankruptcy Court order, as of the Effective Date, any Claim
asserted in currency other than U.S. dollars shall be automatically deemed converted to the equivalent
U.S. dollar value using the exchange rate for the applicable currency as published in The Wall Street
Journal, National Edition, on the Petition Date.

K.      Preservation of Setoffs and Recoupment.

         Except as expressly provided in this Plan or the Plan Supplement, each Reorganized Debtor may,
pursuant to section 553 of the Bankruptcy Code, set off and/or recoup against any Plan Distributions to be
made on account of any Allowed Claim, any and all claims, rights, and Causes of Action that such
Reorganized Debtor may hold against the Holder of such Allowed Claim to the extent such setoff or
recoupment is either (a) agreed in amount among the relevant Reorganized Debtor(s) and the Holder of
the Allowed Claim or (b) otherwise adjudicated by the Bankruptcy Court or another court of competent
jurisdiction; provided that neither the failure to effectuate a setoff or recoupment nor the allowance of any
Claim hereunder shall constitute a waiver or release by a Reorganized Debtor or their applicable successor
of any and all claims, rights, and Causes of Action that such Reorganized Debtor or their applicable
successor may possess against the applicable Holder. In no event shall any Holder of a Claim be entitled
to recoup such Claim against any claim, right, or Cause of Action of the Debtors or the Reorganized
Debtors unless such Holder actually has performed such recoupment and provided notice thereof in
writing to the Debtors in accordance with Article XII.F hereof on or before the Effective Date,
notwithstanding any indication in any Proof of Claim or otherwise that such Holder asserts, has, or intends
to preserve any right of recoupment.

        Notwithstanding anything to the contrary herein, nothing in this Plan or the Confirmation Order
shall modify the rights, if any, of any counterparty to an Executory Contract or Unexpired Lease to assert
any right of setoff or recoupment that such party may have under applicable bankruptcy Law or
non-bankruptcy Law, including, but not limited to, the (i) ability, if any, of such parties to setoff or recoup
a security deposit held pursuant to the terms of their Unexpired Lease(s) with the Debtors, or any
successors to the Debtors, under this Plan, (ii) assertion of rights of setoff or recoupment, if any, in
connection with Claims reconciliation, or (iii) assertion of setoff or recoupment as a defense, if any, to any
Claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

L.      Claims Paid or Payable by Third Parties.

        1.      Claims Paid by Third Parties.

         The Debtors or the Reorganized Debtors (as applicable) shall reduce in full a Claim, and such
Claim shall be disallowed without a Claim Objection having to be Filed and without any further notice to
or action, order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives
payment in full on account of such Claim from a party that is not a Debtor or Reorganized Debtor.
Subject to the last sentence of this paragraph, to the extent a Holder of a Claim receives a distribution on
account of such Claim and receives payment from a party that is not a Debtor or Reorganized Debtor on
account of such Claim, such Holder shall, within 14 days of receipt thereof, repay or return the
distribution to the applicable Reorganized Debtor to the extent the Holder’s total recovery on account of
such Claim from the third party and under this Plan exceeds the amount of such Claim as of the date of
any such distribution under this Plan. The failure of such Holder to timely repay or return such


                                                       73
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 182 of 206


distribution shall result in the Holder owing the applicable Reorganized Debtor annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the 14-day grace period
specified above until the amount is repaid.

        2.      Claims Payable by Third Parties.

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted
all remedies with respect to such Insurance Contract. To the extent that one or more of the Debtors’
Insurers agrees to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent
jurisdiction or otherwise settled), then immediately upon such Insurers’ agreement, the applicable portion
of such Claim may be expunged without a Claim Objection having to be Filed and without any further
notice to or action, order, or approval of the Bankruptcy Court.

        3.      Applicability of Insurance Contracts.

         Except as otherwise provided in this Plan or the Plan Supplement, distributions to Holders of
Allowed Claims shall be in accordance with the provisions of any applicable Insurance Contract. Nothing
contained in this Plan shall constitute or be deemed a waiver of any rights, defenses, or Cause of Action
that the Debtors or any Insurer may hold against any other Entity under any Insurance Contracts, nor shall
anything contained herein constitute or be deemed a waiver by such Insurers of any defenses or related
rights, including coverage defenses, held by such Insurers under applicable Insurance Contracts.

                                      ARTICLE VII.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      Disputed Claims Process.

         1.     Except with respect to any 3L Notes Claim and any General Unsecured Claim,
the Debtors and the Reorganized Debtors, as applicable, shall have the exclusive authority with
respect to all Claims (subject to the consent of the Required Consenting Stakeholders)
to: (i) determine, without the need for notice to or action, order, or approval of the Bankruptcy
Court, that a claim subject to any Proof of Claim that is Filed is Allowed; and (ii) file, settle,
compromise, withdraw, or litigate to judgment any objections to Claims as permitted under this
Plan.

        2.      With respect to any 3L Notes Claim and any General Unsecured Claim, the UCC
Settlement Trustee shall have the exclusive authority to: (i) determine, without the need for notice
to or action, order, or approval of the Bankruptcy Court, that a claim subject to any Proof of Claim
that is Filed is Allowed; and (ii) file, settle, compromise, withdraw, or litigate to judgment any
objections to Claims as permitted under this Plan.

        3.      All Proofs of Claim required to be Filed by this Plan that are Filed after the date
that they are required to be Filed pursuant to this Plan shall be disallowed and forever barred,
estopped, and enjoined from assertion, and shall not be enforceable against any Reorganized
Debtor, without the need for any objection by the Reorganized Debtors or any further notice to or
action, order, or approval of the Bankruptcy Court.




                                                       74
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 183 of 206


B.      Allowance of Claims.

        After the Effective Date, each of the Reorganized Debtors or the UCC Settlement Trust (as
applicable) shall have and retain any and all rights and defenses the applicable Debtor had with respect to
any Claim or Interest immediately before the Effective Date. The Debtors or the UCC Settlement Trust
(as applicable), in their sole discretion, may affirmatively determine to deem Unimpaired Claims Allowed
to the same extent such Claims would be Allowed under applicable non-bankruptcy Law. Except as
expressly provided in this Plan or in any order entered in the Chapter 11 Cases before the Effective Date
(including the Confirmation Order), no Claim or Interest shall become an Allowed Claim or Interest
unless and until such Claim or Interest, as applicable, is deemed Allowed under this Plan or the
Bankruptcy Code, or the Bankruptcy Court has entered a Final Order, including the Confirmation Order
(when it becomes a Final Order), in the Chapter 11 Cases allowing such Claim or Interest.

C.      Claims Administration Responsibilities.

        With respect to all Classes of Claims and Interests, and except as otherwise specifically provided
in this Plan and notwithstanding any requirements that may be imposed pursuant to Bankruptcy
Rule 9019, after the Effective Date, the Reorganized Debtors or the UCC Settlement Trust (as applicable)
shall have the sole authority (with respect to any Stub Rent Claims, subject to the consent rights set forth
in the Bar Date Order and subject to the consent of the Required Consenting Stakeholders, as applicable)
to: (a) File and prosecute Claim Objections; (b) settle, compromise, withdraw, litigate to judgment, or
otherwise resolve any and all Claim Objections, regardless of whether such Claims are in a Class or
otherwise; (c) settle, compromise, or resolve any Disputed Claim without any further notice to or action,
order, or approval by the Bankruptcy Court; and (d) administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. After the Effective Date, the Reorganized Debtors or the UCC Settlement Trust (as
applicable) shall resolve Disputed Claims in accordance with their fiduciary duties and pursuant to the
terms of this Plan. For the avoidance of doubt, except as otherwise provided in this Plan, from and after
the Effective Date, each Reorganized Debtor or the UCC Settlement Trust (as applicable) shall have and
retain any and all the rights and defenses such Debtor had immediately prior to the Effective Date with
respect to any Disputed Claim, including the Causes of Action retained pursuant to Article IV.N of this
Plan, unless such Causes of Action were released pursuant to Article VIII of this Plan.

D.      Estimation of Claims and Interests.

         Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, or the UCC
Settlement Trust (as applicable), may (but are not required to) at any time request that the Bankruptcy
Court estimate any Claim or Interest pursuant to applicable Law, including pursuant to section 502(c) of
the Bankruptcy Code and/or Bankruptcy Rule 3012, for any reason, regardless of whether any party
previously has objected to such Claim or Interest or whether the Bankruptcy Court has ruled on any such
objection, and the Bankruptcy Court shall retain jurisdiction to estimate any such Claim or Interest,
including during the litigation of any objection to any Claim or Interest or during the pendency of any
appeal relating to such objection. Notwithstanding any provision to the contrary in this Plan, a Claim or
Interest that has been expunged from the Claims Register, but that either is subject to appeal or has not
been the subject of a Final Order, shall be deemed to be estimated at zero dollars, unless otherwise
ordered by the Bankruptcy Court. In the event that the Bankruptcy Court estimates any Claim or Interest
and does not provide otherwise, such estimated amount shall constitute a maximum limitation on such
Claim or Interest for all purposes under this Plan (including for purposes of distributions and discharge)
and may be used as evidence in any supplemental proceedings, and the Debtors, the Reorganized Debtors,
or the UCC Settlement Trust (as applicable) may elect to pursue any supplemental proceedings to object
to any ultimate distribution on such Claim or Interest. Notwithstanding section 502(j) of the Bankruptcy


                                                     75
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 184 of 206


Code, in no event shall any Holder of a Claim or Interest that has been estimated pursuant to
section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation
unless such Holder has Filed a motion requesting the right to seek such reconsideration on or before
7 days after the date on which such Claim or Interest is estimated. Each of the foregoing Claims and
Interests and objection, estimation, and resolution procedures are cumulative, not exclusive of one
another, and shall be consistent with any procedures set forth in the Bar Date Order and subject to the
consent of the Required Consenting Stakeholders. Claims or Interest may be estimated and subsequently
compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.

E.      Disputed Claims Reserve.

        On or before the Effective Date, the Reorganized Debtors incorporated in the U.S., subject to the
consent of the Required Consenting Stakeholders, shall establish one or more reserves of the applicable
consideration for any Claims against any Debtor that are Disputed Claims as of the Distribution Record
Date other than General Unsecured Claims, which reserves shall be administered by the Disbursing Agent.

         After the Effective Date, the applicable Disbursing Agent shall hold such consideration in such
reserve(s) in trust for the benefit of such Disputed Claims as of the Distribution Record Date, that are
ultimately determined to be Allowed after the Distribution Record Date. The Disbursing Agent shall
distribute such amounts (net of any expenses, including any taxes relating thereto), as provided herein, as
such Claims are resolved by a Final Order or agreed to by settlement, and such amounts will be
distributable on account of such Claims as such amounts would have been distributable had such Claims
been Allowed Claims as of the Effective Date under Article III of this Plan solely to the extent of the
amounts available in the applicable reserve(s).

        Upon a Disputed Claim becoming disallowed by a Final Order or pursuant to Article VII.A, the
applicable amount of the consideration that was in the disputed claims reserve on account of such
Disputed Claim shall be canceled by the Reorganized Debtors or the applicable Disbursing Agent. The
Disbursing Agent shall adjust the distributions of the consideration to reflect any such cancelation.

        The Debtors or the UCC Settlement Trust (as applicable) may take the position that grantor trust
treatment applies in whole or in part to any assets held in a disputed claims reserve. To the extent such
treatment applies to any such account or fund, for all U.S. federal income tax purposes, the beneficiaries
of any such account or fund would be treated as grantors and owners thereof, and it is intended, to the
extent reasonably practicable, that any such account or fund would be classified as a liquidating trust
under section 301.7701-4 of the Treasury Regulations. Accordingly, subject to the immediately foregoing
sentence, if such intended U.S. federal income tax treatment applied, then for U.S. federal income tax
purposes, the beneficiaries of any such account or fund would be treated as if such beneficiaries had
received an interest in such account or fund’s assets and then contributed such interests (in accordance
with the Restructuring Transactions Exhibit) to such account or fund. Alternatively, any assets held in a
disputed claim reserve may be subject to the tax rules that apply to “disputed ownership funds” under
section 1.468B–9 of the Treasury Regulations. To the extent such U.S. federal income tax treatment
applies, any such assets will be subject to entity-level taxation, which will be borne by such disputed
ownership funds and the Reorganized Debtors, shall be required to comply with the relevant rules.
However, it is unclear whether these U.S. tax principles will apply to any such reserve and, as a result, the
tax consequences of such reserve may vary.

F.      Adjustment to Claims or Interests without Objection.

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged (including pursuant to this Plan) on the Claims Register by the


                                                      76
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                Document     Page 185 of 206


Reorganized Debtors (without the Reorganized Debtors or the UCC Settlement Trust (as applicable)
having to File an application, motion, complaint, objection, Claim Objection, or any other legal
proceeding seeking to object to such Claim or Interest) and without any further notice to or action, order,
or approval of the Bankruptcy Court.

G.      Time to File Objections to Claims.

        Any objections to Claims or Interests shall be Filed on or before the later of (a) 180 days after the
Effective Date and (b) such other period of limitation as may be specifically fixed by the Bankruptcy
Court upon a motion by the Debtors, the Reorganized Debtors, or the UCC Settlement Trust, as
applicable.

H.      Disallowance of Claims or Interests.

         Except as otherwise expressly set forth herein, all Claims and Interests of any Entity from which
property is sought by the Debtors under sections 542, 543, 550, or 553 of the Bankruptcy Code or that the
Debtors or the Reorganized Debtors allege is a transferee of a transfer that is avoidable under
sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a) of the Bankruptcy Code shall be disallowed if:
(a) the Entity, on the one hand, and the Debtors, the Reorganized Debtors, or the UCC Settlement Trust,
as applicable, on the other hand, agree or the Bankruptcy Court has determined by Final Order that such
Entity or transferee is liable to turn over any property or monies under any of the aforementioned sections
of the Bankruptcy Code; and (b) such Entity or transferee has failed to turn over such property by the date
set forth in such agreement or Final Order.

         Except as otherwise provided herein or as agreed to by the Debtors, the Reorganized
Debtors, or the UCC Settlement Trust (as applicable) any and all Proofs of Claim Filed after the
Claims Bar Date shall be deemed disallowed and expunged as of the Effective Date without having
to File an application, motion, complaint, objection, or any other legal proceeding seeking to object
to such Claim or Interest and without any further notice to or action, order, or approval of the
Bankruptcy Court, and Holders of such disallowed Claims shall not receive any distributions on
account of such Claims, unless such late Proof of Claim has been deemed timely Filed by a Final
Order; provided, however, that not less than 14 days’ notice to any Holders of General Unsecured
Claims affected by the foregoing in this paragraph shall be provided (which such notice may be
served on the affected claimants and may be Filed on an aggregate basis consistent with Bankruptcy
Rule 3007(d)).

I.      Amendments to Claims.

       Except as provided in this Plan or the Confirmation Order, on or after the Effective Date, a Claim
may not be Filed or amended without the prior authorization of the Bankruptcy Court, the Reorganized
Debtors, or the UCC Settlement Trust, as applicable, and any such new or amended Claim Filed shall be
deemed disallowed in full and expunged without any further notice to or action, order, or approval of the
Bankruptcy Court to the maximum extent provided by applicable Law.

J.      No Distributions Pending Allowance.

       Notwithstanding any other provision of this Plan, if any portion of a Claim or Interest is a
Disputed Claim or Interest, as applicable, no payment or distribution provided hereunder shall be made on
account of such Claim or Interest unless and until such Disputed Claim or Interest becomes an Allowed
Claim or Interest; provided that, if only the Allowed amount of an otherwise valid Claim or Interest is



                                                      77
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 186 of 206


Disputed, such Claim or Interest shall be deemed Allowed in the amount not Disputed and payment or
distribution shall be made on account of such undisputed amount.

K.      Distributions After Allowance.

          To the extent that a Disputed Claim or Interest ultimately becomes an Allowed Claim or Interest,
distributions (if any) shall be made to the Holder of such Allowed Claim or Interest in accordance with the
provisions of this Plan. As soon as reasonably practicable after the date that the order or judgment of the
Bankruptcy Court allowing any Disputed Claim or Interest becomes a Final Order, the Disbursing Agent
shall provide to the Holder of such Claim or Interest the distribution (if any) to which such Holder is
entitled under this Plan as of such date, without any interest to be paid on account of such Claim or
Interest.

L.      Single Satisfaction of Claims.

         Holders of Allowed Claims or Allowed Interests may assert such Claims against or Interests in the
Debtors obligated with respect to such Claims or Interests, and such Claims and Interests shall be entitled
to share in the recovery provided for the applicable Claim against or Interest in the Debtors based upon
the full Allowed amount of such Claims or Interests. Notwithstanding the foregoing, in no case shall the
aggregate value of all property received or retained under this Plan on account of any Allowed Claim or
Allowed Interest exceed the amount of the Allowed Claim or Allowed Interest.

                                  ARTICLE VIII.
            SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests.

          Pursuant to section 1141(d) of the Bankruptcy Code, and except as otherwise specifically
provided in this Plan, the Confirmation Order, or in any contract, instrument, or other agreement or
document created or entered into pursuant to this Plan or the Plan Supplement, the distributions, rights,
and treatment that are provided in this Plan shall be in complete satisfaction, and discharge, and release,
effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, Liens on, obligations of, rights against, and interests in,
the Debtors or any of their assets or properties, regardless of whether any property shall have been
distributed or retained pursuant to this Plan on account of such Claims and Interests, including demands,
liabilities, and Causes of Action that arose before the Effective Date, any liability (including withdrawal
liability) to the extent such Claims or Interests relate to services performed by employees of the Debtors
prior to the Effective Date and that arise from a termination of employment, any contingent or
non-contingent liability on account of representations or warranties issued on or before the Effective Date,
and all debts of the kind specified in sections 502(g), 502(h), or 502(i) of the Bankruptcy Code, in each
case whether or not: (a) a Proof of Claim based upon such debt or right is Filed or deemed Filed pursuant
to section 501 of the Bankruptcy Code; (b) a Claim or Interest based upon such debt, right, or interest is
Allowed pursuant to section 502 of the Bankruptcy Code; or (c) the Holder of such a Claim or Interest has
accepted this Plan. Any default by the Debtors or their Affiliates with respect to any Claim or Interest that
existed immediately prior to or on account of the Filing of the Chapter 11 Cases shall be deemed cured on
the Effective Date. The Confirmation Order shall be a judicial determination of the discharge of all
Claims (other than the Reinstated Claims), Interests (other than the Intercompany Interests that are
Reinstated), and Causes of Action subject to the occurrence of the Effective Date.



                                                      78
Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                  Desc Main
                                  Document     Page 187 of 206


B.      Release of Liens.

        Except as otherwise provided herein, in the DIP New Money Documents, Exit LC Facility
Documents, the Plan Supplement, the Confirmation Order, or in any contract, instrument, release,
or other agreement or document created pursuant to this Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to this Plan and, in the case of a
Secured Claim, satisfaction in full of the portion of the Secured Claim that is Allowed as of the
Effective Date, except for Other Secured Claims that the Debtors elect to Reinstate in accordance
with this Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests against any
property of the Estates shall be fully released and discharged, and all of the right, title, and interest
of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Reorganized Debtors and their successors and assigns, in each case, without any
further approval or order of the Bankruptcy Court and without any action or Filing being required
to be made by the Debtors or the Reorganized Debtors, or any other Holder of a Secured Claim.
Any Holder of such Secured Claim (and the applicable agents for such Holder) shall be authorized
and directed, at the sole cost and expense of the Reorganized Debtors, to release any collateral or
other property of any Debtor (including any cash collateral and possessory collateral) held by such
Holder (and the applicable agents for such Holder), and to take such actions as may be reasonably
requested by the Reorganized Debtors to evidence the release of such Liens and/or security
interests, including the execution, delivery, and Filing or recording of such releases. The
presentation or Filing of the Confirmation Order to or with any federal, state, provincial, or local
agency, records office, or department shall constitute good and sufficient evidence of, but shall not
be required to effect, the termination of such mortgages, deeds of trust, Liens, pledges, and other
security interests.

        To the extent that any Holder of a Secured Claim that has been satisfied or discharged in
full pursuant to this Plan, or any agent for such Holder, has filed or recorded publicly any Liens
and/or security interests to secure such Holder’s Secured Claim, then as soon as practicable on or
after the Effective Date, such Holder (or the agent for such Holder) shall take any and all steps
requested by the Debtors, the Reorganized Debtors, the DIP New Money Agents, the Exit LC
Facility Agents, that are necessary or desirable to record or effectuate the cancelation and/or
extinguishment of such Liens and/or security interests, including the making of any applicable
filings or recordings, and the Reorganized Debtors shall be entitled to make any such filings or
recordings on such Holder’s behalf.

C.      Releases by the Debtors.

                 Except as expressly set forth in this Plan or the Confirmation Order, effective as of
the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, including the obligations of the Debtors under this Plan and the contributions and
services of the Released Parties in facilitating the expeditious reorganization of the Debtors and
implementation of the restructuring contemplated by this Plan, the adequacy of which is hereby
confirmed, on and after the Effective Date, each Released Party is hereby deemed conclusively,
absolutely, unconditionally, irrevocably, finally, and forever released, and waived, and discharged,
to the fullest extent permissible under applicable Law, by each and all of the Debtors, and each of
their respective current and former non-SoftBank Parties Affiliates, the Reorganized Debtors, and
their Estates, in each case on behalf of themselves and their respective successors, assigns, and
representatives, including any Estate representative appointed or selected pursuant to
section 1123(b)(3) of the Bankruptcy Code, and any and all other Entities who may purport to
assert any Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, from any and all Claims, Interests, obligations, rights, suits, damages, Causes of

                                                    79
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                  Desc Main
                               Document     Page 188 of 206


Action, remedies, and liabilities, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, matured or unmatured, fixed or contingent, liquidated or unliquidated, accrued or
unaccrued, existing or hereinafter arising, in law, equity, contract, tort, or otherwise, including any
derivative claims, asserted or assertable on behalf of any of the Debtors, the Reorganized Debtors,
or their Estates that such Entity would have been legally entitled to assert in their own right
(whether individually or collectively) or on behalf of the Holder of any Claim or Cause of Action
against, or Interest in, a Debtor or any other Entity, based on or relating to (including the
formulation, preparation, dissemination, negotiation, entry into, or filing of, as applicable), or in
any manner arising from, in whole or in part, the Debtors, the Reorganized Debtors or their Estates
(including the capital structure, management, ownership, or operation thereof), the purchase, sale,
exchange, issuance, termination, repayment, extension, amendment, or rescission of any debt
instrument or Security of the Debtors or the Reorganized Debtors, the assertion or enforcement of
rights and remedies against the Debtors, the formulation, preparation, dissemination, negotiation,
consummation, entry into, or Filing of, as applicable, the Debt Documents, the Exit LC Facility
Documents, and the RSA, the subject matter of, or the transactions or events giving rise to, any
Claim or Interest that is treated in this Plan, the business or contractual arrangements between any
Debtor and any Released Party, the Debtors’ in- or out-of-court restructuring efforts, the Notes
Exchange Transactions, the decision to File the Chapter 11 Cases, any intercompany transactions,
the Chapter 11 Cases, the Restructuring Transactions, and any related adversary proceedings, the
formulation, preparation, dissemination, negotiation, consummation, entry into, or Filing of, as
applicable the Definitive Documents or any other contract instrument, release, or other agreement
or document created or entered into in connection with the Definitive Documents, the Restructuring
Transactions, the pursuit of Confirmation and Consummation, the administration and
implementation of this Plan, any action or actions taken in furtherance of or consistent with the
administration of this Plan, including the issuance or distribution of Securities pursuant to this
Plan, or the distribution of property under this Plan or any other related agreement, the solicitation
of votes on this Plan, or upon any other act, or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related or relating to the foregoing.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release (a) any obligations arising on or after the Effective Date of any party or Entity under this
Plan, any Restructuring Transaction, or any document, instrument, or agreement (including those
set forth in the Plan Supplement) executed to implement this Plan as set forth in this Plan; or
(b) any Retained Causes of Action.

         Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the
related provisions and definitions contained in this Plan, and further, shall constitute the
Bankruptcy Court’s finding that the Debtor Release is: (a) in exchange for the good and valuable
consideration provided by the Released Parties, including the Released Parties’ contributions to
facilitating the Restructuring Transactions and implementing this Plan; (b) a good faith settlement
and compromise of the Claims released by the Debtor Release; (c) in the best interests of the
Debtors and all Holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and
made after due notice and opportunity for hearing; (f) a bar to any of the Debtors, the Reorganized
Debtors, or the Debtors’ Estates asserting any Claim or Cause of Action of any kind whatsoever
released pursuant to the Debtor Release; (g) essential to the Confirmation of this Plan; and (h) an
exercise of the Debtors’ business judgment.

D.     Releases by the Releasing Parties.

      Effective as of the Effective Date, except as expressly set forth in this Plan or the
Confirmation Order, in exchange for good and valuable consideration, including the obligations of

                                                   80
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                  Desc Main
                               Document     Page 189 of 206


the Debtors under this Plan and the contributions and services of the Released Parties in facilitating
the expeditious reorganization of the Debtors and implementation of the restructuring
contemplated by this Plan, pursuant to section 1123(b) of the Bankruptcy Code, in each case except
for Claims arising under, or preserved by, this Plan, to the fullest extent permissible under
applicable Law, each Releasing Party (other than the Debtors or the Reorganized Debtors), in each
case on behalf of itself and its respective successors, assigns, and representatives, and any and all
other Entities who may purport to assert any Claim or Cause of Action, directly or derivatively, by,
through, for, or because of a Releasing Party, is deemed to have conclusively, absolutely,
unconditionally, irrevocably, and forever released and discharged, to the fullest extent permissible
under applicable Law, each Debtor, Reorganized Debtor, and each other Released Party from any
and all Claims, Interests, obligations, rights, suits, damages, Causes of Action, remedies, and
liabilities, whether known or unknown, foreseen or unforeseen, asserted or unasserted, matured or
unmatured, fixed or contingent, liquidated or unliquidated, accrued or unaccrued, existing or
hereinafter arising, in law, equity, contract, tort, or otherwise, including any derivative claims,
asserted or assertable on behalf of any of the Debtors, the Reorganized Debtors, or their estates that
such Entity would have been legally entitled to assert in their own right (whether individually or
collectively), based on or relating to (including the formulation, preparation, dissemination,
negotiation, entry into, or filing of, as applicable), or in any manner arising from, in whole or in
part, the Debtors, the Reorganized Debtors or their estates (including the capital structure,
management, ownership, or operation thereof), the Chapter 11 Cases, the Restructuring
Transactions, the purchase, sale, exchange, issuance, termination, repayment, extension,
amendment, or rescission of any debt instrument or Security of the Debtors or the Reorganized
Debtors, the assertion or enforcement of rights and remedies against the Debtors, the formulation,
preparation, dissemination, negotiation, consummation, entry into, or Filing of, as applicable, the
Debt Documents, the Exit LC Facility Documents, and the RSA, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated in this Plan, the business
or contractual arrangements between any Debtor and any Released Party, the Debtors’ in- or
out-of-court restructuring efforts, the Notes Exchange Transactions, the decision to File the
Chapter 11 Cases, any intercompany transactions, and any related adversary proceedings, the
formulation, preparation, dissemination, negotiation, consummation, entry into, or Filing of, as
applicable, the Definitive Documents or any other contract instrument, release or other agreement
or document created or entered into in connection with the Definitive Documents, or the
Restructuring Transactions, the pursuit of Confirmation and Consummation, the administration
and implementation of this Plan, any action or actions taken in furtherance of or consistent with the
administration of this Plan, including the issuance or distribution of Securities pursuant to this
Plan, or the distribution of property under this Plan or any other related agreement, the solicitation
of votes on this Plan, or upon any other act, or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date related or relating to the foregoing.
Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not
release any obligations arising on or after the Effective Date of any party or Entity under this Plan,
any Restructuring Transaction, or any document, instrument, or agreement (including those set
forth in the Plan Supplement) executed to implement this Plan as set forth in this Plan.

        Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval,
pursuant to Bankruptcy Rule 9019, of the releases set forth in this Section D, which includes by
reference each of the related provisions and definitions contained in this Plan, and, further, shall
constitute the Bankruptcy Court’s finding that the releases set forth in this Section D are:
(a) consensual; (b) essential to the Confirmation of this Plan; (c) given in exchange for the good and
valuable consideration provided by the Released Parties, including, without limitation, the Released
Parties’ contributions to facilitating the Restructuring Transactions and implementing this Plan;
(d) a good faith settlement and compromise of the Claims released pursuant to this Article VIII.D;

                                                   81
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                                Document     Page 190 of 206


(e) in the best interests of the Debtors and their estates; (f) fair, equitable, and reasonable; (g) given
and made after due notice and opportunity for hearing; and (h) a bar to any of the Releasing
Parties asserting any Claim or Cause of Action of any kind whatsoever released pursuant to this
Article VIII.D.

E.      Exculpation.

        Except as otherwise specifically provided in this Plan or the Confirmation Order, and to the
fullest extent permitted by law, no Exculpated Party shall have or incur liability for, and each
Exculpated Party is released and exculpated from, any and all Claims, Interests, obligations, rights,
suits, damages, or Causes of Action whether direct or derivative, for any claim related to any act or
omission arising prior to the Effective Date, in connection with, relating to, or arising out of, the
administration of the Chapter 11 Cases, the formulation, preparation, dissemination, negotiation,
consummation, entry into, or Filing of, as applicable, the Chapter 11 Cases, the Definitive
Documents, or any Restructuring Transaction, contract, instrument, release, or other agreement or
document created or entered into before or during the Chapter 11 Cases in connection with the
Restructuring Transactions, any preference, fraudulent transfer, or other avoidance Claim arising
pursuant to chapter 5 of the Bankruptcy Code or other applicable law, the Disclosure Statement or
this Plan, the Filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the solicitation of votes for, or Confirmation of, this Plan, the funding of this Plan,
the occurrence of the Effective Date, the administration and implementation of this Plan, including
the issuance of Securities pursuant to this Plan, or the distribution of property under this Plan or
any other related agreement, the purchase, sale, or rescission of the purchase or sale of any security
of the Debtors or the Reorganized Debtors in connection with this Plan and the Restructuring
Transactions, or the transactions in furtherance of any of the foregoing, or upon any other act or
omission, transaction, agreements, event, or other occurrence taking place on or before the
Effective Date related to or relating to any of the foregoing (including, for the avoidance of doubt,
providing any legal opinion effective as of the Effective Date requested by any Entity regarding any
transaction, contract, instrument, document, or other agreement contemplated by this Plan), except
for Claims or Causes of Action related to any act or omission of an Exculpated Party that is
determined in a Final Order to have constituted actual fraud, willful misconduct, or gross
negligence, but in all respects such Entities shall be entitled to reasonably rely upon the advice of
counsel with respect to their duties and responsibilities pursuant to this Plan. The Exculpated
Parties have, and upon Consummation of this Plan shall be deemed to have, participated in good
faith and in compliance with the applicable laws with regard to the solicitation of votes and
distribution of consideration pursuant to this Plan and, therefore, are not, and on account of such
distributions shall not be, liable at any time for the violation of any applicable law, rule, or
regulation governing the solicitation of acceptances or rejections of this Plan or such distributions
made pursuant to this Plan. Notwithstanding the foregoing, the exculpation shall not release any
obligation or liability of any Entity for any Effective Date obligation under this Plan or any
document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
implement this Plan. The exculpation will be in addition to, and not in limitation of, all other
releases, indemnities, exculpations, and any other applicable law or rules protecting such
Exculpated Parties from liability.

F.      Injunction.

        Upon entry of the Confirmation Order, except as otherwise expressly provided in this Plan
or the Confirmation Order, or for obligations issued or required to be paid pursuant to this Plan or
the Confirmation Order, all Entities who have held, hold, or may hold Claims or Interests that have
been extinguished, released, discharged, or are subject to exculpation, whether or not such Entities

                                                    82
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                     Desc Main
                               Document     Page 191 of 206


vote in favor of, against or abstain from voting on this Plan or are presumed to have accepted or
deemed to have rejected this Plan, and other parties in interest, along with their respective present
or former employees, agents, officers, directors, principals, Affiliates, and Related Parties are
permanently enjoined, from and after the Effective Date, from taking any of the following actions
against, as applicable, the Debtors, the Reorganized Debtors, the Exculpated Parties, or the
Released Parties: (a) commencing, conducting, or continuing in any manner any action or other
proceeding of any kind on account of or in connection with or with respect to any such Claims,
Interests, Causes of Action, or liabilities; (b) enforcing, levying, attaching, collecting, or recovering
by any manner or means any judgment, award, decree, or order against such Entities on account of
or in connection with or with respect to any such Claims, Interests, Causes of Action, or liabilities;
(c) creating, perfecting, or enforcing any lien or encumbrance of any kind against such Entities or
the property or the estates of such Entities on account of or in connection with or with respect to
any such Claims, Interests, Causes of Action, or liabilities; (d) except as otherwise provided under
this Plan (including Article V.K), asserting any right of setoff, subrogation, or recoupment of any
kind against any obligation due from such Entities or against the property of such Entities on
account of or in connection with or with respect to any such Claims, Interests, Causes of Action, or
liabilities unless such Holder has timely Filed a motion with the Bankruptcy Court expressly
requesting the right to perform such setoff, subrogation, or recoupment on or before the Effective
Date, and notwithstanding an indication of a Claim, Interest, Cause of Action, liability or otherwise
that such Holder asserts, has, or intends to preserve any right of setoff pursuant to applicable law
or otherwise; (e) commencing or continuing in any manner any action or other proceeding of any
kind on account of or in connection with or with respect to any such claims, Interests, or Causes of
Action released or settled pursuant to this Plan; and (f) if such Entity (alone or together with a
group of people that is treated as a single entity under the applicable rules) is a “50-percent
shareholder” as defined under section 382(g)(4)(D) of the Tax Code with respect to any Debtor,
claiming a worthless stock deduction for U.S. federal income tax purposes with respect to the
Interests of WeWork Parent for any tax period of such Entity ending prior to the Effective Date.

        Upon entry of the Confirmation Order, all Holders of Claims and Interests shall be
precluded and permanently enjoined from taking any actions to interfere with the implementation
or Consummation of this Plan. Except as otherwise set forth in the Confirmation Order, each
Holder of an Allowed Claim or Allowed Interest, as applicable, by accepting, or being eligible to
accept, distributions under or Reinstatement of such Claim or Interest, as applicable, pursuant to
this Plan, shall be deemed to have consented to the injunction provisions set forth in this Plan.

        With respect to Claims or Causes of Action that have not been released, discharged, or are
not subject to exculpation, no Person or Entity may commence or pursue a Claim or Cause of
Action of any kind against the Debtors, the Reorganized Debtors, any Exculpated Party, or any
Released Party that relates to any act or omission occurring from the Petition Date to the Effective
Date in connection with, relating to, or arising out of, in whole or in part, the Chapter 11 Cases
(including the Filing and administration thereof), the Debtors, the governance, management,
transactions, ownership, or operation of the Debtors, the purchase, sale, exchange, issuance,
termination, repayment, extension, amendment, or rescission of any debt instrument or Security of
the Debtors or the Reorganized Debtors, the RSA, the subject matter of, or the transactions or
events giving rise to any Claim or Interest that is treated in this Plan, the business or contractual or
other arrangements or other interactions between any Releasing Party and any Released Party or
Exculpated Party, the restructuring of any Claim or Interest before or during the Chapter 11 Cases,
any other in- or out-of-court restructuring efforts of the Debtors; any intercompany transactions,
any Restructuring Transaction, the RSA, the formulation, preparation, dissemination, negotiation,
or Filing of the RSA and the Definitive Documents, or any other contract, instrument, release, or
other agreement or document created or entered into in connection with the Disclosure Statement,

                                                    83
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 192 of 206


this Plan, or any of the other Definitive Documents, the Notes and the Indentures, the pursuit of
Confirmation, the administration and implementation of this Plan, including the issuance of
securities pursuant to this Plan, or the distribution of property under this Plan or any other related
agreement (including, for the avoidance of doubt, providing any legal opinion requested by any
Entity regarding any transaction, contract, instrument, document, or other agreement
contemplated by this Plan or the reliance by any Exculpated Party on this Plan or the Confirmation
Order in lieu of such legal opinion), without the Bankruptcy Court (a) first determining, after
notice and a hearing, that such Claim or Cause of Action represents a colorable Claim and
(b) specifically authorizing such Person or Entity to bring such Claim or Cause of Action. To the
extent the Bankruptcy Court may have jurisdiction over such colorable Claim or Cause of Action,
the Bankruptcy Court shall have sole and exclusive jurisdiction to adjudicate such underlying
Claim or Cause of Action should it permit such Claim or Cause of Action to proceed.

G.      Gatekeeper Provision.

         No party may commence, continue, amend, or otherwise pursue, join in, or otherwise support any
other party commencing, continuing, amending, or pursuing, a Cause of Action of any kind against the
Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties that relates to, or is
reasonably likely to relate to any act or omission in connection with, relating to, or arising out of, a Cause
of Action subject to Article VIII.C, Article VIII.D, and Article VIII.E, and Article VIII.F of this Plan
without first: (a) requesting a determination from the Bankruptcy Court (which request must attach to the
complaint or petition proposed to be filed by the requesting party), after notice and a hearing, that such
Cause of Action (i) represents a colorable claim against a Debtor, Reorganized Debtor, Exculpated Party,
or Released Party and is not a Claim that the Debtors (ii) was not discharged, released, enjoined, or
otherwise prohibited under this Plan, which request must attach the complaint or petition proposed to be
filed by the requesting party; and (b) obtaining from the Bankruptcy Court the foregoing determination as
well as specific authorization for such party to bring such Cause of Action against any such Debtor,
Reorganized Debtor, Exculpated Party, or Released Party. For the avoidance of doubt, any party that
obtains such determination and authorization and subsequently wishes to amend the authorized complaint
or petition to add any Causes of Action not explicitly included in the authorized complaint or petition
must obtain authorization from the Bankruptcy Court before filing any such amendment in the court where
such complaint or petition is pending. The Bankruptcy Court will have sole and exclusive jurisdiction to
determine whether a Cause of Action constitutes a direct or derivative claim, is colorable and, only to the
extent legally permissible, will have jurisdiction to adjudicate the underlying colorable Cause of Action.

H.      Protections Against Discriminatory Treatment.

        Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the United
States Constitution, all Entities, including Governmental Units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend, or refuse to renew a license, permit, charter, franchise, or
other similar grant to, condition such a grant to, discriminate with respect to such a grant against, the
Reorganized Debtors, or another Entity with whom the Reorganized Debtors have been associated, solely
because each Debtor has been a debtor under chapter 11 of the Bankruptcy Code, has been insolvent
before the commencement of the Chapter 11 Cases (or during the Chapter 11 Cases but before the Debtors
are granted or denied a discharge), or has not paid a debt that is dischargeable in the Chapter 11 Cases.




                                                      84
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                 Document     Page 193 of 206


I.      Document Retention.

        On and after the Effective Date, the Reorganized Debtors may maintain documents in accordance
with their standard document retention policy, as may be altered, amended, modified, or supplemented by
the Reorganized Debtors.

J.      Reimbursement or Contribution.

        If the Bankruptcy Court disallows a Claim for reimbursement or contribution of an Entity
pursuant to section 502(e)(1)(B) of the Bankruptcy Code, then to the extent that such Claim is contingent
as of the time of allowance or disallowance, such Claim shall be forever disallowed and expunged
notwithstanding section 502(j) of the Bankruptcy Code, unless prior to the Confirmation Date: (a) such
Claim has been adjudicated as non-contingent or (b) the relevant Holder of a Claim has Filed a
non-contingent Proof of Claim on account of such Claim and a Final Order has been entered prior to the
Confirmation Date determining such Claim as no longer contingent.

                                  ARTICLE IX.
               CONDITIONS PRECEDENT TO CONSUMMATION OF THIS PLAN

A.      Conditions Precedent to the Effective Date.

         It shall be a condition to the Effective Date that the following conditions shall have been satisfied,
subject to the consent of the Required Consenting Stakeholders, (and, solely with respect to
Article IX.A.7 below as it pertains to the Agent Professionals, to the applicable Agents) or waived by the
Required Consenting Stakeholders, subject to the consent of the Required Consenting Stakeholders and
the Reasonable Consent of the Creditors’ Committee (and, solely with respect to Article IX.A.7 below as
it pertains to the Agent Professionals, the applicable Agents (or as otherwise indicated)), pursuant to the
provisions of Article IX.B hereof:

        1.      the RSA shall remain in full force and effect, all conditions shall have been satisfied or
                waived thereunder (other than any conditions related to the occurrence of the Effective
                Date), and there shall be no breach thereunder that, after the expiration of any applicable
                notice period or any cure period, would give rise to a right to terminate the RSA;

        2.      the Cash Collateral Final Order shall be consistent with the RSA in all respects (including
                the consent rights set forth therein) and shall not have been vacated, stayed, or modified
                without the prior written consent of the Required Consenting Stakeholders;

        3.      the DIP LC/TLC Order shall be consistent with the RSA in all respects (including the
                consent rights set forth therein) and shall not have been vacated, stayed, or modified
                without the prior written consent of the Required Consenting Stakeholders;

        4.      the DIP New Money Orders shall be consistent with the RSA in all respects (and subject
                to the consent of the Required Consenting Stakeholders) and shall not have been vacated,
                stayed, or modified without the prior written consent of the Required Consenting
                Stakeholders and the Required Lenders;

        5.      each document or agreement constituting a Definitive Document shall have been executed
                and/or effectuated, in form and substance consistent with this Plan, the Restructuring
                Transactions contemplated herein, and the Plan Supplement, and shall be subject to the
                consent of the Required Consenting Stakeholders;


                                                       85
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                            Document     Page 194 of 206


      6.    the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings,
            or documents that are necessary to implement and effectuate this Plan, and all applicable
            regulatory or government-imposed waiting periods shall have expired or been terminated;




                                                 86
Case 23-19865-JKS     Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                            Document     Page 195 of 206


      7.    all obligations of the Debtors and the DIP New Money Lenders under the DIP New
            Money Documents shall have been satisfied in accordance with the terms thereof and this
            Plan;

      8.    the DIP New Money Documents shall have been duly executed and delivered by all
            Entities party thereto and all conditions precedent (other than any conditions related to the
            occurrence of the Effective Date) to the effectiveness of the DIP New Money Documents
            shall have been satisfied or duly waived in writing in accordance with the terms of the
            DIP New Money Documents and the closing of the DIP New Money Facilities shall have
            occurred;

      9.    the Exit LC Facility Documents shall have been duly executed and delivered by all
            Entities party thereto and all conditions precedent (other than any conditions related to the
            occurrence of the Effective Date) to the effectiveness of the Exit LC Facility Documents
            shall have been satisfied or duly waived in writing in accordance with the terms of the
            Exit LC Facility Documents and the closing of the Exit LC Facility shall have occurred;

      10.   all fees, expenses, and premiums payable pursuant to the RSA, Plan, Definitive
            Documents, or pursuant to any order of the Bankruptcy Court shall have been paid by the
            Debtors or the Reorganized Debtors, as applicable, and the Restructuring Expenses
            incurred, or estimated to be incurred, up to and including the Effective Date shall have
            been paid in full in Cash on the Effective Date as set forth in Article II.F of this Plan;

      11.   all Allowed Professional Fee Claims required to be approved by the Bankruptcy Court
            shall have been paid in full or amounts sufficient to pay such fees and expenses in full
            after the Effective Date have been placed in the professional fee escrow account as set
            forth in, and in accordance with, this Plan;

      12.   the Bankruptcy Court shall have entered the Confirmation Order, which shall be in form
            and substance consistent with the RSA and subject to the consent of the Required
            Consenting Stakeholders, and such order shall have become a final and non-appealable
            order, which shall not have been stayed, reversed, vacated, amended, supplemented, or
            otherwise modified, unless waived by the Required Consenting Stakeholders;

      13.   the UCC Settlement Trust Documents shall have been executed and/or effectuated, in
            form and substance consistent with this Plan, the Restructuring Transactions
            contemplated herein, and the Plan Supplement; and the UCC Settlement Proceeds shall
            have been funded into the UCC Settlement Trust or otherwise reserved for such funding
            (to the extent the UCC Settlement Determination Date has not yet occurred);

      14.   the Debtors shall have otherwise substantially consummated the Restructuring
            Transactions (subject to the consent of the Required Consenting Stakeholders), and all
            transactions contemplated by this Plan and in the Definitive Documents, in a manner
            consistent in all respects with this Plan, unless waived by the Required Consenting
            Stakeholders;

      15.   the final version of the Plan Supplement and all of the schedules, documents, and exhibits
            contained therein (and any amendment(s) thereto) shall have been Filed and all documents
            therein shall continue to satisfy the RSA in all respects, unless waived by the Required
            Consenting Stakeholders;



                                                 87
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 196 of 206


        16.     all financing necessary for this Plan shall have been obtained and any documents related
                thereto, without duplication of the conditions described otherwise in this Article IX.A,
                shall have been executed, delivered, and be in full force and effect (with all conditions
                precedent thereto, other than the occurrence of the Effective Date or certification by the
                Debtors that the Effective Date has occurred, having been satisfied or waived), and
                subject to the consent of the Required Consenting Stakeholders; and

        17.     immediately prior to, or in connection with, the Effective Date, the Debtors and their
                non-SoftBank Party Affiliates shall possess no less than $300 million in cash (inclusive of
                the proceeds of the DIP New Money Exit Facility), which amount shall be exclusive of
                (i) any proceeds generated by the Japan/India Sales, (ii) amounts required to satisfy all
                outstanding DIP New Money Interim Facility Claims, (iii) amounts required to either
                establish reserves for or satisfy Administrative Claims, including, for the avoidance of
                doubt, Cure Claims, and (iv) amounts constituting Aggregate Exit LC Cash Collateral.

B.      Waiver of Conditions.

         Except as otherwise specified in this Plan, and subject to the limitations contained in and other
terms of the RSA, any one or more of the conditions to Consummation (or any component thereof) set
forth in this Article IX may be waived only if waived in writing (email being sufficient) by the Debtors
and the Required Consenting Stakeholders without notice, leave, or order of the Bankruptcy Court or any
formal action other than proceedings to confirm or consummate this Plan.

C.      Effect of Failure of Conditions.

         If Consummation does not occur, this Plan shall be null and void in all respects and nothing
contained in this Plan, the Disclosure Statement, the RSA, or any other Definitive Document shall:
(a) constitute a waiver or release of any claims by the Debtors, Claims, or Interests; (b) prejudice in any
manner the rights of the Debtors, any Holders of Claims or Interests, or any other Entity; or (c) constitute
an admission, acknowledgment, offer, or undertaking of any sort by the Debtors, any Holders of Claims or
Interests, or any other Entity; provided that all provisions of this Plan, the RSA, or any other Definitive
Document that survive termination thereof shall remain in effect in accordance with the terms thereof.

D.      Substantial Consummation.

         “Substantial Consummation” of this Plan, as defined in section 1101(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                   ARTICLE X.
              MODIFICATION, REVOCATION, OR WITHDRAWAL OF THIS PLAN

A.      Modification and Amendments.

         Except as otherwise specifically provided in this Plan and subject to the consent rights of the
Required Consenting Stakeholders and the Creditors’ Committee (as applicable), the Debtors reserve the
right to modify this Plan, whether such modification is material or immaterial, and seek Confirmation
consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan;
provided that any such modification (whether material or immaterial) shall be acceptable in form and
substance to the Required Consenting Stakeholders. Subject to those restrictions on modifications set
forth in this Plan, the RSA, the requirements of section 1127 of the Bankruptcy Code, Bankruptcy
Rule 3019, and, to the extent applicable, sections 1122, 1123, and 1125 of the Bankruptcy Code, each of


                                                     88
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                        Desc Main
                                Document     Page 197 of 206


the Debtors expressly reserves its respective rights to revoke or withdraw, or to alter, amend, or modify
this Plan with respect to such Debtor, one or more times, after Confirmation, and, to the extent necessary
may initiate proceedings in the Bankruptcy Court to so alter, amend, or modify this Plan, or remedy any
defect or omission, or reconcile any inconsistencies in this Plan, the Disclosure Statement, or the
Confirmation Order, in such matters as may be necessary to carry out the purposes and intent of this Plan.

B.      Effect of Confirmation on Modifications.

        Entry of the Confirmation Order shall mean that all modifications or amendments to this Plan
since the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and shall
constitute a finding that such modifications or amendments to this Plan do not require additional
disclosure or resolicitation under Bankruptcy Rule 3019.

C.      Revocation or Withdrawal of Plan.

         To the extent permitted by the RSA and subject to the consent of the Required Consenting
Stakeholders, the Debtors reserve the right to revoke or withdraw this Plan prior to the Confirmation Date
and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
Confirmation or Consummation does not occur, then: (a) this Plan shall be null and void in all respects;
(b) any settlement or compromise embodied in this Plan (including the fixing or limiting to an amount
certain of any claims by the Debtors, Claims or Interests, or Class of Claims or Interests), assumption or
rejection of Executory Contracts or Unexpired Leases effected under this Plan, and any document or
agreement executed pursuant to this Plan, shall be deemed null and void; and (c) nothing contained in this
Plan shall: (i) constitute a waiver or release of any claims by the Debtors, Claims, or Interests;
(ii) prejudice in any manner the rights of such Debtor or any other Entity; or (iii) constitute an admission,
acknowledgement, offer, or undertaking of any sort by such Debtor or any other Entity.

                                          ARTICLE XI.
                                   RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on
and after the Effective Date, the Bankruptcy Court shall retain exclusive jurisdiction over all matters
arising out of, or relating to, the Chapter 11 Cases and this Plan pursuant to sections 105(a) and 1142 of
the Bankruptcy Code, including jurisdiction to:

                (a)      allow, disallow, determine, liquidate, classify, estimate, or establish the priority,
                         secured or unsecured status, or amount of any Claim or Interest, including the
                         resolution of any request for payment of any Administrative Claim and the
                         resolution of any and all objections to the secured or unsecured status, priority,
                         amount, or allowance of Claims or Interests;

                (b)      decide and resolve all matters related to the granting and denying, in whole or in
                         part, any applications for allowance of compensation or reimbursement of
                         expenses to Professionals authorized pursuant to the Bankruptcy Code or this
                         Plan;

                (c)      resolve any matters related to: (i) the assumption, assumption and assignment, or
                         rejection of any Executory Contract or Unexpired Lease to which a Debtor is
                         party or with respect to which a Debtor may be liable and to hear, determine, and,
                         if necessary, liquidate, any Claims arising therefrom, including Cure Obligations
                         pursuant to section 365 of the Bankruptcy Code; (ii) any potential contractual


                                                      89
Case 23-19865-JKS    Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                           Document     Page 198 of 206


                    obligation under any Executory Contract or Unexpired Lease that is assumed;
                    (iii) the Reorganized Debtors amending, modifying, or supplementing, after the
                    Effective Date, pursuant to Article V hereof, the list of Executory Contracts and
                    Unexpired Leases to be assumed or rejected or otherwise; and (iv) any dispute
                    regarding whether a contract or lease is or was executory or expired;

            (d)     ensure that distributions to Holders of Allowed Claims and Holders of Allowed
                    Interests (as applicable) are accomplished pursuant to the provisions of this Plan
                    and adjudicate any and all disputes arising from or relating to distributions under
                    this Plan;

            (e)     adjudicate, decide, or resolve any motions, adversary proceedings, contested or
                    litigated matters, and any other matters, and grant or deny any applications
                    involving a Debtor that may be pending on the Effective Date;

            (f)     adjudicate, decide, or resolve any and all matters related to sections 1141 and
                    1145 of the Bankruptcy Code;

            (g)     enter and implement such orders as may be necessary to execute, implement, or
                    consummate the provisions of this Plan and all contracts, instruments, releases,
                    indentures, and other agreements or documents created or entered into in
                    connection with this Plan, the Confirmation Order, or the Disclosure Statement,
                    including the RSA;

            (h)     enter and enforce any order for the sale of property pursuant to sections 363,
                    1123, or 1146(a) of the Bankruptcy Code;

            (i)     resolve any cases, controversies, suits, disputes, or Causes of Action that may
                    arise in connection with the Consummation, interpretation, or enforcement of this
                    Plan or any Entity’s obligations incurred in connection with this Plan;

            (j)     issue injunctions, enter and implement other orders, or take such other actions as
                    may be necessary to restrain interference by any Entity with Consummation or
                    enforcement of this Plan, including any action that is intended or is reasonably
                    likely to directly or indirectly prevent, impede, hinder, adversely affect, and/or
                    delay any of the Restructuring Transactions, or any actions or efforts of the
                    Debtors and Reorganized Debtors and/or their ability to consummate this Plan;

            (k)     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                    to the exculpations, discharges, injunctions, releases, and other provisions
                    contained in Article VIII hereof and enter such orders as may be necessary or
                    appropriate to implement such releases, injunctions, and other provisions;

            (l)     resolve any cases, controversies, suits, disputes, or Causes of Action with respect
                    to the repayment or return of distributions and the recovery of additional amounts
                    owed by the Holder of a Claim or Interest for amounts not timely repaid pursuant
                    to Article VI.L hereof;

            (m)     enter and implement such orders as are necessary if the Confirmation Order is for
                    any reason modified, stayed, reversed, revoked, or vacated;



                                                 90
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                               Document     Page 199 of 206


               (n)     issue injunctions, enter and implement other orders, or take such other actions as
                       may be necessary to restrain interference by any Entity with Consummation or
                       enforcement of this Plan;

               (o)     determine any other matters that may arise in connection with or relate to this
                       Plan, the Plan Supplement, the Disclosure Statement, the Confirmation Order, or
                       any contract, instrument, release, indenture, or other agreement or document
                       created in connection with this Plan or the Disclosure Statement, including the
                       RSA;

               (p)     enter an order or final decree concluding or closing the Chapter 11 Cases;

               (q)     adjudicate any and all disputes arising from or relating to distributions under this
                       Plan or any transactions contemplated therein;

               (r)     consider any modifications of this Plan, to cure any defect or omission, or to
                       reconcile any inconsistency in any Bankruptcy Court order, including the
                       Confirmation Order;

               (s)     determine requests for the payment of Claims and Interests entitled to priority
                       pursuant to section 507 of the Bankruptcy Code;

               (t)     hear and determine disputes arising in connection with the interpretation,
                       implementation, or enforcement of this Plan or the Confirmation Order, including
                       disputes arising under agreements, documents, or instruments executed in
                       connection with this Plan;

               (u)     hear and determine matters concerning U.S. state, local, and federal taxes in
                       accordance with sections 346, 505, and 1146 of the Bankruptcy Code;

               (v)     hear and determine all disputes involving the existence, nature, scope, or
                       enforcement of any exculpations, discharges, injunctions, and releases granted in
                       this Plan, including under Article VIII hereof, whether occurring prior to or after
                       the Effective Date;

               (w)     enforce all orders previously entered by the Bankruptcy Court; and

               (x)     hear any other matter not inconsistent with the Bankruptcy Code.

         As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the New
Corporate Governance Documents and any documents related thereto shall be governed by the
jurisdictional provisions therein and the Bankruptcy Court shall not retain jurisdiction with respect
thereto.

                                          ARTICLE XII.
                                   MISCELLANEOUS PROVISIONS

A.     Immediate Binding Effect.

        Subject to Article IX.A hereof, and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062
or otherwise, upon the occurrence of the Effective Date, the terms of this Plan (including, for the
avoidance of doubt, the documents and instruments contained in the Plan Supplement) shall be

                                                    91
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 200 of 206


immediately effective and enforceable and deemed binding upon the Debtors, the Reorganized Debtors,
any and all Holders of Claims or Interests (irrespective of whether such Holders of Claims or Interests
have, or are deemed to have, accepted this Plan), all Entities that are parties to or are subject to the
settlements, compromises, releases, discharges, and injunctions described in this Plan, each Entity
acquiring property under this Plan, and any and all non-Debtor parties to Executory Contracts and
Unexpired Leases with the Debtors. All Claims and Interests shall be as fixed, adjusted, or compromised,
as applicable, pursuant to this Plan regardless of whether any Holder of a Claim or Interest has voted on
this Plan.

B.      Additional Documents.

        On or before the Effective Date, and consistent in all respects with the terms of the RSA, the
Debtors may File with the Bankruptcy Court such agreements and other documents as may be necessary to
effectuate and further evidence the terms and conditions of this Plan and the RSA; provided that any and
all such agreements and documents shall be in form and substance acceptable to the Debtors and subject
to the consent of the Required Consenting Stakeholders and the Reasonable Consent of the Creditors’
Committee. The Debtors or the Reorganized Debtors, as applicable, and all Holders of Claims or Interests
receiving distributions pursuant to this Plan and all other parties in interest shall, from time to time,
prepare, execute, and deliver any agreements or documents and take any other actions as may be necessary
or advisable to effectuate the provisions and intent of this Plan.

C.      Statutory Committee and Cessation of Fee and Expense Payment.

        On the Effective Date, the Creditors’ Committee and any other statutory committee appointed in
the Chapter 11 Cases shall dissolve and members thereof shall be released and discharged from all rights
and duties from or related to the Chapter 11 Cases, except in connection with final fee applications of
Professionals for services rendered prior to the Effective Date. The Reorganized Debtors shall no longer
be responsible for paying any fees or expenses incurred by the members of or advisors to the Creditors’
Committee or any other statutory committees after the Effective Date.

D.      Reservation of Rights.

         Except as expressly set forth in this Plan, this Plan shall have no force or effect unless the
Bankruptcy Court shall enter the Confirmation Order, and the Confirmation Order shall have no force or
effect if the Effective Date does not occur. None of the Filing of this Plan, any statement or provision
contained in this Plan, or the taking of any action by any Debtor, Consenting Stakeholder, Agent, or party
under the DIP Facilities, as applicable, with respect to this Plan, the Disclosure Statement, or the Plan
Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor, or
Agent, as applicable, with respect to the Holders of Claims or Interests prior to the Effective Date.

E.      Successors and Assigns.

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be
binding on, and shall inure to the benefit of any heir, executor, administrator, successor or assign,
Affiliate, officer, manager, director, agent, representative, attorney, beneficiaries, or guardian, if any, of
each Entity.




                                                       92
    Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                   Desc Main
                                      Document     Page 201 of 206


     F.      Notices.

             All notices, requests, and demands to or upon the Debtors to be effective shall be in writing
     (including by email) and, unless otherwise expressly provided herein, shall be deemed to have been duly
     given or made when actually delivered, addressed as follows:

                  If to the Debtors:                                    If to Counsel to the Debtors:

WeWork Inc.                                               Kirkland & Ellis LLP
12 East 49th Street, 3rd Floor                            601 Lexington Avenue
New York, NY 10017                                        New York, New York 10022
Attention: Pamela Swidler, Chief Legal Officer            Attention: Edward O. Sassower, P.C., Joshua A. Sussberg,
Email address: pamela.swidler@wework.com                  P.C., Steven N. Serajeddini, P.C., Ciara Foster, Connor K.
                                                          Casas
                                                          Email address: edward.sassower@kirkland.com,
                                                                          joshua.sussberg@kirkland.com,
                                                                          steven.serajeddini@kirkland.com,
                                                                          ciara.foster@kirkland.com,
                                                                          connor.casas@kirkland.com

                                                          -and-

                                                          Cole Schotz P.C.
                                                          Court Plaza North, 25 Main Street
                                                          Hackensack, New Jersey 07601
                                                          Attention: Michael D. Sirota, Esq., Warren A. Usatine,
                                                          Esq., Felice R. Yudkin, Esq., Ryan T. Jareck, Esq.
                                                          Email address: msirota@coleschotz.com,
                                                                           wusatine@coleschotz.com,
                                                                           fyudkin@coleschotz.com,
                                                                           rjareck@coleschotz.com

                If to the U.S. Trustee:                               If to Counsel to the DIP Agent:

Office of The United States Trustee                       Milbank LLP
One Newark Center                                         55 Hudson Yards
1085 Raymond Boulevard, Suite 2100                        New York, NY 10001-2163
Newark, NJ 07102                                          Attention: Brian Kinney, Michael Price, George Zhang
Attention: Fran B. Steele, Esq., Peter J. D'Auria, Esq.   Email address: bkinney@milbank.com,
Email address: Fran.B.Steele@usdoj.gov,                                   mprice@milbank.com,
               Peter.J.D'Auria@usdoj.gov                                  gzhang@milbank.com,

     If to Counsel to the Creditors’ Committee:                    If to Counsel to the SoftBank Parties:

Paul Hastings LLP                                         Weil, Gotshal & Manges LLP
200 Park Avenue                                           767 Fifth Avenue
New York, New York 10166                                  New York, NY 10153
Attention: Kris Hansen, Gabe Sasson, Frank Merola,        Attention: Gabriel A. Morgan, Kevin H. Bostel,
Matt Friedrick                                            Eric L. Einhorn
Email address:                                            Email address: gabriel.morgan@weil.com,
                krishansen@paulhastings.com,                              kevin.bostel@weil.com,

                                                          93
    Case 23-19865-JKS           Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                    Desc Main
                                      Document     Page 202 of 206



                gabesasson@paulhastings.com,                             eric.einhorn@weil.com
                frankmerola@paulhastings.com,
                matthewfriedrick@paulhastings.com        -and-

                                                         Wollmuth Maher & Deutsch LLP
                                                         500 Fifth Avenue, 25 Main Street
                                                         New York, NY 10110
                                                         Attention: Paul R. DeFilippo, James N. Lawlor
                                                         Email address: pdefilippo@wmd-law.com,
                                                                         jlawlor@wmd-law.com

          If to Counsel to the Ad Hoc Group:                              If to Counsel to Cupar:

Davis Polk & Wardwell LLP                                Cooley LLP
450 Lexington Avenue                                     55 Hudson Yards
New York, NY 10017                                       New York, NY 10001
Attention: Eli J. Vonnegut; Natasha Tsiouris;            Attention: Tom Hopkins, Cullen D. Speckhart,
Jonah A. Peppiatt                                        Logan Tiari, Michael A. Klein
Email address: eli.vonnegut@davispolk.com,               Email address: thopkins@cooley.com,
                 natasha.tsiouris@davispolk.com,                        cspeckhart@cooley.com,
                 jonah.peppiatt@davispolk.com                           ltiari@cooley.com,
                                                                        mklein@cooley.com
Greenberg Traurig, LLP
500 Campus Drive, Suite 400
Florham Park, NJ 07932
Attention: Alan J. Brody
Email address: brodya@gtlaw.com


              After the Effective Date, the Reorganized Debtors have the authority to send a notice to Entities
     that to continue to receive documents pursuant to Bankruptcy Rule 2002, an Entity must File a renewed
     request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the
     Reorganized Debtors are authorized to limit the list of Entities receiving documents pursuant to
     Bankruptcy Rule 2002 to those Entities who have Filed such renewed requests.

     G.       Term of Injunctions or Stays.

             Unless otherwise provided in this Plan or in the Confirmation Order, all injunctions or stays
     in effect in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any
     order of the Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or
     stays contained in this Plan or the Confirmation Order) shall remain in full force and effect until
     the Effective Date. All injunctions or stays contained in this Plan or the Confirmation Order shall
     remain in full force and effect in accordance with their terms.

             Notwithstanding anything to the contrary herein (except with respect to indemnification
     obligations under assumed Unexpired Leases, which shall remain Unimpaired), the automatic stay
     imposed by section 362 of the Bankruptcy Code and the injunctions set forth in Article VIII.F of
     this Plan shall remain applicable to Claims that have the benefit of an applicable insurance policy
     arising prior to the Effective Date up to the amount of the applicable SIR or deductible, which
     Claims shall be treated as General Unsecured Claims.



                                                         94
Case 23-19865-JKS          Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                       Desc Main
                                 Document     Page 203 of 206


H.      Entire Agreement.

        Except as otherwise indicated, and without limiting the effectiveness of the RSA, this Plan
(including, for the avoidance of doubt, the documents and instruments in the Plan Supplement) supersedes
all previous and contemporaneous negotiations, promises, covenants, agreements, understandings, and
representations on such subjects, all of which have become merged and integrated into this Plan.

I.      Plan Supplement.

         All exhibits and documents included in the Plan Supplement are an integral part of this Plan and
are incorporated into and are a part of this Plan as if set forth in full in this Plan. After the exhibits and
documents are Filed, copies of such exhibits and documents shall be available upon written request to the
Debtors’ counsel at the address above or by downloading such exhibits and documents from the Debtors’
restructuring website at https://dm.epiq11.com/WeWork or the Bankruptcy Court’s website at
https://www.njb.
uscourts.gov/.

J.      Nonseverability of Plan Provisions.

         If, prior to Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the
original purpose of the term or provision held to be invalid, void, or unenforceable, and such term or
provision shall then be applicable as altered or interpreted; provided that any such alteration shall be
consistent with the RSA and subject to the consent of the Required Consenting Stakeholders and the
Reasonable Consent of the Creditors’ Committee. Notwithstanding any such holding, alteration, or
interpretation, the remainder of the terms and provisions of this Plan will remain in full force and effect
and will in no way be affected, impaired, or invalidated by such holding, alteration, or interpretation.

         The Confirmation Order shall constitute a judicial determination and shall provide that each term
and provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing, is:
(a) valid and enforceable pursuant to its terms; (b) integral to this Plan and may not be deleted or modified
without the Debtors’ or the Reorganized Debtors’ consent, as applicable (but subject to the terms of
the RSA); and (c) nonseverable and mutually dependent.

K.      Votes Solicited in Good Faith.

         Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on this
Plan in good faith and in compliance with section 1125(g) of the Bankruptcy Code, and pursuant to
section 1125(e) of the Bankruptcy Code, the Debtors and each of their respective Affiliates, agents,
representatives, members, principals, shareholders, officers, directors, managers, employees, advisors, and
attorneys will be deemed to have participated in good faith and in compliance with the Bankruptcy Code
in the offer, issuance, sale, and purchase of Securities offered and sold under this Plan and any previous
plan, and, therefore, no such parties nor individuals nor the Reorganized Debtors will have any liability
for the violation of any applicable Law, rule, or regulation governing the solicitation of votes on this Plan
or the offer, issuance, sale, or purchase of the Securities offered and sold under this Plan and any previous
plan.




                                                       95
Case 23-19865-JKS         Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39                      Desc Main
                                Document     Page 204 of 206


L.      Closing of Chapter 11 Cases.

         On and after the Effective Date, upon the filing of an appropriate motion, the Debtors or the
Reorganized Debtors shall be permitted to close all of the Chapter 11 Cases of the Debtors except for the
Chapter 11 Case(s) listed in the Restructuring Transactions Exhibit as having those Chapter 11 Case(s)
remain open following the Effective Date (as the Debtors may determine subject to the consent rights set
forth therein), and all contested matters relating to any of the Debtors, including Claim Objections and any
adversary proceedings, shall be administered and heard in the Chapter 11 Case(s) of such Debtor(s),
irrespective of whether such Claim(s) were Filed or such adversary proceeding was commenced against a
Debtor whose Chapter 11 Case was closed.

       When all Disputed Claims have become Allowed or disallowed and all distributions have been
made in accordance with this Plan, the Reorganized Debtors shall seek authority to close any remaining
Chapter 11 Cases in accordance with the Bankruptcy Code and the Bankruptcy Rules.

M.      Waiver or Estoppel.

        Each Holder of a Claim or an Interest shall be deemed to have waived any right to assert any
argument, including the right to argue that its Claim or Interest should be Allowed in a certain amount, in
a certain priority, secured or not subordinated by virtue of an agreement made with the Debtors or their
counsel, or any other Entity, if such agreement was not disclosed in this Plan, the Disclosure Statement, or
papers Filed with the Bankruptcy Court prior to the Confirmation Date.




                                                     96
Case 23-19865-JKS        Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39             Desc Main
                               Document     Page 205 of 206


  Dated: May 230, 2024                     WEWORK INC.

                                           on behalf of itself and all other Debtors



                                           /s/ David Tolley
                                           David Tolley
                                           Chief Executive Officer




                                             97
Case 23-19865-JKS   Doc 2051 Filed 05/30/24 Entered 05/30/24 02:13:39       Desc Main
                          Document     Page 206 of 206




                                    Summary report:
            Litera Compare for Word 11.7.0.54 Document comparison done on
                                 5/29/2024 11:49:58 PM
       Style name: Color (Kirkland Default)
       Intelligent Table Comparison: Active
       Original DMS: iw://dms.kirkland.com/LEGAL/109032752/1
       Modified DMS: iw://dms.kirkland.com/LEGAL/109032752/17
       Changes:
       Add                                                     84
       Delete                                                  55
       Move From                                               1
       Move To                                                 1
       Table Insert                                            0
       Table Delete                                            0
       Table moves to                                          0
       Table moves from                                        0
       Embedded Graphics (Visio, ChemDraw, Images etc.)        0
       Embedded Excel                                          0
       Format changes                                          0
       Total Changes:                                          141
